                                                                                                                        LYN / ALL
                                                                                                     Transmittal Number: 22052587
Notice of Service of Process                                                                            Date Processed: 09/22/2020

Primary Contact:           Sharon Brooks - MS 08-A
                           The Travelers Companies, Inc.
                           One Tower Square
                           Rm 8MS
                           Hartford, CT 06183-0001

Entity:                                       Travelers Property Casualty Company of America
                                              Entity ID Number 2317459
Entity Served:                                Travelers Property Casualty Company of America
Title of Action:                              West.Bend Mutual Insurance Company vs. Travelers Property Casualty
                                              Company of America
Matter Name/ID:                               West.Bend Mutual Insurance Company vs. Travelers Property Casualty
                                              Company of America (10524442)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Washington County Circuit Court, WI
Case/Reference No:                            2020CV000443
Jurisdiction Served:                          Wisconsin
Date Served on CSC:                           09/21/2020
Answer or Appearance Due:                     45 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Jeffrey Leavell
                                              262-633-7322

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                     Case 2:20-cv-01600-LA Filed 10/21/20
                                                 Exhibit A Page 1 of 201 Document 1-1
                     Case 2020CV000443               Document 1            Filed 09-18-2020       1 Page 1 of 1
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                                                                                            WASHINGTON                     09-9 s-2020
STATE OF WISCONSIN                                  CIRCUIT COURT
                                                                                                                           Cierk of Circuit Court
West Bend Mutual Insurance Company vs. Travelers                               Electronic Filing                           Washington County, w9
Property Casualty Company of America                                               INotice
                                                                                                                           2020CV000443
                                                 Case No. 2020CV000443                                                     Honorable Todd K.
                                                 Class Code: Property Damage                                               IUiartens
                                                                                                                           Branch 3



                                 TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA
                                 C/O CORPORATION SERVICE CO
                                 8040 EXCELSIOR DRIVE, STE 400
                                 MADISON WI 53717
                                                                          ~



                Case number 2020CV000443 was electronically filed with/converted by the,Washington
                County Circuit Court office. The electronic filing system is designed to allow for fast, reliable;;~
                exchange of documents in court cases.                                              .•            ':                ~" r
                                                                                                                 1;;:.:.       r


                Parties who register as electronic parties can file, receive and v.iew documents` online through
                the court electronic filing website. A document filed electronically has the; same legal efFect as
                a document filed by traditional means. Electronic parties are resporisible for serving
                non-electronic parties by traditional means.

                You may also register as an e               ronie;party by follo,wing the instructions found at
                http:/lefiling.wicourts.gov/ a               nay'iivithdraw: as an electronic party at any time. There is a
                $20.00 fee to register as an el,            'onic party.          ~

                If you are not representediby E~            ittorney and would like to register an electronic party, you
                will need to enter tha. following           de on the eFiling website while opting in as an electronic
                party•



                    less yo;u register as an electronic party, you will be served with traditional paper documents
                    other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-335-4341.

                                                                         Washington County Circuit Court
                         /   ,      1
                                                                         Date: September 21, 2020

                                   RO.CESS SERVER



                                 DATE / 'TIME


                             Case 2:20-cv-01600-LA Filed 10/21/20                  A Page with 2 of 201 Document 1-1§801.18(5)(d), Wisconsin Statutes
                                       This form shall not be modified. Exhibit
GF-180(CCAP), 06/2017 Electronic Filing Notice
                                                                        lt may be supplemented   additional material.
  Case 2020CV000443             Document 2        f=iled 09-18-2020       Page 1 of 8
                                                                                              FILED
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                                                                                              Clerk of Circuit Court
                                                                                              yilashington County, VUI
STATE OF WISCONSIN CIRCIJIT COURT WASHINGTON COI3NTY 2020CV000443
                                                                                              Honorable Todd K.
WEST BEND MI.JTUAL
TNSURANCEi CONII'ANY                                                                          Braroch 3
1900 S. 1$" Avenue
West Bend, WI 53095                                               Case No.:

                   PBaintiff,
                                                                  Case Code: 30201
V.

TRAVELER:S I'ROPERTY CASiJAL`I'Y COMPANY OF AMERICA
C/C3 C(>QRPORATIf,'►N SERVICE COMI'ANY
8040 Excelsior:Drive, Suite 400
Madison. WI 53717

           Defetldant.


                                               SUMMOIOTS


THE STATE OF W.ISCOl1TSIN,

To eacli person named above as a defendafit:

           You are liereby itotifled that the plaintiff named aliave has filed; a l:awsutt ar:other legal.

action against you. The Complauxt, wliicli is attacliecl, states tlie nature and basis of the legal

acticin.

           WitlYin forty-five (45) days of receiving this Summnns, you must respond with a writtert

Answer, as:tliat terin is used iix:Chapter 802 of the Wisconsin Statutes; to the Complaint. Tlie

Court tnay reject or disregard .an Answer that tioe5 not follow tlie'requirerYients of the statutes: The
                                                                      ~
Answei' mcist be sent or delivered to the Court, wliose address is Cler.l: of#Iie Circuit.Court, 432 E.

V1+ashin~tcin. St;. West Benc3; W15309U;;and whc~se mailin~ acidress is 432 F tVashington. St, V4?est

Bend, WI 53090, and to plaintr#t's attorney, Jeffrey Leavell= S,C. whose>_address is'°7'?3 S..IYTain.

Street; Racine, VUisc©nsin 53'4(}3. Y'i7u may hatiJe ait attor~ley lxelp er represeht ytyu:


                                                     1



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       if you do not provide a proper Answer witliin forty-t-lve (45) 4ays, the Coultiiiciy gran

judgment 4gain t you for the,award of i-noney or other legal action. requested in the Complaint and
                                                                                          V




you may lose yo-ur iight to object to anythilip- fliat is or may be incorrect i.n. the. Cot plaiht. A

judgmeiit mav be enforced as provided by law. A j udginent:awarding money ,way become:'a         lien




against aiiy real estateyou own.now or in the.future and may Also be onf6reedby garnislu-nentvr

seizure of property.



       Dated this 18"' day of Septeinber, 2020.:

                                                      JEFFREX LEAVELL,::S.C,

                                                      IIJe0
                                                      A   Orey Leaiell
                                              By:
                                                      Jeffrey Leavell
                                                      $,tatc 'Bar No. : 1004734.
                                                      -Austin Borton.
                                                      State:BarNo..- 1097539
                                                      Attorneys: for Plaintiff West B en.d. Matual
                                                      Insurance.Company
P.O. Address
723. S. Main Street
Racine, Wl 5,3403-1211
Teleplione: (262) 631-73-22
Facsimile: (262) 633-73.23,




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                                                                                            FILED
                                                                                            09-18-2020
                                                                                            Clerk of Circuit Court
                                                                                            Washington County, Wi
STATE OF WISCONSI:N CIRCUIT COURT WASHINGTON COITNTY                                        2020CV000443
                                                                                            Honorable Todd K.
WEST.BEND MUTUAL
INSURANCE CON1PAiNY                                                                         Branch 3
1900 $: 1!8.6' .4venue
West Berid, W1 53095                                             Case No.:

                Plaintiff;
                                                                 Case Code: '30201
V.

TRAVELERS PROI'E1tTY CASUAT.'I'Y
                               ,     COMPt1NY OF A:'VIERICA
C1Q CC)RI'ORATIOI,T SERVICE C{Ql'~1PA1'+~Y
8040 Excelsior Drive, S.uite 400
Madison; WI 53717

         Defendaiat.


                                            CONqPLAIIVT

                                      ...
         NOW CC)MES .Plaintiff, Weat Boiid Niutiial Insurance Ccimpany by and..through: its

attorneys; Jeffrey Leavell, S:C., and as for its Complaint against zlie 3efendant, alleges and states

to the: Court as follows:

         1:.    Plaintiff West Bend Ivlutual Insuraiice Company (West Bendj is a Wiscorisin -

niutual insurance company witli.:principal oE6ces at 1900 S. 1811 Avenue, \V;est Bend;. WI 53095:.

        -27:    Defendazit °Travelers: Property Casualty Company of America. (Travelers).:is a

foreign insurance company that does substantial business in Wisconsin ancl in Vtrashingon Couiity;

with a registered agent at Corporation Service Company, $040
                                                           .; ExcelsiarDr, Suitc 4.00, Madison,

WI 53717.

        3:..    This actiotl concer.ns liabiltty insurance ;ccivexage .and tlie parGies' dlity tio :defend.

and inderani,fy obligations for an aecident bettiveen Robert Pohl and Tohn Willianis. Pnhl was

allebedly driving a truck in the seope c~f einploynxent for Pipeline Supply, lnc. (Pipel~ne), now

kno,wn as Dakota Su}iply C'xioup, Inc., (1DSG): Poh'l allegedly rear ended the plaintif~ John




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Wiliiatns. Willian7s cominenced a iawsuit for personal injurit;s iia 2018. Williams alldgeOolil's

negligence and that DSti f'k7a Pipeline is vicariciusly liab:le for Peihl's negligence (the laKrsuit),.

        4:       West Bend issued a liability insurance policy to Pi,peline, a Minnesota corpoxation

that ceased to exist in 2016.

        S,       Travclers issued a liability insurance policy tci DSG, a North Dakota cflr}ioration,.

Nvl-iich cUntaitied commcrcial auto coveral;e stated in the fonii CA 00 0103 10 (rev. 02-11 ) tivitli a

~l million; lirnit. The policy contained numerous state. chartge forms, [.JM,, and U1M and othcr

foi7ns, :indicating coverage w.as.anticipated byTravelers fot' DSG for vari:ous states ixicltiding. .N...~rtli .

Dakota, Seruth Da.kota, Mbiiiesota, \?Visconsin; lvwa abd 1Vloiitana.

        {.       DSG liougfiC Pipeline, and inade it a wholly owned suhsicliary in 2U15, aiid then

statutorily merged Pipeline irito DS:G iri 2016, expressly :assuinizrg under North Dakota law all

liabilities of Pipeline. Pipeline theii ceased to exist as a tnatter. of 1aw.

        7.      Nbrtll Dakota Business Corporation, Law made the liabilities flf .Pipelirxe the

liabilities ofDSG as a c;-ansequenee ofthe merger. ;SeeNorth Dakota Cent Code sectiori 1{1 19:102:~

        S.      On Novetnber 11, 2013; Robert Polal wliile driaing for Pipeline vvas involved;iii aii

acciderit with John Willianis.

        9.      On Marcli :13, 2018, Mr. Williams filed a lawsuit against Mr: Po1il and Pipeline' for;

personal injuries caused by tlie accident.

        10.     On Aul;ust 15, 201.9; .Mr. Williams: amended his complairat iii tlie' Iawstalt tri .natne

as defendants.lVlr. Pohl and DSG. See attached ExhiUit 1.

        11.     At the bebinning of 1VIr: 'U4''illiatxas' lawsuit, West Beiid retained defense; counsel fcir

Mr. Pohl and Pipeliiie and paid for their d.efense iai the, lawsuit:




                                                     2


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        -12:     After Mi-. Vti'illiaaris. was allowed to atiieiid lais complaint in the lawsuYCz, fo name

DSGr: as defeiydan.t, in: tlie place uf I'ipeliner West Benel notified Traveler.s atid ask.ed it tii

ack-nrawledge.liability coverage for'the Iawsuit or state its cciverage positian for iis narned in5urecl

DS'G aiid;lVlr.. Pohl:

        13:      On August 21, 2019, West Bend told Travelers in writing that West Berid vtiouid!

defend `DSG in the lawsuit.for thetiine subject to its.pendiilg review of Traveleirs coverage for

DSG. atitl Poht, thecause-a ti-ial was then loutziiitg and a defensehad to be provided to rircttect tlie

defendaiits while liability insurance coverage issues li.etwe.eri the two insurers were eletermined.

        ,14.     Ori Oettaber 29, 2(}19, West Bend wrote'I'ravelers that TraveIers had apr'trrrary

duty to defend Pohl and DSG in the, lawsuit; and'that `West Bettd would, to resolve the dispute,.

coanproiizise and agree to share oii. an equal basis witli, Travelers; in the defeiise expenses of the~

lawsuit:

        15.      Over tzvo m:onlhs later; on<3anuary 9; 202.0, Travelers responded m writirig that it

had no duty tci:ci.efend Pohl in tlie lawsu.it and vvas silent on its tf utyr to defend DS'G..

        16.     On .lanuary 1 3;,2020 Travelers again responded 'in writing that it: did nat`cover tlle

DSG: liability pleaded against DSG iil :tlie latirsuit:

        17.     'I'he statutory tnerger alleged: above put Pipelirie and its liabilities into DSG, the

nained insured of Travelers. Consequently, 1Vlr; Pohl qualifies as a Travelers insured; aad is

entitled ta a detense froni '1'ravelers;ia; the law'suit, as;is its natned insured DSG:

        i S.    Traveiers has a primary duty to defend :Vlr. Pcilll, and DSG in the lawsuit..

       ;I:9::   Ti~avelers' cc~nduc:t alle.ge'd hereiit.ts.~izi lireacli oflts cluty to elefend the lawsuit.

        20:     1~urtlier, and in the alter.native; DSG assurned.Pipeline's liaUility .in th~ nierber

agreernGnt: The Trave,lers policy "other in.surance'' subsectioi3 says Travelers is the primarly


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insurer for any liability assunied in aii insurecl contract. The merger agreement qualities as an

insured.contract by definition, hecause nSCi eapressly agreed to assunie any.a.nci all at Pipeline's.

liabilities in it.

         21..        The Travelers policy issued to DSG, and attached as Exltibit 2, stated in its other

insurance provi:sion subsection e. the fcillorviiag regaiding policy priority:

                     Regardless of the provisions. of paragraph a. above, this coti~erage foz~ri's.
                     Liability Goverage is:primary for at~y liability assiinied under an "insured
                     contract."



Fortfa CfI. 00 01.0310 (i-ei~ 02-11). p y of 12::

        22.          The Tri3veters policy defined "iniyured coritract" to include the following:

               That part of any .other contract or agreeinent pertaiiaing to your
               busine.ss .... under which you assume the tort 1•ialaility of another to pay for
               bodily injury orproperty darnage to a thirci-partyor orgaiaization. Tort 11ab7lity
               naeans a liability that would be irnposed by law in the aiiseilce of any contracti
               or agreeinent.....

       11 of1.2.

        23.          The Travelers poli:cy, like .tlie West Bend policy, _anticipated the

coexistence of primary liability iiisurers in its other insurrance provision, mandating
           ,
policy liniits cornparisoii sliaring in that circiariistances

                   d. When this coverage forttr and any otlier, coverage fortn or p.olicy covers
               on the same basi5, either excess o.r primary, we wrill pay only our share: dur
               share is thc proportioai:that the Lirriit of lzisurance af'our covera~e form. bears
               to the total of the limits of:all. tlie coverage 'fonais and policies covering on the
               same basis.

F'ornz CA 0(1(IT 03 1 D, p. 9 of `1.2.

        24.          As a. result of the merger agreei-nerit, Mr. Polil:and'DSG are eixtifiled, to a deferise in

the lawsuit from Travel.ers, and. Travelers has a priinary duty to defend theirr.




                                                         4


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         25..    Travelers is in breach of its defeiise duty to'ats nained instared`DS'G anrl'lUlr. Pohl. iii

tlie lawsuit..

        26.      West Bend laas neitified Travelers of strategie opportunities for the defense:.c,f the:

lawsuit,; decisiorts that need be made, and asked '1'ravelers to participate in the decision .tnakirig;

liut Ti-avelers lias refused.

        27.      Travelers' refusal estops it froni cliallenging or otherwise:disputinb :tlie defense

strategic choices made in thc defense of the lacusuit and the expenses of it.

        28_      West Bend has incurred deferise expense for IVIr. Pohl, Pipeline, and DSG and West

Bend is subrogated urider .its policy to, tlleir rights=to recover that defense expeztse from Travelers,

and fuither in the alternati<<z that defense:expense should in equity be boi-ne byTravelers:.

        19:      West Bend.is entitled:to recover frorn Travelers all defense expenses for the iawsuit;,

ancl all attorneys fees aatd expenses for this actipn; as a iYiatter of i;ontract breach and subrot;ation.

        30.      West Bencl is entitled to recaver fi'orn. Travelers'all defense expe;nses for tlie lawsuit;

and all attoniey's fees and ekpezases for'this actio as a nratter ofeguity.

        31.      West Bend is ent.itled to declaratory judbnnent pursuarit to Vti is. Stat. k 806.04

because this is an actual ,justiciaiile;controversy regardiiig eoverage:and West I3ezid.ha9 no adequate

remedy other than: that requested herein to determine the rights. of the parties.

        WI3EI2EFOlEttE,.Plairitiff West Bend>Tequests judgment against Tratlelers for the costs of

defendiiig and indemnifying Mr: Pohl and DSG flkla 1'zpe.line:in.thoMiiinesota:la~usuit; declaratian

thatTravelers is required to;defeiid the.lawsuit, t11e attorney's fees and costs of thys action; :aloiig

with aiiy otliez- relief deerned equitable by thetourr; and it`s taxable costs A1d fees.

 PI.AINTIFF Vb'EST;BENDIV[C~TUAL INSU12AtiCE.COMPANY DE1VIA1o1DS A.:TRIAL,
                           BY 12-PERSON .T[JRY




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      Dated. this 18c', day of'September, 2020.

                                                      JEFFREYLEAVELL, S.C.

                                                      IVJef.frey.Lecivell
                                            ma
                                                      Jeffrey Leavell
                                                      State BarNo.-. 1004734
                                                      Attarneys,for Plaintiff West Bend..Ivfutual.
                                                      InsuraAce Company
P.a.Address
Mailing, Address
723 S. Main Street
Racine, Wl 53403
Phone:(262) 723-6322
Fax: (262) 723-6323




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                                                                                              FILED
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                                                                                      Clerk of Circuit Court
                                                                                      Washington County, Wi
                                                                                      2020CV000443
 STATF OF 1011"INIESOTA                                                          DJST4J"WPQd K.
                                                                                      Martens
 COU.NTY . OF, RENINTEPIN                                              FOURTII JUDICIATB&MTRICT

                                                                              Case Type: Persoiidl 1-plury

  JdJui.joseph Williams,

         :T laintiff,
                                                                   ANIENDED SUMNIONS
  vs.

 RobertAllen Pohl and Dakota'Supply Ciroup,
 Inc, a Nortli Dakola Coip.oration EVA Pipeliiie
 Supply,Im.,

          Defend,mts:


THISSUMMONIS ISDIREMEDTO DEFENDANT DAKOTA SUP'PLY GROUP QOOMARK
R.FIANSON,20IN5 S rREET— .18r`F.1               , AR0oND'.58~io2.
                                10 0R,P0B0X2626j'

        1. YOU ARE BEING SUED. The Plairitiff has started a lawsuit againk ydp                         7
                                                                                                       -71va.
Pligntiffs Complaint against you is; attaclied to this suiiurions. Do iiot thro'%X? these -I)apel's amlayi;
Thcy are official papors: that.affect YOLir. rights. You must respond to ihis laWstiit eventhouo:.11:
ma,v notyet be Filedwith the Couj-t and there.m4y be-no cointfile tuiiiber on.this surnmOns'..

       lz YOU MUST REPLY W'ITHIN:.20 DAV$. TO PROTECT VOVR                       . RIGHT's., 'You:
MUst'Olve,or niail to the:pq;sonwho sigrie& this;summons.a wiittcn response.called.lan Answer
with-in 20. days of the dAtc on:which,you received this Stirntnoris. You must:send ac  .opy ofyqur
Answer to the persoil wlio'sigiied this surnniors.located,at 44.4:Ccdar Sfrect,.Suite 10001 St- .?.ab];,,:

                                                                                                  I . .
        3.: YO EJ MUST RESPOiND TO El A.CII:CLAIINI. I'he Answer i-s your writtelixe gionse
                                                                                                     V
t-o the Plairitiff.'s. Compiabit, Inyour Ansmier.-Yol-i Mtist stat.- wbetber.you agrec or disal re.e "litil.
                                                        :
each.paragraph-of the CorriplAint, ]f you, believo the Plaintiff 5bariid: not, be given.ew ythl g..asked
                                                      .
fbr: 14 the Cornplaint,yopmjast sa)r so in, votir Answer.

         4. YOU WILL LOSE YOUR CASE IF YOIJ DO NO'I' SEND A NVMT115
R-EiSPONSE TO THE' COMPLAINTTOTHE.1"ERSON WHO SIGNED I'HIS SUMMONS..
                                                                                                  -
If you do not Answer within 20 diys, you wilHose1his case. You willnot.get to tell'yo &S  , Wi ik)'f'
the story, ai-id the Courtniay decideagainst, pu anc.] uward thcTlAintifTeverythhig askedfi6r hkihe.
complainL If you do not want to contest the clainis stated in tli-I eornphaiut, yoii do acivneed to
respQnd; A. default, j-udgincnt can ttien be entered against yob :for the riclief requesfvd inAbe
COMT)laint.




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       15, Lr
            ~,GAL ASSISTANCE. You inay wish ic) get legal lielp fiorn aawyer.
                                                                          I      TPVa d6not
                                                                                        .
havea]avvyer. Cie CourtAdministratorniay have inforinationabout places wjIm ymeam.got legal
assisfance, Even if you cannot,get legral help, you iiiust: still provide:4-ritten,
                                                                            w       Answerlb
pro.U6 ybur riglits pr you.may Jose flietasei

        6. ALTERNATIVE DISPUTE RESOLli-TfON. The. pari ies may agree to orb-, ordered
to participate in an 41temative dispu:te resoltiti oii process under Rule 114 ofilic Nlinnesota.Gexerol
Rules of Practirx. Yoii niust,sti.11 sond yotij, written i-esponse to -the Complaint evcr, if you oxpect.
to use alternative means of resolving this dispute.


                                                        PAICE.T. DONNELLY, LTD.


Dated:                                                  By:
                                                                          F~
                                                       Sheila K. Donnelly-Coyne, #2T,71-
                                                       Attornoy fot Plaiiitiff
                                                       sk~lc
                                                        sulie 1060 .
                                                        444
                                                          . Qedar Street
                                                        St. Pau:1, tvfN 551.0.1
                                                       .651 r2-22-27.97




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 STA'I`E Qr, MINNi;3Q'TA                                                                 DISTRICT :COMT

 COLINTY Ol: HFNNEPI;V                                                   FDVRi'll JUl3ILIAL DIS7Rl;C:'C

                                                                                Ca.se 7'Ype. l'ersoiv.E !!?Lry:

  John Jo~tieph: WiUiams,.

                                    Plaintiff.                              Court File;.27-CV-18-4:127
  rrs.                                                                        Horx. Itonald L. Abrams

 RuUert Ailen Poh) and Dakota Supply GrouP,                         Ai41ENDED CUMPLAiNT
 lnc. a North llakota Corporation:fik/a Pipeline
 Supply, lnc.,

                                    Defenctants.


         Plaintiff John 3oseph W illi3ms, for his ctiusc of action -aganisi .tlie Defensiants Robtrt A11mi

Yoli] and. Dakota Sttpply Croup; 1.11c, a Nurth.Daktita Corporation f71Ja I'ipeline 5upp49-;. in6..t

hereiri, siates.:and alleges. as follows:~

                                                 C'O[J:NT I:

                                                       1.

         At.xli times.nientioned izerein, Plaintiff Ji}hn Jbseph.Williams wa.g:operating.a.certdin 1988

Cheviolet K1-500, said vehicle being owned by'Kuribt;rly sue:~Vlt'iliiatns.

                                                      1L

         At.pll tirnes citeiitione.d herein, llefendant kobett tfil.len:.Pohl was operttfiing.a certaizi 2'012:

lrtc-rriatioital 1'ruek, said vr,hicic Y►eing c>wned hy t7efinetant Pipeline. Supply, lnc:, which is naw

known as Dakota Supply, Inc., hereinalter "DSQ."




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                                                      M.

        At all flines.nientioned hereN,.Pipchne-&pply,
                                             I         Iiic., n/k/a Dakota Supply, jnc,, w.as: 6 Stat.e

 of Minticsota corporation,,duly euthorized aiid licetised to do - business ip (12.e StaW Of MinneSbla'

located. at 620 — 16' Avenue Soxith, City of, Hapkins, Co utity -of HeriTiepin, State of Minn6O6ta.

                                                      IV,

        On or itbout September 1, 2016, Pipoline Supply, Inc. inprged vvitli Del'endant, DSO, 'QSG
                                                                                                "
agre6d:to askl)T)e 611 liabiliti.es of Pijpejirle Skip - , hic.
                                                   . ply    I



        At lie lime of'the merger; Todd Kumin,1             the aclift.-C
                                                                        'Mof Execud wofflaerforpipej

Supply, Inc. aiid DSG.

                                                      vi.

        At all tiiiies mentioned herein_kobert Allen Pohl, was an employee of Pipeline Sq

Inc., ii/k/a as DSOT, and was acting WiChin the full, coum and scope of his employmeat,



        Deferdarif Robert Allen Polil was operating said vehicle with the fall knoviledge, consent,

and. acquies,cence of the Pipeline Supply, Inc., nlk."a Dakota Szipply, rnc.

                                                    M.:

        Oit or about Nlovember 11,2013, Plaintiff Jolti lbseph Williarns was opetating, said vehiele

at ornear.Highway 30at 170Avenuejit. tlie ('ty,:: orElk.Rivcro .StEite of Mimlesofa.



       On or abow NTovember 1.1, 2013, De*fendant Rcybert A116n Pohl was optzati
                                                                              n

aturnewrHighway 1.-0. a.. 171 " Awnue;' In the               Elk River., -State of Minnesota.




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 Case 2020CV000443




                                                      X.

           That Plaintiff Jolin Wilfiaxms,~Aw at a cnrnpleto stop at the tiite of the coliisioii,

                                                      XL

           ThatDofendant Robert Allen?ohl didnot-st6p in ti           and sUtick th6mr-dar of        fflabh-
                                                                                                         b

   Williams, vehic';c'

                                                     X[J.

          'I'lia'L thc: fbree of the collision pushed Plaintiff John Will,
                                                                         "aiiis' vehicle into the vehicle in

  fro.ni of hiin, driven by Scott Fleiscliniaii




          nal Plaiiitiff Jolm WILliams' Vehicle Was towed frajn. the scarLe. The vehicle &iveln by

  Scott: Fleischman was to4v0d ft.onvtbe scene. T-he Vehicle dliven by Dcfendant Rob-.rt Al           llko'

  was.towed frotn the scene.

                                                     0 V.
          On or abotit Novernbor. 11, 2013~.,
                                            ) DOI~pd@nt
                                               .        kot*rVA
                                                         I     -11en Pohl'drovo;said
                                                                                   ve M610 in a

  careless, negligent and ijnlawful rnwiner, causiiig bis vol-iole tocollide,with the Plaintifrs

                                                  . V.
          Defendant Robert Alleii F01. was driving in violalion of variotis Federal Motor:CV-flq'

  Safety regulatioiis, and various seotlons;of lvlinnesota Chapter 169 alid 221.




         .Tbat Dcfendant DSCi- f/k/a Pipcline Svpply.,           vicariously litible for the actions and/4

. oi-nissions off its eii-iployees, zgents% or ivprewntadvit:by and through theDoctrine of, RespOtd.- 616t
                                                                                                        .

 Superlqr.,.




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                                                      XVII.

          That as a,dire4t result ofbclendants' sAid iiegligcncc Eind sa id ie
                                                                             - s~aldhg.

John losepli IN.Thains sustained bodily inj-uries and dimlage'to personal property. T-ho-stich
                                                           -
injue4
   ri are ofI pennanent and towipora
                                   ry n atm-.: ThatPlaihoff;ohn Joseph W111*11rig-W auffered

in the.past, and'vvfll contitme in the fijture to stiffer physical and inental paiii and discomfoll

account of sucti bodily.-Wuries; has in the past.and will continue ill thelot-tire
                                                                                 i to wcu'
                                                                                         ri.wedical,

expewes oti account of such bodily iiij uries, and has in the past and -Mll. continue: in the f'llture'TO

iiicar wdge loss and loss 6fcatningzapacity on acco-unt ofsilch b(idily iAjur-jes. 'riiiit vlj-
                                                                                            b** sota of

said injurles, pain and (liscoi-nfort :fnedkal.expepscs, property dahigge axid loig:o~ jges2 P.              ir
                                                                                            .
Joiiii joseph Williams has nicurred.expeases and has:pgenerally been damaged iii a surn.ii.i e.'xces&

of Fifty Thousand and No/I 00($50,000.00):Dollus.

                                                  CWNT.11

          Plaintiff A-ir his second cause of action againgt itic Deftdants herein, states aiid allpges as

folloNys:




         Plaintiff re-Aqgres each and cvei-~y at lagad ii,i-,n,attcra.iidtliiiigootitaiaed.:i.n:CotznL,
                                                                                                      .I*'Qftlie
                                          I
Complaint, and incorporates the same herei n by rderelice,

                                                    xllixr.
                                                                 -
         ThaiDefendant V.aG f/kia Pipeline Supp!Vjnq.;,, was.neOgtmit tti iliring D6fc-ndant

All eii Polit'.

                                                      Xx.

         Thai DefeMaht'DS(3) f/Wg-'Pioelhie Supptt, Inc., faiW to exercisc, recAsoiiablo :e-.                4'ri

supervising and iraining Defei-dant Fwbert Allti Pohi,




                                                       4




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Case 2020CV000443          Doctiment 3




         That. Defendant DSG M'a Pipeline. StiPPIY., Inc., was negligent in eatruslifig the.

 commercial vehicle to Defendant Robert Allen P61ii.




         Tha(Derend.anf DSG 17k/a Pipeline Stipply,Inc., was negligent in thcretenlioll and.4 " 'g

 of Defendamt Robert Allen Pohl.

                                                    XXT[V

                                                                                                       ?
         That as a direct result of D6fejidant's:said,...negi:lgence ajid said resuffing ool'lisioil

 John Josepli 'Williams sustained.bodily. injuries :and: dallia-go. Vo personal property. That stOli.

 iiijuril eg-arc of a perniaricnt:andtemporary natare. Thai I'laiztiff Jolui Juseph Williaijis has:'tifT&red
                                                                                                   s

 in the pastj and will: co-ndnue in:the fblure,to. suffer phYsical and mental piiin aild disbordftt bili:

 acCoNTIL Of SUCh hoQy injuriest hm in ihe past atid N01 cbntintic in the f'ut-Liret io, in(= Medical

 expenses on account ofsijcfi. bodilYinjofies; and has in1he past. and will coat Lie in-the fu flo

 incur i~qge loss and loss of caming c4pacfty:maccourtof suvhbodfly jnjLITte-S That by,,-.e&               of

 said iiijuries, pain and discomfort, medical Pxoi%os, property damage and loss of wagesi Plalntil'i

 lolin, Joseph Willliams has incurred expenses. aodlas generaljy been damaged in a suni in.ckc.6-as

 of Fitty
       .11ousand and No.100 ($50,000.09) Dollars.




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                                                   Filed 09-18-2020            page 8 of 10
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          WI.-JURF,FORE,.Pltu*.n.t.iff dciiiaiids Judgment agai4s..t th-P, Defendantsherein in a sum in

 ~xeess                        and'No/1W--(.$50,Q00,00) Dollars., togoiberwitli costs and dift               's


 :and a 4w,01her and furtherreliefthe C'Otiti may deeni just.

                                                            PAIGE J, DONNELLY,LTD.



 Dated                                                      By:                              ZE.
                                                            Sheila K, Domiclly-Coynei#.2~%
                                                                                         379
                                                            Attorney for Plaintiff
                                                            skdcefile@paigedoiuielly.com
                                                            Slaite 1000
                                                            444 Cedar Street
                                                            Si. ft, .1 1. M.N. 55161
                                                            651.1 -222-2797



                                          ACKNOWLED0

          T4e undersigned aftomey acki.i.owledges, pursuant to Mfhm Stat.§ 54.9121.1, Subd, 2 :thoi.,
 the 4tiornoy and the affor-pey's client ai-e aWare th       —al upo      .
                                                                       n RMotion of a party, or upon the-cout-09
 awn M61ion, the court in ils discretion may award tothat party:costs, disbursoinents,.            . rcasonabk
 attomey's fees aiid 4vitness7 'fees if the party or attorney apinst whom costs, disbursements,
 rcasonablc attorney's andwitness f;xs ate cliargQd act-ed in bad faiih; asseiled a dlaim oriddekse
 tliat, is.,ffivolous atid that is costly.to- tho other p4rL7.y.; asserted an Unfounded Positioii solely w4elay,
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 S-irA:lT,-oF M»sO.TA.                                                                             D3STTtICT COITRT

COUNTY OF IIENN£P1N                                                                   Ft}URTH JUIPlClAL OI `~'': t`l'

                                                                                           Case `type;     sonsfl$jtkv

  John Josepla tVilliaius,

                                                    Plailitiff;           NOTrCE AND ACKNOWLEDGMEN.T
                                                                               aR SERYICk BY 1RAIL


  Robert AZ1en:Poh1`anci<Dako.ta. S`~tp~aly Criiup,                                   Court File no. 27-CV-18-47.27
  Inc. aN.orth nakofa Corporation f1kla.Pip.0line                                          Judge Ronulcf 7.;, tlbramis
 .;3upply+s bc:,

                                                    Defendarxts.
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TD: I3EFEi~tBANT ]~;4KOTA 'Sj71~PLY °GRQUY °G/O MARK R. IiAWSCN, 201 N S rH
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author;Zea,o ~.ve.proofts, you must indicaie u3ider your signatuxc your authcirity;.




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              , QUIRED TO PAY ANY EXPENSES INCURRED INSERVING A-
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SU1*vJM0-N7S AND COMPLAINT INANY OTHER MANTMER PERIVHTTED BY I-AW.

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served) must ans~ver tlae Complaiiii within 20 days, 11 you fail to do sojudgment by dot Wi Will

be:-takdn aga inst you Cor the iclief dem nded ih:the C6niplaint.-

          I declare. under pe-nalty of pcKittry Oat this Notico aild Acknowledgement of Receipt;0f.,

Summons and Coaiplairit mw inailed. oii the 1501 day of Angust; 2019,

                                                        PAIGE J-DONNELLY.LTD.



Dated.-                                                 B
                                                        Shei         hw
                                                        Attotliev for Plaintiff
                                                        skdeefile@,pai,,gedotuiellyxorn
                                                        444 Cedar Street
                                                        2300 UBS Plaza
                                                        St, Paul, MN' 53101
                                                        651-222-2797

          AMNOWLEDGISIENTM REIC'EllipT 0,T? SUIVIMONS AND COMPLAWT

          I &clare,, under p-Milty of perjiiry that I received a wW:-6f the Summoii-s 6nd CoMplaint

in the above"captioned matter at 700 Lincoln Avenue, St. Paul,TMN 55105


Date,of Signauxe                                         Sign' ature




                                                         Relaflon'ship tQ rsufity; authon'~
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                                                         Dakota Supply Cirotip



                                                  :2.


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                                                                                          126 FILED
                                                                                               09-18-2020
                                                                                               Clerk of Circuit Court
                                                                                               Washington County, Wi
                                                                                                2020CV000443
                                                                                                Honorable Todd K.

                                                                 ~41    "U.
                                                                                     N.-
                                                                                     ,




                            Report Claims lramediately by Calling*
                                       1-800-238-6226
                            Speak drecdy vWfh a daim professfonal
                               24 hours a day, 365 days i6 year
                     *Unless Your Policy Requires Written Notice or Reporting




                          A Custom Insurance Paricy Prepared. for:-
.um
                          DAKOTA SUPPLY GROUP INC
                          AND: AS PER iL Te oo
                          2M M AVENUE NORTH
                          P.O. liox 2886
                          FARGO N13.68. 110.8




                                 77 777.7,




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               ~~
TRAVELERS a1                                    9ne Tower Square, Hae2ford, ConnectEcut o6183

                                            TRAVBLBRS CORP. TSL: 1-800-328-2189
                                            COMMON POLICY DECLARATIONS
                                            ISSIIg DATE: 10/25/13
                                            POLICY NUkIBIER: Y-810-3D984291-TIL-13
      INSIIRILZG COMPANY:
      TRAVELERS PROPERTY CASIIALTY COPIPANY OF AMERICA
      1. IN PM INSIIRED AND AiAILING ADDRBSS:
         DAKOTA SUPPLY aROi1P INC
         AND AS PBR IL T8 00
         2601 3RD AV,RNIIB NORTB
         P.O. BOX 2886
         FARGO, ND 58108
      2.POLICY PERIODa Frcm 10/01/13 to 10/01/14 12:01 A.H. Standard Tima at
                                                       your mailing address.
      3.LOCATIONS
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          Loc. No. ETo. Occupancy            Addrass



      4, COVERAGE PARTS FORMIN(i PART OF THIS POLICY AND IETBLTRING CO2tPANIBS:
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      6.SIIPPLII'ffMAL POLICIES: Sach of the following is a separate policy
                                containing its ccmplate provisione:
        Policy                       Policy No.                 Insuring Company


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         PO BOX 1470
         FARGO, ND 581071970                                Au.hcrized Representafive

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     IL TO 02 11 89(RBV. 09-07)        PAGE 1 OF 1
     OFFICE: MINNSAPOLIS




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Case 2:20-cv-01600-LA Filed 10/21/20
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                                              POLICY NUMBBR: Y-81:0-3D984291-TII,-13
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                               COMMON POLICY CONDITIONS
All Coveragp Parts included in this,policy are subject , to the following Ganditions',

A. Cancellation                                                             during the . policy penod and up to three
                                                                                                                    .        its
   1. The first Named Insured shbwn In the Decla-                          afterward.
        rations may cancel this policy by mailing 6r                   D. Inspections And Surveys
        delivedng to us advance wdffen notice. of                         1. We have the right to:
        cancellation.
                                                                              a. Make inspectio'ns and surveys at any
    7- We may cancel this policy or any Coverage                                   timo,
        Part by maillng or delivering to the first
        Named Insured written notfce of cancellation                           b. Give ypu reports an the coriditions, we
        at least:                                                                  fiind; and
       a. :10 dgtys before the 6ffective date of can-                         c. Recommend changes.
               oellation if we cancel for nonpayment of                    2. We arenot obligated to makeany inspec-
             premium; or                                                      tions, surveyp, rdports or recommend afions
          b. 30 days before the effective date of can-                        and any such actions we do undertake relke
             ciellation if we cancel foir any bther reaw                      only lo insurabilfty and the prethiUftit tb W
             sori.                                                            cha . rged. VVe do not make: safety: inspections.
                                                                              We do riot undertake to perform the duty of
     3. We will mail or dellyer our notice to the first                       arry person ar organizEition to provide for the
         Named Insured's last mailing address, knoWn                          health or safety, bf workers orthe public. And
        to us..                                                               we c!o: not warrant.that conditiom:
     4. Notice of cancellation: will state the effective                      a. Are safe or healthful; or.
                                      . . is 6.,anoelled:I1
        date of cahoellafion. If the policy
        that date will become the 6hd of the policy                           b: Comply wfth laws, regulations, :codes or
         period. If a Coverage Part is caricelled, that                            standtirds,
         date will become the end of: the: poliby period                  .3. Paragraphs 1. and 2. of this c6ndtion aooy
         as respects that Coverage Pcirt only.                                not onlyto us, but also tci any rathg, tidVi-
    6. If this policy or any Coverage Nrt is can-                             sory, rate wrvice or simil isr. organization
         called, we will send the first Named Insured                         which makes Insurance Inspections, surveys,
         ariy premium refund,due, If we cancel, the: re=                      re p oftso'r recommend.0tio : ns.
         fund will be pro rata. [f the first 'Natmd ln-                   4. Paragraph2. of this condftion does notapply
         sured.caricels, the refdnd moy bb less than                          to: any inspectons, survey§, reports::ar rec-
         pro rata. The cancellation will be effective                         ommendations we may niake relative to certi-
         even if we have not made or offered a re                             fication, uiider state dr mUhidipal statles, or-
         fund.                                                                clinances: or ragplations, of boilers, pressuie
    S. If nofice is mailed, proof of niaiiihg Will be                         vessels ovelevators.
         sLffficient proof of notice.                                  E. Premiums
S. Changes                                                                1. The first Named Insured. shown In the Decia-
    This policy contains all the agreements between                           ratioris:
    you and us concerning the i=jrance aftbrded.                              a. Is responsible for the payrhent 6f 611 pre-
    The first Named Ir'mured shown in the beclara-                                 miunz; and
    tions is authorized to make changes in the, tertns
    of thispolicy.withour consent. Thls policys terms                         b. Will be the payee for any return premi-
    can be: amended or waived onty by endorsement                                  ums we pay.
    issued by us: as: part of , this:pollcy.                              2. :We, compute: all premiums for this policy in
G. Examination OfYour Books And Records                                       a=rdance wfth our rules, rates, rating plarts,
                                                                              premiurne 6nd mi,nimum premiums. The pre-
    we my examine and audit your books and                                    mium shown In the Declarations was com-
    re. cords as they relatO tO this pcilicy eii any, time                    p iked based on rates and ruiLis in effect at



ILT6.011 CH 07(Rev.M.09) IndWes the ccp"hted. .m. ate.3.iW. oflPsumnce-SerAces pffico. Ino. vft its permissfon.     Page.1 -of.2



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        the time the policy was issued. Qn eaoh re-                       acting withsn: the. scope of:: duties as your„tegal
        newal continuaC~on vr anniversary of the ef-                      represeritative Until your legal r8presentattve; is
        fective date of thfs poiicy, we will coinpute:                    appointed; : anydne havirtg proper temporary cus-
       , the premium :in accordattce with our rates                       tody of your property wili have your rigii#s and
        and.rules then in efi'ect:                                        duties but only with: respect to that property:
F. 'Pransif'er dJf 'your 'Rights Artd DuBies 1Jnder'
    This`hoiicy                                                      G. 4r{uiprnent Breakdaw+n Equivaient tti:_ Boiier
    Your rights and duties::under this policy may not                    anr! Maohinergr
    be trartsferrerJ without our uv!rritten consent except.               On the. Gommon Policy Declaratio.ns; the_ term
    in the case of death of an individual named in-                       Equipment Breakiiquvn is understood: to meari
    sured.                                                                and' inciude 13oiler and Machinery anoi ttie tertii
    If you die, your rights and duties will be trans-                     Boiler, anci :Machinery is understood to mean and
    ferred: to you► legal representative btit oniy whlie                  include Equipment Breakdown::

This palicy consists of the Common Folicy Declarations:arfd the,Coyerage Parts and endorsements listed:9n:that
deciaratiorts form.
In retum for payntent of the prerriium, we agree wrth tiie.:Named fnsured. to:provide the insurance afforded:by a
Coverage Part forming.part vf this poilcy. That insurance:will be provided: by the:company tndicated asinsuring
company in the Common Poiicy Declarations tiy the abbreviation of its name opposite that'Co.verage Part:
One of the companies iisted below (each a stock.company) has executed #his poiPcy, and thPs- poiicy is couriter
s.igned by the officers listed beiow:
The Tra.velers Indemnity Company.(IND)
The Phoenix insurance Company (PHX)
The Charter Oak Fire Insurance Company:(CUF)
Traveiers Property Casuaity Cornpany of'Arserica (TIL)
The Travelers Inderrtnity:Company: cif'Connecticut:(TCT)
The Traveiers inde►nnity Compariy of America ('T'IA)
Trravelers Gasualty Insurance Gonipany of: Arrierisa (AC,I);




                                                                                          I
        ~~~~                                                             d~
        Secretary                                                         Presufent




Page 2 of 2        lncluHes the copyrigited rpaterial
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                                                      of lhsuranae Sen~es:ONice; lr~: wtth ite permission. 1t T0 $1, O1
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 POLICY NUMBER:
        . . ..... Y-810-3D984291-TIL-13                                                  ISSUE DATE: 10-25-13:
        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



 A.SCHEDULS
     1. This endorsement modifies insurande provided under the following Coverage Part(s):
         COMMCXAL AtJTOKOBILE COVEMAGE



     2. Thfs endorsement applies to -the Declarafions from 10.-01-13 to 10-01-14 12:01 A.M.
        Standard Time at your mailing address shown in the:Common Policy Declaratiohs.
     3. Definition of Premium Base (Bases):
        PER UNIT

     4. Exceptions (if any) to compositing of premium calculation:




     S. Premium Schedule
                                                                              PREMIUM
     COVERAGE                                                                 BASE
     SEE IL T8 25


     ESTIMATED                                                                ADVANCE
     EXPOSURE                          RATE                                   PREMIUM




(If no entryappears above, information rejuired tb comolet6this - endorsembnt will be shown in the Declarations
as applicabletb this ehdoreament.)



 B. PROVISIONS                                                  premium: shall be computed in accordancewith
     1. Referring :to the Schedule above, the: prem iurn        the-policyand this endorsement. K:the.:eamed
        for.Ahe Coverage Parts shown in: ftem 1, except         premium thus:computed exceeds the esdinated
        wlth:respect to any exceptions shown in item 4,         aMncepremiuirn paid, y.ou:s.hall pay the ex
        shiA. be computed in accordame vAth the                 cess to us, jf.less, weshall retum to yau. the
        prerttium, base (bases) eind rate (rates) dosig-        upeatned;paid::portion. Rates.0and prerhibms
        natad in Item 5,                                        f&:any subsequent Declaritl6ris::P6riods: . shall
                                                                                                   . ... b..
                                                                 be determined 6f.the inception dat6 f th. as. 6
     2. The premium for the excepted: hazards shall bt-
                                                                 respective: periods and shall bq9 specjfiedln
                                                                                                        I      ..enw
        computed Jn accordance wkh the rates::and
                                                                 donsements tb be.addedj   .to, . he: po Hcy. After
        rules filed by us or on our. behalf.                     termination. of each.periodi thia earned vremiUm
     3. The advance premium stated above is 6n es-               shall be cornputed in ecoordance with Ahe
        timated premium for the Deblaratibhs Perlod;            policy and this istidorsiatneht.
        Upon lermination of this period, the eamcid


IL T3 02 07,86 (Rev. 12-oa)                                                                            Page, 1:0f 1.



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                                                                         _  _AB7'PD P~JLICY


                                                             ENDORSMIENT- IL TS ' 00' 10 13
                                                    POLICY ROMM Y-B10-3]7984291-TIL-18

  ** THIs BNDOItSRMNT CHANGE9 TH9 POLICY. PL$A3E RRAD IT CRRSFQLLY. **

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                  i,:r o r4 i0i UE11)




     IT IS AGREED ~.'F!AT s
        ~"       cR ► ~r•w'. `~               ,~r

     DIlRC13'A St7PPLY GRUUP INC
     TNIRD AVENUE Ct1A464$R+CIAL R81ML$ LLP'
     DP,Rt7TA LAND C01dPANY
     D.E:S.C. LLP
     SRDADAtAY COMMERCIAL R8T73'ALS LLP
     I3BSXF LLP
    .PLAINSCt1. IHC
     I11iTBItSTATB IITILITY PRODDCTS
    NCI;AV0i8LIN
       _          ELE3CTRIC 3DFlPLY BOUSF 2EdC
     J:B:
        _ ELECTRIC:SIIPPLY
     DBSP REN!'ALB.. LLP ...
     DAROTA BLNCTRIC 9.tTPPLY Cf9Ni►ANY
     BYDAD PffiTIITtING TL'CBNOLt)+GY
                               _   _  II~
                                       _
     W:.A: . ROoBRV.SLT C0 ...
     M1G3I 3IIPPLY I19CURPURAfiSD




    EFFECT'XV'8 DATE . .10-_ . 0I:=7:3 EHPII?A'TION
                                         _ _ .      DAfiB :10-t11=14
    FAGE 0001 DA.T'8 .OF I3SUE: 10-25-13




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                                            POLICY P'1MER         Y-810-3D98429-1-TIL-13
                                              ISSi76 DATBs          10/25/13

      TRI3 HP7DORSEUMt' CTUdTGFsS THE POLICY. PLEASE RBAD II' CAREEQLLY.
                           G'r1LCCTLATION OF PR6MIIIM - COt+lPOSITE RATE(S)
      THIS MVDORSOI'uIT :KODFI"ISS IZ+lSURAPdCi1 PROVIDE'D ONDBR TIIE FOLLOWINGs

                           SDSIp1ESS ADTO COVBRAGE PART




     VEHICLE TYPE: PRIVATE PA88FNGER
                         POL LRVEL DED           COP'tPOSITE
     COVERAG$           PBYSIC.AL DAMAGE         t-7oD RATE              #VEHS         PRENIIIY3

     LIABILITY                                         301                  58          17958
     COMPRBHEBdSIVE       01000                         23                  58           1334
     COLLISION            01000                         49                  58           2842



     VREzCLE TYPE: LIGHT TRIICRS

                         POL LEtIEL DED          COAiPO3ITE
     COVERAGE           PRYSICAL DAFIA(3S        D10D RA'PE              #VEHS         PRPZdIIIl3
     LIABILITY                                         262                  67          17554
     COFiPREBBI`dBIVE     01000                         24                  64           1536
     COLLISIOPI           01000                         95                  64           6080


     VERICLE TYPE t 1-IMIU23 TRUCK9

                         POL LBVBL DED           COZIPOSITE
     COVERAQE           PHY3ICAL DAMAOE          MOD RATE                #VBES         PREMI[J24
     LIABILITY                                        454                   24          10896
     COAIPRIIBIM3IVE      01000                        46                   23           1058
     COLLISION            01000                       212                   23           4876




       SYNIDOL NO IL TS 25
                                                                          PAGE     1
       PRODDCfiR WARNSR AND COIdPANY                             OFFICE 116




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                                              POLICY NC1YdBBR       Y-810-3D98429-1-TIL-13
                                                I89DB DATB:           10/25/13

      THI3 MDOR3Ec~CT4`P CI3ABfGES THL POLICY. PLSA..9E rtTSAD IT C£LRErIILLY.

                            CALCOLATIOIJ OF PRENIIIIM - COMPOSITP R.kTFs(S)

      TBIS E1dL70RSEKENT MODIFIES IIJSIIRANCF PROVIDH'D lINi7ER TIIR FOLLOWItvG:

                            BU$ MSS AIITO COVERfiGE PAR3'




     VEHICLE TYPg: HEAVY TRTICKS
                          POL LEVEL DRD            COMPOSIT'E
     COVERAGE            PHYSICAL DA1dA(3B         MOD RATB                '#VEfiS       PREZSIUbi
     LIABILITY                                           949                   45         42705
     COMPREHffisiSIVE      02500                          73                   39          2847
     COLLISION             02500                         334                   39         13026


     VEHICLE TYPE: EXTRA HSAVY TRQCRS
                          POL LEBEL DF.O           COt8PO8ITE
     CO'n1PAc3F          PHYSECAL DAD'lF.GL        MOD RATE                t#V88S     PRSMIUAi
     LIABILITY                                           473                     5         2365
     COMPR        SIVS     02500                          63                     5          315
     COLLISIOId            02500                         283                     5         1415


     VSIHICLE TYPE s TRAI LBRS

                          POL LEVEL D8D            COMPOSITB
     COVgRAdE            PHYSICAL DAKAAB           MOD RATE               #VEHS       PREMIQ4i
     LIABILITY                                            44                  29           1276
     COMPREHEATSIVE        01000                          24                  20            480
     COLLISION             01000                          79                  20           1580




       SYMBOL PTO IL T8 25
                                                                            PAGE     2
       PRODIICSR WARNER kND COMPANY                                OFFICE 116




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                                          POLICY Y3ZfPB;BR          Y-810-3D98429-1-TIL-13
                                             IBSUS DATBs              10/25J13

      THI9 MTDOASnZNT GHATQO8S T&~IE POLICY. PLE ►3H RSAD IT CAP,EYaIId,L7C.

                         CALCOLATION OP PRMIDFi - C'02dPOSITE RATR(S)

      THIS MOORSEKFXT F&OIDIb'I8S INSIIRAtdCg PROVIDED LTNDER THE FOZLODQIN4r

                         bT73INESS ElIITO CDVEF.AC3E PART




     I423C8LLABJSOIIS COVBRAGLS                        PFt8mItm
     TOTAL PRRN1IiThI                                        1056




       3XEBOL NO IL T8 25
                                                                           P?,GE    3
      1PRODUCBR WARITFP. ALM C013PAN}.'                        OPFICE 116




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             A04                 i
TRAVELERSJ                                   One Tower $qL*re. Harftrd, CoMecticut 661:03


                                                     BUSINESS AUTO
                                                     COVERAGE PART DECLARATIONS
                                                     Iasue Datei 10-25-13 SC

     ITEM ONE.                  Policy Number- Y-810-31D984291-TIL-613
     INSURING COMPANY:
     7RAVELEMS PROPERTYL CASUALTY COMPANY OF AMERICA
     Declarations Pariode From: 10-1.1-1.3 to 10-01-14 12.01 A.M..Standard
     Time at your mailing address shown in the: Common Policy Declarations.
     The Comercial Automobile Coverage Pikrt consisto of these
     Declarations and tlio Business. Auto Coverage Form.shoOn below.
     FORK OF BUSINESSt CORPORATICN
     ITEM TWO;
      A. COVERAGE AND LlUITS or nouRANcki.
         Coverage applies only to tho8e..Autoe:showa:as Covered Autos by entry
         of one or more Symbols. from SECTION 1: - Covered Auto of the
         BUSINESS AUTO COVERAGE FORM:


                                     COVERM      LIMITS OF
        COVERAGE                     AUTO BYEBOL INSMWCR

                                                   The most we. will pay for
                                                          ...... accideikt or; - 1,668.
                                                    any. one                      ...
        LIABXLITY                                       11 606,000
                        I
        PERSONAL INJURY              5             deparately.stated in each
         PROTECTION                                PIP eiidorseniont minus
         (NO Fault)                                deductible ohown., In
                                                   ITEM THREE-SCMMMB OF
                                                   COVERED. A13TOO, YOU OWN.
       :AUTO MEDICAL PAYMNTS         2                5,000:8AC91PERSON

        UNINSURED AND                2             SHE CA T0.30
        MMEMINSURED
        MOTORISTS COVERAGE




    CX,70. 01 62 07                                PAGE (CMiTINUED)
    PRODUCER WARNM. AND COMPANY EX956              OFIFICE: MPLO 116




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TRAVELER~j                                      One Tower Square, i°IaWQrG, Connacticus Qa183


                                                        BIISINEss AIITO
                                                        COVTRAGE PART DSCLARATIONS
                                                        Issue Date: 10-25-13 SC

                                    Policy Nwnkser: Y-810-3D984291-TIL-13



                                    COVEE2ED           LIt4ITS OF
       COI7SRAGE                    P.[JTO SY2ffiOL    INSiTRANCE



       PHY9ICAL DAR3A(38             8 10              Actual CaEh Va.lue or CoBt
        Compxohenaive Coverag©                         of R3pair, whichever is
                                                       leea, minua deductible
                                                       sbow-n in I`PEB3 THREE-
                                                       3CSSDIIL$ aF COy,rRR® AUT08
                                                       YO[' OM for each covered
                                                       Auto, but no deductible
                                                       applies to loes cau89d by
                                                       fire or lightning.
                                                       3F& ITEM FORR FOR HIItED
                                                       OR BORROp1ED °AIITOS°.
                                                       SEE IL T8 25
       PHYSICAL DANdAAG63            8 11              Actual Cash valua or Cost
        Collision Cov®rag®                             oP Repair, whicheves' is
                                                       less, minua deductible
                                                       shown ia lTSK THREE-SCHEDIILB
                                                       OF COVERSD AIITOS YOD OpPN for
                                                       each covered auto.
                                                       S$8 ITBli FOL7R FOR HIRFD
                                                       OR BORROWED °AIITOS°.
                                                       S$E IL T8 25
     B. AUDIT PTRIOD: C014POSITE ADTO




   CA TO 01 02 07                                     PAGE (CONTINIIEn)
   PRODIICER WARNER R.YdD CONlPANY E%956               OFFIC$ MPLS 116




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TRAVELERS                                          ®ne Tcwer. sc{uarO, Harrtfvrd, ;toonnscttcut 08183


                                                            BIISTBdESB AU'd'O .
                                                            C►JV'8I3AGE PART DBCLARATION
                                                                                       Iis
                                                            Iesua Dates 10-25-13 SC

                                      Policy N'Umbeac: Y-810-3084291-TZL-13
                                               _
      G. DR3CRIPTIOId OF. CQVIsR8D A.'UT4 D8SIMATION s1BR3OLSs
          Bymbals 1-9, 19: SSE BIISI14R3B AUTO .COVREtA4E P`OSiPd 6ecticn 1
         Oovered Autos
            3ymbo1 16: .COP3PRERRR'SZVE :COVMi3l3 APPLIFSS Tt3 ALL OMED AZTl'tyS
                          E[CBP:T: t
                         EXCLIIDINa VERICI.'8;3.AND TRAILBRS MQbBL XEAR
                         2008 AND PRI:OR!.
                                                                                                        ~
            Synbol: 11s COLLI9I4N COVkRAGS AP1~y:IE$ T.D. ALL.OPIM daURXOS EXCEPTe
                         RItGLUDIP7G STEHxC..I~$9 .A1+TD TRAII~i;~; MOI?EL YEAFt
                         204o A~an
                                 PRi~OR;
     D. LosS PAXBE; Any:ioae undaar Pbysical Dazag.e Cov®rag®s'is payabla,as
         intereFsic may... s ~ear to; .you and : the i~s.s Paayee nam®d in ~the Daalaxatir~ns
         (ses Lass Pay~Td C7auSe ort rsva:p® side;):




   CA T'4 Ol: 02 :07                                      PAGR ~CQNTINITED)
   PR{?I3UC8R 6PFiRMBR A'ND CQMPANY 8X956                 OPFIC3 MFLS: 116




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                ~APRI
TRAVELERS J                                      One Tower Square; HBatford, Ccnnsct!cm 06183



                                                         BIISINEss AIITO
                                                         COVERAGB PART D6CLARATIONS
                                                         Issu® Date: 10-25-13 SC

                                        Policy Ydumber: Y-81.0-3D984291-TIL-13




    I.08S PAYABLB CLAtdSE

     A. Wa will pay you and th® loaa pay®a naanad in the policy for 'loss°
        to a cov®red °auto", as int®rest mey appear.
     B. The fnauxance eovgrs tbe iIItarBst of the loss payee unleas the
        91oss" results fran
                         m, conversion, aecretion or esab®zalement on your
        part.
     C.    WE may aayacel the policy ae allowed by the C:aNNCELL_AT.iON Common
           Policy Condition. Cancellation ends this agreement as to tha locsa
           payAa's intarest. If we cancel the policy w® wils mail you and the
           loss payce the same advance notice.
     D.    If wa ma}eA any payment to the loss payee, wa will obtain thair
           rights againat any other party.




                                       9CMDIILE 0F LOBS PAYEES

          VPiHICLE NtTB®IIt                       LOSS PAYSR (Name and Address)




    CA TO 01 02 07                                     PAGB (CO.~'I'IL7IIW)
    PRODIICER WARNER AP7D COMPANY 8X956                OFFICE b4PLS 116




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  .. r , ~ ~4' ~ 4.. i.. ~• ~.f                                                  OneTower Square, hiattford, Connectiotat o6183
BdJSINESSAt1T0                                                          ,         POLICY NO:: Y-810-3D9$4291-TIL-13
COVERAGE f'ART DECLARA71ONS                                                       ISSUE DB'1TE: 10-25-13

ITEM FOUR                                 I
SCGIEDl9LE OF HIRfmD OR BORRO1tVE0 COVERM;AUTO COVERAGE APtD FREi1PIU&YS.
t.dABILFTY COVERAGE — COST OF HiRE RATiNG BASIS FOR A6lTOS USEC3 6!V YOl1F3 tUMTOfZ CARRIER
OPERATdONS (O'i'HER THAPt MOB@LE 0R FARM SOUIPMMT)
                                           ESTIwAATED AAlOJUAL COST QF FfIRI:
 LIABILIIY COVERAGE                                FOR ALL aTATES                                                    PREIVlIUM
PRIfVEARY                           s                                                               $
COVERAGE
EXCESS                              $                                                               $
COVERACaE
                                                                            TGTAL PREm9lAA $

For "autos" used in your motor carrier operations, cost of hire mean.s:
    (a) The totei doilar amount of oosts you incurred for the hire of automobiles (inciudes "trailers" and semitrail-
        ers), and if not included therein,
    (b) The total remunerations of all operators and drivers' helpers, of hired automobiles whether hired with a
        driver by the lessor or an "employee" of the lessee, or any. other third party, and
    (c) The total dollar amount of arry other costs (i.e., repair, rnaintenance, fuel, etc) directly associated with op-
        erating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
        cwner, or paid tc others.

LIABILtlTY COVERA GE — COST OF HIRE RATyN(3 BASIS FOR AUTOS NOT IeSED IN YOUR MOTOR CAR-
RIER OPERATiONS (OTHER THAN MOBILE OR FARM EQUIPMENT)
    LiABILITY                                           ESTIMAT[D ANNUAL COST OF HIRE
   COVEfiAGE                        STATE                      FOic EACH STATE                                           PREMItJM
PRIMARY                                           $                                                             $
COVERAGE
EXCESS                                            $                                                             $ INCL
COVERAGE
                                                                                       TOTAL PREMAUNfl $ 22iCL

For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
of "autos" you don't own (not including "autos" you borrow or rerrt frorn your partners or "empfoyees" or their fam-
ity members). Cost of hire does not include eharges for servioes petformed by motor Carriers of property or pas-
sengers.




GA TO 03 0310                                         0 2010The Travelers Indemnity Compeny                                      Page 1 of 2
                                  Includes copytighted materlal of insurance SerWtes OtTice, Inc. wlth its permission.



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ITIf°M FOUR
s0HEDBlI:E 69F &dlRl=D OR B®RFd®WEC? CO1fERED AUTO CC?tAERAGE
                                                           _ A,ND PREhPi9UMS: {CON7°'D}
P4#YS!>wAL :OAiMvAGE COVERAt3ES — twCtST ®F Fi1RE .R.ATYN@ :BAsJS IFOFB ALL AU`rOS (OTFOER TMAfV
MOBILE OR FARNB EdatllPME"                                                                   ...
                                                                                              ESTlMA'fED
                                                                                                A1VFdliAL
                                                                                            COS't OF Hi9tE
                                                                                         FCaR EACH STATE .
                                                       _                                  (i~ciuc3tng::Q;ug>ias                               _.
       COVERAGE
              .              S'TA't`ta            LImIT" oF fMSURANCE                    HiredWith a Drtver)                  PREiV6lt;lM.... ..
                                            AGTtJAL CRISH:NALUE:OR CDST OF                                                         gNCL:
                                            REPfiiR: wHtCH1;1JER fS LESS,
                                            MINUS:$ 1,000              6Ei7UC.TIBLE
COMPREHEItt sI1/E                           FOR EACH COVEF2ED AUTO. .:
                                            SUT NO: DEflUCT►BLE APPLIES TO
                                            LOSS CAUSED BY FIRE ©R
                                             LIGHTNING:.
                                                                                                                                            .....
                                                                                                                                             ..... .
                                            ACTt7AL CkSH VALUEi4R CQST                                                $
SPECIPIED                                   OF REPAIR; V#tiilCHEt?ER IS LESS,
CAi3+SES ®F                                 MINl1S                  DEDUCTBLE : ,
                                            FOR EACH COVERED.AUTO FOR:
LtO$~                                       I:pSB GAUSED 8Y AAISCHIEF OR
                                            VANDALlSM:                 "
                                            ACTUAL CPiSH 1tALUE OR COST                      75 00 0:                 s            IY~C$a
                                            OF REPAIR, iMlilCHE►IEFt:IS,LESS,
~''~L~I+~i~~                                fUlihlU'.SS ~. r Q11l~: QEI)UCTIBL E
 . .......... .:                            FOR EACH:COVERED;AUTO;.. .                                                    .    .    .       ... ........
                                                                              ,. . ...
                                                                                            TGTAL AREMIJM $ :                 iNCi,
For Physical Damage Coverages, cost of hire:means.the total amourtt ypu incur for the hire'of "aukos" you don`E
own (not iricluding "autos" you borrow or rerit from your partners.or "employees":ortheir:family members}: Cast of
hire daes not include charges for ariy "aLlto" that is leasecl, hired, rented, or borrowed with a diiver.
ITEM:Ft'tt1E
SCliEDULEFOR NON-CD9VNERS1•tIP LiABILITY




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Page 2 of 2                                    0201DTheT{aysl®rs Ir~demnityCumpany.                                           GA T8 03tY3 90
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T
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         VE LER.S     t                                                   OneiTiow®r Square, NartPord, ConnacticUt :t}#31e3
BLlS9NESS AUTd'9j'rFdtJCKERS1CARAGE!                               P'OLICY Nd'J.: 'Y-810-3T3984291-TIL-13
   fUlOTSbRCARRBER C0VERAGE'PAFtt°                                 1S5fJE UATiC: 1.0-25-13
uUP'PLE6VIi~~TARY SCHEUULE


tTEM TWO
OOVERAGE i4ND l.IMITS bF fhlSURAI+tCE
UN6tdSUPtED iVIK7TORfSTS G®VERAGE ANA UIdDERI(NSUFtED t4R2T®RtSTS C®VERAQE

The LINiITOF INBURANCE forthe coverages shown beiow is the LIMIT OF IhtSURANGE shown forthe State
whers m coYered':auto" is Rrincipaily garaged. Refer to the speaific coverage ertciorsement for c#escription of the
eoverageProvided for each State listezt'kieiow:


      Coverag$
UNINSURED N10TORISTS                           LIN11T OF lNSURANCE
          "Bodity tnjury" and
        "Property Damage"               °Bodily Injury"                     "Bod1y injurj'                           "PropertyDarriage"
State Combined Single Limit.           Each''Accident"                Each Person EFach "Accident"                    Each "AccielenY'
IA                                     i f Ott4,:t10o
mg                                     1.:000; Ofl4.
NT                                     1~,4a0, Ot1{t
PID                                    11000,0100
SD                                     1, 4Do; 040
wz                                     1100.011 600




UNDERINSURED MOTORISTS                        LIMIT OF INSURANCE
(VVhen Underinsured (Vlotorists is a separrate ooverage)
         "&jdily, lnjury" and
         T.roperty!Damage°              "Botlily:lrJury" .                  'Boddy_Injury"                          "Property Darriage"
State Combined Singfe Limit          Each "AccitlenY'                 Each Person Each "Accident"                     Eacfi "Acoiolenr
IA                                 $ i,oao,oao
~                                  $ i,000,00tr
~an                                 $ a, 000,;000
SD                                  S i, o0o,'aoo.
WI                                  $ 11 000,000




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                              Indudes the copyrighted material of The $t. Paul Travelers Companies, Inc.




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    QECTDN| - COVEREOAUT[S                                                  '
       CemoriptionCfCoveredAuLo Denignation8ymbp~s ............................ ............................. .......... 1
       [hmredAutosYouAoquira/fterThmPuUcyBeqino ..................................................................... '2
       CerikalhTmjbysAnd Temporary Substlute &LAus ............................... .......... ................................ 2'
    SECTIONU-Lk~HLO~{ OVERAG E
         '
       Coverage . ................ - ... ........................ -'.................................................... ............... _-2
       VVhoIsAnknsmred... .............................. ..................................... .................................................. 2
       Coverage Extensions
           Su !            g/Faynnemts--..,_-.---------_-___-_,,_^,_.__,~.___'_,,,_. 3
           OutcfSbate ............................................................................................................................ 8
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       Umitof Insunancm ..... ............-_-....... ........... .,__~~,.,,,~~~.~,,~.,',_.~~_,~,,^5
    SECTkONU|-Ffff0KCALDAM/HGE[%OVERAGE
                  ......... ................................ .................................................................. ..........G
       Covera0e----'-
       Exmuamnm---.--.,.--.-,^^-.-,..~.'~.~~`~-..^~--''-----'^-^^^^^'^----~^^-'6
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       Owductiblw...... .................................... ......... ............................................................................. B
|SECTIONN-~~N~~
  /                                  AU~                   TI=_
~      LossConddions
           Appraisal ForPhysiom DanageLuau .......... .......................... ................................................ B
~          Dutiemin theE^entCfAodidemt,C1alm.SuitorLxms .......................................... ........... ........ 8
           Legm/ttimnAgmnstUs ................... .......... .................................. ............. . .......................... 8
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       Gonere|Cood0mna
           Bankmuptcy..................................... ................. .......... ....................................................... -e
           Conmam|ment. M|srepreemrtafipnOrFnaud ....... .......... ......................................................... _0
           LUbemUzatior .... ....................... ........ ............. ................. .................................................. W
           No: Beriefit To Bailee -Physical [*mnmgeCovenagft .............................................................. 9
           OUter'Inmuranca ... .................................................. ............................................................... 9
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                                                                                                            COMtv9ERGIAL AUTC3




                                                                                                        .. R ,_
 Various provisions in this policy restrict coverage.           :c _ .   .~,.• : .   ,M i .   '_ ~. ;

 Read the'entire poffcy carefuliy to determine rights,         Item Two of.the
duties and whaat fs: and is not covered.                                     _ Deciarations shows the "autos"' that
                                                               are covered "autos`` for each of your coverages iThe
Throughout this policy the words'you" and "your" re-           followirig numericai symbois.describe the: "autos"
                                                                                                               . that
fer to the Named Insured showri in the Deciarations.           may be covered "ai.atos''. The symflols entered: neXt to
The w. ords :~e! ~~~
                  , us .~~ and our"
                               ~~   refer to the ootnpany      a coverage on the Oeciarations designate t.he ontti
providirrg this insurance.                                     "autos" that are covered'"autos".
Other words and phrases that appear ►n qutstatfon              A. Descrdpti!mn Of Ooveretl Auto Ceasig14m, jt
marks have: special meaning: Refer to Section V-.                 Sjtmbcls
oefinitions.

  Sytnbol                      Description Of Covered Auto Oesignafton Syrnbols
     1    Any "Auto"
     2    Owned "Autos" C3niy those "autos"- you own (and for Liability Goverage any "trailers" you dorYt own
          Only          whiie attached to power units .you own). This inciudes those "autos" you acquire
                              ownership of after the policy begins:
     3      CAn+ned Private   Oniy the private passenger "autos" you: own. This inoludes those private passenger
            Passerager        ''autos":you acquire ownership of after the policy begins.
            "Autos" Only
            C)wned "Autos" Only tfwse "autos" you ov+in that are not of the priyate passenger type; (and : f.or
            Ctther Than    Liabilfty Coverage atry "trailers" yflu don't own while attached to power unts you
            Piiv.ate       own). This includes those. "autos" not of the private Passeriger type you acquire
            Fassenger      ownerahip of after the pbllcy begins..
            "Aut.os" Only
     5      Owned "Autos" Oniy those_ "autos" you own that are:;required to have no-fault beneffts in tfie state
            Subject To     where they are licensed or principally garaged. This includes those ''autos" .you
            No-fault       acquire ownersFi'► p. of after the polioy beglns provided they are required to have
                           no-fault: benefits:iri the state where they are licensed or pririoipai.l.y gar°agert.
     a      C?wned "Autos" Oniy, those 'butos" you own that because of the law in the state where they are
            Subject To A   licensed or principa!iy garaged are required to have and eannot reject lliiinsured
            Compulsory     Motorists Coverage. This Iricludes those "autos" you acqufre ownership of after the
            Uninsuured        policy begins provided they are subject to the same state uninsured motorists
            Motorists Law     requirement.
     ]'     Specifioaliy      Orify those "autos" described in Item Three of tfie Declarations for which a premiu.m
            Described         charge is shown (and for Liability Coverage ariy "trailers" you don't oWn v+itiile
            "Autos"           attached to any power unit:described in :Item Three),
     a      Hired "Autos"     Only those "autos" you lease, hire; rent or borrow; This does not include any. "auto"
            Oni y             you lease, hire, rent or borrow frorn any of yaur „ernployees", partners (if you are a
                              partnership), members :(if::you are a iimited liaUlity company) or members of their
                              households.
     g     hlnn-owned         Oniy thoae "autos" you,do not:own, lease, hire, rent or borrow that are used iri cart-
           "Autos" Only       nection with your business:: This inaludes "autos" owned by your "etnpioyees",
                              partners (if you are a partnetshlp), mernbers (if you are:a lirnited iiability company) or
                              members of their househoids but only while used in ynur business or your personal
                              affairs.




CA 00 0103 10 (itev. o2-11)           4). Insurance:Services:Offlce;,.lne:, 2009. :                               Page 1 of:12


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COMMERCIAL AUTO


    Is     moule          Ohly those, "autos".1hat are land,vehi.des and: that, would qualify under the definition of
           Equipment      "..mb. bile pquipmenV.''uhddt:this p6lidy if they were not subjeot.to, a compUIgbry or fl-
           Sulpjept To     nancial respons.ibility laW or 6ther: motor: vehicle Insurance laW where thOV: are::11:-:
           Compulsory     censed or principally. garaged,
           Or Financial
           Responsibility
           Or Other Motor
           Vehicle .
           insuranoe Law
           only

B. Owned Autos You Acquire After The Policy                  SECTION 11 — LIA BILITY COVERAGE
   Begins                                                    A. Coverage
   1.lf,$ymbols
       I    .       1, 2 3, 4,I 5, 6 or 19 are entered           We Will pa                               red" legally must: pay
      n ext to a coverage in Jtem Two of the 136cla-            as: diime-cies because of: 'bodily injury" or "prop-
      rations, then yoU hOve coverage for "Autos"                erty daMage" to whidh this. Insurance.a0plies,
      that you acquite of thetype described4or the~
      remainder of the policy period.                           caused byan "accident" and resultirto frorri tho
                                                                 ownership, mairitenarice, or use. of 1i covered
   2. But, if Symbol 7 is entered. next to a coverage           4.164011,
      in:ltem Two of the Declaratlions, an'~aute'ybu
      acWire.will be a covered "auto!'for thatcov-               WO wilf altb pay all surns an "insured". legally
      erage only if:                                              must pay as a."covered:polkAlon cost 6t dkpense"
                                                                to Which this.: insurance applies, caused by an
      a. We already cover all."autod" that you -own             "accident' an.0 resufting from the ownership;
          for that coverage or it rer)laces an "auto"             mai riteriance. ..or .use.. of.
          you previously owned that had that cov-                                               ......cdvered
                                                                                                         ..    "autos". However,
                                                                v.V.d will- only pay fbr the "ob    ,vered pollution cost or
          erage; and
                                                                ..oxPefisell it ther6-is ofther
                                                                                           1.       "bo . 0ily injury" or "prop-
      b. You tell u.s within 30 days after you ao-              6rty damtgd'to Which this ihturiince applies that
          qulFe it that you want us to cover it for that        is: oaused by the sarne"accidenr'.
            coverage.
                                                                YVe have the right and dLdy to defend ariy "in-
C. Certain Trailers, Mobile Equipnmnt And Tern-                 s9red" agairst a %ulrl atldn-q for such dahiaaes
   porary Substitute Autos                                      dr. 6 -'c&ered poiufion cost-or expense". H-   ow-
   It Liability Coverage is prqvided by this coverage           ever, Am have no d* to defend any 'Insured"
   form, the following types of vehicles afre also cov-         aOdinst a %qif seeking darnages for "bbdily in-
   ered "autos!'for Liability Coverager                         jUry" or "prop6rty: damage' or 9:"covered pollution
   1."Trailers" with a load capacity 6f ZOOO                    cost or expense" to which,this. insurance does not:
        pounds or less designed primarily for travel            appjy„ Wp may investoate. and settle any.claim or
        on: publir, roads.                                      %4!'as w.e. consider appropriate. Our duty4o: de-
                                                                fend, or setflie ends when the Liability Coverage
   2."Mobile equipment" While being carded or
                                                                Limit of lhsu'rance has been exhausted by: pay-
       towed by a covered "auto'.                               ment of judgments or settlements,
   3. Ariy "auto" yDu do not own whRe used with
                                                                14 Who IsAminsured
        the permission 6f its owner as a temporary
       substitute for Ei covered "autdl'you oWn that Is             The following are "insUreds`t
        out: of.service beGause of ilts:                           .a. YOU for any covered"auto".
        a. Breakdown;                                               b. Arryone. else while usipg with your per-
        b. Repair;                                                       Mission a covered"aL&'Vpu own, hlre or
        c. Servicing;                                                    borrow except:
        d."Loss"; or                                                    (1) The owner or anyone else frorn
                                                                             whom you hire or borrowa covered
       9. Destniction.                                                       11aL
                                                                                Ito",
                                                                                  .




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                                           - .nce.Servloes Office, Inc,, 2009                CA10: 01: 03 10(RW 02-111



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                                                                                                                       bbMMERCiAL  ....... .
                                                                                                                            . ~ . AM.


             This exceptiomdoes not apply if:the cov~                                            (0) All intereston the: full amount of any
             6ted '1autd'.ls:a Vailer". connected..to:a:                                             judgmbrft that accrLies: after entry: of
             icovered "autd'you: own.                                                                the judgment in: ap y:'1suiV:against.the
             (2) Your "employee" if the covered "auto":                                               insured' we.defdhd, but our:dW:to
                 is owned by that "employee" or a                                                    pay intetesi ends.w    'hen we have. paid
                                                                                                                                             ......
                 member of his or her hose'hoid.
                                           'u                                                        offered ,to. pay ok dppcsited in coUrt
                                                                                                     the pa  . i#: of theJudgment that is within
             (t).:someone using :a covered "aVid'                                                   .ourLimit of Insurance.
                 While hia or she. is workihg: in a bW
                 ness of selling, servicing, repai.ring,                                       These paqrmnts: will hot: reduoe the. Limit
                 parking or storing:1%.t.AOs" unless thtit:                                    of Insurarice.
                 business is yours,                                                        b. Oull-of-state Coverage ExWnsibn,s
             (4) Anyone other than youf "employeeW%                                            VVhile a covered: "auVI is: away.from:the
                 partners (if you are a.partnership),                                         statewhere. itis ficensed.we WI:
                 rnember's (if you are a limited liability,
                                                     .                                        (1) Increase thb Liinit'of Insurancef6rEf-
                 company) or a lessee or borrowgr or                                                                                 .         ..
                                                                                                     abilitV.CoveragieJo meet th a:::IlmIts
                 any of their 'Iemployees',', while:.mov-
                                                                                                   ..Speci fied by a compulsory orfinancial
                 ing property to or from a covered:                                                  responsibility law. of the jurisdiction
                                                                                                   :where the covered "auT'd' is bein9
           (5)  A.partner (ff you are.a partnership) or                                            :used. This extension does not apply:
                a member (if Ou iir6 6 limited lia bility.                                          to the. limit or limits:specified by: any
                company) for a covered."auto" owned                                                :law. governing motor carriersof par,:
                by him or heror a m6mW 6f his or                                                   .sengers. or property.
                                                                                              .
                her household.
                                                                                              M—Provide
                                                                                                I ... .. ... .   the minimum arnounts ard
       c. Anyone :liable for the conduct :of:     . . .. an"......
                                                              Irt-                                  types:. of other coverages, such as. .no-:
           surecf' described.above but only.to the                                                  fault, required of..out-of~state:veh1. 6litt
           eAent.ofthat. ligb- llity.                                                              .by the.jurisdictionwherethe covered
    2. Coverage, Extensions                                                                         "auto"! is being wed.
       0. Supplementairy Payments                                                             Wei will not.pay anyone more than onc.e.
                                                                                              for the same      ,:61ements 6f ioss because oF
           VVe will pay for the "intured":                                                    ftse.extensions.
          (1)   All:e xpenses. w.e. inGUL                                     S. Exclusilons
          (2)Up to $2,000-Jor cost.of.:bail bonds
                                                                                 This Insurance does not apply
                                                                                                          ... toany of;the:fol-
               (including bonds forfelated traffic law                           lowing:
                vidiations) required because 6f :an
               "accideint'we cover. We do not: have                                 1. EkpvcW Or,lintended Injury
               to fumish thesLz bonds.                                                 "Bodilyinjury" or "property dam.wa."   exlpacted~
                                                                                                                       .          .
          (3)  The cost of bonds to release  I . . attach-
                                                         .                             or intibhded from the standpoint Of the: "Ih-
                ments in any; "iuff' agair ist th6 "in-                                sured'.
               sured" we defend, but only forbond                                   2.Contractual
               amounts within: our Utmit of lnsur-w
               ance.                                                                   LIabIIJty assumed under any contnibt. br
                                                                                       Agreemerit.
          (4)Al[ reasonable expenses incurred by
               the "insurect' at our reqWg      -                                     .But: this exclusion does not abpiy tp liablIfty..
                                          .. .lt, incl.11.1.
                                                          udihg
               acitual toes ofearnlngs up ~ta:$250 a                                   for dama&s:
               day:p beca use of.time off. fromwork                                    a. Assumed.inz.conttaot or a reement that
          (5).All:.court costs: taxed: againstthe 'Inw                                     is an Pinsured . contr.6cV provided the
               sured" in any.1t Ldf':aqaihst the 9n-                                       'b6dily:irijuryl' or "prop" damage" oc-
              .sured'.'    we ddfeihd. However, these                                      curs subsequent: toAhe execution-of.the
                    .                                                                      contraot or agreement,or:
               pay ments :do rybt ihblude attorn             te..
                                                           . OP.
              :fees: or attorneys! expensm. toced,                                    ~b.: That. the "insured" would: have. iti. the ab-
               aga itibl the "insured"                                                     sence.of the contract: dr: agreement




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 COMtvlERCIAL AUTC7


     S. Workers' Coavupensatiesn                                       ciusion does not aiaply to iiabiiity assurred
        Arry obligatiQn.for which t}ie '"irsurer3" or fhe              undera sidetrack:agreement.
        "insured'e" insurer may be heid liable undsar             Z. Han+dtfng Of Property
        any::workers' cornpensation;: disability benefids             "Bodiiy:injury" or "propetty damage" resuiting
        or unempioyment coriipensation law or any                     from the handling of property:
        similar latv.
                                                                      a: Before it ts moved from the place:vrhere it
    4. Employee. indemntt9cation And Empl+nyer's                          is accepted by fihe "insured° for .moveaw
        Liebi9ity                                                         rrient into or onfio the covered "auto"; or
        „Bodily injury" to:                                           b. After it is moved from the covered "auto"
        a. An "empioyee° of the'tinsured" arising out                     to the:piace where it isfinally delivered by
            of and in the course of:                                      ttie'tinsured".
            (1:) Empioyment by the."insured'; or                  B. Rftovenient:Of presperty By Mechanicsl De-.
            (2) Perforrning the duties refated
                                             _ . _to the              vice
                 conduct of the "insured's" business;                °Bodily injury" or "property damage" resultin9
                 or                                                   from ttie movement cifProPrty    e by a me-
         b. The spause, chiid; parerit, brother or sis-               chanico( device (other ttian a hand truclt)
              ter of that "employee" as a consequerice                unless the device is attactied t,a ;the:covered
              of Paragraph o. above.
         This exciusion applies:                                  1~. CBpeo-ations
              (1) Whether the "insured" may be liable                  "8odiiy injury° or "property darnage" arising:
                   as an empioyer or in any other ca-                  out of the operation of:
                   pacity; and                                         a. Any equiprxent listsd in Paragraphs B:b.
              (2) To any otziigation to share damages                        and S.c, of the defiinition
                                                                                                     _,.     of "'mobiie
                  wifh or repay sorneone ei5e '.who                         equiprrtelit"; or
                   must pay damages because of the in-                 b. Mfachinety or equiprnent that: is: on, at-
                  jun'.                                                     tache.d to or part of a land vehicie that
         But this exclusion does not appiy to "bodily in-                   wouid queiify under the definftion of "mo-
         jury" to domestic "employees" ncrt entitled to                      bile equipment'" if it were not subject to a
         workers' compensation benefifs or to iiability                     compulsory or financiai. responsibiiity faw
         assurned by the "insured":under an "insured                        or other motor vehicle insurance iaw
         contract". For the purposes of the coverage                        where it is iicensed orprinc#paily. garaged.
        form, a dornestic '+empioyree" is a person en..           40, Compi+ated 4pera4ions
        gaged in household or darnestic work per-                                                                     _.
        formed prinaipally in connection with a resi=                  "Bodily injury"' or "property: darnageii arising
        dence premises.                                                out of your work after thi3t work has been
                                                                       compieted or abandoned.
    6. Feliow Emgatoyee
                                                                       In ttiis exciusion, your tivork meaiis:
        °0odiiy injury" to:                                           :a. 1tVork or operations psrformed by you or
        a. Arry feliow "employee" of the "insuried"                         on your behaif; .and
             arising out of and in the course:of: the feim             b. Materiais; parts or equipment fumished in
             iow "empioyee's" empioyment or whiie.
             perForming duties reiated to the: c:onduct
                                                                            connection with such work:or operatioras.
             of your business, or                                     Your work includes warranties or representa-
        b. The spouse, chiid, parent, brother: or sis-                tions made at any :time with respect to the fit-
                                                                       ness, quality, durabi(ity or performance; of any
             ter of that feiiow "empioyee" as a conse-                of the e items inciuded in Paragraph a, or b.
             cjuence of F'~aragraph a, abo+ie.                        above.
    S. Care, Custody Or Controt
                                                                      Your work wiil be deemed campieted at the
        "Property damage" to or "covered poiiution                    eariiest of the foiiawing times:
        cost or e~acpense" involving property owned or                      (9} When ail of the:u+ork caiied fonin your
        transported by :the "insured" or in. the 'Sn-                            contract has been compieted.
        suneds" care, custody or control. Bu€ this ex-


Page 4.of;1:2                          0 insurance Services Cyffce;::lno., 20D9            6A:0001_t83;1t1:{11iiev;o2-f1.)



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                                                                                                                    co~AmsRck ALA6


            (2)When all of the work to be done at                                    (2) The "bodity injury" "property. dam-
               the site has been completed if your                                           age"or "covered pollution   ',            o6stor.ex-
               contract oalls for work eit more than                                          pense".does not arise oLA of thesdp-
              .one site,                                                                     eration of any eoulpment 1sted in:
            (3)When that Part Of the work done: at a                                         Paragraphs 6,10. And.Gc.:bf         . the ddii-
               jcib site has been-put tolts intended                                         riitioh 6f "mobile equipmenti.
               use by any pers.on or organization                            Paragrophs.b. and.c. above df this:exclusion
               other than another contractor or sub.                          do not apply to "acddents" fhat occur                  .             eway
               contractor Working on the :same pro-                          frompr6mises owfied by. or rerded to-an '!Ih-
              ject.                                                          surecr' with respect to "polluiante' 66t in: ar
        WorkAhat rnay need sorvide, maintenance,:                             upon a:cover.ed "autd' if:
        correction,. repair or. replacement,: but wttbh. iis                        (a)     The "pollutants" or any prpoerty ih
        otherwise complete,.will beAreateld ar, com-                                       ..which the "polllutants" are:contained
        pleted.                                                                            :are upset, bvertumed or clarnaged as
    11. Pollution                                                                           a resuft ofthe maihtenance oruse.of
                                                                                            a covered "autd;. and
        ofeooiiy injury" or "pmperty damage" gfisjhg.
         put of :the: actual, alleged . or threatened
                                               .       ft-                          (b)     The: diso-harge, dispersal, :seepage,.
       .charge.: dispersal, see pag .6 rhigration, re-                                       migration,: releiase of esdape bf :the
        Iease:orescape:of"pbIIutar7wi..   .                                                 "Polwhte, is.qause.d. dirbotly: by eWh
                                                                                            Upset, oveftum oi daimage.
        a. That are; orthat are bontained In any:
            .property that is;                                      .4121. War
                                                                            1113o0li1yJpjur.y!.", or "property damage"..Adol
            ~(1) Beirig ttansportpd. olt towed by, han. -                                                                           ---
                  dled or handled fov movement into,                         direct!   _y.pr in d'  Hrectly out of.,
                                                                                            .
                  orto or from the covered `autol%                           a. War [nolUding undecIare&br'*I1:war;        . ... ... ....
            (2)   Otherwise. inAhe OoLirse of transit by                     b. Mrllke:action by a military.. force,                   .............
                                                                                                                                           : includr   ...
                  or on behalf of tho "insured"; or                                  ing aGtion in hindering or: tlefentiing
            (3)   Bding stored, disposed of, treated.or                              agalnst:an aotual or expected AttAdk b
                  processed in or Updh the covered                                   anV government,:4ovefeign
                                                                                                           11                    or otherau.        .
                   aLAo";                                                            thoritV using m 1 1 1 ftary, -personnel o:r other
                                                                                     agents; br
        b. Before the "politAertel or any: property: In
                                                                           :C.4 In.surrectionj                   rebellion,          revol Won,
             Which the "polluttitAs"- are cbntained are
             moved from the Oiace Where:fty aro ao-                                  U sUrped power or eiction, taken by gov-
             ceptO by the "Imured'! for movement4rita:                              errifneMal.
                                                                                      . .. . ...... authority:1n, hindering or de-w
             or onto the covered:"a 'utd.'; or                                      fending. agpinst any of-the0e,
        c. After the "pollutants" or any:property in                 M.-Racing
             which lhe. '.pollutants!. gre. contained-are                   Covered "autos!' while used in ahv: profes-
             Moved. ftom the covered "autd! to the                          sional cir organize.cl raclng or demolition              .             con-
             plade: whwe ihpy are fibally delivered,                      :tesii.:Orstunting.activity, ccwhile pfa aticing for*
             disposed of or abandoned by the '.'in-                         Puch contest or activity. This insurance: iolso;                          ..
            surecrl:                                                       Aces not iipply while that covered "auto!' I s:
       Paragraph a. above do.es not apply to fwls,                        . being prepared for such acontest oractivity.
       lubri.qants, fluids, exhaust gases or other simi-         C. LIMM Of Insurance
       lar '!pollutants!' that are needed fdr br rLuspli
       from the normal :. electrical, hydraulic. ormem              Regardless          . of the nurnber.. .          of ower-ed ~Iadt6iel,   .. . .
       chanical functioning,of t he covered:"autd'or                "insureds1f :: premiums ..... ...     pi...I. d, claims ma. de, 6t voh1-
       its parts, if'                                              :.cles involved in:.the. "actident", the most:we v011.
                                                                     pay:for ttie I total of ali damages. and "covertcl. pol-
             1) The."pollutants". escape, seep,: mi.
                                                                     . ...........zost
                                                                    lutlan         .. or ex pense" combined.resulting:ftom
                 grate or are discharged dispersecinr               any one "accident" is thei 0iriftof.Insurance0or 0-
                 relened directly from an:"auto". part              dbility. coverage shbWn In theDeclarations,.
                 cinigned by ks manufacturerto holdi
                 store, receive*or disoose of sudh "Ol.             Al I "bodily. injury", "property: damagall and "Pov-
                 Mants"; and                                        ered-poiltition. cost: or expense" resUting ftom.


CA 00.010310(Rev. o2-i 1)              0Insurariclo Servioes.Offiw. Inc., 2009:                                                  Page 5 of 12



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    continuous or repeated: exposure to substantially'                   a. Glass breakage;
    the same:conditions will be considered as:resuitu                    b. "L.oss" oaused by hittirig a bird ac:e~tr.el;
    ing from one "accident".                                                 and
    No :one will be entitled to receive duplicate pay-                   c. "Loss" caused by falling objects or mis-
    ments for the same elements of "loss" uriderthis                        siies.
    coverage. form and any Medioal Payments Cov-.
                                                                        However, you have the option of having glass
    erage. endorsement, Uninsured Motorists Cover-                      breakage;aaused by:a covered "auto's" colli=
    age endorsement or UnderEnsured Motorists;                          sion or overturn considered a"loss" undet
    Coverag2 endorsement attaehed to :this Coverage                     Collisian Goverage.
   Part:
                                                                    4. Goverage Eactensions
SECTICpN lil — PHYSICAL DAMAGS Ct:f9tER!"1GE
                                                                        a. 7raatsportation Expereses
A. Cc►verage
                                                                            1Ne wi,lt pay: up to $20.per day to.:a  _.. maxi-
   1. We will pay for "loss" to a covered "auto" or:                         mum of $600 for temporary transportation
        its equipment under:                                                expense 'tncurred by you because        _. of. the
        a. Coenpre6ensive Coverage                                          totah thelt of a covered 'auto" of the pri-
             From any cause except:                                         vate;:passenger type. We witl pay:only_for
                                                                            those covered "autos" for which yflu: carry
             {1) The covered "auto's" collision with                        either Comprehensive or Specified
                  another ol4ect; or                                        Causes: fJf Loss Coverage. UVe: will pay
             (2) The covered "auto's" overtu►`n:                            far temporaryi transport.afiion expenses In-
        b. SpeGit'Ied Causes OF Loss Coverage                               currerl during the period beginni,ng 48
                                                                            hours after the theft: and. endi.ng; regard-;
             Caused by:                                                     less of the poifcy's exptratiori, uvhen: the
             (1) Fire; Iightning or explosion;                              cov:e..r:e..d "a.uto" is returned to use: cir. we:
             (2) Theft;                                                     pay:for its "loss":
             (3) Windstorm, hail or earthquake;                         b. :Loss..Of Use Expenses
             (4) Flood;                                                     For Hired Auto Physical Damage, we; wJp
                                                                            pay expenses for which an "insured'' be-
             (5) Mischief orvandalism; or                                   comes legally respbnsible:to pay#or loss:
             (6) The sinkirig, burning, collisii,n or dev.                  of use of a:vehiele renfed or hired:withoiit
                 raiiment of any coriveyance transporf-                     a: driver under a written rental corrtract
                                                                                                                   _.        ar
                 ing the covered"auto".                                     agreement We will:pay -for loss of use
        c. daltision Covergige                                             exfiensesaf oaused by:
                                                                            (1) tStherthan coilisiora only if ttie'Decla-
             Gaused by:                                                          rations indicate that:; Gomprehensive:
            (1) The covered "autr,i's" oollisiorr vlith                          Coverage is provided for any covered:
                 another ob)ect; or                                              "auto"-,
            (2) The covered "auio`s" overtur.n.                            (2) 5pecified Causes C)f. Loss only if:#he
   2. 7owi ng                                                                    Declaratlons indicate that Specified
                                                                                 Caases Of .Loss .Coverage Is: pro-
       We will pay up to the Iimit shown in the Qecia-                           vided for any covered "auto"; or•
       rations for #owing and labor costs incurred
       each time a covered "auto" of the prlvate                           (3) Gollision oniy if,the Declarations indi-
       passenger type is disabied. However; :the la-                             cate that Collfslon Coverage is.: pro-
       bor must tx: performed at the fslace of dis-                              videtl f©r any covered "auto".
       ableTnent.                                                           However; . the most we: will pay for any
   3. Qiass:0'reakage - Hitting A Bird 4r lAnimai                           expertses for loss of use is $20 per: day,
       - Faiiiaog iabJects Or Niissiles                                    to a rriaximum of $600.
       If.you carry Comprehensive Coverage for the             S. t:fcclusions
       damaged eovered "auto", we wilf pay: foc the                1. We will not pay far "loss". caused by or result-
       foilowing: under Corriprehensive Coverage:                      ing .from any::of the:following: Such "loss" is
                                                                       eXcluded regardless: of any other cause or


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                                                                                                              COM NiERCIAL Al1TC3

        event that contnbutes concurrently::or. in:any.                              installed; that reproduoes, recaives or
        sequence to tfie "ioss".                                                     transrriits audio; visual or data: sigrlals.
        aa. iderctear Hazarcd                                                   d. Any accessaries used with the electronic
            (1) The explosion of any weapon em-                                     eqttipment described in Paragr.aph c:
                ploying atomic fission or fusian; or                                above.
            (2) Nuciesr reaction or radiafion, or ra-                       is> 6xclusions +4.c: and 4.41. do nctt apply to
                dioactive cor3taminakion; hoVaeye. r                            equipment designed to be operated solely t?yi
                 caused,                                                        use of the power from the "auto's" electrical
                                                                                system that, at the time of "loss", is;
        b. !fV'ar Qr Military Action
                                                                                a: Permanently installed in or uportthe cov-
             (9) 1lVar, inciuding iindeclared or civii                              ered "auto";
                 war;
                                                                                b. Removable .from a housing unit +tihich is
             (2) 1Nariike action byl a military force, in-                         permanardly Irstailed:in orupon the:cov-
                 ciuding action in hindenng or defend-                                 .
                                                                                    ered "auto' ;
                 ing against an actual ar expected at-
                 tack,. by any goverriment;::sovereign:                         c. Anintegral'part af the;same.unit housing
                 or'other authority::using riniiitary :per-                          any electronic equipment descritaed in
                 scannel or other agents; or                                         Paragraphs a: and b: aabove;.or
            .(3) Insurrection, rebellion; revolution,                           d: : iUecessary for the' normal tiperation of the
                 usurped :power tir action takan; by                                 covered' "auta" or the rnonitonrig: of ttie
                 governrcental authoritSr, iii hinderirig                       covered:"auto`s". operating system:
                 or defending against any tif these.                     B. 1Ne will not pay. for "loss" tti 'a, covered "auto'!
    2. We will not pay for "loss" to any aovered                            dueao "diminution'invalue"
        "auto" while used in any prafessional or or-                 C. d.iMit:Of Irtsurance:
        ganized. racing or demoiition contest or stunt~                     9, The mpst'we will pay :for 'loss" in any one
        irg:activity, or wkiile:practicing.for such con-                        "aoeidenr' is:the iesser of:
        test or actiVity. 1Ne will also not pay for:'"loss"
        to any covered "auto" while that covered                                a. The:a..ctual cash!value of the damaged:or
                                                                                                                     1.
        "auto" is being prepared foi suah a contesCbr                              stolen: .property : as of the time of ttie
        activity.                                                                  "loss"; or
    3, V1te will n4t payfor "loss" riue and 6an6ined. to:                      :b. The cost_ of repainrig or replacirig: the
                                                                                    damagetl or stoien praperty with other
        a. Wear and tear, freezing, rnechanicai or                                  pnoperty:.of 11ike.itind and quaiity::
            electrical: breakdown.
                                                                            2. $1,000 is the most we wiil psy fijr "iass" iri
        b. E3lowouts, . punctures or 'other road dant=                         any one "acciderit" to;ali siectronic equipment
           age to tires.                                                       that:.reproduces,. receives or transmits;audio;:
        This exclu:sion does not apply'to suoh "loss""                         visuai or data .signals 4•rhich, aat the:. time::of
                                                                                                                           .... ...... . ...
        resulting front the total theft of a covered
        "auto".                                                                a. Permanentiy ins#alled in or upon:the:cov-
    4. We wili not.pay for "ioss" to any of ttre foliow-                            ered "auto"in a housing; opening:qr otlier
        ing:                                                                        location that is nof normaiiy used by the.
        a. Tapes, reoords, discs or other, similar au-                              "`autd" manufacturer for the: lnstallation of:
             dio, vrsuai or data eiectronis devices de=                            such equiprnent;
            signed for use with audio, visuaf or tiata                         b: Rernovable from a::psarmar;entiy inatalied
            electronic: equipment::                                                htiusing unit as descnbed in Paragraph
        b. Any device desigrted or useci to; detect                                2.a: above ;or is an integral part of that:
           speed=measuring equipmert such as ra=                                    equiptnent; or
           dar or laser detectors and any jamming                              :C. An lntegrai pact of sucii'equiprrierit.
           apparatus intendect to elude vr d'isrupk                             An adjustment for depreciation and physical:
           speed-measurement equipme;it.                                        conditio.n will be made ln determining: actual:
        c. Any:;electronic equipmenC, without regard                           cash Value in the eveiit of a totai'-'loss":
            to whether this equipm®nt is permariently

                                                           .......    ...                                                               ...
CA 00 0103 9t2(aov. c~2-ri)            p ...
                                        0
                                         lnsurance Settrit~s:t~ff.tce,
                                                    .. ...... ...... .... i,nc., 2009:                                    Page;x af:'12:


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 COMMERCIAL AUTO


    4. If a repair or replacement results in beiter                       (1)     Assume no obligation, make no::ppy-
       than, like kind or quality, we will not pay for the                        ment or InCUr no expense without Our
       amou.11t ofthe, betten-nent.                                              cohsent, except pt the "insuredV'
 0. Deductible                                                                   owrr 6ost.
   For each covered "autd', our obligation to pay foT,                    (2)    Immediately send us copies oUany
   repair, ratum or replace damadd or stolen prop-                               request, demand, order, notiM:
                                                                                 summons or legai paper received
   iarty wiWbe reduced by the applicable deductible
                                                                                 concerning the claim or'tuit'.
   shown in. the Declarations. Any Comprehensive
   Coverage deduotble shown in the Declarations                           (3)  . CooPerate with us in.the investigation
  :does not appk to "loss" caused by fire or light-                              or settlement of the claim: or d0fimse
                                                                                      ;
   nin                                                                           aga inst the "suftl!.
SECTION IV — SUMNESS AUTO CONDITIONS                                      (4)    Authorize us to obtain imedical: re-
                                                                                 cords, or other pertineryt: informafion.
 The fallowin.g condifions
                 I .        apply in addkion to the
 Cdtnton Policy Ctinditions:                                              (5)Submit to examination,..at ou.r ex-
                                                                                 pense, by.: physicians of:our: choice,.
.A. Losstonditions                                                                                         IN.
                                                                                 asoftenaswe asona yrequire.
     1. Appraisal For Physical Darnage Loss                           :c. If 6ere
                                 I           :                                   I is 'Ioss~'to a, covered:".autc." or:its.
                                                                                                                       I
        If .. you and we disa gree On. the. amount of                      equi pmortI you rhust als.o:,do ille fbll ow-
        "loss", elther rhay demand an aporaisal of the                     ing,*
        "loss". In this event, each: party Will: select a                        Prornptly notify-the:pofice          cav
        competent appraiser. The.two appraisersWill                              ered "auto."ori.any. of it& iquipmertis;
        edect a competent and impartial !umplre. The                             stoldn.
        6poralsers
          I            will state separately the adtual
        c ash.value and amount of '1oss". If they fail th                 (2) Takeall reasonable steps to.protect:
        agre~ they will tubniit thek differenc6s to ~the                         the covered "autd'from further dam-
        urnpire. A decisioh agreed to byzny two will                             age. Also keop a record of:your e.x-
                                                                                 penses for Wnsideration in the sqj-
        be bih ih9 . Each party:wIll,
                                                                                 tiemeht of the clairn
        a. Pay its chosen appraiser; and                                           ....                                .
                                                                          (3) Perm u5 to inspect the covere&
         b. Bear. the other ex  'penses,of th.e:apphaisal                       "auto"and records proving the lost"
               and umpire, equally,                                              before itg repalrordisposition.
        If Wo.submit to anappralsal,:we -will still retain                (4) Agree
                                                                                  . .    to examinations
                                                                                                .    .      und6r
                                                                                                                . :6ath
                                                                                                                   . . at
        oOr right tadeny the claim.                                              Qur request and. give ut a::tigned
     2. Outies In The Event Of Acciddrit, Clatrn4                                statement of your answers.
        Suitor Loss:                                                  L   al Action Aga   i lnit"Us
        We have rio-dutv to provide coverage under                    No:Qnel:may bring.s legal action against:.us
                     y u less there has been fbil: compli-            Uhde: rihis co
                                                                                   - verEig-e form until:
        ancewfth the following duties:
                                                                      a. T..here has been fullbornpilance with aft:
        a. An the:event of "~a ident", olairn, ''suiel or .               the: ters:
                                                                                 rn of this coverage form;: and:
               "loss", you must.givA5 ut br our. aighorized
                                                                      b. Under Liability: .Cove.rage, wp adme: ih
              :rppresentabwe.prom : notic-a ofthe ~'accl-r
                                                                          writingAlhat the "insured". has an.obliga.
                                                                          tion.J.A.pay or: until the amount ofthat:obo-
            (1) How, wheh and: whetib the "accide.rV1                     ligation has finally been determined..by
                or"lose'occurred,                                        judgment after td.01. Nd one.hasthe4lght
           ..(2) The 'Insured'W neitm and address;                        underthWpolicy tb bring us ihto. Ein action
                and                                                       tb: determihe the Insured's" liability.
                To the extent possible, the nam6s:                :4. LossPayinO  . ...nd — Physical. Damage.Cover-
                and addresses of apy injuredp e rsons.                ages
                and witnesses.                                        At our opfion wemay:
         b. Addftionally, you aiid any othee involved                 a. Pay for, repair or replaoe damaged or sto-
            "irmured, must:                                               len property;



Page 8 of 12                            0Insurance Services, (Yfice, tno., 2009             CA 00.0103 10:(ROV4241)



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                                                                                                            . ...............
                                                                                                  COMMItRCIAL:Auro


         b. Return the stolen property, at our ex-                S. Other liisurance
             pense. We will, payfor. any damage that                 a. For any covered "autd' you own, this
             resufts tu the "auto" frorn the theft; Qr                  coverage form provides. primary '!ript-
         c.Take: all or any part of the damaged or                      ance. For.any covered "tutd' y0q:'dwn
             stolen property at an agreed or appraised                  own, the insurance provided by thls::,cov-;
             value.                                                     erage4brm is excess over any ot(ier.col-
        If we pay for the "loss", our payment will in-                  lectible insurance. However, while a:c*ov-
        clucto the applicable sales tm( for: the dam-                   ered "auto" wNch is a "trailee' is con-:
        ne6orstolen. property.                                          nected :to ahother vehicle, Ahe:. Liability.
                                                                        Coverage ttfit cove rage form Orovidbs for
    S.' Transfer Of Rights Of Recovery Agaihst                          the "trailer"is:
         Others To Us
                                                                       (1) Excess while: it-is.66nnected.464 thb-
        If any person or organization to or for whom                         tcirvehiclepudo+~n6fbwh.
        we niake paymerd under this coverage form
         has rights tb recover damages from ancither,                  (2)(PhrriiI ... ary whilelit   is::...
                                                                                                  . .....           d..to a
                                                                                                          connect.e..
        those rightsare
                   '      transferred tb us. That Oerson                      coviere   0"auto"You:own. 1
        or orgAr~zation must do everythiing neo'essary               b. ~.qr Hired Auto ftsib 61: Nmage,:Cover-
        to secute our rights and must do nothing after                  age, any covered '!auto" you lease,         I hire1j:
        "accident"or"lass"to iinpatr them.                                 rt borrow is deerned: to b6a b overe . d.
                                                                        reor
13. General: Conditions                                                "autd,:yw loWn. HoweVer, any'buto" that
                                                                       .is, leased, hited, rented or: borrowed with:
    1. Bankruptcy                                                      ,a, dtiver'is: not.a coverdd "autdl.
        pankruptcy or insolvehcy Of the "insured'or                  c.Regardless: :of the pr.ovi.s.ions :of. Para-
        thei'"imured's"estate, will not4elieve us of any                gfePh-:0. above;1hIs:6oviareige fbrm's Li.!         :
        obligAtions under this coverage form.                           abIJ,ity:C;over6g6 Isip  'pirnaryforanyliability
    Z Concealmen% Nsrepresentation Or Fraud                             assumed under an Iinsured contr6dV.
        This coverage form is void in any case of                    A When:this coverage.form and any-other
        fieud.byyou.at enV:time. as.1t:relates t6:thIs                  coverage form or -pplicy covers on the.
        coveragta form. It is alm vold if ypu.or any                    same basisi: ibithijr excP§s: or pr1Mar.y,:WP-
        other "insured", at ariy firne,: Intentionally pbn              wil[pa _yonly 6ur shae.d. Our shares         11he'
        ceal orrnisrepresent'a material fact:c6noern-                   proortion1hatthe:Llmitof Insurante::4.
        i ng                                                           (jurooverage form bearsJolh tbtai.:G.f     .
                                                                       theJimits.of allthe.- coveracie. fdrmt and
        ti. Thispoverageform;
        b.The covered "auto";
                                                                 .6. PremiumAudit:
        c. Your intwest In the covered "auto"; or                    A. Theestimated prdtrlyffi fot tWPOV.Sr-age:
        d. A.claim urider this coyerane form.                            form Is based on the.exposuresy0U:Aold:
    S. Liberalization                                                     us you.wouidshave whm:thIs:poIicy::b.e-
                                                                          gan. We will compute     , . . the
                                                                                                         , , finaLprerdum:
                                                                                                               . . .
        if we: revise this coverage, form'to provide
        move coverage without fidditional          premium
                                                                          dueI when
                                                                                .        . d6terrrii h0 VoUt ~actual ex-
                                                                                        we
                                        . .                               po sUrds- The: estimat6d toial    a :pferniwtvAtill.
        chwge,.your policy Y411 automaticaly: prpvido                     be credfted;aqainsf                  prdrnium:d!Ue-
        theadditional coverage. as.:of the:day: the. rew                 and:the first: Named..Insur6.d will be-billed:
        visionis effeciive in your eate.                                 for the 6iiance, if:ahy. The.d6e:d4te4cir
    4. ko Benefit To Ba.ilee — Physical Damme                            tha.final
                                                                              I        prerniUm or retrospective pre-     .
        Coverages                                                         mi urnis-the dito shown 8ei th        '19 due date
        We wilf not eecognize any. assignment or                         on-the: billa If. the "tiriiatOd total: iprernium.
        grant any roverage for the: benefit ofany per-                   exceeds. 1h.e"final . prerniUm due, the::first:
        son of organizatio n holding,' ttoring Or iransw                  N.0nhedl.h.Puvedl williget a refund.
        porting propprty for a fee tegardiess of ariy                 b. If this; policy. Is. Issued fo.r more:than.:one.
        other prbvition of this coverage forrrL                           year,.the-:: prernlum for this coveragelorm:
                                                                         will be computed 6nnually based on our
                                                                          rates or , prerriums in effoot at 1119 biLigi h
                                                                          ning:of each year of thO policy.


                                      (6 1 mUrAnceservioes Office, Inc., 2009                                Page:9 of 12



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    7: Pollicyftdod, Coverage Territory                          2. Any other land vehicle that is: sublipot to a
        Under this:ooverage fcirm, we cover "acci-                    compulsorV or financial respomibillity law or
        dents!'trid"losses" occurn'ng:                                othet. m.p.tor vehicle-Absurarice. law whereJtJs:
                                                                     licehsed or prin.cipally. garaged.
        a. During the pbliby period shown in the
            .
              Declarations, ancl.                                Howeveri "autd' does, not: include: '!rnobile: eqUp-
                                                                  ment".
        b. Within the coverage territory.
                                                               C."Bodily injury" theans b0dily Injury, s(okness dr
        The coverage terrftory Is:                               disease sustained bV a person including *qth
        (1) The LJnfted States
                         '      of America;                      resulting from any of these.
        (2) The territories and possessions of the             D."Covered poilLdion oost or expenise hmeans any
            United States of America;                            coit or expe    ns earising utof
        (3) Puerto Rico;                                         1.Any request, demand, order or statutory:.or
        (4) Canada;and                                               regulatory requirement that any "Insure&,:cir
        (15) Anywhere in the world if:                               othem test for, monitor, clean up,. rern ....
                                                                     contain, treat, detc)(ify: dt: nedtra]izia, 6r inan
            (a) A covered "aul:d' of the pdvate.,pas-.                way: reispohd to 6r 6ssessth6 effects 6f, I la.
                senger type is leased, hirecl; rented:
                                                    I                lutante%
                                                                            .1 i:017
                or 6offowed without a dAver for a pe-
                dod 6f 30 days or less; and
                                                                 2. Any claim or "suit" by or on behalf of.a.:gov.7
                                                                     eTmental authodty for damages because:cif
            (0) The "insured'e' responsibility to pay                testing:fbr, monitoringj cleAnlhg up, rernovinn,
                damages is deterndned ih a "sUiV'on                  containihg, treating, cletaxil!ying or neutralli-
                the , merits, in the:1 United.. Stateis of           !ng, pr In any Woy:res 6nding1b, or a§sdssi.119
                America, the torritdrits cand pam-                   th6eiffiects.of, "pollutants".
                s[Ons of ihe.0nitedSiates of Arnerlca,:
                                                                 4Covefed pollution cost or expense" do.es. not iri-
                Puerto Rico or Canida of in a 6eftle-
                mnl: weagree: to.                                clude, arry i cost or expense.arisini;l out bf the: aic--
                                                                 tual, alleged or threat6np. d:discharge,
                                                                                                 ... . ..... .. . ....d spertal,
                                                                                                                        ... .......
                                                                                                                              .
        V1te also cover 11PW.46, or "6cciclentsll ihvolv-        seepage, rnigration, rel.eas,e. or e.s,1::P pI e OVIPollut-
        ingi: a covered 'auto ." wIle
                                 h be'  ing transpo,edd
        between any.of these: places.
                                                                        a. That are, (ir thit are:::containe
                                                                                                           i d iJ n any
    S. T.". Or More Covorage Forms. Or Policiet                            pmpertythaflis:
       Issued By Us
                                                                          (1): Being. transpoftO pr towed, I by.,.:hapn
                                                                                                               .       . I
       If. ihis. coverage f,orm and any other coverage                        :01ed'or    hancli6d for, mov e ment 1 nt o,
       form or P   olio, y Issued to you by us or any                            .
                                                                               onto or from the: cdvered "autd.`:
       oorroany eiffiliated with Us: applies: tb the.
       same "accident", the aggregate Maximum:                            (2):.Otherwise i.n. the:course. of transit by.
       Limit of Insurance undet all the coverage:                              ~orron behalf of tho "Insur0d.'; bt
       forms or policies shall not exceed the highest                     (3):Being: stored,: disposed of, treated: or
       applicable Limit of Insurance uncler any one                            -processed In or :upon the covered
       covenage form or policy- This conditon does                             01auticill
       not, iapply to any coverage form or policy is-                   b. W, gre,the "pollutants!' or: any prpperty.in
       sued by. us, or an afflliated. company.. specifl-                   whidh-the !'Pb.ilutants" :are.:66ntajhed::am.
       cally. to appty as excess insurarioe over this                      moVecl korn thei) lacemhewthey.*O:acvw
       Coverage form.                                                                                            .... ..........
                                                                           cepted by the "i iisured" for moverriontinto
SECTION V— DSFINITIONS                                                     or cinto thiB covered "auto"; or
                                                                                                                     .
A. "Accid
        ,66V includes Ponti.nuous or receated:expo-                     c. After the "polluteintVl or any properly..in.
   sure tolhes6rne
            ",      . conditions resufting ift!'bodlIV in-                 which the "pollutants!' are cotteiftdd eire::
   jury"or property damag&'.                                                 moVttd frbm thei covdidd "auto" tb the.
                                                                             place where. they ares fiheilly delivered;
B."Atitci" means:                                                                _,ed of or abancloned : by the Uin-
                                                                             dispos
   i. A land motor vehicle, 'Irailee' or semitrailer
       designed for travel on: public reads; or
                                                                        Panagraph azbove::does notap ply.to1uols,
                                                                        lu0bantsi id


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                                                                                                                         _ ..
                                                                                                     COMMERCIALAUTO
                                                                                                                _..


        lar ''pql,lutants" that are needed for or result              S. That part of any other:oontract or aere.ement
                                                                                                                _..... ..
        from the normal electricai, hydraulic or me-                      pertain+ng:to your business ;(including an in=
        chanical functioning of the covered "auto" or                     demniflcation of a nwnicipality in cr;nnectjon:
        its. parts, if:                                                   with work performed:for.a:inunlaipalityj undinr
              (1) The "poliutants" escape, seep, mJ-                      which you:assume the tort:liability o.f anotfFie;r
                  grate .or are discharged, dispersed or                  to pay fcr "bodily injury" or"property damage"
                   released directiy from an ''auto" part                 to a third ;party or organization. Tort liabllity
                  designed by its manufacturer to hoid,                   rneans a. liabifity that wouid be imposed: by
                  store, receive or dispose of such "pol-                 law in the absence of any::contract or:agree-
                   lutants"; and                                          ment;
            (2) The "badily injury" "property darn-                   6. That part of any, contract or agreement en-
                 age" or "covered poJiution cost or ex-                   terzd into, as part of your businessr pert:a.inirig
                 pense" does not arise out of the op-                     to the rental or lease, by you or any of your
                 eration of any equipment iisted in                       "empio.yees", of any "auto". Nowever suoh
                 Paragraph G.b, or 6.c. of the defini-                    corrtract or agreement shaii not be considered
                 tion of''mobile equipment".                              an "insured contracti° to the extent. that._ it obli-
                                                                          gates you or ariy of your "empioyees";to .pa.y
        Paragraphs b. and c. abciiie do not apply.to:                     for "property. damage" to ariy "auto" re:nted or
        "accidents" that eccur away from premises                         leased by.you or.ariy:of your"empfoyees".
        owned by: or'rented to. an 'tinsured" with re- ,
      spect to "pollutants" not in or upon a covered                  An "insured;contract" does not include tEat:part:of
      "auto" if;                                                      ariy contract or egreement:
          (a) The "poilutants" or any property in                         a. That indemnii•ies a raiiroad far''bndiiy in=
               which the "poliutants": are::contained                         jury" or "property: damage" ansing: out ;of
               are upset; overturned.ar:damaged as :                          ccinstrueti©n or :clemolition opeiaiions,
               a result of ttie maintenance or use:of                         within 50 feet of.:a..ny raiiroad property and
               a covered "auto''; afid                                        affecting any raiiroad txidge or trestle;:
                                                                              tracks, :roadbeds, tunnei;: underpass :or:
          {b) TFie. dischar9e, dispersal;. seepage;                           crossing;
                m}gration, release or eSCape of .the.
               "pollutants" is caused :directly tiy such                  kr.. That pertair~ to tkie loari,!; lease or terdai
               upset; overturn or damage                                      of an "auto" to :you or . aiYy ,of :yaur ':'em-
                                                                              pioyees"; if the "auto" isaoaned, :leased or;
E. "Diminution in value" means the actual.or per-                             rented vvith a driver; or
    ceived ioss in market value or resale value which
    results from a direct and acciderita) "ioss`'.                        c. That.holds. a p®rson or organization en-
                                                                              gaged in the bus(ness of transportir1g
F. "Empioyee„ includes a °Ieased worker". "iwm-                               property by "auto" for hire harmiess for
    ployee"does not.ihciude a "temporary worker",                             youruse of a covered "auto" over a route
G. "Insurecf' means any person ororganization quali-                          or .territory that persQn or or~nizatian: is:
   fying as an insured in the UVho Is An Insured pro-                         authorized to sen+e by.public authority.
   vision af the .applicable coverage. Except with re-           1: "Leased worker" means a person leased to you
   spect to the l.:irriit,:of Insurance,'.:the: coverage aP-         by a labor, leasing. firm under an agreemerit be-
   fortleci appiies,separately to::each..:.insured :who ;is           tween you:and the Iabor.leasind PErrri to:pe(forrn
   seeking coverage or against :whom a ciaim or                       duties related to the conduct of your. business.
   "suit" is brought.                                                 "Leased worker" does not ineiude :a '.'femporary:
H. ''Insured contract" means:                                         worker'.
   1. A`lease of premises;                                       J.   "Loss" means direct and accidental loss or dam-
                                                                      age.
   2. A _..
         sidetrack agreement;
                                                                 K. "Mobiie equiprnent" meari.s any of the :.f.olioatir~,q
                                                                                                           ...... ..
   3. Any easement or license 'agreemerit, ercept
                                                                      types of land vehi.cl.es, rncluding any attached
      in:.conneetion with construetion
                                    _ or demoiition
      4peratwns:on.or within 50, feet of.a.: raiiroad;                machinery or equipment:
   4. An:obligation, as required by ordinance, to in>                 1. BuNdozers, farm machinery; forklifts and other
      demnify,a„municipal.ity, exaept in connection                       vehicies designed for use principaily off publ.ic
      witFi work.for:a munidpaiity;                                       roads;'


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    2. Vehicles maintained for use solely on or next                             cleaning, gepphysica.i:e.xplorabon,..Iighfing
        to premises you own or rent;                                             or well-servicing equiprnent.
    3. Vehicles that travel on crawler treads;                          However, "moWile equipmentl" does not include     ..
    4. Vehicles, whether self-propelled or not, main-                   land vehictes that are su4ect.to. a. corri ppisory Or
        tained. pri mar!ly to provide mobillty to perma-                financial responsibility law, Or other Motor vehicle
        nently mounted:                                                 insurance law where it- is licensed Ot principally
        a. Power cranes, shovels, loaders, diggers                      garaged. Land vehicles - subjedt to a compuls*
            of drilliC bt                                               or financial responsibility law or other motorvehl-
                                                                        cle insuranoe,law are considered "autos~'.
        h. Road construction or-resurfiscing equip-
             ryipnt, sudft as grode rai: scra pers or ral ters;     L."PdltAants" means 6ny solid, lioLjid, .'or   gas~
                                                                       thermal irritant or contamindi nt,, including smoke
   Al Vehicles:not.described in Paragra ph 1., 2., 3.
                                                                       vapor, soot, fumes, aoids-41kalls chernicals:an
        pr 4. abNe thatare not self-propelled and are
                                                                       waste. Waste in.dludes.~materials.to
                                                                                                         ' beJecycled,
        maintained phrnarily to prqvicle     I    mobilty to.
                                                                        Tecondftioned or reclaimed,
        perrilanently'afteched eqtjipM erit. of: the. fol-
        lowing types'.                                              M. TropertV:darnage"I rneans damage tb bt l6m bf
        a. A                                                           use of tangible: oroperty.
             . !r compressors, purripsand. generators,
            in, : Iuding sproyin -- g, welditig, building.          M. "SUIV meens: a civil:propeeding ih Which:
            cleaning.geophysical exploration, lighting                  1. Damages: because, of "bodi Y:injury" or "prop=
            and welkservicing equipment- or                                erty.damage"V or
        b.l Cherry pickers .6nd similar devlces used:                   2. A "covered pollution
            to raise or lower workers; or                                                              .. . .... .. .
                                                                        tc+ wtuch this. irisurance appflesx:pre:a IIB d
   1J Vehiclei§i not described: in Paragrap 1., 1,11.    .
        ar:4. 6bovia iiiairtained primarily for purposes:                Suit'includes:
        othor than the transportation of., peri;ons or                      a. Ari'arbitratioh.probeeding ih which s.Udh
        cargq. HoweVer, self-prope  . ... liod vehiol.es.with                  daqfto dr !-6oVefed.:pollution cwts.:oi
      .the.:  following~ types   of  permanently:
                                       .             attached                  ex#nsee are claimad:and tovhich: the.
       eqtfibment are not "mobile:e.quipment'.but.will:                       "insurecr, Must SUbMR or does subrnJt vAth
        be considered "autos":                                                 oLT:consentor
       a. Equipment desigried.primarily.for:                                b. Any other alternative dispute resolution
          (I Snow:removal;                                                     proceeding in wh[W;such damages :or
                               .                                              "doVtFed poiiution costs ovexpenses"
          (2)  Road maintenance, bLit not.construc                                                                       . are
                                                                               61airribd - and: tb w ii
                                                                                                     h ch the, insured. subrr ds
               tion or resutfacjnq,: or                                        with our consent.
          (3)  Street cleaning,
                                                                    0. 7emporary. workee.'. meansa::person whalis-fur-
       b. Cherry pickers and similar devices                           nishedla. you tozubstitute for a:rermanent.11em—
           mountedw ttutomobile or truck chAiWs                        Oloyed" 6n 16ave 6r to me6t.,seasonal or short-w
           and:used:t6 ralsWor iower workers; and ~                    tcirm warldoad condibon&
       6. Aircompressors, pumpsand generators,                      P. 'Trailer"includes.semitrailen:
           including spraying Welding, building




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                                                                                           CC7N1 PrSERCIAl: ARiTo:
POLIC'f ftilJNlBER: Y-810,3084231-3'Z7,-13                                                 ISSUEbATE: 10=25-33

                                                                 ,.REF U~Y.
       THtS ENDORSEMENT CHAtNGES THE PtxL1CY. PLEASE FtIEAD 11' C~I



7.his end.orsettent modifies rnsurance prravided unrter the .f©Bnwing:
         Bl:7SINESS AUTO COVER,4GE FORM
         EUSINESS AUTC? PHYSICAL DAMAGE COVERAGE FORNt
         GAfiAGE COVERAGE      _ FC7RM
                                  . .
         MOTt7R GARRIER CflVERAGE FORM                                                                             ~
         TRIICKERS CX7IYERACaE FOR M
With respect to: creverage prov~ded by this endor:sement, the pmvisions of the Goverage Forr►3 apply urdess mtioi-
fied by €Fi.e. erdorsernent.

                                                                                      Other Titaiti::
                                                                                       Golltsion           GAlltstiin
Vehicle            DeScriptian,Of I.eiantl.ease `°Autrs~~~„                            Atidtfloma!        Add3#iphap
                      4Alhich AaeC+cuered:"Autos"                                      Prem9urn.:          Prer~iural
                                                                                                               _ . . ....
            .ALi, oMD AiITOS BYCEP.T 'trMICL8S .                                    $ INCL              $ ImcL
            AP3D TMLEtS Pd0]DEL YMM 2000 AN%> PBTOR




(ff no entry appears above, information required to compiete this endorsement wiil :be shown.in the:Declarations .
as:appiicabie to this enslorsement:).
The Physiccal Darnage Dovetage              , Section is           a. Overdue IeaseJioan payments at ttie fiifiie af
amended by the addi#ion, of thefollowing;                              the "loss";
In the event of a total "loss". to :a coverad "auto": shown        b. Financial penalties imposed under a lease fOr
in the Schedule:.or Deciaratians ic,t_:whloh a; gpecitic               exp~:ssive use; aianormal ~iear and tear or
premium
   _       ctiarge indicates that Auto LoaNLease GAP                   high mileage.
Coyerage applles, wewill pay any unpaid an-nunt:due                c. Securiiy dep4sits not re#urrZed by the. le~at
on'the: tease ar loan for a covered "auta", iess:
                                                                   "d• Costs for extended warranties; Credit:Li(e In-
 i. 717e. arnount paici untier fhe Physioal Damage                     suianoe, Heaith, Acciderrt or DisafailPtjr Insur-
     Coverage Section of the pblicy; and:                              ance purchased vrith tlie loan or lease, ;and
2. Any:                                                            e. Carry-over balances from pre.vious i4ans.:or
                                                                       leases:

CA:207"f%011.                                 0 ISO Prpperties; inc., 2000                                  Page'i of 1



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                                                                                                              COMMERCIAL AUTO




This endorsement modifies insurance provided under the following:
        BUSIM.ESS. AUTQ COVERAGE FQRM
        GAf?AGE.COVERAGE FURIVI
        MC3TOR CARRtER tOOVERAGE FORM
The folloiving replaces the definition of "etnployea" in the DEFlRlMONS Section;
"Employee":includes a "leased,wortaer" and a "temporary worket".




CA T4 6S W 1:®                             0 281.D The 7rrevelers:1nilem.n►ty Company                                Page fi.: of 1
                       Indudes aopyd®hted m®terial af lnsurance Savices oflice. Inc: u+ith ICs pertnission.



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                                                                                                    COMMERC€AL AUTU




                                                                          ~




Far ~ covered'"auto" iicensed or principally garaged in, or "garage operaticns" conducted in,'Wisconsin, the:cov-
erage forrn is changed as follows:
Th€s endorsement modifies insurance provided under the following:
       Bt1S)NESS AUTC COVERAGE FORM
       BUSINESS AUTD PHYSICAL DAMAGE COVERAGE FORM
       GARAGE COVERAGE FORM
       Mt?TOR CARRIER COVERAGE FfJRM
       TRUCKERS COVERAGE FCQRM
With respect to coverage _provided by this endorsernent, the provisions of the coverage _form:appiy uniess modi-
fied t7y the.endorsement.
A. Changes In LiabilityCov~ge                                          Ilability. is a sin8le Iimit that applies:for
    1. !f your business is other than selling, servic-                 each  "acoident"; or
         ing, repairing or parking "autos", Who Is An              b. $25,000 for each . persqn/$50;000:: for
          Insured. is changed to inciude an offirer,                  each "accidenY' for "bodily inju..ry"y$1.0;0Q0
         agent or "employee" of such busiriess while                  for "property daitiage", lf:the fin-iif; of liabii-
         using a c4vered "auto". However,:that,petson                  ity is indicated as a'spiitlimit,
         is an "insured" only If he or she has. no other      3. The foliowing is added to Who Is : An ln-
         vaiid: and ceilectibie insurance with at ieast           sured•
         the;applicable minimum Ilmitspecified in WIS.                    '
         STAT. ch. 344. In this event, coverage will be            Anyofe. else .Is an "insured" while usir g a
         provided only up to the. applicable.:minimum             covered"'auto" you own with your or any adult.
         limit specified in WIS. STAT. ch. 344. The:              "famiiy members"; permission.
         applicabie rriinimui'n limit.is:                     4. The . .Garage Coverage Form is changed as
        a. $60. 0011 for. each "acc€dent" for "bodily in•                feliows:
           jury"1 and "property damage"; if the'limit of                „a. Paragraph a(2)(d)(I) of the Wlta Is An
           iiabilityi is. a sirtqle lirriit `fhat applies for               tnsured Provision is: replaoed by:the fo1-
           eadi "accidenf'; or                                              lowring:
        b. $25;600 for each person!$50,000 for                                  (J)
                                                                                _    Has no ofher ai►ailabfe iriauraiice
           each' accident" for'"txidily iiijury'4101 000                                (whether.'primaiy, exces or ;con-
            for"property darnage",:if the iirriit of ilabl€-                            tingent), they ar8ian
                                                                                                        ,.. . °insurecl":but.
            ity is IndiGated as a split limit.                                          only up to $60;000 for each "ac-
    2. If your txusiness is seiling, servicing, repairing                               cident", which :is the; iiiitii~ium
        or :parking "autos"; Who Is: An Insured is                                      comb€ned singie ;limit of liability
        ehanged to.inc€ude.anyone other than an offi-                                   speaified in: V1IIS. STAT. ch: 344:
        cer, agent or "empioyee" of: such business                       b: Paragraph a.(2d(clKii) of the 1Nfio I.s An
        while using a oovered "auto". However, that                          insured Provision is replaced' bq tlie=fol-
        person is an "€nsun:d" oniy if he or she has; no                      lowing:
        other valid and coNectible insurartae with at                               (fQ Has other au.aiiable .i.nsuranoe
        least:the applicabfe minimum limit specified In                                                              _
                                                                                        (ve+hether primary,; excess or con=
        WiB. Sl'AT. ch. 344.: In this event, ; cove
                                                  .erage                                tingent), less than ttie appl€cabfe
        wiii be provided only up to:.;ttie applicable                                   rninimum limit for "badily..injury"
        minirnum limit specified in WIS. STAT. ch:                                      or "pfopefty damage" 1lability
        344_ The appiicable rriinimuin limit €s                                         specified in .W1S. STAT. ch. W,
        a. $60,000 for each "accident" for "bodily €n-                                  they are an "irtsured" only:for the
            Jury" and "property darriage'', if'the, .limit of                           amount by which the applicatrle
                                                                                        n7inimum1im1t:of liability excseols



CA 01 171111:                           0 Insurarice Services Offlee, lnc., 2011.                              Page 'I 4f 2



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COMMERCIAL AUTO


                     the limit. of their other. insurarroe.:             No oral or wrdten statement, representation
                     the applicable minimum limit is:                   or warranty niade bythe"Insured" or-on hisior
                     1. $60,000 for each "accident":                     her behalf in the negotiatlonj     or . or .pc.ure-
                                                                                                                        ro.
                          for "bodflyinjury"or "property                        * this cbven~e form shall be.doorned
                                                                         ment: of
                          damage",if.the fimit of liabiiity              materiaF oi defear or voidthis ooverWe Iorm,
                          is a. single: litnit that applies.             unless, mxh statemerit, representationorwar-m
                          f6r each "66cident'; or                       rihty was fialse and made with I htent: to. d~
                                                                        ceiv6, or Unless the matter M: isTepresented: or
                     0. $25000 for each per-                             made ai warrahiy, 1ndrP_a9ed.: th6':dsk.or con-
                          soilj50,000 for esich "Acci-                  tributed t,o the'loss!'. In addkfon, no breach of
                          dent' fdr "bodilyr i,n-                       a warranty in this coverage ibrrh sheii defeat
                          jury.1$10,boo for.."p ropeft                  or void this coverage forrh Unless the.breach
                          damage", if the limit of liabilitV            of such warranty increased the risk:.atthe
                         .is indicated as a split limit,                time of "loss!', or contributed to the '10
   6. The Fellow: Employee Exclusion does not                           existed:at thd time 6fi the"loSSP.        . .... . . .....
       apply if the 'bodily lnjuty." rep tsfromthause:                  Our iBUthbriztd reoreseritative's Iviowledge.
       of a covered "autd' you.cid: riot own or:lease,                  will bd.cohsider6d 'our kn6wledge. If ourau-
R. Changes.in Conditions                                                thorized:repriesentative kftbws before. an dl=
   1: The first genti?nce of the DUtMs In: The: Event                  ,clde!'. or loss" something: Which..V[oIates*a
       OfAccident,tialhil SultOr Loss Cohditibh                         polioV conddion-thiswill: hbt void.the pblicy or
       is:replaced. bV the following                                    defeat a recwew fOr P,dlaim:
       Wis: have: tb duty to provide caveraW.uridler                    If.we,elect-to rescind thi.s. pQI.icw wewill:nofify.
       thls:pqhc.y: if 'failure to comply with the follow-              the.'Insured". cif. our infen
                                                                                                    .01.6n. within 60..
       ing "n is pre)judlclal to us:                                    afteracquiring knoWedg6.6f. sufficierd facts.to
                                                                     . constitute grounds for rescission.
       ih the evbnt 6f "accident", claim,         "suit" or
                                             :
      "loss", you must give us:: or our author ized                 C Thefollowing is, added:
       representativesnotice as soomas.reasonably                    :ConfbrmftyTo:Statute:OrRu1e
       possible of the '~ociclenf' of "IoW                              Ahy: provWon of thW Coverage, Part.(including
   2. T he-following is added to the Ttttiisfer Of                      endorsements Whah modifv thei Coverage..
       Rights, Of Recovery Ajainst'Othars To Us                       . Part) that is in conflict with.6: WisPoirisin sbk-
       Cdiiditidn:                                                      ute.:or rule is: herebyamerided toconform tio:
       Weshall:be: erititledJo: a,reoovery: only'.after;                thtit.statuteot rule.
       the "insured" has been fully compensated for                     The t.erm.:rul.e means a valldrule promulgated:
       damages.                                                         by the: Corhrilissioner of4risurance   . in,:accor-
   S. The Legal Ac#i on Against Us Condition                            ciiiince with the rule-nmidng author[W oon-
       does not.apply.                                                 ferred: under WIS.-STAT. Seatlb.9
                                                                        and.pub3ish6d in ibe WiscPhsip Admini6trat.1.....       ve:
   4. The following 1:6 added to the Cbricealme,fit                     Code.
       Misrepresentation Or Fraud Conchtion:




Page 2 of 2                            0Insurance 5ervices:Office, ]nc., 201 1.                               CA 011:17111



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                                                                                                         COMMERCIAL AUTO




For a covered, '~apto" Acensed or principally garaijedin— or "garage operationsP conducWd in, SoUt h Dakotal lhis
endorsemert modifiesinsurance pwided Under the4ollowing:
        BUMESS AUTb COVERAGEdFoRM.
        BUSINESS AUTO                   "AMAGE COVERAGE: FORM
        ISARAGE COVERAGE   PHYS'CAL
                                 FORM
        MOTOR CARRIERCOVERAGEPORM
        TRUCKERS COVERAGE FORM.
With respect:to coverage, provided under:this endorsementthe: provisions of the Coverage: FQrm:appIy::unIesv:
modified. bythe ehdbr-gement,
A. Changes.1n: Liability 06verage                                             B&tterrnent 66 used in this PTqvisiq-              -
                                                                                                                      I I ..r1:'ff  .....0...t...It
                                                                                                                              ...............
                                                                                                                                 '*                  W"
                                                                                                                                                  ......
   Paragraph 3.a.(2)(d) of the WINO Is An Insured                             diff6rence between:
                                                                                                                                  ......... .
   provision: In the Garage Co.ve.rage Form does not                               a. The fiir
                                                                                            .. market
                                                                                               . . . ......valuo
                                                                                                             . . ... of: the,veNdle    ....... ......
                                                                                                                                                   be-
                                                                                     fore the:"Ioss"; and
B. Changes1h Physical-Darnage-Coiferage                                          b.The fair market value.: ofthe vehicle after
   -The Limit: Of Insurance provision with.respectJo                                  repair or replacernent.
    rippalror...replacement resultitig: in.:better than like            C:: Changes In Conditions
    kind
       ..: orq uallty.lsrepla   ce dby1heJollowing atid,                    The: Lggal:.Acdon Against Us. Condition
   ,supersedes aiiy: provision. to.the.contiary:                                                                             . ... j4:::'r-8--
                                                                                                                                         .. '.--
                                                                            placed by te faildwing:
    We. MaY deductlor betterment. fro m: the..amount.                       Legal Ac#ton Agaln     . st Us
            ..... the1dee':only
    we pay for     .. . . ....   if: the: repair ot replace
    ment results in. an increase in the fair rharket:                       Na;one.has the:.r.igh.t:un.d!Br~.t.his.: o.olicv to., b.ri.ng::Us-
    Value cif tfmVehicle.                                                   146aftactionto di6tdrminethe'ltii§Ueedii":.II'RUI]tY.




CA 01.2S.11:12.                        0Insurah66, .. ... ...........
                                                          1646.om     .......do,
                                                                               ... ..... . ..                                Page,I ofd



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                                                                                                COMMERCIAL AUTO


       THEINDORGEMENT CHANGES THE POLICY.PLEASE READJTVAREFULLY-~.,




For a oovered "auto" llcensed or principally garaged In Minnesotai this endorsement mocifies insurance provided
under the following:
        BUSINESS AUTO COVERAGe FORM
        BUSINESS AUTO PHYSICAL DAMAGE COVE RAGE FORM
        MOTOR CARRIER COVERAGE FORM
        TROCKERS COVERAGE FORM
Wfth respect to coverage provided by this ondorsernent, the. provisions of the Coverage Form apply unlessmodi-
fied by the endorsement
A. TheCommon; Policy Conditions are amended as                0. Paragraph 0. LitNt 0-f Insurance in Section 11 —
     f6iiowV                                                       Liability:Coverage of the Buainess:Auto, Motor
    .The Examination Of Your Books And:Records                     Carrier, and TruckersCoverage Forms. is: revised
    :applies:exc;ept::that..teatim,e we:have to examine            by,the addrdon of.the.follovving:
    : ypur: records afier. lhe policy period is:changed            WO, Will apply the I-Imif of Insurance fbr: Liability
     frorn three:yearsio one.year.                                 Coverage shown in the Dedarations.1o..provide
                                                         , II     separate Ilmits required'by law for bodily.injury li-
12 The1hird-paragraph pf A.1Covlprageln         I Section
                                                                   zib lity eind property damage. llability. However,
      —Liabilitj Coverage of the. BuWness Auto, Motor
      Carrier, and7ruckers Coverage Forms is re-                  this provistan, will not change our: total1imit: of ln-
      placed by the -following,                                   su,rance.
      We have thei right and diAy, to defend any "ih-         E.   Paregra ph &2. of Sectlow.111 - Trallor: Inter-
     sured'agaihst a%uir'asklngfor such damages                   change     Covemge in the::Wotor; Carrier. 4hd.
     or a "oovered politAion dost: or::wpense". Hbw-              Truckers Coverage Forms Is replaced by:the fol-
     ever, we have no dLtty to defend arV. "itisured!'            lowing:
     against a 't.u1t.P. seeking damagbs for 'bodily: in-n        We have:the right and:duty tb defe      . nd ariy kin-
     jury" pr "Orol"Arty damage" or a "covered pollution          sured". agaftt a"suit!" asking.for these damage
     cost.or. expense". to whtch this 6m   ..iranpe does, not   .:Ho.we  .ver, we have no duty.Ao de'fend. 4ny "ih-
     apply. We Will settle or defend, as we consider            . sured" against a ".suit'seekingidamages: for any
     approodate, any. claim or "suit'. askipg for dam-            'ilose'to which this, insurancedoes.n6t.apply. We:,
     ages: which afe pqv.pble Under the tefms of: ths              willsettle,or defbnd, as.we:consider appropriatel,
      Coverage: Foft.                                             a6y clakn ar'tuit'asldng fordamages which are
Lem The: Covenage Extensions of Section If — Liabil-               payaUe under ft terms of this:Q.*era0e. Form.
     lty Coveh3ge of the Business.A.L.dq,: Truckers, and      P. Paragraph A.3. Coverage Ektensions of Sec-
      Motor Carri6r Coverage Forms are amended as                 tion Oil — Tmiler Interchange,Zoverage.im.ffie
     follows:                                                      motor Carrier Coverage Form and.the Truckers
     z Coverage Extension                                         Coverage     Fdrrn is r.evised by the addition. of the
                                                                 Jollowing:
          aw Stippleriiibritarypayrnent%
                                                                 (t) Prejudgment interest. awarded against the
               We will pay for the"insured':                            "ihsUted':t)n.that:pa~.o.f.th6judgmer.w.e
                                                                                                             . ~ . pay.
             :'(7): Prejudgment        Interest     awarded,             If we:oer
                                                                                ff to pay the applicable limit of:!nsurt-
                    against the."insured" onthat pait of                ance, w.e.will not pay any prejudgmemint6r.-
                    the judgment we;pay, If " offer: to                 est based on that Wi6dof tirne after. the d-
                    pay the applicable..Iimit.of.i,nsurance,-           fer.
                   :we.will not pay.any: prejudgment in-      G. 7he Condi6ons are amendedes fbtlows.,
                    terestbased on that period oftime.af-
                    ter th6:91fer.



CA 01 tg 02V                                   ISO Properties, Inc., 2006                                  Psgeol of:2.



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COMMERCIALAUTO


    f.    .rapsftr Of Ri hts: Of Recovery Against:                     conceal or misrepreserd a n-eterial fact:con-
         *Otherslo Us. is amended , by the addition of                 cerning:
         the following.                                                a. This Coverage Form;
         a. Our rights under this condition with re-                   b. Thezovered "auto'.'
             sped to all mverages other than Liabirity
             Coverage do: not apply against a pemon:                  c. Yourinterestin the oovered
            .who: is.:21. years,cif. ade or oldw, whb:                 d. A.clalm: under this:Coverage Form.
             (11) Had control. over the prqMises and,             S. The Appralsal For'Physical Damoe:: Loss
                  being in a reasonable position to:pre-             Condition: iri the Business: A16, ~ MotorCarrier
                  vent the consumption 6f alcoholic                   and feucke.r.s. Covera6e,'Forms and:the Apa
                  heverages, knowingly or recklessly                  prAlsal Condition: in the BusinessAuto. Physk
                                 ,
                  permitted the cohaumption of aloo-                  cal: bamage. Coverage Forrb are rep!aced by
                  holic bevemges that caused the in-                  the following,
                  toxication of a.pensoh under2l.Vews                 If you and we disagrqe on the :8~.=:: .......... kt'bf..
                  bf age; or                                                                                    .........
                                                                      "losd', and the dispUted timodht is:
            (2) Sold, bartered, furnished or gave. to,                8., $10 OCUor less, both parties.rn ust submit:
                 or Ourphased alcoholic beverages foIr                      .
                                                                                to 600ralsal; or
                 a person under 21 years.of I , age that
                 causiid the intoxioatibh 6f a : pettbn               b. More than $10,000, either party may de-
                 under 21 years of age;                                   mand.an appraisal of the:"losse..
             and that ittoxicated person caused the in-               In the went of an appralsal, eachparty. Will:
            jury, 1.oss" or damanefor which. paymnt                   select a competent apprAi-spr. The tW .o::aID-
             Was ri-rade underthid. policy.                          ..praisers:will select a competent and impartial:
                                                                      umpire. The appraisers W*ill::itate separatd.y.
         bi Opr rights are supject: to any applicable                 the Adt" cash.value and. amount: of:"loss". W:
             limitations cordathed in. the Mifinesota                :they fall to agree,:they wlll:submit their differm.
             statute.s.:                                              ences to. the uthpire.. kdedisimagreed td:by..
         q. With re."ct to Ph"icalDamage, ifyou                       any hvo wifl be binding. Eadh par;ty vAll:
             have received less: than all of youe d-e  --             a. Pay ft chosen appraiser; and
             d6ctlbIe::amount:aftr a subrogatlon'set-                . b. Bear the 6fher expenses-of.the,90ftiml
            flement or judgment, you will retain your                                                       .................................
             right to recover the remaining portion of                         .. ... .. ..: equ
                                                                          and unlpire                IIV,
                                                                                              . .. ..a..
                                                                                             ..       .....
            the de edix;tible from partes. liable for the             If: we: submitt.o. an.aoxaisal, we still. retaiour.
                                                                                                                  n
                                                                      right to dmy the. claim.
      d. Our rights do not apply against:any per-~                4. The lebd-ih Wording 6Vthe::Dufies 'lh Thib
          son:or organizati on: insured under :this. or               Event Of Accident, Malm, Sult Or. Loss
          ariy other: Q pwrage _Form we issue with                    Conciffion in the: Butinesik AUto, Mbtdt: Catder,
           respect to thesarm"acaldent" or'lm     . ,V.               and.truckers Coverage Fcirms is replace. d by
   2. Con~alrriant, fAsrepmsentadon Or Fraud                          thefollowing'.
      does notapply.to Liabitity Coverage.                           :The: followirfg, duties apply-,
      However, we, Will notpay fof afiy 1o0':.(*                  S. Bankruptcy is replaced by the follomng,
      damage in arry case of fraud by you at.any.                                       .
                                                                     BankruptcV~. insolvehdy, &::diss6lution otlhe
      time as It relates to. tbis:Coveragle Form. We                 "insured".or the '.'insureds'!: estate: Will ricitte-
      will not pay fbr any "losV or damage:if you or                 lieve us of any: obligations. un: der: thit. Cbverw.
      any other 'insured', at : any titne, 'iritentionally           age.Form.




Page 2 of 2                                 0 ISO Pr6per6esi.lnc., 2006                                             CA: 0.1:38 02,07



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                                                                                         COMMERCIAL AUTO


             THI&ENDORSEMENT CHANGES THE POLICYi PLEASE: READITCAREFULLY.




 this: endors e'rhent.modifies insurance provided under the following:
          BUSINESS AUTO COVERAGE FORM
          GARAGE. COVERAGETORM,
          MOTORCARRIER COVERAGE FORM
          TRUCKERS COVERAGRFORM
 With,respeol:to ooverage pTovided.under this bndorsement, the provisions o.f the CoVerage Fott -a ply. un"
 modified.by the endorsement
 Cha os WCoWitions
 Thelbilowing.isadded10 the Legall Acdon Against Us Condition.,
 H.owever,.a:j
            , .U.d.gtr.ii§ht*creditor shall have a rightto su6 usto.recoveran executiomon ajudgrrent tetufned unWis-
 fied against an'Insured"to the same: extent that such "insured"could'have enkirced1he 1mureds!'clairn.againstI
 us had the "ihstred' paid such jUdgment, but we will not be liabl6for.damages thatare in e)(cessof
                                                                                               . . ........ the applicab
                                                                                                                 ..  ..... le
 limit bf insurance.




  ...   .......
ZW.04.00: 0243
. .. ........ .. .                             (D 180 ProiDerfies, Inc., 2002                                        . of. I
                                                                                                                Page.4


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                                                                                            r-OMMERCIAL AUTO


       THIS ENDORSEMENTCHANGES THE POLICY. PLEASE RFAD IT CAREFULLY.




Thfiendorsement modifies insumme provided under ftfoilowing:
      .BUSINESS AUTO COVERAGE FORM
       GARAGE COVERAGE FORM
       moTbR CARRIER COVERAGE, FORM
       TRUCKERS COVERAGE FORM
With respect to coveragp provided by this endorsemrt the provisions of the coveraae form apply unless:modi-
fied by the 6ndorsement.
For a covered "auto" licensed or principally garaged        age and additional. personal injqry protection cov-
in, or "garzio operations" conducted: in, Nbdh Dakota,     erageare pamar.yfpt,an'%uto~.'Ioaried,.rehted or
Otheir Insurance: in the. Miness AUto bnd Garage           10ased to1he 'Insuredi'and owned I* someone in
Coverage: Forms and: Other : Insurance - Primary           the business of.selling, repalting,. servicing, stor-b
And Excess liisurance Provisions. in the Truckers          ipg, leasing renbng or parking motor vehioles.
and Motor Carrier,Co : verage Forrns are changed by     2. If. you are 16 a business, dib.scribed ih li.i the Oovmw
adding1he fbiloWing:                                       erages described ih 1. 6re excess for an "autd'
1. Liabifity wverage, uninsured motorists:.coverage,        you own ii.00erated bY an "insured". other than
    undeirinsured: rtbtorists coverage, medicial pay-       you or yoLw O'employee"
    ments: coverage, persond: injiury protection covet-




CA 01611.1 - -.41
               .                    gins"'       8.    ... ...40c6,      .. 201.1::.
                                                               ........ Inc.,                           Pago,1 of:1



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                                                                              COMMERCIAL AUTO
POLICY N1:1MBER: Y'-810-3D984291-TIL-13                                        ISSUE DATE: 10-25-13




This endorsement modifies insurance provided under the fofiowing:
        BUSINE8S AUTO COVERAGE FORM
        BUSINESS.AUTO PHYSICAL DAMAGE COVERAGE FORM
        GARAGE COVERAGE FORM
        MtaTOR
             _ CARRIER:C.QVERAGE FORM
        TRUCKERS COVERAGE FORM
With re.spect to coverage provided by this endorsement, the provisions of the Coverage Form apply :unless
mociifed by the endorserrierrt.
                                                    SCHEQtJLE
Insurarice Company: TRAY&L8R8 .PROPEiRT7c ,CA3UALTY CtiY4P.M OF AMRICA
Policy hlumber: Y-81.0-3D989291-T'IL-1.3
Effective Date: 7.o-01-19                    Expiration Date: 10-01-19
Named Insurect: Di4ROTA SrJPPLY GROIIP ZATC
                  AND AS t+BR It, T8 00
 Address: 2601 3RD AVOM NO%tT>a
          P.O. BOR 28e6
          FARGo                                P'iD 58148
 AddiGonai insured (Lessor):

Address:.


Designation or Descriptiori of Leased "Autos":


AM 8A'Q'1'tJ° 7G13ASED: FOR A P8R3O'D sJF SI7i WNfiFt9 O1ii MORR
IIATD33R A18A3ING Gfi21T'RAGT QR AGRRiMGT TRAT Rfs'Qti3R83
YOU TO PiFtOVIDE _. taIRECT PRTP4A1itY tiNSIIRANCB 80R
                                                     _ ..T'$R L8$SOR.

      Caveragss                                               Limit Of Insuran+:e
       LiabiBity                  QA.O
                          $ 1,000499                            Each "Accident"
   Cotnpretsansiive       Actual. Cash :Vaiue Qr Cost.Of,Repair Whichever Is Less, Minus $ sEE rLTB25
                          Qeductibie For Each CoverecJ "Leased Auto"
      Coll6sion           Actuai:Cash, Veiue C?r. Cost CqF:Repair Whichever;is Less, Minus $ szz :iLT825
                          Decluctible :For Each Coveced "'Leased
                                                         . . ......... Auta"
                                                                       . .. ..
     Specifiaet!          Actuai. Cash :llaiiae Or Cost Of. :RepairWhichever:is Less, Minus $
   Caasesi ®f d.oss       Deductible For Each.Covered "Leased Auto"
Infomration required to compiete this Schedule, If not;shown.., above;.wiil be,shown in the :Deciarations.




CA 20 0103 06                                0 ISOProperties, Inc., 2005                                     Page:! of 2



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CC3MIU9EFtCIAL AUTfJ


                                                                                                 . ..   . _ I.   . ....... ...
A. Goverage                                                        2. The frisurance covers the;:lnterest o.f:.:ttie..fesa
   1. Any '4eased auto" designated or described in                    sor untess the
                                                                                  _ 'Yoss" resuits from fraurluJent _..
      the: Schedule wili be considered a covered                       acts oroniissions on your part,
       '~autci` you:own and not a caveret! "autp" you              3. !f we nmke ariy payment to the iessor, .we will
       hire or bnrrow.                                                obtairi his or her rights ,against a.n:.y otlier:
   2. For:,a "le,aseri:auto" designated ordescribed                   party.
       in the Schedule, Who Is An Insctred is                  C. CancL4latiore
       chariged tca inciude as:an "insdrBd" the iessor            1. If we eancel the policy, we wiil cnaii notice td
       named: in the Scheduie. However, the iessor                   the iessor in accordance witti the Canceila-
       is an "insured" aniy for "bQdiiy injury" or                   tion trommon PDiicy:Condition.
       "praperty damage" resuiting from the acts or
       omissions by:                                              2. if you aancei the po(icy, we wili maii riotiids:Co
                                                                                                                  .... ....
                                                                      the iessor.
       a. You;
                                                                  3. : Ganceilation.erds this agreerrtent.
        !a. Anyof:your "empioyees" or agents; or
                                                               0: The' iessor is not iiabie for payrrient of yaur
        c. Any person, except the iessor or' any                   premi ums.
            "e~mpltiyee" or agerit of the: lessor, operat-
            irg.a:"feased au#o" avith:the permission of        E. 6i;dditloeaf!    initlon
            anyj of ttte: ati.ove;                                 As used:in this endcrsement:
                                                                                                                      ..
   3, 'fhe.coverages provided urider this:endorse-                 °i~:eased auto" Means an "auto" (eased or rentetf'
                                                                                                                .....
        m..ent: appiy. tn any' "leased auto" described in          toi:you,.:inciuding:any substitute, repiaceirient or
       ttie Scheduie until the expirati©n iiate sttown             ext ra "auto" needed to :meet::seasonai:`or other
       in the Schedule; .or when the iessor or his o.r             rieeds,, urider a:leasing or .rental::agreerrtent thet:
        her agent takes possession of the "leased                 requires jiau tu provide direct: piimary imuranoe
        auto';:whichever ooaurs.finst.                            #cir #he lessbr.
D. L .oss: iPe~bl+e Clause
   1. iNe: dviii pay, as Interest may'appear, yrou and
        the lessor named in this endbrsemerA f4r
       '9ass"
        ...... . ..tt~ . a'°ieased autfl".




Page 2 of 2                                   +WISO RroperEies, Inc., 20O5                              CA 20 .01 03:06


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                                                                                           COM MERCIAL AUTO
POLICY NUMBER: Y-810-3084291-TIL-13                                                        lsswDATE: 10-25-13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




For a covered "outol' licemed or principally garaged, or "garage operabons" conducted, in,'Wisconsin, thfs en-
dorsemerit mpdffie s: insurance provided under the following
        BUSINESS AUTO COVERAGE FORM
        6ARACE COVERAGE FORM
        Mot6WCARRIER COVERAGE FORM
        TRUCil COVERAGE FORM
With retpedt: to. coverage provided by this endorsement, the provisions of the ooverage form apply unless mo di-
fiW by the. endorsement,
                                                    SCHEDULE
Liffdt Of Insurance:     $ BER C1i:T030 Each "Accident'
information required to complete-thisSchedde, if not andwn above, will be-shoWn in'the: 00.1alwatiol

A. COVOrage                                                         d. Anypnefor damagesi he. or she isantitled
   1, We:-wik-pay all sunis the "insured" is Jegally                    io, feco er bsoausle:.pf "bpd1Iy:injUny9. sl
                                                                        tained by, an.othk:ln Wr
        erititled to recover as compensatory damages
        from, t.he owner or driver.of ian "uninsured mo-         2. kpartne,rship,jlmited fiability:: company, qor-
        t6r vehicle". The damages must result from                  poration Dr: any other: form,:of organizattion'r
        "bodily injury" susteiined. by the "Insurecr'               then the following arei 1nsureds":
        caused by an   . "eicoldehf'. The "I or                       a. Anyona. "occupying" arcovered..I Ore.
        drivers liability for these. damages must resuft                 temporary substittAefor: a covered lautd.".
        from the ownership,. maintenance or use of                       The covered "autdl rniist be otA. of.service
                                                                                                                 . ...........
        the:"uninsured rhotarvetficlel.                                  because of its~ breakd ri; reoair, servic-
                                       I .                               ing,:Illloss!'or destruction.
   2. Anlient for darnoll;Ies, arising. Oui Of a
        "suit' brought. withdIutwbur written consent is             6. Anypne:e1se     . "oocupOng" an                  you:
        n6t. bindingon ts.                                               do not own w.ho:is an1tisured" f©rlilability
                                                                         under the coverage form, but only at
05 Who Is. Ah Insured                                                    times , when thatperslol an:"insur6d" f6r
   If the Named: lhsured is designated in the; Declia-                   1rability uriderthe coverage form.
   rations. as:                                                     c. Anyone for.damages: he ori she: is entitied::
   1. Ah Individual,. thiDn the 161lowing. are. "insur-                  to.. recover: be.caUse.:of:..'bo.dlv:injury.. sus-
                                                                         tal.nedby another 1nsur6d".
        zl. 'the: No-mad Insured and any 'family             C. ExdusJons
            membl                                               This ihtLitnbe doeis hot, apoly to any 6tlihb loll
        b. Anypne else: "ootupying" a covered                   l(ming:
            ll'outb" (je a temporary substitute fcir, a         1. Any dibim settled. withou t.our:conserft,
            covered "autd.'. The: covered "Outd" hiUst         .2. The direct,ovindirect benefit of an-V i'nsurer or
           -be out: bf service because of itd break-                seff-insurer uncier any:. woftrs' compensaw
           Aowni,repair, servicing, "lose"or,destruc-               tion,dlsability.blenefft dr sirrIlar law...
                                                                 3."Bodily injury" sustained;by:
        c.Anyorie else "odcupying'- an "I you                      a. Ah ihdiVidual NaMed insured Wh I 'loc.
          donot own who is an'llinsured"forliablity
                                                                       oupying' or when struck -by any Vehicle
           uril coverage,form, but only at-                                ownel that :Namedlnsurddthatls
          &nes vvhen thatpel an "insured"tor                                                        .    . . . not
                                                                           a covered "auto      Oninsured Motbris. U
          liability unde
                       :rthe.c.6yerage 4'orm.                              Coverage, under thls'coveraqe form,


CA 2103 1111                          WnsurancaSerAces:01'Vice, Ino.,2011                                     Pagal::6F.4



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COMMERC€AL AUTC?

        b. Any "famiiy member" whiie "occupying" or                       We wii! not make a duplii;ate:paymei1 under
           when struck by any :vehicie. awned bythat:                     this coverage for any eiernent of '9oss" for
           "family rrlember" that is not a covere.d.                      which:payment has been tna@e by orfcir anji-
           "auto" for Uninsured Motorists Coverage                        one who:is legally responsibie.
               under this coverage form; or
                                                                          iN'e tivill not rnake a dup,licate.:payment:to the
        c. Any "fami€y rnember° while "occupying" or                      extent'amounts are paid or payabe because
               when struck by any vehicie owned by the.                   of "bodily injury" under tiiorkera' :compensa=
               Named Insured that is insurecl for Unin-                 tion, disability benefits or simi€ar'law.
            sured Motorists Coverage on a primary
            basis under any other cQverage form or                E. Changes Iri Conditions
           policy...                                                 The oonditions are changed lfdt Uninsured Motor=
    4. Anyane using a vehicie.without a reasonab€e:                  ists Coverage as foliows:
        beitef:thaatthe person is enfitfed to:do so.                  I. Other irrsurance in the Business :Auto.:and
                                                                                                            ..... . .........
    6: Punitive or exemplary damages.                                     Garage Coverage Forms and 0fher: lnsuc  ,.
    S. 'Y3odiiy injury" arising directiy: or indirectly out               ance — Primary And Ect:ess insqrsnce
         of:                                                              Provisions irt the Truckers and Motor Garriet
                                                                          Coverage Forms. are repiaced by the foiiow-
        a. :War, inciuding undeclared orcivil:war;                        ing;
        b. 1Atarlikee action by a mi€itary: force, includ-                if there:is other app€icable insurance avaiiatil.e
            ing_; action in hindering or def.enciing'                     under ane cir mare jmlicaes or provisions of
            against an,actual or expected attack; by
            any.goverrimirnt, sovereign or other au-
                                                                          coverage:
            tiioritji :uSirag mili#ary }i~ rs+annei: or other             a. The maximum recovery under :a€€ cover:
            agents;:or                                                        age forms or ,polieies: co mbner! may
        C. InsurrectEon,        rebeiiion,      revoiution,                   equal but not exceed tha tiighest :appiica.
               usurped power or action taken by :gov-                         ble limit for any! one vehic€e utrder airy
            emmenta) authority in hindering or de-                            coverage.form or policy providing`cover-
            fending.against any of:these.                                    .age 4n: either a;prima r.y.;or: exCess:f~asis.
                                                                                                   .. . . .. . . . . . ............ .....
D. l:imitt)f insurance                                                    b: Any insurance we..provide wfth i;tiespect;to:
                                                                                                            _.:
    1. Regardiess of the: numbecof coveFed:"autos",
                                                                              a vehicle the Named lnsured :does:i not
        "insureds", premiums paid, cia.€ms rriade or                          own shaii be excess over any ottier col=
        vehicles €nvatved in the "acaiiien#", the most                        lectible uninsurecf motorists insurance
        we wi8 pay for all damages resulting from any                         proviciing coverage on.a.primary. basis.
                                                                                      _
        one "accident" €s the Limit 'C3f insurance for                    c, if the coverage under this coverage
                                                                                                           .. . .... form
        Uninsured: Motorists Coverage stiown in the                           is provided:
        Sctiedule or.Dec€arations:                                            (1)::On a:pririiary basis, we:will::pay oniy;
   2. The Limit of .lnsurance under this coverage                                  our share of ttie "Ioss" that :must be:
      stiai€ be reduced by:                                                        paid under irisurarice. providing cov-
        a. Ail sums paid or payabte under any work-                                erage on a pnmWl basis CJur share:
            ers':.compensation, disabiiity benefits or                             is the proportion that our limlt;ofliabii_
            siini€ar.law; and                                                      ity bears ato the: total: of afl app€icatiie
        b. All.:sums paid by or for anyone who is fe-                              lirnits of liabiiity for coverage on a
            gally responsibie, 'inciuding all sums paid                           primary basis.
            under::this coverage forni"s:Liatiiiity Cov-                      (2) On'an excess basis, tive wiil pay oni.y'
            erage.                                                                our;; share of:: the "loss!'Jhat; imust: ba
   3.: No one:wiii.::be entitied to receive dup€cate::                            paid under : irsuranee,, providing cov-
        paymerrts,f+ar :the sameeiements..of'9oss" un=                             srage::on an:excess basis C?u[ share:
        der this coverage, form.;a:rid :airy Llabil€ty Cov-                        is the proport'ion that:o.ur Ilmit of liaoi€-
        erage fcirm, iJnelerinsured Motorists Coverage                             ity bears to the total of all app€icab!e
        endorseinent ar Uninsured Mqtorists Cover-                                 limits: of liab€lity::for coverage:.on an
        age endorsement.                                                           +excess basis.                           -




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                                                                                                                   COMMERCIAL AUTO

                                                                                                                                          I
     2. Duties In The.: Event Of 'Acddent Claim                                riage or adpption who is, a resident b f such
        Sdit. Or Loss.. Is chghbed by adcPrio: the fal-                        Named Insured's household; j6djudiing1: Ig:w
                                                                                                                         .
        lowing:
                                                                           Z
             Promptly: notify the. policeff ahit-and-run                       "0ocupying" m ea ns in, up                     gefting ini on;
             driVer Is involvet and                                            oUt or dff.
        .b: :PrOMpUy.tOhd,:Us. iaciO.6s:bf:tht: legal pa-                  S.. "
                                                                               'UnInsured motorvehicle" meane.a. land..Tnow
            .pers if:a "sult':'1s.brought                                      toryphible. m1troiler":
     3.1iranstbir 0f : Rlahts of Recovery      Agalnst.                        a. For. whicKpo liability-bond. or polipyAt the
          . .              ,      .
       01her. S To Us is .chahged b. y. iftddiho the fbl-                          t.ime of. an "aocideryt" pTcivides:at.1644 the
       lowing:                                                                     applicable minimum limit w :ilbodlly ..In-
                                                                                   jury" liabilitv specified .ih WIS.        I . STAT-611'..
         a. We shall be entitled,tothe: rigot to recover                           84The a p-pli'cable rTfi hirhu in Trhit is-.
            darriages.from:another.oftivafter
                                          .     the "in-
                                                                                   (1).$50,000 fbr eacti:."acciderW',.W. the
            sured' has been fully compensated for
                                                                                          limit:W.: libbilit. y is a sing! ip lhi t. that
           :damages.
         b. If we make any paymerUand the 'lin-
                                                                                    ....... . .... . .. ..ea .h "acci
                                                                                          :applies4or
                                                                                                                 . .... . .e .....; or
                                                                                                                                    ... .. ..... ...
                                                                                  (2 M,0004w eachjiers.on/$50,000      ... .    .. . ... ......  f6r.
             surecr, recovers from another party, the:
                                                                                           each "accident", if the limit,of litibility
             "insured"sha3 hold the:proceeds in trust                                      is indicated as a s pN limft-
             for Us and pay usbacktheamount
                                   .              we.
             have paid only after tho "insured" has                            b. Fm which 6h insuring: cir bondirig corrl=:
             been fully compensated for damages.                                   pany denies coverage.:.oT. is::or:b0b&nds
                                                                                   Insolvent; or
    4 Tho fbilowing condition is added:
                                                                               c. That: is a hit=and-run vOhicle and::neither
         Arbttmtion                                                                tho ddve:r nor owner cah lid Identified;
         a6 If we and an "ins
                            'ured"disagree whother                                 ThA veNclanust hit dh 1fisuteicrl'a cov-
               ihe "insured" is legally entitled:to                                erLid: "auto" of a vehiole an 'Insured";ls
                                                     .. recover
                                                         ..... ...
               damages from the owner or driver of an                             "occupying", or must: hjt:.arxAher ve hicle
              "uninsured motor vehicle" or do not agree                            that.0its an "irisured", a:covered:1!auto": or
           .:. as to the amount of damages that are re-                            a vehiclean "insured"is 1'cccupyind!:
               coverable by that "insured", then the rrmt-                     d: That: is a phanintri.motorvehicleAnd riek
               ter may::be arbitrated.     Howeveri:disputes                      thqr the driver nor: owiier c.an 1.*.:Idehti-
                                      ..        ..
                                                                                  fied. The Vehicle. must maka no physica.t.
              .concerning covera    . ge und  . er: this,: qri-  .
               dorsement: may-noUbe arbitttted. Both                               pontact with the insured nor.witha     .. . ....... Vehicle
               ptrtiet. must agree. tb arbitration.                                the insurgd is occupylhg,: tthd. all-of the:
                                             . . ... . . If. . . so               folitw in gmust a pply:
               agreed, each party wi. 11 select an arbitra
            .tor. The two arbitrators will:select a third.                          :(I). The4acts of the acoidentirnustbe'ddf-
               If they. ca rinat agree within.30. days either                             roborated by com otiant eviide:  nee.
               may request that selection: big rhOde Py a                                that is provided...1*. someone othor
              j.udge:o.F a:oourt: having jurisdiction. Each.:                             than the '1n .sured" or any..other.per-
               pafty:will pay the: expenses.1t. incurs ohd                                son. who "kes: a claim agains.t .the,
               bear the, experises. of the thir.d.arbitrator                              unimuced motodstt: coveragIe as a:
                                                                                          result of the aocident,
        b. Unless- both partiesagree.otherwlse,,arbi7                                     Within 72 hours after the socidd
           traiion will: Aake. place                                                     :the!'Ihsured'!ofsciriiEohL:i.6n.bbh6if.6f~
                                                                                                               .. ... .
                                        . inthe counLy  In
                               .                   ..
                                                  ruIet                                   ihe 'J nsure.ds:~ must:rePort.the:aW0ent*
           Which the "insurec
                         . .   . P.' lives. Local
                                             .        I bf                                toa pplioei peace orjudicial: officer
           law as to arbitratioft p .rocedute and e,-A                                                                         .    or.
           dencewill apply. A decition agrped to: by                                     '16 the department:of. transpo rtation.
                                                        ...                              ior., if the accident QGCU1'5. dUttidt
           two of the arNtrators will be binding,                                                                              : :.
                                                                                          VVisconsim the e quivalenFen   a9 - - r-Y Jn:
R.- AdditionW06finitions                                                                 the::state: Where: the accident.occurs;
    As used: in this: eiidorsemeed:                                                      iand
    1. "FamiY rinember' means a perscarelated to                                   (4) WithJ63 .0 dby.0aiter the accident.'60-
       an.individual Named Insured.by blobd, mar-                                      curs, the.'.'insurecr". 6r someone: 6n
                                                                                                                            :


CA 21:03 .11 19                             9lmurance: Services Office, Inc.,2011                                                Page 3 of 4


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C(3MMI=RCIAL AUTO


              behalf of the "insured" must fiie with             a. f3wned by a governmental unit or agency;
              the insurer a statement under oath                 b. C3perated exciusively on rails or crawier
              that the "insured" or a legal represen-               treads;
              tative of the "insured" has a cause of
                                                                 c. Designed for use mainiy off pubiic roads
              action arising out of the accident for
                                                                    while not on pubiic roads;
              darnages against a person whcase
              identity is not ascertainabie and set-             d. Owned or operated by a seif-insurer uh-
              tirig forth the facts In support of the               der any appiicabie rriotor vehicie 1i3vr; ex-
              statement. Nowever, "uninsured mo-                    cept a seif-insurer which .Is or becornes
              tcit vehicie" does not include any ve-                insolvent; or
              hicle:                                             e. That is an underinsured motorvehEcie.




Rage 4.of 4                        0 Insurance.Servicest4ffice, Ino.,2011                      +CA 2103 11 1'1



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                                                                                                  COMMERCIAL AUTO
POLICY NUMBER: Y-810-3D984291-TIL-13                                                              ISSUE bATE: 10'-25.-.13

       THIS ENDORSEMENT CHANGES THEPOUCY.PLEAOE READ IT CAREFULLY.




For a covered "autd:'licensed or principally garaged In, or "garage ope.rationsPoonducted in, Iowa, this:endorse-
ment modifies insurance provided, under the following:
        BUSINESS AUTO COVERAGE FORM
        GARAGE COVERAGE FORM
        MOTOR CARRIER COVERAGE* FORM
        TRUCKERS COVERAGE FORM
                                                                                                                         .
With respect to coverage provided by this eandorsement the provisions of.ft.Coverage Form.apply:UNess.modi-
fled by the endorsement
                                                           WkEDULE
 Limit Of Liability: $ gEg: CAT030             F-ach "Accideht"
 The.definition of'.!uninsured rnotorvehicle" in this endorsemerit appILzs InAs entirety unless an:'W:is enter6d             ,::
 below.
 El    .. . ...... entered in, this box, Paragraph b, of the.defiriltion:of "uninsured motor vehicle"':does.not apply:
 . . lfan.:'Wis
     lf.an.'.!X'. Is.entered in this box, only Pairagraph b. ofthe definition of "dnlnsured motor vehlcI6" appyes.
 Information.required:
          .....    .. I  ; to
                           . compiptp
                                    -   this Schedule, if not shownabove,
                                                                : . ...... . . .. 11 will   . ....ihown in the Declarations.
                                                                                       1 . be
A. Covemge                                                                      (2) Advance paymerd, to, the "Ins.ured, in
        . ....pay....all. sums the 1risured" is legally
   1. WeWill                                                                        an amourit equal to -the tentatlir6 set-
       erititleid to recover As compensatory damps                                  tlement within 30:days:after recelpt bf
      from fhe owneror driver ofan. "unintdted rhb-                                 notffocabon.
       tot. vehicle!'.. The damages rhust resUt from                 S. VVho1s:An:lnsuired
           dly ibiury. caused I~y an "aocident'. The                    If the Named Insured is designated.in the Decla-
       ownees or driver's liability for these:damages                   rations as:
       must
        ..     result 0orn the own"hip, maintenance
       ar ust of thel"uninsured: motor vehicle".                        t An individual, then the following are "Insurw
                                                                              e;W':
    2. Wfth resped to damages resulting fmm an
      "accident.'. with a vehicle described in Para-                        a. The Nameci trisured. and any 'family
      graph b. of the definidan of "uninsured mplor                             niemhere'.
      vehicle!', we will pay under the ooverage se-                        6. Ariyone else Idocupyinb" a coverreci
      lected under tt*s endorsement only,if Para-                               "auto" or; a temporary sLdzetitute fOt a
       graph 9. or b. below applies:                                            covered "auto". The covered "auto" must
      a.The limft of any applicable liability bonds                             be out of service. because of ts break-
            or poliples have been exhaustedi by pay-                            down, repair, servidng, "lose'or d6struc-
             ment of judgments of settlements; or                              tion.
       b. A tentativesettlernent has been made be-                         .p. Anyone for damages. he or she. is entitI.ed
            tWeen an. "insurecr' and the insurer of the:                       to recove.r becaus,e of 4bodily injury," sus-
            vehicle described, in Pamgraph b. of the                           tained. by 6nother "insured'.
            definftion of "uninsured motor vehitIO"                      I A partnership, limited.liability company, por!-
            and we'.                                                        poration or any other form-... of
                                                                                                           . .organizatio
                                                                                                                        * n,
           (1) Have been gfven prompt written no-                          then th45 following are "insureds":
                 tice: bf suchtentatiVe setUdment; and                     a. Anyone "oocupyirg" a covered "auto" orz
                                                                               temporary substitute fo.r a covered "auto".



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COMMFRCIAL Al1TC7


            The covered "auto" must be oui• of senvice.                   a„ All sums paid or payable pnder anywork-
            because of its breakdown, repair, servEc-:                         ers' compensation, disabliity: benefits.:or
            ing; "loss" ordestruction:                                         similar law; and
        b. :Anyone for damagas he or she is entitled                      b. All sums paid by or for arryone who is le=
            #o re.cover because of "bodily injury" sus-                        gaily respon.sible, including ali surns:paid
            tained by another "insured" .                                      uncier this Coverage F.orm's Liabiiity::Cov-
C. Fxclusions                                                                  erage.
    This_ insurance does not appiy to any of the fol-                S. No one. will ,be entitied to receive dupiicate
    lowing:                                                               paymerits for the same elements of "Ioss." un-
                                                                          der this Goverage and, any LiabiGty :Co:v.eraye
    1t Arry ciaim settled voithout our consent. How-                      Form.
        ever; this exclusion does not apply to: a set-
        tlerrient rrrade vi+ith the insurer of a vehicle de-              We wiitl. riot make a: rfupl,icate payrnent under
        scrnbeeT:i.n Paragraph b. of the definiiion of                    this Coverage for any eiement of. '96ss':' :for
        "un)nsured motorvehicle", in:accorda nce:with                     whic~i,paynient has been rriade by or for any-
        #he prpoedure described in Paragraph;A:2.b.                       one:who is iegally responsible.
    2: The dreet or iridirect'benefit of any insurer or                   V11e v+iill not'pay for any element of "loss" if a
        self irisurer under any workers' compensa-                        person is entitied to receive.paymerit:forfhe
        tion, disability. benefits or similar law.                        same::elernerit of "loss" under any workers'
                                                                          coi~ensation; disability beneflts or similar
    3: Anyone using a vehicle without a:.reasonable                       iaw.
       tietief:that the person: is enti#ied to do so.
                                                                  E. Changesln:Costtfitions
    4. ".Bodily : injury" sustained by an individual
       hlamed_Insured while "occupying" or istAzk by                 The conditioris of the. policy are.changed,for Un-.
       any vehicle owned by that Named Insured .                     prisured:And Underinsured Motorists Goverage:as
       which is riot a covered "auto".                               follows:
    S. Punitive or exernplary damages:                               1. C?ther Insurance in the Business Auto and
                                                                          Garage Cove:rage Forms and Other :lnsu.r-
    S. "Bodily
        of: . .. injury" arising directly. or indir.ectly out             ance: - . Primary And Exom :Insurance
                                                                          Provis6oras in ttie Truckers and Motor. Carrier
        a. W'ar, including.undeclared or civil:war;                       Coverage ,ForTns are replaced by the.:fioilQw
        ta. ►Nariike action by. a military force,: includ-
             irig ,adion in hindering or de.fending ;                     If there is other appicaUe insurance.available:
             against a.n actual or expected attack, by                    under one or more .policies or prorrisions of
             any::govemment; sovereign or other au-                       coverage:
             thority using military personriel or other                   a. 7`he: maximum recovery . under all : cx~ver :
             agents; or                                                      age farms or policies; .com6ined may;
        c. Insurrection,         rebellion,      revoiution;                 egual buE not exceedithe higha..st:applica-
             usurped. power, or action taken by gov=                         ble limit fvr any one vehicle under any:
             emmentai authority in hindering or de-                          coverage form or policy ptovidirtg: er-
             fendirig against:any of these;                                  age on either a primary or excess basis.
D. Litriit.Of lnsurance                                                   b. ny insurance we provide,with.. respe... - o
    1. Regariiless of the nurnber of covered "autos' ;                       a vetiicle the_ Narried Irisufed does :not:
        "insureds", prGmiums :paid, ciairfis made or                         own shall;be excess over;a,ny other col-
       vehicles involved in tfie "acddenY; the niost                         leetible uninsured, or uriderinsured motor-
       we wilt pay for ali darnages resulting from:any                       ists insuiance providirig coverage on :a:
       one"'aiscident" is the I::irnit Of #nsurance:For                      pr)mary.i:iasis.
       llninsured And IJnderinsurer! N1.pforists; Cov-                    c. Ifttie.cov.erqge unclerthis:Coverage Form
       erage shown in this endorsement.                                      is provided:
    2. With respect to damages resulting;:from an                            (1). On:a primary; basis; we will:pay only:
        "accid.ent" with an "uninsured motor Yettide";                            our share of :the::!loss that: must:.be:
        as defined in Paragraphs F.3.a., c. and d: of                             paid under insurance providlnj crsv-
        the definifion of "uninsured motor vehicie", the                          erage on a pritnaiy basis Our stiaie
        Limit of. Insurance shall be reduced:by:                                  is:the proportion that our limit ofi liatril-


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                                                                                                    CflMMERCIAL AUTt7


                     ity tears to the testai of ail appiiqabie                    appiy, the applicabie state statute of limi=
                     limits of Irapiiity for ooverage on a                        tations wiil govern legal action aga.inst us
                     pf imary besfs.                                               urxlerthis Coverage Form,
             p) :On an excess bas.is„ we wifl pay onty                      4. Transfer t7f Rigir4s : Ctf Recovesy ¢lgeirost
                     our.share of the toss that tnust be                       Others 7'o Us is repiaced by thefollow:irig:
                     paid und,sr insurance providing cov-                      a. With respect to Paragraph b. of t.h..e; defini-
                     erage trn an excess basis: :Our share                        tion of "uninsured .rr,otor vehicie"; if any
                     is the propordori that nur liniit of liabil-                  person or arganization to or fbr ~viiom vie
                     ity.:bears ta the totai of ail :appiicabie                   make payment' under this coverage;; has
                     lirtiits of iiabitityr for coverage on an                     rights to recaver damages from::another,:
                    excess basis.                                                 those rights are ti~anaferred to us: Th:at
   2. pgrties In 'the Event Of Acci,dent, Clatm,                                   person or organizatiorr must do every-
        Suit Or, L.oss is changed by adding the foi-                              thing necessary to secure..aur rights and.
        fowing:                                                                   must do nothing after"accident° or1oss"
        a. Pr4mptiy notify the pofice if a hit-aridrrun                           to. prejudioe:ttiem:
            driver:is irnialired; and                                          b. If we.: make any:. paym.ent and the "in-
        b. Pramptiy Sersi us copies of the legai pa-                              sured" reoovers. frorn another . party, . the
             pers: if a.suit is brought.                                          "insurer!":.sha11 hold the:proceeds in trust
                                                                                  for us and pay us bacit the arnisunt we:
        C. A person seeidng coverage from an in-                                  have paid, fess our pro rata shar>~.of eX-
            surer, ©wner or operator of a vehicie de>                             penses inctirred in . recovering ttiose
            scrityed in Fharagraph b of the 'definition af                        danzages. However, with respect to Para=:
            "uninsured motor vehicie" :must aiso                                  graph Ba,. ot' the def nition af "uninsured
             prornptty natify us in writirig :of a.tentative                      rnotor vehicle'; vee shail: be entitied to re-
            settlernent betweeri the.1risured" and the                            aouery oniy after the'insurerP' has been
            lnsureranct.alioVv us ta advance imyment                              fully cOrnpensated fo.r damages.
            to that: "insured". in: an amount equa) to
            the. tentative settiement vrittain 30 days af=                        ©ur rigfits do not appiy under this proul-
            ter reaeipt of notification.to preserve.our                           sion with respect to damages caused by
            rights agaihst the insurer, owner or opera-                           an "accident" with a vehicie described in
            tor of such           vehicie.:                                       Paragraph b. of. the defiriiteon::of:: °unin-
                      . .. .: .                                                   sured mot4r vehicie" if-we:
   3. 'ftie Legai Actiion . Against Ut pravisipn is
        reRiaced;                                                                 (1) Have; been given prompt +uritten no-
             ...... ....tiyttie:fol.l.owi.ng:
                           .. ..... . . .. ...                                         tice af a tentatiVe. settienierit betin+een
        a. PJo one.may::brin.g,.a....l.egai.action against                             an "insured" and the insurer.:of::a .ve-
            us:untter this Goverage Forrr~. un6t thera                                 liioie.dgscribsd in Paragrapti:b..:ofthe.;
            has been fuii compiiance ivith afi fhe                                     defnition of '!uninsured     motor ue11i-
            terms of this Caverage form; and                                                               _ : :..
        (a! A~ iegal action against us.: under this                                 (2) Faii.:to :advance payment to the "in-
            Coverage Forrn must be bro:.ught wdhin                                       s.u.r.ed" in:an arnount equai to the ten-
            two.years afEer ttietiate of ttie "acoident".                                tative settiertlt:nt ~Vithin 30 days after
            However, this' Paragraph 3.16. does not                                      r.eceipt of notificatEon..
            appiy::if; wifihun iwo;years after the date d
            the "aoaiderit", the "insured" has tiied an                             If ►ve advance payment ta the'tnsured' :in
            action for "boef'iiy injury" against ti?e.owrner                        ari amount' equai tra ttie #entat'rve se€tte-
            or apeirator of a,vehicie .descrihed in                                 ment. within 30 tiaays:after: receipt: of notifi-
            Paragrapti b. of the definitirsn of "unin-                              c.ation::
            sured motor uehicie", and such;actitin is:                              (1) That payment: wiii:. be separate from
            (1) Filed in a court of competent jurisdic-                                  a.rry„ amount ;the insured" is entitied
                    tion;:and                                                            to reGover under:ttie provisions of Un-
                                                                                         insured Motorists Coverage, arid':
            (~ Not baried tiy the appiica,ble statel
                   statute oflimitations.                                           (2) We aiso have a right:to recover the
                                                                                         advmnce payrrent.
            In:the:everd that the. two year tirne:llrriita-
            tion
             .... identified
                         .... ..      in this condition
                                                  _ .,. `alries not:


CA.21 12:03                                         0 iSt7 Properties; Inc., 2005                                      Page 3' oVA



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GOMMERCIAL AlJTO

F. Arlditionai Definitions                                                   recov.e..r as damages res4iting from "bod=
    As used in this endorsement:                                             iiy!injury" caused: Gy the "aocident";
    1. "Family: member" means a person reiated to                         c. For which an insuring or bonding oom-
        an individual Named Insured by btood,: mar-                          pany denies coverage or is or. tiscomes
        rfage `or adoption who is .a resideq# of such                        Insolvent; or
        Named: insured's househoid; inciuding a ward                      d. That is a hit-and-ruri vehicie and neititer
        orfaster chiid.                                                       the driver nor owner can .be Pdentified;
    2s "Occupying" means in, upon, getting in, on,                            The vehicie rnust hit an ' insured", :a:cxs+i=
        out .oeutf:                                                               ered "auto" or a; vehicle ari "insured" is
                                                                              "ocaupying".
    3: "Unirsured motor vehicie" means a ianti mo-
       torvehicie:or "lrailer'':                                          Hoyuever, "uninsured motor vehicie":daes not
                                                                          incJude any vehicle:
       a. For wYucti no liabiiity bond or paiicy at the
           tirne of an "accident" provides .at ieast the                  a. Owned or operated by a: seif-insurer: un-
           amourits required by the io+aa :Nlotor Ve-                         der; any. appiicabie m.otor vehiciei law,: ex-'
           hicleand Safety:Responsibiifty:Act,• or                            caRt a Seif: inSUier wh0; is ol'. becorTies in-.
                                                                               sotvent land caririot pro,v.ide the arrxrurits,
       b: Thafils'an underinsured:motarvehicie; An                             required by that!rriotor vehicle law;
              underinsured motor vehlCle is a:iand rno-
              tor.vehicie or "trailer" for which the.sum of               b.. C~~+rieit
                                                                               or . .. by a goverrimental :urnt or agerncy+;
              aitaiabiiity bonds or poiicies at tfie'fime of
              the "accidenY' do not provide:at least!the                  c. Designed.for use mainly: off pubiic: roads:
              amount an "insurecP' is legaliy entitled to                     whjle nc?f on public roads:




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                                                                                             COMMERCIAL AUTO.
POLICY.N.UMBER: Y-810-3D984291-~TIL-13                                                       ISSUE DATE: 10-25-13

       THIS END.ORSEMENT.CHANGES THE POLICY. PLEASE.READ IT CAREFULLY.



                                   MOTORISTS COVERAGE
Fdr 4.covered "auto" licensed or pr[Incipally garaged in, or: "garage opera6ons" conducted in.Minnesotj thisie
                                                                                                            : n-
darsement modifies insurance proVided under the following.
         BUSINESS AUTO COVERAGE FORM
         GARAGE COVERAGE FORM
         MOTOR CARRIER COVERA6E FORM
        TRUCKERS COVERAGE FORM

With respect ~to. coverage: provided by1his endorsement, the provisions cif the Coverabe'Forrh apply uriess thocri-
fied by the endorsemeht,



               Coverage                                             LiMit Of Insurance
Uninsured: Motorists Coverage.           . $-SEE.:CAT030         Each 7Accldenr!
       .. ... ..... .
 Wideirinsuired.Motbrists   Coverage:      SEE.CAT030: EAch:':!Ac   .ddenr.
Information:required to completethis Schodule, if not shbwn abbve. willbelshown In the Declarations;

A. Coverage                                                         1. 'Ah individual, then the f6ildwim are 1niii*
    1. We -will: pay alI sums. the 1 nsLwed'! Is legally                 eds~':
       entitled : to: recover,jit tompensatory darnages                       The Named, ltisdred and any. 'family
       frorn the own er or dri ver of:an "uninsured: mo-
       t6r.V.ehlcle" or "undedrigurcid m6tor vehicle'.                   b. Ariyone else "occupying" a covered:
        The. damages must result frorn "bDdilyiniui*V.'                    '!aUto",or a. temporary substitute.Jor a
        sustained-by the "Insurecr' caused by an "ao.                       c.overed'buto"'. The.covered: '.'auto" must:
        cident". The owneet or: dWeOs liaibility   . _ for                            6f E~:ery
        ihese: darriages must resOlt: fioiir rihe
                                               ' :owner!                   . beIbiit
                                                                                 .               ide becays*,:of.::ft
                                                                                                          ..            break-
                                                                            dd W n, ria .pi. Mr, seM       I6. &'o r di§ ru: c
        ship, maintenance or use.:of:the "uninsured                         tidn.
        motor vehdle' or "underinsured motor v6hi.;
                                                                        c. Anyone for damages he: or:she is:entitled:
                                                                             to recover becaute of "bod11yJJury`.!.:sus-
    2. Any judgment for damages arlsing out of a                             tained by pndther 9risuted'.
        '.'sult"brought.against.an uninsumd or under-
       Insured motofi-st is not bindi'   ng on us.unless            2. :A l partnership, lim[ted liability comMy, cor-
       we have,                                                          poration or any. otherform of, organizzation,
                                                                        ~then.the fbllowfng. are "insurecW':
       a. Received reasonable notee of1he.com-
                mencement of the "suit' resulting in                     21. Anyone "occupying" a povered"atJW.ora
              judgment; and                                                 temporary substUe for a covered "autd".
                                                                             Thezovered "autd'must be out bf:service
       b. Had a reasonaole opportunity to protect,                           because of its breakdown, repair, servio-
            .our interests in.the "suit'.                                    irig, loss" or destruction.
       .. .. ...A.iflns4e
S. Whols          ..     .d                                              b. Anyonafor damages he or. she.. is:entitldd
                                                                                                             . ..... ...
   Ifthe. Named Insured: is: deslPated:ln the: Dedar                        to. r    r1xcauset of "bodily injury".stis-
   rations as:                                                              tained.bi another "insured',:




CA 2124:09 08                             (D bwru6ce 8ervices o9ce, inc., 10.08.                               Page 1 bf:5


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C JM M ERCIAL AUTt)

G. t`xclusions                                                               c. Insurrection,        rebelfion,     revolution;
    This insurance does not apply to any of the fol-                              usurped power, or action taken by gov-
    lowing:                                                                       emmental authority in hindering oi• iie=
                                                                                  fending against any of these.
    1. Arry: claim. settled with the owner or operator
        ofan "uninsured motor .vehicle" 1without our                0. Limtt Of Bnsurarace
         C.o.n6ent:                                                     1. Regardless of the number of covered "autos';
    2; The direct or Indirect benefit of any insurer or                    ':9nsureds'; preiniums paid, clairns made or
        self-irisurer under any wi,rkers` compensa-                        vefiicles irnrolved : in.the "accident'`, :the::rnost
        #ion, disability k~nefits or slniilar law.                           we will:payfor all.damages resulting from:any
                                                                             one:"acciderit":
    3, "Bgdly irijury" under Uninsured. IVlotorists_
          __ _...
        taoverage;                                                           a. With an "unlrhsured motorvehicle" is' the
           ...      :if that""bodily injury" is:sustained
        by:                                                                      limi# of Uninsured Mbtarists Coverage
                                                                                  shown in the Schedule:
        a. An individual Named Insured while "oc-
           oupying" a. vehic(e owned by that Named                           b: Witti an "und6rinsured motor:vehicle" is!
            Insured that is not a oovered'°auto" for                              the iimt of Unde,rinsured ' Motorists CoV-
            Uninsured                                                             erage shown in:the 5ctiedule.
                   _ Motcrists Coverage; or
        b. .Any "famiiy member" while "occupying"                            1Ne will apply the limit of l'iability for_each of:
              arry uehicle owned by that "Family mem-                        these- coverages:
                                                                                     :. ...    as shown in:the Sctiedu)e:t4;
              ber" that is not a covered "auto" for, Unin-                   pn5vide separate limits requ'ired by law for: un-
         sured Motorists Coverage.                                           insurec! and'underinsured "tiodily injury" fiabil-
                                                                                                                            ..
    d. Bodiiy inju.ry" under: Underinsured Motorists
        Coverage, if that "bodily injury'' is sustainecl                Z Any arnounts oth+arvvi.ss payable for damages:
        by:                                                                  under this insurahce shall be reducerl fiy ail.:
                                                                             sums paid or payabie or which woulcf:be paid
        a. An Individual Named Insured while "oc-                            or: payal7le except for thei application of 61 de-
            oupying" a vehiole owned by that
                                          _. Named                           ductible under Peisorial lntu,ry :PFotecUian :ap-
             insured that is not a coVered "auto" for                        plicable:to:the same:element of:loss:
             Uriderinsursd Motorists Goverage; or
                                                                        3. 1Ne wi11 not make a duplicate payment ursder
        ta. Any 'family member" : while ''occupying"
                                                                            this Coverage for any eieriment of 'lesss`for
              any vehicle Qwned b}r. that "Farnfly rnenr                    whicti {aayrnerd has been made by or for atiy;-
              ber''that is:not.a...coven:d:"auto" for Un-                   one vuho is legally responsibfe:
              derinsured Motorists:Coverage:                                    _.
                                                                        4: No one will be entitietl ta recefve duplir~te:
    6. Anyone using:a vehicle without a reasanable                           paym.entsfor'the same elements of'9oss" un-
        bel.ief that the person is entitled tcr do so.                       der this Coverage Forrn, any Liability Gover
        However, this. exclusion does noi: apply to a                       :age. F: orm, or 'any Medical Paymetits Govet-
        ''family member" who is not identifed by                            age Endorsement attached to this Coverage
        name in any:other contract fot' a,pan oF repa-                     :Part:
        ration seouriiy complying with ttthe Minnesota
        no..=fault insurance act;;while using:a covered            E. Changes !n Cons8ltions
        "auto"which is owned by the Named Insured.                    The conditions:are:changed fo.r::Uninsured:Motor-
    S. Punitave orexemplary darriages.                                 ists Caverage and . Underir~.sured Motorists Cov-
                                                                       erage as follows:
    7. "aoaliy injur/' a.rising:directly or lndirectiy out
        of:                                                           1. The re:ference in t2ther Insurance In the
                                                                            Business Auto. and Gam,qe;:Ci3verage:Potrris
        a. War;:including undeclared or civil war;                          and d3tlMer Insurance -kmary And Ec.
        b. Vlfarlike action . by a tnilita,ry forc.e, includ-.              cess tnsurance.Pmvislions _ ... in the
                                                                                                                _. "Lrudcers
                                                                                                                       _ .
              ing action in hinderirig or deferiding                        and, Mator .Carrier GoVerage Forrns to: ;"ather
              against an actuaF or expected attack, by                      applicabte irisurarice" .epplies :only to othet
              any government; sovereign or other..;au-                      coileotible uninsured motorists insurance_ arid
                                                                                                                        ....
              thority using military personnel or other                     is replaced by the foilowing:
              agerrts; or


Page 2:of 5                                   0 insurance sEavices ofrce, mc., 2008                          t±A 2124.09 08


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                                                                                                  COMNIERCIAL AUTO:

          a. VU~ith respect to coverage we provide                                     (a) The Limit off lnsurance appticable
             when a covered "auto'` the Named In-                                          to the vehicfe the 'tinsureo" was
             sured..owns .is involve.d in ;an "accident",                                  "occupying", under the Coverage
              only:                                                                         Form or policy in:the frst:pnority;
              (1) The Limit of Insurrance tor Uninsured                                     stiall first be exhausted;:and
                  A9otorists Coverage appficable to that                               (b) If there is otherapplicable irrsur=
                  "auto" will appiy for darnages for.                                       ance availatile under orie or rrioi-e
                  which the owner or operator of the                                        policfes or provisions of cover=
                  "unjnsured rnotor vehicie" is legally                                    age:
                  responsibie.                                                             The maxirrmuin recovery in tl3e
             (2) .The larnit o!° InsurancE for Underin-                                    second priorjty under .a..11 'aiier'
                  sured Motorists Coverage applicable                                      age fomZs or policies combined
                  to that "auto" will apply for damages;                                   may equai but. not eXc~d: the
                  for whioh the owner_or
                                       , operator.of the:                                  highest app}ieable lin~it for any
                  "underinsured motor vehicle" is le-                                      one vehic(e: under any Govera,ge
                  galfy respomible.                                                        Fbrm or pohcy ptovidmg cover-
          b; .If an "Insured" sustains "bodily Injury"                                     age on either a pr.fmary or excess
             while:                                                                        basis.
              (1) "Occupying" a vehicle not owned by                                       Any insurance we provide wdh
                  that person or while not''occupying"                                     respect to a vehicle the :NaTed
                  any vetiicie;.oF'                                                        insiared:. does not own s.Fiall. #ie,
                 ,            „                                                            excess over any oollectJble unin-.
             (2) 'QcGupying a vehicle owned by the                                         sured or`:ianderinsured rriotonsts
                                                                                                  .. .
                 Named Insured or any ''famify rriern-                                     irisurance providirig cover.age on
                 ber", if the Named Irisured is an incl-                                   a:prirnary 6asis:
                 vidual, and such-vehicle is insured
                 under one or more, separat+e:policies                                     !If the co+ierage under thfs,sove.r-
                 providing:. uninsuned                                                     age form is; pravidect;
                                   , : moto.rists or un-
                 der•insured moton sts.insurance;                                          (t): Qn a primary : basis,':.we ::wil!'
             the following priorities of recovery apply:                                        pay only our share iottheloss.
                                                                                                that must tie: paid uniier lrj-
  Fitst            The policy affording Unirsured.                                              surance provid~ng cover~age:
  Priority         h~otorists Goyerage or Unolerin-                                             on a prtmary:bas5 Our; share.
                   sured Ms~torists Cover.age to the
                                                                                                is the proportion that our limit:
                      vEhiole the "insured`" was "accu-                                         of iiability bears to the `tota( of
                      pying" at the trme of the "acci-
                      de~„                                                                      all aPpticable limits of liabiiity
                                                                                                for coverage on a priimary:
  Secaond             Any Caverage Form o.r policy af-
  Priority        f,ording Ureinsured lVfotorists` Cov-
                   erage or Underinsured Niotorists                                        (li) Qn an excess basls, we will
                  Gov.erage to the. "insured" as' an                                            paY Q~Y our share of tlie toss
                   individual Namedansured or"fam-                                              that :must: be paid nnder::in-
                   ify member":                                                                 surance : providing coverage
                                                                                                on an excess basis: Our
             (4) Wtiere tFiere is no ,applicable Insur-                                      share :is. the proportion that:
                 ance available under the first priority,                                    our Umit vf. liab~l~ty bears to
                 the maximurra recovery under all                                            the tota( af atl applit.Obte liiri
                 Coverage Forms or policies in the                                           its ot'liability Tor coverage tin
                 second priority shall not exceet! the                                       an excess basis
                 highest :applicable limit for. any one
                 vehicie unc3er any one Coverage                                  (3) V1le w(i!. pay only our share of the
                 form.ar.policy.                                                       "loss", not to: exceed our share:of ih(B
                                                                                       maxirnum recovery Our share is fhe
             (2) 1Nhere there is applicabie insurance                                  prflpbrtion that'aur UiTiit of lrisurarlce
                 available.under the first'prionty:


GA 21 24:09 08                              C) Insurance Services Office; In:., 2008                                 Page:3 0:5


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COMMERGIRL AUTC7

               bears to the total of ail app(icabie lim-                         Of Recovery Against Others To Us Ovn-
               its in the same levei of priority.                                ditfon does not appiy lf:
    2. Dattss 1n The Event Of Accident, Ctaim,                                   (1) We have been given prorrtipt writ#en
       5iuit. Cr i:oss is changed by adding the foi-                                  notice of a tentative settiemeht be=
       (owing:                                                                        tween an "insured" and the insurer of
       a. Promptly notify the police if a hit-and-run                                an "underinsured motor vehiole' ; and
              driver is involved; and                                            (2). tNe fail to advanee payment to: tFie
        b. Promptiy send us copies of the legat pa-                                    "irtsurecf' In an arrmount equal to. the
           pers if a"suit" is brought.                                                 tentative settlempnt within 30 days;af-
                                                                                       ter recel pt of stich notificatiori.
        Far an "underirisured mator Vetticle", Qu$ies
        In 'The Evenfi .®f l4ccident, Claint, Suit Or                            If we edvance pmyment to the'9nsured" in
        Loss Is;aiso changed.by adding thefollowing:                             an arrtount equal to the tentative: setttl.e-
                                                                                 nierrt wittiin 30 days after receipt 0 wrif-
        a. Promptly nofify us in writing of a teritative                         teri rivtification:
              settlement between the "insuredd" and the
              insurer of an "underinsured motor vehi-                            ('il) That payment wiii be separate: from
              cle". 5uch notice.shall:                                                any amount the 'insured" is entitied
                                                                                      ro recover .under the provisi.o:.ns ;of
              (1) Identify the '9nsured", the owner or                                Underinsured     Motorists Coverage;
                  drnrer of the "underinsured motor ve-                               and
                  hisie", and the insurer of the "under-
                  insured rnotorvehide";                                         (2) We also have a right to recover::the
                                                                                  adva. nce paymerrt,
              (2) Disolose the limits of the:automobiie
                  liabliity insurance avalable to the                       d. Our rights: under Paragraph 3.a. tif ttiis
                  owner ar driver of the "underinsured                         condition do not apply against any person
                 motorvehicie"; and                                              or:organization insured under this or any
                                                                                 other Coverage Form,.yve issue with: re-
              4~ Disclose the agreed u~ amouni of                                spect to the same'~ccidenP' or "ioss".
                 the tentative settlemerit; and
                                                                            e. Our rights uiider this condition do not ap-
       b. Ailow us 30 days to actvance payment to                              ply agamst a person who is 21 `years of
           that: "insured" ih an amount: equal to the                          age otolderwho:
           tentative settlement to preserve:our:rights
           againsf the insurer, owner or operator of                           (1) Nad coritrol aver #hi3 pret~iises ariti,
           such "underins.ured motorvehiole".                                      being in a reasonabte positioh to pre-
                                                                                   vent the consumpuon of alcoho~c
   3, Transfer Of Right>; t3f Recovery Agadnst                                     beverages, iinowingiji. or recltlessty
       ~D#hets To: t9s is replaced by the foiiowing                                   permiited: the consurrption: of afco-
       and,supersede5 any provi.sion to the oontrary:                                hiiljc beverages that; qused: the; in-
       a. If any person or oiganization to or for                                    tcxication of a person: under 21:years
           whom vre make paymeht under this Cov-                                     of age; or
           erage Form has rights to recavet dam--                                (2) Sold, bartered, furrvshed or gave to,
           ages from another, those rights are trans-                                or purahased alcoholic beverages:for
              ferred to us. That person; or organ.'tzation                            a persan under 21 years.of.age that
              must do everything necessary to secure                                  caused the intoxication vf a:person
              ~our rights and must do nothing after "ac-                              under 21 years of age;
              cideht" or "loss" to impair them.
                                                                                 and that intoxicated persvn caused the in-
       b. If we make arry payment and the: 'tn-                                jury; "toss" or darxtage for which Iraymernt
          sured"' recovers frorn another party, the                            was:made underthis poficy.
              "insured" shall hold the proceeds in trust
              tor us and pay us back the arnount we.                        f. Our rights are subjeot to any applicabfe
              have paid.                                                       limitatiiins oontained in the Minnesota
                                                                                 statutes.
       c. For an "underinsured motor vehicie",
              Paragraph: 3.a. of the Transfer OF Rights


Page 4 Of:5                                 0 Insurance 8ervices Oifice, Inc., 2008                          CA 29 24:09 S!$



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                                                                                                  COM MERCiAL AtJTO

    4. The following condition is added:                                       c. That is a hit and-run vehicle and. neither
        ARB11'RATIOP1                                                               the dr'iver nor owner can be idenE"ified.
                                                                                    The vehicle must hit an 'Snsured'; a cov-
        a. tf we and an "insured" disagree whether                                  ered "auto" or a vetticle an 'tirtsured" is
           the "insured" is legally entitied:to recover                             "occupying'", or must cause an "aacident"
           damages from the owner or driver of an                                   resulting in "bodily injury" to an "insured"
           "uninsured motor vehicie" or "underin-                                   withovt hitting a covered "auto" or a vehi-
           sured motor vehicle" or do not agree as                                  cie an'9nsured" is "occupying"
           to the amount of damages that are recov-
           erable byr that 'tinsured", then the matter                         However, "uninsured motor vehicle" does not
           may be arbitrateci. However, disputes                               inciude any vehicle or equiprriarit:
             concerning sovei•age under ttiis en-                              a. Owned or operated by a self:.insur.e,r un-
             dorsement may not be arbitrated. Both                                der any appiica.ble mo.tor vehlcle law, ex-
             parties must agree to arbitration. If so                             cept a seifiinsurer who (1) denies cover-
             agreed; each party, will-selert;# an arbitra-                        age, (2) is or becomes Insolvent or (3)
             tor. The two arbitrators.will select a third.                          cannot ,provide the amounts requiiied"by
             If they cannot,agree vrithin 30 days, either                           that rnotor vehicle:law;
             may request'that selection be made by a                           b. Designed for use mainly off puollc roads
             judge of a coutt having Jurisdiction. Each                             white not on putilic:roads;
             party will pay the expenses it incurs and
             bear the expenses of the third arbitrator                         c. That:is: an "underinsured motor vehide' ;
             equally.                                                          d. Gywhed by or furnished or avaiiable for the
        b. UnleSs both parties agree otherwise, arbi-                             regular use ofan'9nsured";
             tration will take piace in the county in                          e. Operated on raiis or crawier treads; or
             which the "insured" lives. Local rules of                         f. While'Icicated for use as a residence or
             law as to arbitration procedure and evi-                            premises.
             dence will appiy. A decision agreed to by
            twct:ofthe arbitrrators wili be blnding.                      4. "Underinsured motor vehicle" means a larid
                                                                               motor vehfcle or `'trailer" fior which a tiodRy in-
F. AdnlitEonal iQ+efinitiorrs                                                 Jur}+ liak~ility borid or poi.icy applies at the time
    As used; in this endorsement:                                             of the "accident" in limits equal to or greater
    1. "Family membet" means a person related to                              than the minimum limits speoified .by the Min-
        an individual NamecJ Insured by biobd, mar-                           nesota: Wfault Automobile. Insurance:Act but
        riage or adoption who is a resldent of such                           its limit for "bodily In)ury" liabiilty is not: enough
        Named Insured's household, inciuding a vrard                           to pay the full amount the, "insurerf': is: legaily
        ar foster ohild.                                                      entitied;to recover as.damages causeci by`ttie
                                                                              "accident".
    2. "Occupying" means in, upon, getting in, 'on,
        ouf or off.                                                           However, "underinsured _motor vehiele" does
                                                                              not Include any vehicle or equipment:
    3. "Uninsured motor vehicie" means a land mo=
        torvehicle or'Yrailer".                                               a. For avhich a liability bond or policy appiies
                                                                                  at the time of the "aocident", but tiie
        a. To which (1) no bodlly injury iiability bond                             borlding or insuring compary .(1) denies:
            or policy applies at the time of an "acci-                              coverage ar (2) is or becomes Insoivent;
            dent" or (2) a bodily injury liability bond or
            po(icy applies at the time of the "accident"                       b. i3esigned for use mainly off public rriads
            but its limlt for bodliy irijury liaNiity is; less                     while not on: public roads;
            than the minimum`limit for l?odily irtjury li-                     c. That is an "uninsured motor vehiole` ;
            ability specifyed by the Minriesota Kfo-fault                      d. C3vuned byor furnished or available for the
           Automobile Insurance Act;                                              regularuse of an "insured";
        b. For which an insuring or bondirtg com-                             e. operated on rails or crawler treads; or
           pany denies coverage or Is or becomes
           insolvent; or                                                      f. Whiie located for use as a residence or
                                                                                 premises.



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                                                                                             COMMERPAL AUTO:...
POLICY NUMBER: Y-810-3D984291-TIL-13                                                         ISSUE DATE: 10-25-13
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAkEFULLY.


       SOUTH DAKOTA UNINSURED AND.U.NDERINSURED.
                 MOTORISTS COVERAGE
Thfs endorserner*A modiFies insurance provided under the following:
        BU81NESS AUTO COVERAGE FORM
        GARAGE COVERAGE FORM
        MOTOR CARRIER COVERAGE FORM
        TRUCKERS COVERAGE FORM
With respectlo coverage provided: by this endorsement the.provislons of the. Coverage Form apply urgess modi-
fled by the endorsement.
                                                         SCHEOULF-
                                                   Limit:Ct Insurance
 Uninsured Motorists Coverage:                 $ SEE CAT020 Each "Accidenir

 Underinsured. PAotorMs Coverage:              $ SHE CAT030 Each."Acc[dent"

 Information required to complete thisfthedule, if not shom.abovevill be.shown inAhe.Declarabohs.
A. Coverage                                                        B. Who Is Art frisured
   I Wewill pay all sums the 'Insured' is legally                     If.the Namdd lrisured isAesignatpd In theivecla7
       ehtitled to recover as, compe'nsatbty dernsoes                 tatldns iis:
                                                                               ...
       from the cywner or driver of ah "uninsuried'or
       "Underinsured motor vehlcl,~". Tfie damagos                    1. An individual, thOn the following
        must resuft from "bodily iriury" sustained by                    eds~ `
                                                                              .
       the "insured" caLjkd by an "accident'. The                        a. The Ntimed Insured and any 'Umily
       ownees or driver's liability for theW damages
        must -resuft from the ownership, maintenance                      b. Arryo he else "oc6up        ying" a p.6y6ridd
       or use of the "uninsured" or "uhdennsured                              11auton or a tempo. rai, substituw. for 9.
        motdr vehicle`.                                                       coviened: "auto". The covigred "autd"IthUst.
   2.: If, tNs. insurance provides a limit:in:excess of                        be out of servioe because:of its:.break-:
       the-amounts required -. by the applicable law                          dcvwn, repair, servicing, "loss" or deettUc-
       where a covered "auto11 is prinolpally gamged,                         tion.
       we will.pay only after all liadlfty b.ordsr orpoll-               c. Anyone for dampges he or she Is       . .1 entitled:
       cies
       j6    I have
                  r r been
                        I , exhausted by pa Vment of                          to. meover
          d. gmehts:or settlemehts.                                                — I. becaued
                                                                                             . m of:*"bodily
                                                                                                   -   I         ird uryll:,sus-
                                                                              tained by another 'Inturecr',
   3. No judgmerd for.damages Msing out of a                          2. A partnership, limited liability company, oor-
       "sult!" brought against, or settlement entered                     ppration or :any other form of organization,
       Into: with, the- owner or operator of: an "unin-                  t hen the folloWiha are "insureds":
       sured motor vehicle" or ari."undednsured mo-
       tor.vehi6le isbindn-qOhusuhl'esswe.,                              a. Anyone"occup)(in.g" a.00vered "auto":ora:
                                                                             :temporary subttftute. for . a: covered.7iuto','.
       a. Received reasonable notice of the pend-                             Tho covered "autd' muist:be out of se
              ency of the "sult?' resuliing injudgment or                                                                . - N(ce:
                                                                              b6cause.bf h brealdown~ rppair., servic-
              the negobations resulfing. in,settlement;                       ihgi.'Ioss!' or destruc4an.
              Aild
                                                                        ..0. Anyonefor damage.s.hp -pr s:he: is:en M d:
       b. Had: a reasonsbI e p. ppo     , Oijnity.. to protect                to recover became: . of:%6dily      injury" sw
                                                                                                      . .
              our:Interests in the '~661V or setflement.                      tained byanother "insured".,


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C. Exciusiicrns                                                              thority using miiitary pensonnel or other
    This insuranoe does not apply to:                                        agents; o.r
    9. Punitive or exemplary damages.                                 c. insurrection,         rebellion,       revofution,
                                                                             usurped power, : or, action. taken by::gov-
    2. The.direct:or inefirect benefit of any.insurer or                     ernmental autbority in hindering or de-
        self-insurer, under any workers' cempensa=                           fending aganst any of tYiese.
        tlon, d'isability benefits or similar faw.
                                                              D. Limit Of Insurance
    3: "Bodily injury" sustained by:
                                                                 1. Regarctless of the numberof:covered."autos",
        a. An individual Narned Insured whiie 'bc-                   "insureds"; prerniums .paid; elairrrs made :or
              cupying" or when :struck: Eiy any vehicle              veFiicles irr✓oived in the "aecide►it'', the mcist
              owried by,.that Named Insurod that is nat              we wilCpayfor all damages resulting from ariy
              a covered "auto" for Uninsured Motorists                one "acciden#" Is the applicable limit of:.Unin-
              Covera,ge under this Coverage Forrn;                    sured Motorists Coverage: and Underinsured
        b.. Arry:"famiiy member" whife "occupying" or                 Motorists Coverage:: shown in , t.he e.n: .dorse-
              when struck by arry vehicle.awned by that               ment Schedule. However, ;subject to:fhe pro-
              'Family member' that is not a covered                   visions in Pa~ragraphs L1.1.~. and b. below,;in
              "'auto" for Uninsured Motorists Coverage                the csse: of an "accident" invoiving both an
              under this Coveragi: FormJ or                           "uninsured motor vehicle° and ' an "uriderin-
                                                                                                                 __.
        c. Any "Family member" while "occupying" or                   sured nTotorvehicle", the most we wili pay;is
              when struck by anyvehicle owned:by the                  both the lim. it of. Uninsured Motorists: Cover-
              Nanied Insured that is insured for Unin-                age and:the iimit of Underinsured Motqrists
           sufed Motorists Coverage on a primaty                     ;Caverage shown i:n tlhe eridorsement::Sched-
            basis under any other Coverage Fom7 or                    ule.
            policy.                                                   a. The limit entry for Uninsured Motorists
    4. "Bodiiji injury" sustained by;                                        Coverage in the endorsernent Sctiedule
                                                                             appliQs oniyto "uninsucedmotor vehicles"
        a. An individuai Named Insured while:"oc-                            as.defined in Paragraph F:3. of.ttie:Addi-
              cupying" or.when . struok :by any vehicle                  tioiiai:0efinitioris Section.
              owned: by that Natiied lnsured that is:nof
              a covered "auta" for Underinsured'Motor-.               b. The limit entry for Underinsured Motorists
             ists Gaverage under this Coverage: Forin;                   Cover•age in the: endorsernent Schedule
                                                                         applies only to "underinsured: motar vehi-
        b: . Any'Yamfiy member"' while'bccupying'.' or                   cles" as defined in Paragraph F:4. of the
             when struck by any vehic~ owned:by:that                     Additional' Definitioris. :Sei:tion:
             "iamily member" that is not :a covered
           "auto" for Underinsured Motorists Cover-              2. No one wiil be entotied to reeeive.dupiicate
           age under this Coverage Form; or                           payments forthe same elements of "Inss"
        c. Any "family merriber"_ whiie "occupying" or                We wUl not criake a dupiicate.:paym.ent under
            when struck by. any vehicle owned by;the                  this C.o.y.e.rage for any element of: '7oss" f.or
           - Narried Insured ttiat:is insurad for
                                              ,. Under                which paymerTY has been made by ar for any-
              insured. Motorists Coverege o.n a primary               ore :wha :is: legaily:: r.e.sponsible, 'including:.ali
              basis under arry other Coverage Form. or                s.ums,paid;underthis;Crnrerage Form'.s Liabilb
              poiicy.                                                 ityCoverage,
   S. Anyone using a vehicie without a: reasonable.                   V►le wili-not iaay for any eiement of "ioss" if a
        belief that the person is entitled to:do so:.                 person ls entitred to reeeive payment'for the
                                                                     same element. of. 1oss" unter any :workers'
   S. "Bodily injury" arising directly or indirectiy out.             eampensation, disability : benefits or similar
       of:                                                            law.
       a. War, including.undeclared: or civii war;               3. V11ith respect to damages fesulting froni an
       b. Wariike
          .
                  : action by a military force, inolud-              `'accfdenY':w.ath an "underinsured motor vehi=
          ~ng . aetion in hindernng or defending                     cle"; the limit of liability shall be reduced by ali
          against an_aetuai or eXpectad attack, by!                  sums paid by or:for anyone:.who is.legally:re:
              any ,government, sovereign or other au-


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                                                                                                     cO(V1M ERClAL AiUTO

       sponsible, including.all sums .paid.under this                 F. Duties In Thc IEvent Of Accident, Claitn;
       Coverage Form's Liability Coverage.                               Suit:.fJr loss is ohanged by adding the_ fol-
   A. Any amount paid under this coverage wi(I re-                        lowing:
       duce any amount an "insured" may be .paid                         a. Promptly notify the police if'a hit-arii~:futi
                                                                                                                 : ............
       under this Coverage Form's Liability Cover-                             driver Is irnroived; and
       age:                                                               b. Promptly send us copies of the legal: pa=
E. Changeis 0n Gonditions                                                      pers,if.a%uit" is brought:
   Th..e following.Condition.is changed for Uninsured                 3. The foiiowing Candition is added:
   Motori.sts.Coverage ony:                                               ARSITRATION
   Transfer t3f'R€ghts Of Reasover3o Against Oth-                         a.   If we and an "insured" disagree whether
   ersT6:lJs is replaced bythefoilowing:                                       the "insured" is legaily entitied to: recover
   If w.e rrmake any payment and the "insured" recov-                          damages from the. owner or driver of an
   ers from anotfiier party, the "insured" siiall. hold                        "uninsured motor :vehicle" or "underin-
   the :prqceeds in trust for us and pay us baok the                           sueed niotor vehicie" or .d. o riot agree as
   amount we have paid.                                                        to:#fie amo,unt of dainages that are recav~
   The Conditions, are: changed for Uriinsured And:.
                                                                               erable by_ that "insured";'.:then the;:partles
                                                                               may agree to arbitration: However; ds-:
   tJnderinsured:Matorists Coverage asfoiiows:                                 putes concerning covemage under thi.s:
   1. ®ther Insurance in the Business Auto and                                 endorsement may; not be. artyitrated: IE
       Garage:.Coverage Forms:arid bther Insur.                                both:p.a..rties agrea to arbitr-ate, each party
       alrice - Priniary And 6iaaess lnsurarece:                               wiil select an arbitrator. The tw.o::arbitra=:
       Prmvis9ons ln the Truckers and Motor Carrier                             tors will seiect: a third if they cannot;
       Coverage Fomts is repiaced by ttie foNowirg:                             agree within 30 days, either rniay: request'
                                                                                that selection be rnade ~r. a judge of a;
       if there Is other appiicable insurance avaiiable                        .court having; jurisdiction: Eacfi part)+ wiii
       urider one or .more policies or provisions of                            pay:;the_ expenses. it : incurs and: bear: the:
       coverage:                                                             expenses of the thlyd arbitrator eqvally.
       a. Any insurance we pravide with respect to                        b. Unless hoth parties agree:ctherv;rise, arbi-
          a vehicde the Named Irisured does not                              tration wiil take place: in the county .in:
           own shail be excess over any other col-                           which the 'insured" iives. Local rules; '©f'
           lectible uninsured or underinsured motow                          iavr as to arbitration prrocedure: and evi-
           ists: insurance providing caverage .on a                          dence wilk appiy. A decision reacied by
           primary, basis,                                                     two cif. the .arbitrators wili not be bindirig'
       b. If the coverage under this Coverage Form                           Qn either party.
          is provided:                                            F. Additional Definilions
           (.1.) On a primary basis, we .wiil pay only               As used in ttiis endorsement:
                our share of the ioss that must be                   1. "Farniiy'membe ineans a person related to
                paid under insurarice providing cov-                    :an ind~riduai::JVame.d:lnsured''by:blood, maf
                erage on a prirriary basis. Our'share                     riage or adoptio..n ,who ts ;a.; resident: of' suoh :
                is the:proportion that our iinait:of liabil-              Namedilnsured`s. housetxiid, includirig a lvaro
                ity bears to the total of;all appUcabie                   orfoster chiid.
                limits of ifabiiity for ooverage : on a              2. "(Jocupying" rreans in; upon, getting::in, on,
                prirnary basis.                                         out rir ofF:
           (2) On an excess basis, we: will pay oniy                 3. "Unlnsured rnotor vehicie": means a iand mo-
               ,our share of :the loss ithat must tie                   torv.eliicle.iir "trailer":
                paid under insurance providing cov-
                erage on an excess :basis. Our share
                                                                        a. For Which no liability bond.or poiicyat#Fie
                                                                               time of an "accident" provides at least the
                is the proportion that our. lirrit of liabii-
                ity bears to the total of all applicable
                                                                               amounts required.by tfie applicabie law
                limits of liability for coverage; on an
                                                                               where; a; covered "auto'" is principally ga-
                excess basis.                                                  raged; :or




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        b. For whlch an insuring or bonding com-                     4. "Underinsured motor vetiicie" means :`:a::lanct
           pariy denies coverage or is or becornes                      motor vehicle or "trailer" tb which a habilii;y
           insofvent; or                                                bond or policy applies, at the time of sn "acci-
        c. V1lhich is a hit-anct,run vehicle and neither                dent", but the amount paid for "bodily inju:ry"
           the driver nor owner can be identified or                    to an "insured" under that bond or policy'is
               yvhich causes an "accident" resulting in                 not enough to pay.;thE full amour+t #he "in'=
               "bodily injury" without hitting an "insured",            sured" is legaily entitled to recover as:darn~
            a covered "auto" or a vehicle an "insured"                  ages.
            is "oocupying°                                              However, "underinsured motor vehicJe" does
        However, "uninsured motor:vehicle" does not                     not incluce any vehiele:
                                                                                                                    ::.
        include any vehicle.                                            a. Owned or operated:tYy.a ssl,f-insurer,:ta.n~
        a. Owned or operated by a seif-insurer un-                             der any applicakile motorvehiele: law;
               der any applioabie motor vehicle law, ex-                b. Owned by a governmental unit oragency;
               cept a self-insurer who is or tiecomes in-               c. DEsigned for use maiNy off public::.r.oads;
           solvent and cannot provide the. amounts                          w.hile not:on public roads;
           required by that motorvehicle law;
                                                                        t6. Whicti is an "uninsured motor vehicle"; or
        b. Owned by a governmental urut or agency;
               or                                                       e. For whlch an insuring or bondfng com-
                                                                               panyy denies coverage or is or becflThes
        c. Designed for use mainly off public roads                            insolvent:
               while not on pubEic roads.




Fyage 4 of 4                                   fl ISO Prvperties, Inc., 2005                             CA 214103
                                                                                                                ''0.6
                                                                                                                  1.


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                                                                                          COMMERCIAI. AUTO
POLICY NUMBER: Y-810-3084291-TIL-13                                                       ISSUE OATE: 10-25-13

      7°H6S ENDORSEMENT CHANGES T"liE Pol:scy. PLEASE READ 1'T cAREPU4.LY.

   WlSCOhlSIN UNDERINSURED MOTORISTS COVERAGE
For a,;cQvereci "auto" licensed or prinoipally geraged, ; o.r "garage operations" conducted,.in Wisconsin; :this en-
dorsement modifles insurance provided'underthe foNowing:
        BUSINESS AUT© CUVERAGE FORM
        GARAGE COVERAGE Ft7RM
        MOTOR CARRIER COVERAGE FORM
        'TRUCKERS CC31lER;4GE FORM
With respect:to coverage provided by this endorsement; the provisions of the coverage forrri apply uniess_.. rriodi-
                                                                                                               .. .: ..
fled by the endorsement.
                                                    SCkJEpLlt:E
Limit Of iftsura+tce: $ sEE eA.T0.3.0 Each "Accident".
Information required to complete this Schedufe,. if not shown above; will be shown in the Declarations
A. Covermge                                                         a: The Named Insured and any "famiiy
    7. V1te :011 pay all sums the "insured° is legally                    membera".
        entitied to recover as compensatory damages                   b. Pinyone eise "occupying" a; covered
        from. the owner or driver:of an "underinsurQd                     "auto" or a temporary substitule        . a~ for a
        motor vehicle". The darrrages must: .resuit                       couered ,~ auto.~~ . .The cove.red
                                                                                                           ~~ ..auto.   must
        from "bodily injury" sustained by the "insured"                   be out of servioe tiecause of its :break=
        caused by an "accident". The owner's or                           down, repair, servicirg; "loss" or destnais-
        driver's iiability for these damages must resuit                  tiori.
        from the ownership, maintenance or use of i                   C. ArYone for darrrages he or ahe is.;entitiecl
        the:"underinsured motor vehicle".                                'to recover because of "tiodily injury" sus-
    2. V1/e:riill pajr under this coverags`oriiy if Para-                 taini:ii:by another "ineured".
        graph.a. or b. below applies:                             2. A partnership, limited liability comparry, cor-
        a. The limits of any_appiicable iiability:bonds               poration :or any other form of orgariization,
            arpolicies have been:exhausted i3y:pay-                   then_the.following are "Insuretls":
            ment of judgments or settiements; or                      a: .Aryorie "occupying" a covered "auto'' or::a
                                                                             _
        b. Atentative 5ettiemerit has been made be-                        tempnrary substitute:fora covered'~iuto",
            tween an "insured" and the Insurer of the                      The ccivered:"auto" must be out of srari+ice
            "underinsured motor vehicle", and we;                         because::of :its bri?akdown, repair, ser~ic;m
            (1) Have been-given prompt written no-                        ing;'9oss".or destruction.
                tice of such tentative siattlement; and               b. Ariyorie for damages he cir she is entitled
            (2) Advance paytnent to the "insufed" in                      to:recover.because or "bodily injury° sus-
                an amount equal. to the tentative set-                 talried by ancrther."insured"<..
              tiement wRhin 30 days afterreceipt of::         C. Exclusions
              notificati on.                                      This insurance does not apply: to. any.of:ttie :fol-
   3. Any::judgment for damages arising.out of a                  lowing:
        "suit":brought wfthout our written consent is            1. The direcct or indirect benefit of any insurer or
        not:binding on us.                                            seif-lnsurer urider ariy workerr" .corripensa-
S. Vtlho Is An Insured                                                tion;: disability benefits or siniilar law.
   If the Named Insured is designated in the Decla-               2. "Hodily injury''sustained by.
   rations as:                                                        a. An 'individual Named Insuraed while "do_
   'i. An individual, then the foilowing are ' insur-                     cupying" orwhen struck :by any:iviehicTe:
        eds`':                                                            owred by: that Named lnsured:#hat: is not



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CQMMERCIAL AUTO


              a covered "auto" for Underinsuheed Motor-               endorsenient or Uninsured Motorists Covet
                                                                                                       _ ..... ....
              ists Coverage under this aoverage form;                 age endorsement.
        b. Arry "family member" whlle "occupying" or                  We will not make a dupiicate. paymerit under
           when. struck by any vehicle owned by that                  this coirerage for any ele..ment of "'loss" for
              "family member" that is not a covered                   which payrnent has been riaade by or for arty-
              "auto" for Underinsured Motorists Cover-                one who is legailyresponsilaie.
              age under this coverage form; ar                        We will not make a dupiicate paynient to the
        c. Ar7y "family member" whiie "occupying" or                  extent amQunts are paid or payable because
           when struck by any vehicle owned by the                    of "bodiiy injury" under workers' oompensa-
           Named Insured that is insured far Under-                   tion, dsabiiity.benefits or simiiar law.
           insured Motorista Coverage on a pnrnary            E. Ghanges 1n ConcBitions
           basis under any other coverage form or
           policy.                                                The conditions are changed for Underinsured Mo-
                                                                  torists Coverage as follows:
    S. Anyone using a vehicie without a reasonabie
        belief that fihe person is entitled to do so.             1. Other .lnsurance in the Business Auto and:
                                                                      t;arage Goverage Forrns ancl Other ;Insur-
    4. F'unitive:or exempiary damages:                                ance — 'rinpary Arid Excess Irasurance:
    S. "Bodiiy injury" arlsing directiy or indirecdy out              I~rovisi~rns in the Tr.uckers and Motor Carrier
        of: :                                                         Caverage: Forms are: replaced by: the::foliow=:
        a. `UVar, including urideclared or civil war;                 ing:
        b: Vdarlike action by a mllitary: force, includ-              f there is;other appiicable insurance available:
                                                                      ►
             ing ,action in hindering.. ar defend'ing                 under:one or more: poiicies or provisions of
            against an actual or expected attack, i~y                 cove?rage;;
            any government, sovereign or other au=                    a. The maximurn recovery under ail cover-
            thoriry using miiitary personnel or other                     age forms or ;poiicies :combined_may
            agents; or                                                    equal: but not:exc2ed the.highest;appiica-:
        c. Insurrection,     rebellion,    revolution,                   bie::limit for any one,.vehicle under any
            usurped power or action . taken tiy gav=                     coverage forrn or ,policy jirovidmg::cover-
            emmental aufhority in hindering: or de-                      age on erther a primary or'excess basis.
                                                                                                             _. . ..
            fending against any of these.                             b. Any insurance we provide:±tiith respei;t:to:
D. i.imit Of insurance                                                   a vehicle the 1Vamed lnsured , does. . .. not
                                                                                                                    . ..
                                                                          own shali be excess over : any other= col=
   1. Regardless of the number of covered "autos",                       lectibie underinsured motorists Insurance
       "in.s.ureds'.", ;premiums paid, ciaims made or                    pro.viding coverage on a primary basis:
        vetiicles involved in the "accldent", the most
        we w'iil:payfor a11 damageS PeSuitingjfrom any                c. If the coverage under this coverage forrir
        one "accident" is the Limit of insurance: for                     is provided:                      ...
        Underirisured Motorists Coverage shown in                         (1) On a primary basis, we will. pay only:
        the'Schedule or Declarations:                                         our share of the 'loss" that must be
   2. The Llrnit of Insurance under this coverage                              paid under insuranoe providirag;;eov-
      shall'be reduced by:                                                    erage:on a primary, basis. Our;.shar+e:
                                                                              is the proportion that:our limit of liabii-
      a. All'sums paid or payabie under;any work-                             ity bears to the total: of all appiicable
            ers' compensation, disabifity.tienefits or                        liinits of liabiiity for coverage on a
            similar law; and                                                  primary basis.
        b:; AII; sLlms paid by or for anyorie. who is IQ-                       n an exoess s. s„we Will:paY ony
              gally responsible, inoiuding.aii surns;paid                     our share of the "loss" that: must tie:
          under this coverage form's Liabiiity Cov=                           paid under insur-ance: providing:; cov-
          erage.                                                              erage on an excess basis. Our:share,
   33. No one: LMill be entitie.d to re.ceive duplicate                       is the proportion that our limit:ofi iiabit
       payments for the sanle elefnentS of "loSs"'Un-                         ity bears to the totai of all 9011cat5le
        der this coverage form and any Liability Cov-                         limits of liability for.:coverage :on:: an
        erageiorm, Underinsured Motorists:Coverage                            excess basfs.



Rage 2 of 4                             * Insurance Senrices Uffice, :Inc.,2011                       CA 21:4611:11:.



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                                                                                                      COMMERCiAL AuTo


   2. Dutles in The Event Of Accident, Claim,                        4. The folloWing condftion is added:
        SultOr Loss is changed by adding the; fol-                       Arbitration
        lowin g:
                                                                         a. If we and. an "Insured'.disagree:whether.
       .a. Promptly send us caDies 6f the legal pa-                          the "insured" is:legally:entitiedio remver
             pers1f a'"s4'.is brpu.ght .;and                                 darnages from the oWn6r: ordilver of 6*6
        b. Promptly -notify usi In wrfting, of a tenta-                      "undbrit'isured hibtor Vehicl&' dr do'; hbt
             tive * settlemert between an "insured" and                      ag .ree:as. to the', arriount:6f:darnagei,thit
             the insurer of the "undennsured motor                           are recoverabli by.1hat 'Insured.%:ffien
             vehicle", and allow us 30 dayt to advance                       the matter may Pe arbitrated How      . eypra:
             payment to that "insured" in an amount                          disputes conteming coverage uhdet this
             equal to the tentative settlemeritto pre-                       endorsementm. a, V not be'arbitrat6d. Both
             serve Pur rights against Jhe Insurer,                           parties must. agree. to. ar6itration. lf.so
             owner or opemtor of such "underinsured                           agreedi each party will selei;t an.arbitra-
             motor vehicle'. However, tNa Provisibn                           tor. The two arbitrators: will: selLmot a third.
             2.b. does not apply if fallure.to notffy us                      If they cannotagree within 30:days; eith6r
            'dbes not prejucrice. our rights agaihst the                      imay request that:selqction be tna.de by a:
             insurer, owner ior. operator of such:",under-                    judge of t dobrt having jurigdictidh. Each
            inwred motor vehicle".                                            ofty, will..pay,thia eii:pem6s: it: incurs:irid.
   3. Transfer. Of Riohts Of Recovery. Against.                               bearthe expenses,of the. third a rbitrathr
       0thers To Us is changed by adding the fol-
       lowing:
          ,                                                              b. Unless both parties agree otherwise, arbi-
       a. We, shall be entitled to the right to reoover                     tration Will take plade in'the odurityin
            damages from another ordy after the "in-                        which the "insured' lives. Local
            sured' has been fully compens       . 'ated for                 law as.to arbkration procsdure:and':6v1-
            dimages,                                                        dence will apply. A declslon agreed to.by.
                                                                              two. 6f, the arbitrators wil I be binding.
       b. if we. make ahy payment and: the "in-
            sured' recovers from another party, the             Fl: Additional Definitions
           "irisured": shall hold .the proceeds in trust            hkused.inthis ehdorrsernent:
            for us::and pay Us back the amount Wp                                                      .
                                                                    1. "Farrilly      ... mber" mean9 ot person. related to:
                                                                                  . . rre
            have paid only OftOr the "insunad" has                       an Individual Named Jns0rbd-I?y,:blood, mar-
             .... ..f011y
            1566h    . 66m. pensated for.damages.                        doe: 0 6doolon who is a: resident ofswh
       Our:rjghts.do not-apply under: this, provision                   :Named:Inssured's household, includiri'aaward
       wilh respect.to Underinsured MototiiN Cov-                        offosfechild.
                                                                                    r
       er agb if we:                                                Z '%XotW.JnY* rmans in, up6n, gettitt it; dln,
       ia: Have been given prompt wrftten notioe of                      OLt Or off.
            atentative seftlement between. an 'in-                  3. "Underinsured      I matoe vehicle" means:a::Iand    :
            s. Ored" and the insurer of an "unde(in-                     motorVehicl eor::Vailer'f6r.wh Ich the sum of
            sUred motor vehicle"; and                                    all. liability bonds orpolicies, at.the tiML, df: iah
       b. ..Fail.to advance payment,to the "insured'!                   "accidenf', - :Orovicles:at least the aPplicablp
           in a * n amount eqijal to the tentative set-                 mirilmurn1imit for bodily injur.y liab j.litV sijedl-n
           tlement within 30 dayr, aft& receipt of no-                   fledIn WS. STAT. oh, 344-but that.sum.ls
           tifidation.                                                  .less thbn'the'Limit of lnsu. ran6e :of this coverm
       If we. * advance payment to the "insured" in an                   gige. The applic6ble minirrium limif is:
       aMDunt equal to ttie tentative sett emerd
                                            I                            a. $50,000 fbr each "acci.dent", ifthe: limit: of
       within 30 days after rewipt of riatificat.ion:                          liability Is a single ifirrilt that aopliet flor
       a. That,payment will be separ6tefrom any                               eac. h '%ccldent"; or
            am unt: the "insured' Is entitled tb recover                 b. $25,000 for. each person/$50,000i for
            under the Otovisions of Underinsured Mo-                     - each "accident', if the limit of liaNlity is
           tonsts CoVerage; and                                             indiwted at, a split firhft.
      .b. . :We also have a r[ght to recover the ad-                     However, "underinsured motor vehicle" dbes
            vaheed ppyment                                               not include.any vehicle*




CA 2146 11111                          9 Irwurance Services
                                                       . ....... Offioe,
                                                                  ........ Inc.,2011                            Pacie 3: of:4



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COMMERGIAL AUT©

       e. Owned or operated by a self-insurer un-                d. Deslgned for use mainly off public roael5
           der any applicable motor vehicle law;                    while not on public roads; or
       b. Owned by a governmental unit or agency;                e. That is an "uninsured motor vehiele'~ .
       c. .Operated exclusively on rails or cxawler
              treads;




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                                                                                            COMMERCIAL A►,JTC7
POLICY:IVIJMBER: Y-814-311984291-TXI,-13                                                    ISSUE DATE: 10-25=13




For a covered "auto" licensed or principally garaged in; or:for "garage operations" conducted In; North Dakota, mis
endorsement. modifies insurance provided under the follo},ying:
        HUSINESS AUTO COVERAGE FORM
        GARAGE CO1/ERAGE FCaRM
        MOT{7R GARRIER CC7VERAGE FURM
        TRUCKERS COVERAGE FOR M
With respect to coverrage provide.d by this endorse.ment, the provisions of the: ooverage form appfy uniess:modi-
fied by the eridorsement.
                                                     ~
Limit 0f lnsdranc+e: $SEE. CAT430                                      Each "Accident"
Information: required to cotnplete this Schedule, if not shoWin above, wiil be shown in the Declarations.

A. Coveragie:                                                               be out of service because bf its.:;tireak:
   9: INe, will p2iy all sums the: "insured" is, legally                  down,; repair, servicing;' "loss" or destrucG'
      enktEed to .recover as: compensatory damages                        tion.
       from the owner ordriver of an "uninsured mo-                   c.. Any.o. n.e for damages:ihe or she 1s: entatled
       tor vehicle". The damages: must: result from                         to recover becaEase of "bodily injury" sus-
       "bo.dily )njury" sustalned;.:by:. ttie "insured.'                   tained by another"insured''.
       caused by an "accident". ' The ;owner's: or                                                 ,
                                                                  2. A' artnr~rshi
                                                                         p         ,:plimited liat~ilitY compa!'syj cor-
       driver's liability for these darriages must result.            ;poration :or sny other fqr•m of orga.nization,
       from the ownership, rnaintenance or use of                     then the foiiowing are "'insureds":
       the "uninsured motor+rehicle".
                                                                      a. An}Jone, °OcCupyi('tg"' a;Govered,"au~o;`or a:
   2. No judgment for darrmages arising out of a                            teiiriporn:ry substitute for a caverpti.i°auto".
       "suit" brought against the owner or operatoi
                                                                            The.covered "auto" must be ouf!of servioe
       of an "uninsured motor vehicle" is trinding on                       because of its breakdown; repair, servic-:
       us unless we:
                                                                            ing, '7oss" or destruction.
       a. Received reasonable notice of the pend=                     b: Anyone for damages he or she is entitled
           ency of the "suit" resulting in the judg=                      to recover because of "badily injury" sus-
           ment; .and                                                    tained; by, another "insured".
       b. Had a reasonable opportunity to pfotect             C, Exctusrons
           our interest in ttie "suit'".
                                                                 Tliis insurance does not apply to any of the foi-
B. 1Nho is A,n tnsured                                            iowing:
   If the: Named insured is designated in the Decla-              1. Any claim settied or judgment reached with-
   ratioris as:
                                                                     out our written consent, if the settEement :or
   'I. An individual, then the foilowing are. '"irsur-                judgment prejudices'our right to recover pay-
       eds~~..                                                        men#.
       a. The Named insured and any "famify                       2. The direct or indirect benefit of any insurer or
           mernbers".                                                self-insurer under any workers comperisa-
       b. Anyone eise "occupying" a covered                          tion, disabilitytbenefits.orsimilar:law.
           °auto" or a temporary substitute for a                 3. "l3odily injury" sust$ined by an "insured" wflile
           covered "auto". The covered "auto" must                   "occupying" any vehicle ownedl by, or fur-


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COMMERCIAL AUTO


        nished or avaiiabie for the reguiar use of; the                       Motorists Coverage appiy to the same
        Named lnsured or, if the Narhed Insured is an                         "aCcident" and:
        incfividual; any "Pamily member", that is not a                        (1) The motor vehicle: the "insured" was
        covered "auto".                                                           "occupying" at the fime of the "acci-
    4. Aryone using a vehieie without a reasonable                                dent" was ioaned;, rented or leased to.
        beiief that the person is entitled to do so,                              the '"insured'"; and a poUcy whicti ap=
    S: Punitive or 6cernplary damages.                                            plies to the: motor:vehicle was;in fiorce
                                                                                  which provided: Uninsured Motorists
    8. ''Borliiy injury" arising:directiy or indirectiy out                       Coverage to someone :engaged iri tkie
        of:                                                                       business af sellir►g; repai> irig, servic-
        a. War, including.undeciared or civil war;                                i~; storing, l~easing,.renang or park~
        b. Warlike:action by a m9iitary force, inciud-                            ing motor vehicies; the follotiring:prk
           ing action in hindering or defending                                   orities of recovery apply:
           against an actuai or expected attack, by             First             The . llninsured Motorists t✓overage
           any ,government;. sovereign. or other au-            Priority          applicabie td a veh'icie that is riot
           thority using miiitary personnel: or otther                            invalved in the "acofdent", that pro~
           agents; or                                                             vides
                                                                                   _.   coverage,:to:thelinjured:person:
        c. 3nsurrection,     rebeliion,   revolution,                             as.a Named insured;
           usurped power, or action taken by gov-               Second            The Uninsured Motorists Cauerage
           ernmentai authority in hindering or de-              Prioriity         applieabie to a vehicie::that is not
           fending against any of these.                                          invoived in :the-"accidenN', ,that pro-
D. Limit t?f lnsurance                                                            vides coverage to the injured :person
   1: Regardless of the number of covered'"autos",                                as an "insurecf' ottier than a Named
       "insureds", premiums paid, ciaims rnade or                                 Insured;
       vehibies invoived in the "accident", the most :          Third             The Uninsured Motorists Coverage
        we will pay for ali damages resuiting,from any          Priority          applicabie to a-vehicie the injured:
        one 'aacident" is the Limit Of tnsurance for                              person was "occupying" at the,:tirne
        IJninsured Motorists Coverage showri In the                               of the "accident".
       Scheduie or Deciaratiors.                                              (2) The:motor vehicie is not described:in:
   2. NQ one wiii be entitieal to receive duplicate                               Paraagraph E.1.a.:41:) .above, the: fol-
       payments Por the same eiemefrts af "loss" un-                              lowirtg priorities of recovery appiy:
        der:ttiis.coverage form and; any valid and:col-
        leetibie motor vehicie inedical payments, un            Pirsf             The Uninsured Motorists :Coverage
        derinsured motorlsts coverage. encbrsameeh;             Pd°~y             applicabie to a vetiicle th:e..injured.
        personal injury protection or other siiniiar mo-                          person was "accupyirig" at::the::time
        torvetticie coverages.                                                    of:the "accidenf ;
        We will not pay for any' elernent of "loss" if a        Second            Uninsured Motorists
                                                                                                 _ Coverage appii-
        person is entitied to receive payment for the           Priority          cabie .to a vehicie that is not involved
        same element of "loss" under any workers'                                 in.the. "eccicient", that provides.cov--
        compeinsation or simiiar taw; except nonoc-                               erage te. the injured person as :a
        cupational disability Eieriefits.                                         Named insured;
E. Changes In Conc9ttions                                       Thiird..          The Uninsured Motorists _ Coverage
   The Condittons are changed for Uninsured Mo-                 Rrtority          appiicable to: a:.vehicle.:that is nbt
   torists Goverage as follows:                                                   involv.ed in the "accident", that::pro-
                                                                                  vides coverage tq the injured:peison
   1. Other tnsucance in the Business Auto and                                    as
                                                                                   s an '`insuretl" other than a Nanied
        Garage Coverage Forms arid O$her Insur=                                   Insured.
        ance — Prinmry And t=.access 1risurance
        Provisions in the Truckers and Motor Carrier                       b. The mauimum recove r.y under alf cover-
       Coverage Forms are replaced by the foliow-                             age forms or policies combined may
        ing:                                                                  equal but not exceed.the highest appiioa-
                                                                              bie ..l.im.it for any one: vehicie under: any
        a. lf.:this eoverage form and any other cov-                          coverage.form or: poiicy providing;:cover-
              erage form or policy providing Uninsure.d                       age on either a primary or excess:basis,


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                                                                                              COMMERCIAL AUTO

           Qur share is the proportion that our Limit                     which the ' insured" lives. Local rules! of
           of Insuranoe bears to the totai of all appli-                  iaw as to arbitraticn procedure and evi-
           cable Iimits ef insurance covering on the.                     dence:will appiy. A decision:agreedao: by:
           same fevel of priority.                                        two of the arbitrators wiil be binding.: ,
   2. Duties In Tibe Rvent Of Acaldent, Claim,                F.:. Additionai DetinPtions
       auit Or Loss: is ctxir4qed by adding the: fol-              As used in this endcrsernent:
       Iowing:
                                                                 1. "Family member" means a person refated:bo:
       a. Promptly notify the proper law enforce-                    an individual Named Insured by biood;: mar
          ment authorities of the "accident"; and.                   riage or adoption who is a resident of such
       b. Promptly send us copies of the legal pa-                    Named. lnsured's household, in.cluding:a ward
          pars if a"suit" is bccught.                                or foster child.
   3. Tmns#er Of Right^s ti`f Recovergr Against                  2. "Occupying" means in, upon, getting in, on,
       +Dthers To Us is changed by adding the fol-                   out or off.
       lowing:                                                   3. '`Uninsured motor vehicie'' means a land mo-
       a. If we ma4ce any payment and: the "in-                      torvehicle or"traiier":
           Sured" reCovers from anott3+er partjG, #he                a. For::which:.no liability;; bond or:::poilcy :ap=:
           "insured" shali holci the prnceeds 1n trust                    piies at the time; of:ar7 "a.ccident";
           f.or us and pay us back!the amount we
           Yiave paid.                                                b. For which an insuring or bonding com-
                                                                          pany denies coverage or is or becomes
       b. If we make a payment because the in-                            insolvent; or
           surer of the ."uninsured motor vehicle" is
           or becomes insolvent, the TranSi:er Of                    :c, That is a hit-and-run vehicle and neither
           Rights Of Reoovery ,Against flthers'T'o Us                    the driveir nor ;or+iner can .be' identified::
           Condttion coes not appiy to any right of                      The:vehicle rnust aither:
           recovery against either the "insured" of                      (1) tiit_ an "insured", a covered "auto" or a
           the insolvent Insurer, or the North.Dakota                         vehicle an'Snsured" is'.'occupy7ng"; or
           Guaranty Fund; except in amounts that                         (2) Gause "bodiiy inJury" to ari "insured"
          exceed the limtof liabiii.ty of the coverage l                      withouthitting'an"insurecf'; a covered
          form or policy that was issued b/ that in-                          "auto" or a.:vehicle an "insured" : is:
          solvent insurer.                                                    ""occupying", provided the facts of the
   4. The:fol.lawing conditiorr is added:                                     °accidenY' can be corroborated. by
       Arbitratiion                                                           competent eviderace: other than :the
                                                                              es imony o,: any person, having a:
       a. it we and an "insured" disagree: whether                            claim underth'ts or any other.,simiiar:
          ttie'7nsured" is legaliy entitled to recover                        insurance as the result.of such "aool-
          damages from the ownner or driver of an                             dent".
          "uninsured motor vehicle" or do net agree
          as ta the amount oP damages that are: re-                  However, "uninsured motor vehicle" does not:
           coverable by that:."insured", both parties                inolude any vehicle:
           may, agree to arbitration and to:be bound                 a. Owned:or operated by a self-insurer un-
           by the results of thafi arbitrration. However,                der:any appiicable motor: vehicie::law; ex-
           disputes co
                    ncem'ing caverage under this                         cepi;:a seif-Insurer who is or becomes in-
           endorsement rnay not be arbitrated: If                        sfllvent and Gannot provide the amoFlnt$:
           both:parties ag ree to arbitrrate, each party                  recyuired by that motorvehicle iaw;
           wiil sefect an ark~itrator: The:two arbitra-              b. Owned'.iry,a g6ver,nmental unit;or agency;
           tors : will select a third. If they ,cann.ot
           agree. within 30 days, either rnay request                C. While located..for::use:as a::residence:or:
           that seleotion be made by a judge of a                        prernises;
           caurt having jurisdiction. Each party will                d. Operate+d by argi person who is specifi-
          pay- the expenses it incurs and bear the                       cally exciuded from coverage under this
          eXpenses of the thlyd,arbitrator equaily:                     coverage form; or:
       b. Uniess both.pari:fes agree; otherwise; arbi-               e. That is a covered "auto" underthis cover-
          tration wili take place In t.he: county iri                    age fitirm's Llability Coverage.


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                                                                                               COMMERCIAL AUTO
POLICY NUMBER: Y-810-3D989291-TiL-13                                                          ISSiJE pATE: 10-25-13

      1"H0S EN®t?RSEMENT CHANGES 'THE P'OLICY: P4.EASE READ IT CAREF.tlLLY.


                                                 ..             0g .i_ ,
                                   @ k'~ a f0l
                                             ,




 or a covere au o" iicensed or principally garaged in, offor"garage operations" conducted in, North Dakota; this
                                                                                                              _.
endorsement.rnodifles.insuranoe provided underthe follov,ring:
        BL7SINES5 AUTO CC?VERAGk FORM
        GARAGE COVERAGE FORM
        MOTOR CARRIER COVERAGE FORM
        TRUCKERS C{7VERAGE FORM
VNith respect to.00verage provided by this endorsement, the provisions of the coverage form apply unless rnodi-
fied by:the:endorsement.
                                                      SCHEDtl9:E'
l:irrritt3f 3rtsurance: $ SE8 CAT430 Eacf{ "AccDaJe>itf"
information required to oompiete this Schedule; if not showri above;
                                                                _    will be shown ln the Declarations.
A. 6overage                                                        a,. Received reasonable notice of the''perid-
     9. 11Ve wili: pay ail s.ums the "insured" is iegaliy               ency : of . the "suiY' resulting in ths jutlg-
          entitied:to recoveras:comperisatory damages                   nient;. and
          frorri tiie owner or driver af an "underinsured           b. Had a reasonable opportunity to piotect
        motor vehicle". The damages must resuit                                our irrterests in the "suit".
        fnam ''bodily injury" sustained by, #he "insured"     S. lAt;ho Is An lnsured
        caused by an "accictent". The owner's or
        dnver's lia..bilityfoor these:damages must result          If the Named Insured .is. designated in: #he::Decla-
        frorn the ownership, :maintenance or use of               rations 63:
        the `'uRderinsured motor vehioie".                        1: An individual, then the foiiowing are "insur-
    2. We will pay urider this coverage only if:'Para-                     eds°:
        graph A. or b. below applies:                                      a. The Named Insured mnd any 'Yain'► ly
        a. The Iimits of any applicable:liabiiity
                                           __     bonds                        mernbers",
            ar policies have bePn eithausted by pay=                       b. Arn,jeine else ;ioocupying" :a covered
           ment of judgments or settlemeriks; or                               "auto" or a tempora:ry; substitute: for a..
        b. A tentative settiement has been made be-                            covered '.'autq". The cqvered "auto" must
            tween an "insured" and the insurer of the                          be out of service because of its: break-
            "underinsured motor vehicle" which wouid                           down, repair, servicing; "loss" or cestriic-
            exhaust the limits of liability under any                          tion.
            appiicable bottcJs or poficies; and we:                        :c. Anyone f.or darnages:he or she is. entiti.ed:
            (1) Have been given prompt written no=                             to recover because. of "bodily injury`:'::s.us-
                tice of such tentative settlement; and                         tained by another "insured".
            (2) Advance payment to the "insured" in               2: A partnership, iimited liabi(ity comparry; .eor-
                an:amount equai to:the tentative.set;                 poration or :any other fnrm of organization,
                tierr~ent with~n 3C1 days after:rece9pt of            then the follow.ing are'lnsure.ds":
              notification.                                           a. Anyone "oceupying" a;covered "iauto":or:a:
    3. No judgment: f•or damages arising out of a                              temporary substitute for:a covered:'..!auto'.
        "suit" brought against the owner or operator                           The:c.overed "auto" must be aut:of:_seriiice:
        of an "underinsured motor vehic►e" is binding                          because of its breakdbwn, repair; senrio-
        on :us iunless we:                                                     irtg; "Yass" or destruction:




GA 21 8611:11                          0lnsurance:ServioesOffice, Irc., 201:1                                   Page 1 of 4


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          b. Anyone for clarroges he or she is entdled               E. Changes In Conditlons
            to reoover because. of "bodily injury" sus-                 The Conditions are changed. for Underinsured
            taih ed, by, another "Insured'.                             Matodst.s.coverage as, follows:
C. Exclusions
                                                                        1. Other liisurance in the BLisiness Auto and
   This insurance does not apply to:                                        Garage Coverage Forms aryd Other: lnsur-
   1.Punftive or exempIM darmges.                                           ance — Prirnary And: Excess lnsufance
                                                                            Provisions iri the Truckersend. Motbr Catriet.
   2. Thd direat dr. indirect benefit 6f any ih.surer 6r                    Coverage. Forms are replaced by, the.fblloWtm
       self.4nsurer under any workerl: compensa-
       tion, cfiseWlity, benefitsor ilmitir law.
                                                      I                        a. lf'this coverage1drwand airy, other cov-
   & "Bodily . Injury" sustaimd bv iin flinsurecfI .wh ile                        .erage form or policy., pr"din(I Underin-
       ,~6ccu pying". goy VthitliB OWnbd by, or fur-                               skred Motorists Coverage.:appty toAhe
       nished brevallable for -the regular We of, the                              same "accident'and:
       Nam
       ..    ed :Insure d:or, if1he Narhed Insured isan
       individuM, any "family member", thit is not a                              (1). The: motor'vehicle1he llrsured" Wa
                                                                                       1'ocqupyH#'.at.:6e: time of the "aack'
       oovered "autd'.
                                                                                      ~denf'w . as.lqaned, rerted. . orteased.w.
                                                                                                                        w. . .
   4. Anyone: using a vehicle wiftut a reasonable
       belief that the person is entitied to do so.                                   Jhe,"Inaured",.and a.policy.: hich..ap-.
                                                                                     ,plies.to the mcjtdr vehic.le was inforce,
   S. "Bodily injury" arising directly or indirectly out:                               which :pr6vided Underinsured Motor-
         of*                                                                                                               .
                                                                                       ists Coverage to. someone.: engaged:
       a. War, including undeclared or civil war,                                      in the business of selling, repai '
       .b. Warlike action by a military force, InciLtd-                                servialng, storing: leasing renfiN.ar
              ing zidtion in hihdednt pr deferiding.,                                   parking motor vehicles,: the. following
              against an iactual -or eXpected affack; by                                prioritles:of recovery apply:
              any, government, soverd,9n or other.au-               Fir
                                                                     l lst:          :The Underinsured Motorists: CoVer-
              thority. using military p"onnal. or other             Ptibdty.            agLi applicable1o. a vehide that Is not
              agents;, or                                                               Involved. in the."accldenf'_thaf
                                                                                                                 . . .         pro=
       c. Insurrection,           rebe.1lion,      revoitftion,                                c
                                                                                        videsoverage     to the injured:person
              usurped: power, or action taken by gov-                                :as.a:Named Insured;
              emmental aiftharky in.hindering
                                           .              of de-    Second.          . The Underirisured Motorists. Cover-
              fending 'Aga, inst arry of these.                     Priority           age:appIIcabIe:tq.a vehiclethat is not:
6. Limit OfInsurance                                                                   inv. olved in -the "accident, that bro-
                                                                                        vfdes dbverage to the injured:Personi
    t. RO*derA:6f the number.of covered '~autos!',                                      M:an: "inedred" other then a NAmed
        1- irisure
                , ds'
                    : % prerOiuft: Oid, dainis made ..r       o                         Insured-,
       vehidles involvedin: the "accident', the most.
       we. will:pay fo.r. all.darriages resUting from.any,          Third              The UndeNrisured Motorists: Cover-
       one "accident!' is:the.Limit-.0f Insurande fot               Priorfty           age applicable to a vehic     . le:Ahein-
                                                                                      jured person.mas..'!Occupying" at.the
       UnderinsuredVotoftts Coverage shown lh
       the. Schedule or 06clarations.
                                                                                  (2):The. motor vehiclels: not described: in.
   2. No one:*11 be enfitied to receive duplicate
                                                                                       Parpgraph E.I.a(1) above, the...fol-
       paymerAs for the same elements:of '.'Iose"un-
                                                                                       lowihg priodfies of iLicovety: a pply:
       der this coverage form and anyvalid endool-
       lectible motor vehicle medical: Oyrnents, un-                First.            The Und6ansured. . Motorlsts~
                                                                                                              . . . . . Cov4-
                                                                                                                         .. .
       imumd motorists coverage endorsement,                        Ptlbttty          age applicable to a vehici0::th0:i n. -
       pprsonal lnjUry ptoteebon or other. slmilar:rno-                               Jured: perscm was:"bocupylng" at the
       tbr Vdh idle obverages.                                                       :fime ofthe'~acciderrt!',
       We will ncrt payfqr any-elsment: of "loss"Ilf: 8J::          Second           :The Uhderinsured Motorms:.Clovb
                                                                                                                    ..      ...
       person is: ehtitled to receiv e pay "n t for the             Priority         ~age appil.a .cs
                                                                                                    U tb a vehidle that it not
       same element:of 169s' under .anv:%~orkW  ...... ... e                         .involved in the "accideff', that.pro-
       compensation or similar law, except nonoc-                                     vides:ooverage to the injuredperson:
       oupational disability beneflts.                                                as.a.Namedineured;



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                                                                                                      COMMERCIAL AUTO


Third            The Undednsured Motorists Cover-                            If we advance payme . rit tb the "ips.ur.el'in
Priority         age: applicable to a vehiole that is not                   anamount.equal to the tentative .... . ....sOUlii-
                                                                                                                          .......
                involved In the "accldenV% that pro-                         ment wdhin 30 days after:hotifi fibn,
                 vides covefage to the injured person
                                                                            (1) That payment wil.l. be separate fr-om
                 as an "instired" other than a Named
                 Insured.                                                        any amourd the ',insufed" is. ..entftled
                                                                                                                       .. ..... . .
                                                                                 to recover under the provi~ions cif
      b. The maxirnum recovery under all cover-                                   Undli,rinsured M6torists CoV      : er:a : ge,;
          age forms or policies combined niay                                    and
          equal'but. not exceed the highest applica-
           b.le limit for ariy one vehicle under ariy                     (2)` We also have a right to recover ad-
          coverage form or policy providing cover-                             vanced payment. from the insureri dr
                                                                             , the owner or opemtor of the "under-
          age on either a primary or exofts basit.
          Our share is the ptoportion that our Limit                           insured motor vehicid'.
          of Insurance bears.lothe total of all appli-             4. The following condifion is added:
          cable.11mIts of insurance oovering on the
          samedevel of pridrity.                                      Arbitration
  .2. Dutles Im The Event Of Accident,, Claim,                         a. If we and an "insured":clisiagree Whe* thier:
      Suit Or Loss is changed by ekdding the fof-                           the.!'In.. -d' is Ie ga11 y entitled to mover
      lowing-                                                               damages from the: owner or:driv6r of an
                                                                            Hunderiinsured mbtoe vehicle" or do. not
      a. Ptomptly notify thapropeir law enforce-                            agree as to the arnpunt of damages: that
           ment authorities:of the:"accidenf'; and                          ar.e.:1ecoYerable by: that.'insured':'.. botK
      b. Promptly send us:copies of the legal Pa-                           pait.160.r.n4y agrppJ6:0tbJVatioh and Jobe
           pers If I a suit is brought;                                     bound by the results:;of. that atbfttatlbn.
      C. A. person seeking Underinsured Motoeists                           However, disputes. cOncerning cooverage.
          Coverage must also promptly notify us.In                          under this endorsement may not be. arbi-
          Wrding of a tentalive settlement between                         treited... If -both p0r4e0.:agr6eJoarb.ftt1e,:
          the "ihsured" and the insurer of the"une.                         each party'Will select 6n arbitrator, The.
          dedmured motor vehicle" and allbw us 30                          two arbkrators will: select: a: third. If they
          days to advance paympnt to that "in-                              cannot. agree withi.n 36 days, either may'
          sured" in an amount equal to the4entatIve                         request.that selection: be made by:a judge-
          settlement to preserve o.ur rights -aggirist                     . of a coLirt havingJurisdiction. adh porty
          the insurer, owner. or operator,of.sUch                           Will, payAhe expenses it.inc6es afid bear
          "onderinsured inotor vehicle".                                   th e exp en ses of t he thi rd ar     .. ....
                                                                                                                    bitra....t ..or:
                                                                           equa(ly.
   3. Transfer,Of Rights Of, Recover       .. y~Against
                                                  _
      Others To Us is changed by addlhg thefol-                        b. Unless.both parties agree-otherwise :arbi-
      lowing:                                                              tration m(ill take,piace: :In the cOuhty ih
                                                                            Which the 'Insured" lives. LocM rules 6f
      a. If we make arry payment and the "in-                              law. as to arbiftation proced   .ure and ..... evi-
                                                                                                                           .....
          sured' recovers from another party, the
                                                                            deridti Will apply, A decision agreed to by
         'insurecf' shall hold the. proceeds in1rust                       tWo dfthe arbitrators vVi 11 be Urnding.
          for us and pay.us baok the:amount we
          hwe paid.                                           F., AdditiiDihtil Otririidons
      b. OUr nghtg do not apply Uhder this provi-                 As used In this-endorsernent:
          sion: if we:                                            1."Fafty.ffiernber" meahs."",peirson relatedto
         (1)., fiHave                                 :-               an irldividual Named:Insured by blobd, mar-
                   ... s bfbeen given piompt wdtten no                .riage or adophon 4ho Is: 6 ' teWc lent of.suoh
                  ce atent&tNe. settlementb6to0pri
               an 1nsur6d' :and the insurer of fho                     Named: Insured's household, includipg:a:ward
               "Otde(fnsured motor vehicle"; and                       or fosterchild.
               Fail to advonce pakmht to the "in-                 2."OccUpyihy' maziris in, upon, gotting: ih, dn,
               sured" In an amountequal to the ten-                    out oroff.
               tafive seftlement Within 3D coys 6fter             3."Underin6ured motorI vehicle" means a:Iand
               receipt of such hotiFication.                           motor vdhidle or 'Iral lbr" for which the. su: m bf


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              all liability tmnds or policies that apply at the            a. Owrted by-a governmental unit orAg6ndy;
              time of an:"accldent'is either-,                             b. For which an insuring or bonding..comm
              a. . I-ess than the Limit of (risurance, for Un-                pahy denies coverage -or, is or:becomes
                    derinsured Motorlsts Cove ra(ie uhder this.               insolvent;
                  .coverage form or policy; o:r
                                                      .                    c. While located for use as a: residence or
              b. lReduce'd by payments to others in lured In                  premises;
                    the "accident" to less thanthe Limit of In-            d. Operated by.any poMon who: is spec'fi
                    surance for Underinsured Motodats Cov-                    cally.excluded from zoverage;undik this
                    drage uhdar this coverage fotm br policy.                 coverage form; or
              However, "Underinsured motor vehicle" doers:                 e. Thttt: it a covered "aUtd" Uhtleir.this. coverw
              not Include any vehicle:                                        ageform's:Liability:Cdverage.




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          d-4                              0 1 nstirence Services,.0Ifice, Inc., 2011                     :CA:21 86 1111



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                                                                                                COM MERCIAL AUTO
POLICYNUMBER: Y-810-0984291-TIL-13                                                              ISSUE DATE: 10-28-13
                                                                                            I       EIrTTEM
                                                1111             1         15111
                                                          A
                                                               4




For a:dovered "aLto" licensed or principally.garaged in, or "garage operations" conducted in Minnesota, this en-
domementmodifies insurance provided Under the following.,
        BUSINESS AUTO COVERAGE FORM
        GARAGE*COVERAGE PORM
        MOToR cARRIER OOVERAGE FORM
        tRUCKERS COVERAGE FORM
 Wdh: respect to coverage provided by this endorsement, the provisions:of the coverage form apply unle.ss rn.ddw
fiiBd bV the endorsement.
                                                     SCHEDUPE
In consideration of an increase In premium, the following Personal Injury Proteofiori Coverag6 option ap.
                                                                                                        '01'oeis as
I hdiOated below or In the Oedaratons:
❑ TheNamed Insured elects to add together 2 or more:Personal Injury Protectlon Coverages. (Rder tb Para-
     gtaph a. df-the Limit Of Insurance. Provislon.)
In consideration of a reduction in premium, exclusion of work loss applies: at indicated below or in the Declara-
tions:
❑ Work loss will not be provided for the "named insured" age 05 or older, or age 00 or oider, if retired and: re-
     ceiving a pension.
❑ work logs will not be provided for the "named Insured`!.and:any'TamIIy membee'age 65-or older, or age Wdr
     older, ff retired and receiving a pension.
Information required to complete this Schedule, if not shown.above, will be shown in the Dedarabons.

A. Covorage                                                                 lly, mijpted to the recefpt of medical ex-
   The CompanV will pay, in accordance with the                              penses provided under Paragraph A.1. of
   Minnesota No-Fault Automobile Insuranpe Act       .,                     this,provision, and
   Personal Injury Protection benefits incurred wfth                    ~e. Hospital, extended care and nursing ser-
   respect to "bodily irijury" sustained by an 'lh-                         vices, including necessary reniedial
   sured' caused by an "acoident' arising out of the                        tTeatmeht and services recoanized: and
   maintienance or use of a "motor vehicle" as a ve-                         parmftted: urider the lawsi of Miinnesda fbr
   hicle, 6e throtigh being stryok by a motorcycle.                         an 'Insured" who relies upon spirt tual
   These Ramona[ Injury Protection behef'fts consist                        imans through prayer alone for healing In
   of the following:                                                        accordance with his or her religious be-
   1. Medicall Expmses                                                      Ilef; hbwevdr, it does not ihtlUde eX-
                                                                            penses In excess of those for a se imf-
        Means all: reasonable expenses Incurred for                         private room, unless more irdensive care
       necessary:                                                           is rriedically required.
       a. Med[cal, surgical, x-ray, optical, dental,                 2. Work Loss
             chiroprachc and rehabilitafive :services,
             including prpsthetic devices;                               Means:
       b; Prescription drugs;                                           a. 85% of loss of : gross income resuitng
                                                                            from the "Insured's!' inability to work:on a
       c. Ambulaince and all other transportation                           regular basira inolu
                                                                                               .dinci the costs: inpurred
           . expenses incurred in traveling to receive                      by'an "insured" who Is self-employed
                                                                                                            .. . ....... in
             other: covered medical eXpense benefits;                       hiring subsfitute "employede' to perform
       d. Sign interpreting and language translation                        tasks which are neoessery to maintain his
             services, other than such servim pro-                          or her income, which he or she normally
             vided by a member of the "insured`s!' fam-                     perfornro himself or herspff, and which he


CA 22 26 0107                             0 ISO Properties,:           20M                                    Page 1 of 7



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            or she cannot perforrn because of his or                           or she wouid have perforrned for; their
            her injury; or                                                     benefitfiad he or she not sufFered:ttie::fa-
        b. Lost unempioyment benefits in an amount                             tal."badily injury'; minus expenses of the
            equai to the unemployment, benefas oth-                            surviving dependents avoided by reason
            erwise payabie, if the1risured":                                   of such death,
            (1) is unemployeti at the tirtie of the in-                  provided that the dependeiicy of the sutvivirig
                jury and Is receiving or is eligibie to                  spouse shail be terminatetl in the event such
                 receive unempioyment benefits; and                      surviving spouse remarries or dies, and. the:
                                                                         dependency of a child whois not physicslly:or
            (2) Loses eligibility for unemployrnent                      mentaliy incapacitated from earning stiall be:
                benefits because.of his or her'inability                 terminated in the event he or she attains ma-
                  to work caused by injury;                              jority, marries.or becomes.:otherwise:emanci-
              reduced by any income from work actu-                      pated; or dies,
              aily performed by the'tinsured", or by any         S. Who Is An insured
              income he or she wouid have earned In
              avaifabie appropriate substitute work                 1. The Narraed Insured or ariy "famiiy member'
              which he or shel v,res capable of perfQrm-               who sustains',"bodily injury" while "bccupying"
              ing but:unreasonably failed to undertaite.               a"motrsr vehicie", or while a pedestrian:as a
                                                                       resuit:of:an :'accident" invoriifng any "rriotor
    3. 1~ssentiiail5erarsces Expenses                                  vehicle":ar rnotorcycle_
       Expenses reasonably incurred during a pe-                    2. Any:othen person who:sustains "bodily irijuryi"
       riod comrnencing 8 iiays after the date of the                  while "occupying';'the:"insured motor::vehicie".',
       accitlent and during the "insured's':` lifetime, in              or whfle a pedestriarr as,a,,result,of an "accl-
       obtaining usual and:necessary substitute ser-                    d":.irivo(ving
                                                                         erit          the "insured mator:vehicie".
       vices in lieu of those that; taad he or she not
       been injured; he or she would have per-                      S. :A. ny:ofher person who sustains "bodify injury"
       formed not for inconie but forthe direct bene-                    while "occupying" a "rnotor. vellicle" riot:
       fit of hirnseif or herselF: or his or her house-                  owned by, but operated t~y.'the Narried Iri-
       hoid; :if the non-fataliy injured "insured" nor-                  sured or "famiiy memkier", other than a: pu.blic
       mally, as a fuil time responsibility, provides                    or livery co,nveyance,, if th:e "bodfl,y injury" re-
       care and maintenance of a honrie, with or                         sults,from th,e oper•ation of the'"tnator,vehicie"
       without chlidren, the benefit is ttie reasonable                 bythe;Nained Insured:or"family.membeG'.
       vaiue of such care and maintenance, :if                  C. :: Exclusions
       greater than the expense incurred_                           1Ne, will:.not pay PeCsonai;'Injury Protection:bene-
   4. Funeral Expenses                                              fi#a'fpr "bociily injury",
      Reasonable:expenses for professionaffuneral                   C. ;Sustairied tiy any. "`family member" if such
      and. bLTial services inciuding expense for                        "family member" is entitled to F"ersonal in~ury
       creination, or .deiivery under the Minnesota                      ProtecNon Cover2~ge as:a seif-insured orasja
       Uniform Anatomical Gift Act_                                      IUamed insured under the terms of anji otfisr
   IB. SurvQvors' Loss                                                   Gov.erage Eorm or policy_with:respectto:such
                                                                        cCiverage.
       M eans:
                                                                    2. 5ustained by any person; other than the
       a. "Loss", in the event of the death of an "in-                  Named lnsured or "Famiiy member", ;if such
              sured" occurring within one year from the                  person is entitled to Personal Injury. Protee-
              date of the "accident",: of contributions of               tion Coverage as a seif-insurecl or : as : a
              money or tangible things of econcrmic                      Nartied lnsured or lainiiy member" underthee
              v.alu.e, not inciuding. services, t'hat his or             terms:of::any other Grrverage Form or policy
              her surviving dependents would have : re-                with; resspecttg.such coverage.
              ceived from him or her for their support
              durfng their dependency had he::or:she                3. Sustained by any person edsing out ©f the
              not suffared the:fatal "tiodily injury"; and               maintenarice or: use of a"motorvehicie":
       b. Expenses reasonably incurred by surviv-                        a. Being used in the business of tfansport-
          ing dependents a'fter the rleath of an "in-                          iN persons or.prope.rty; or
          suted" in obtainirig ordi:nary and neces-                      b.: FurnishetJ by the employer:of;th amed
          sary substitute senrices in lieu iaf those he                        Insured or "Family member' ;


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                                                                                                       COMMERCIALAUTO


       if Vith resped to ,u.cns    vehicle ihe seeLrity,
                                                     I   . re-             faith belief that he or she is legally entitled.to
       quired by the: Minnes ota ~.No.Fauftt     Au omobile                use:such "motor vehicle".
       lnsuranoe Act is.in effeot, l3rovided that such                11.  Sustained      by any person, other than the
       "bodily iniury" Is sustained while not "becUoy-                     Namod: IrrbUred or any 'Tamilyrnerriber!', While.
       ing" another involved !'motor vehidle"; how-                        a pedestrian: through beihg ttrubk 1~ the 1n-
         , Ver, this exolusion does ndt apply to (Q:the                    surecf~
       "insured motor vehicle" (IQ a coriimUter. vw                                 . !'motor vehicle". ifthe "accident'* oc-
                                                                           our's-o utsicle.the State of Minnesota.
       as defined. in the Minnesota No-FaUlt Auto-
        mobile Insurance Act, (III)  ,     a :veh icle being          11:8ustained. Oy any pamp arising oL.A of:the:
        used: to transport children. to s1chool or th ei                   rnaintenande or dee of a "Motor: vehicV':while:
       tchobl sponsored aot", (iv) avehicle being                          lomtecl:for.use as a residence.orpremises.
        used:to transport children as part.of afamily                 11 ANsing drectly or indirecUy out of,
       or group farTiily day. care :program, (v). any                      x. War, Inclucling uncleclaredor civil wir;
        bus, other than a bus included as:a vehicle
       describod in (IQ, (111), or (iv) above, while iri                  :b. Warlike.aotion: by a military.force, includ-
       operation within the stdte bf Mihhbsotzi ar, td                           ing,- action in hindering: or d.e.fencling:
       iiny: Minnesota resident who is aninsured As                              agairst
                                                                                       .  gh adtLAI br expip.ded.aftsid.k, by:
       defined in the Minnesota No-FaUtAutorrioble                               Any.: overnrnent sovereign or other 60-
       Insurance Act, ar'(WI~apassengeria.a,taxi,                                thbtKy using militwy personriel 6e other
                                                                                 agents; or
   4. To any: benetlts: any person: would otherwise
        be entftled. to receive hereunder . for "bodly     in-             t. Insurrection,           rebeliibh,    wolutioh,
                                                   .
       iury' int6titionally cafised: by tuoh 0ersoh bt                           usurped power, or acUon taken by gqv-
       arising out of his br herintentionally. atterhpi-                         emmental authoffty in. hlndering.:or de-
       ing to cause "bodily injbry", and, ff any pemon                           fpnoing agiiinst any:of.i.hese,
       cliesas a result of intenbonally causing or, at               :14.:Resulting: from the radioacbve, t.oxic, explo-
       tempting to.cause "bod.ily ipjury'.to himseff or                   :siv6 or dther hazardcus properties of. nuclear
       herself, hit or her survivors ate not ehtitied to                  :ma.terial,
       p.....O.Tsurvivors?
               . ......    lossbenefits.                             :46.::W1lh: respeot to work loss,, essenbal, services
   S. Sustainedby .4ny pelton in th       . e.course: of.an                expenses,: and survivors!. loss benefits,  . sus,-
       00iciated racing: pr spe6d -contest, or in. prap--                  tained: by. any: pemon, other than the- Named.:
       iibe dr preoareifion therefor, 6thee. ftm.a rally                   Insured.or"farnily mernbee'. while "cocupying"
       held in Whole or in patt upon*41[0 roa. dg.                         6W.'molor vehicle    . ", n.ot oWhed Oy the Narbed:
   S. Stistained by ahy peeson if suc h injury allsds                      Insured:or
                                                                              ... ....   "farrilly
                                                                                            ...      rnembeel, Which is: being:
       otA of conduct within: the,course.of:a business                    ,operated: by the Named:~ Insured ~:or 'Tamily
       of repainng,. se rvicino, or otherwise rtiaintdih-
       irig ''Motor vehlcles!' unless such.conduct.m                  16.: Sustained W any person, other than ft
       curs off the business premises.                                     Named!Insured or apy'Yamily. merriber!% while:
   7, Sustairied. by any person if such injury arises                     "oocupying" avehicle'whjch is:.regularly use
       out of conduct in the course of:.Ioading.or                        .1h the cours&.0 the: Wsi'n'ess of transportin.. .......g
       Unloading any. "motor vehicle!'. unless the                         persons:orpropert and which is one offive   .          .
       conduct ocour.s. while such pemon is "occupy-,                     :or mweveh l6les under common ownershivor
       ing". such '!m0tor vehicle",                                       :a. vc-hicle owned. by.a:government: other than
                                                                           the. State of Minnesota, ft pojifictil sUbdivi-
   8. Sustaineci by any pemn wtdie 11occupying" a                         ,sions,:rnU.nicipal'corp6teitb.h!§, 6r public-agen-
       ootorcycle.                                                         cies,. if the "acbident'. occurs-outside the State
   S. ToPelsonal Injury Protection benefits otherm                         of Minnesotei..
       wisb:I payable   I In
                           I the event that a lapse of one            LJOWt Of Insuirance
       year aI r I mo re c cours In t.he. pefiod of disability
       and:medical treatrnent of an "insured' as a                    I Except as proVided in Paragraph 3., regard-
       result of.any: one 1!aociclerfl.                                    less.of the number of persons insured, poll-
                                                                           cies or 'plans of set-lnsbran6e aPplicable           .,
   10. Sustained by any person, other than the                             preiniurns paid, claims made or "insured mo-
       Nam--d Insured or any 'family membee', ariso                        tor vehicles!'6 whichAhis coverage applies,
       ing out of tfie maintenande: dr-use by sUch                         qurr 1140ility ibr Personal lbiury Protecoon
       person.-of a:"moto.r vehidie" withouLa good                         b6nefits Wth resoect: to. "Opoily :injury sus-   ........


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COMMERCIAI. AUi'O

        tained by any one "insured" in any ane "motor                        anmurit shall be aitooated equaliy among
       vehicie" "accidenf' shall not exceed $40,000                       them.
       In the aggregate and subject to such aggre-                    c. The amount of any deductibie appiicabie
       gate:                                                              to work loss set forth. in this Caver-age
       a. The maximum amount payabie for "inedi-                             Form, but only with respect to "bodily in.-
           Cai expenses"'shail not exceed $20;000.                           jury" I sustained by the Named irisured or
        b. The maximum aggregate.arnount payabie:                            any"family membet°'.
            for work ioss, essential services ex-                 3. If the Schedule or Deciarations Indicates thaf
            perises, funeral _ expenses and survivors'                the Named insured eiected to add ter:
                                                                                                          ogetti
              ioss benefifis shall nofi exceed $20,000.               two or more Personai )njury Proteotion Cov.
              Subject to this maximum aggregate:                      erages; regardless of the number of persons -
              (1) The maximum amount payabie for                       insured, prenroums paid or, cia'ims. niade; :our:
                  wcrk loss shali not exceed $250.00                   liatifiity for Icersorial:lnj'ury'Protection benefits
                  per week.                                           with respeot to ''bod'ily
                                                                                          ..
                                                                                                injury" sustained.i~y,
                                                                      any one: ''insured" in aty on.e "motor, vEtilcle"
              (2) Tfie maximum amount payabie for                     "accident" shall not exoeed $40;000 , in the
                  essential services expenses shall not               aggregete, per "insured motor: vehiofe'` and.
                  exceed $200:0E3 p.er;week.                          subjectto.each such aggregate:
              (3) The maximurn amount payabie for                     ,a. The maximum amount payabie for "medi-
                  funeral expenses shell not exceed                        cal: expenses" stiail.. not ;e.xceed $20;000:
                  $2,000.                                                 per "insured motarvehicle".
              (4) The maximum amount payable for                      b. The nreAmum amount::payabie: for work
                  survivorS' loss:benefits:                                  loss, essentiai services.: expenses, funeral:
                  (a) W ith respect. to . Paragraph A.S.a.                   experises and :sunrivors' loss benefits:
                      of the definition'of survivors' ioss                   shall. not exceed $20,.000 per "iiisured
                      benefits shali not exceed $200.00                      rr►otor vehicie": Subject to this max"imum
                      per week; and                                          aggtegate:
                  (b) With  respect to Paragraph A.S.b:                      (1) The rnaximum amount .payabie f.or
                      of the definition of sunrivors' loss                       avork loss sha[I riot exeeed $2.5.0.00
                      benefits shail not exceed $200:00                          per week per "insured rnotor vehicie".
                 per week                                                    (2} The maicimurn arnount payabie for
   2. Any amount. payabie by the :Company under                                  essential services expenses shall not
       the :terms of this ooverage shail be reduced                              exceed $200.00 per week per "in-
       by:                                                                       sured motor:vehicie".
       a. Arry amounts.paid; payable or required to                          (3) The maximum' atiwunt payable fQr
              be provided on accbunt;of. such "bodily in-                        funeral expenses ::shaii not :ezceed :
              jury" under any workers' compensation                              $2;000 per "insured.motor.vehicle".
              iaw; except that if the "aqcident"invoives                     (4) The rracimum amourit payabte f.or
              a"motor vehicie" used in a, "ridesharing                          sunrivors' loss beneflts:
           arrarigement", this `.coverage shall be pri-
           mant.                                                                 (s) 111/ith respect :to Paragraph A.6.a.
                                                                                     of the definition of survivors'.loss
       b: The,amount of ar►y: deducbbie applicabie                                   benefits ,shail not exceed $200:Ot}
           to "medical expenses" set fcrth in this                                   per week:per "insured motor ve-
              Coverage Form, but oniy with: respect to                               hicie"; arxi
              ''bodiiy injury" sustained by .the Named.
               Insured or by a. "Family member"; pro>                            (b) With resped:to::Pa1agraph:A:5:b.
              vided that; If two or tTiore.suah persons                              of the :definition::of: si.tnrivors' :loss
              sus,tain:"bodiiy:injury" in:the same'''motor                           l7ene~'its shaU not:exoeed $200.00
              vehicie" "accident", the'-total :amount of                             per week per 'Snsured rrxitor     _. ve=
                                                                                                                            .. .
              the deductibie appiicabie: ta ail of thein                             tticie"
              shall not acceed the deductibie arnount
              stated in this Coverage Form, and such




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                                                                      ...                                  +~A ~;~5'0'1;:07
                                                                                                                   _



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                                                                                                COMMERGIAL Al1TO


E. Changes In Conditions                                                   the required notice tivithiri tPie prescribed
   The:: Oonditions. are changed for Personal Injury                       time, we are responsible oniy for $1;gsaD
   F'rotectiorr as foilows:                                                or the expense: incurred after the notice is
                                                                           given and within,.60 d.ays before the no-
   1. Duties In The Event Of Accid.ent, Clalm,                            tice, whichsirQr is greater, uniess fat(ure
        Suit Or 6.oss Is replaced by the foilowwing:                      to give fimeiy notice is the result of ex-
        a. In the everd of any "accident", written no-                    cusabie negect.
            tice containing particulars sufficient to.           2. 'i'rs3nsfer G1f Rights Of RecoveP}r Against
            identify the '9nsured", and also reasona-               Athers Ta Us is repiaced by the toiiowing:
            bly obtainable inrormatian respecting the
            time, place and circumstances af the "ae-               Subject to any applicable limitations sEt forth
            cident" shail be given by or on behalf ef               in the Minnesota statutes, in the event of.:any
            each'"insured" to us or any of our author-              payrrient under thiis cwerage, we are subro-
            ized agents within six months from the                  gated. to the rights of the: person to whom or
           date of the "accident". Failure to prpiride              forwhose benefit such payments.were made,
           such written notice shaii not render an                  to the :eyttent of such payments; and::such
           "irisured" ineiigibie to recelve_ benefits               person:ehafl execute and deiiver instrun.e.nts
           uniess actuai prejudice is shown by us                   and papers and do whatever eise is necas-
           and then oniy to the extent of the preju-                sary io secure such rights. Such persori:shall
           dice. If an '9nsured", his or her legal rep-             do nothing after foss to prejudice suoh:rights:
           resentative or his or her surviving de-                  a. Gur rights under this condition do not ap-
           pendents shaA instikute legal' action to re-                  ply against:
           cover damages for "bodily injury" ag2tinst                    (1) The person or organization iegally re-
           a person or organization who is or may                             sporisible for damagirs, iF we also in-
            be iiable In tort ttierdor, a eopy of the                         sure that petson 'or organizafion for
           surnrnons and compiaint or other process                           the:same'Yoss" ordamages; or
           served in connection with su.h legai ao-
           tion.shall be forwar.ded as soon as prraeti-                  (2) Any "insured".
           cable to us by such "insured", his or her                b. Our rights under this: condition do riot:ap-:
           ;legal representatfve or his or hersuiv"niing                 ply againstt a person who: is 21 years of
          dependents.                                                    age or aider who:
       b. As soon as practicabie, the 'Snsured" or                       (1) Had control over :the ;premises: and,
          someone on his or her behalf sFiall give                            being in a reasonabie position to. pre-
          us written proof of claim, under:oath if re-                        vent the cdnsumqfion of aicohoGc
          quired, inciuding full particulars:of the na-                       Fie;ierages; knowirigiy or recklessiy
          ture arrd extent af the "bodiiy inJury'`,                           pernfittsd the cansumption iif alco-
          treatment and rehabiiitation receivved and                         ;hoiic.. beverages.'thiat caused the in-
          contemplated, and such other information                            toxicatlon ©f a person under 21 years
          as may assist us in determining the                                 of age; or
          amount due and payabie. The "insured"                          42) Soid, bartered, furnished or gave to,
          shali submit to physicai and merttai ex-                            or purchased alcoholic beverages for
          amination by physicians seiected by us                              a person under 21 ye.ars of age that
           when and as often as we may reasonably                             caused the lntoxication of a person
           require. An "insured" who has undertaken                           under 21 years of age;
           a:procedure or treatment for rehabiiitation
           or a course of rehabilitative occupational                    and that intoxicated person caused the in-
           traidng, other than medicai rehabifitation                    jury, 'loss" or damage for which payment
           procedure or treatment, shall notify us                       was made under this policy.
           that: he, or she has undertaken the proce-           3: ather Insarance in the BusiMss Auto and
           dure, treatment or training within 60 days               Garage Coverage Forms and dther iinsur-
           after a reiiabilit.ation expense exceeding               ance - Prknairtr And :Excess Insurance
           t1;000 has been incurred for the proce-                  ProVislons in the Truckers arrci .Mot.o.r Carrier
           dure, treatment, or training, uniess vi+e                Goverage Forms are amended by the fallow-
           know orhave reason to imow of the un-                    ing:
           dertaking< -!{. the " insurred" does not give



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         fn the event the "insured" has otter similar in-                    jury" because of which such payrnent is
         surance Includng self-insurance avaifable                           made; and we shall have a lien to the ex-
         and applicabie to the "accident", we shall not                     tent of such payment, notice of which
         be fiable for a greater proportion of any ioss                     may be given to the person or orgentia-
         to which this couerage appiies than: the Limit                     tion causing such "bodily injury", his or
         oflnsurance hereurader bears to the sum of                          her agent, his or her insurer or a oourt
         the applicabie Limits of insurance of this cov-                    having jurisdiction in the matter,
         erage and such other insurarce.                               b. Such person shall hoid in trust for our
         However, i€ the driver or occupant of a"motor                      benetit aif rights of reco'very which he:or
         vehicle" sustains "bodily itijury" whiie using                     she shall have against such other person
         the vehicie in ttie business of transporting                       or organization beaause of sucfi "bodlly
         persons or property; ifiis insurance is primary.                   injury".
    4. The Two ®r Nk>re Coverage Forrns 9r Poli-                       +c. Such person shail do whatever is: proper
         cies Issued 13y tJs Policy Condifion is re-                        to secure and shal) do nothing after foss,
         placed bythe foUowing:                                             to prejudiee such right; and
        If the Schedule indicates that the Named In-                   d. Such per: son shali execute and deliver to:
         sured efected to add together .two or rrmore                       us ins#ruments and papers as rriay be
        Personai Injury Protection Coa+errages:. the                        apprapriate to secure the rights and okiii-
        Two tJr More Coverage Forms Or Palicies Is-                         gations of such person aiid us estab-
         sued By Us provision in the Policy Goncrtions                      lished by this provision.
        section of the Coverage Form does.not appiy                   C®PISTITi1TIC.fNAL.lTY CLA68SE
        to coverage afforded under this endorserrent.
        However, no one. wiil be entit#ed to receive                  The premium for and the caverages of thE:
        dupicate payments for the sarne eiements of                    poGcy heiie been estab(ished.in refiance upon
        "IosS".                                                       the prcivisions of the Mirinesota No=Faiiit
                                                                      Automobile lnsurance _Act: in the event a
    5. The following Conditions are added:                            court of eompetent jurisdiction dedares; or
        CCi6iRD1NAT6Qh9, NON-®UPt.tCATi1dN AND                        enters a. judgment the effect of which i5 to.
        PRIORII7'Y: t,F PAYmEN'TS                                     render the provisions of such act invalid or
        a. No "insured" shall recover dupliaate                       unenforceable in whoie ar In part, wre shail
             beriefits for the same efements of 'loss"                have _the.. ridht to recompute the :preftmium
             under this or any_simiiar insurance includ-               payabie for the poficy and the provisions .oP
             ing seff-insurance.                                      this endocsement shall be voidabie. or:.:subject
                                                                      fio amencirnent at ou>• option.
        b. Any+ amount payable under any Unin-
             sured: Nlotorists Goverage.afforded under                Af$B9TRATI®N.
             ttiis Coverage Form or polioy shall be re-               if you and v,rrr disaOree on the amount of
             du.ced by the.amount of any Personai In-                 "foss" :urider Personai Injury Protection and
             ju ry
                 . Protection beneflts paid or payabie or             the disputed.amount Is:
             which wouid be paid or payable but for                                                                .......
                                                                      a: $10;000 or less, tiotii parties must subrnit
             the appiication of a deductibie under this                    to arbitration; or
             or any other motor vehicie insurance
             Goverage Form or poilcy Gecause of                       b. More than $10;00(], we wiii actvise the
             "bodiJy injury" sustained by an "insured".                    '"insured' whether we will submi# the claim
                                                                           to arbitration.
        RE6R+BURSEI'iIENT ANC1 TRUST
                                                                      Arbitration will be conducted in aocordance
        Subject to any appiicabie timitafions set fortll              with the Ruies of Procedure For No-Fault Ar-
        in tFie Minnesota statutes, in the event of any               bitration contained in the Minnesota ieisur-
        payment to any person under this coverage:                    ance Laws;
        a. We shali be entitled to the extent of such                 in the event of arbitration, each party wiil se-
             payment to the prooeeds of any settie-                   lect a competent arbitrator. The two arbitra-
             ment or judgment that may resuit from the                tors will select a competent and impartiai um-
             exercise of any rights of recovery of such
             person against any person or organiza-                   pire A decision a9reed to by any twa wiil; be
                                                                      binding. Each party wiA:
             tion legally responsibie for the "tiodily in-
                                                                      a. Pay its chosen arbitrator; and


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        b. Bear the other expenses of the arbitration            3. "Motor veFiicie" means:;eve.ry vehicie, :other
             and umpire equally.                                     than a motorcycle or other vehicle with fewer
        If we submit to arbitration, we stiil retain our             than four wheels, whioh:
       right to deny the claim.                                      a. Is required to be registered pursuar7t tn
F. Addttional Definitions                                                 Minnesota Statutes,.Chapter
                                                                                                  ,      168, and
    As used in this endorsement:                                     b. Is designed to be self-propelled by;an en-:
                                                                          gine or motor for use primarily upon.: pub-:
   1. "Family member" means the spouse or any                             lic roads, highways or str,eets in the
       person related to the Named Insureti by                            transportation of persons or property, and
        biood; marriage ar adoption; including a minor                    includes a"trailer" with one or more
        in tfie oustody of the Named Insured, spouse                      wheeis, when the "krailer" is.connected.to
        or stfch related person, who, is a resident of                    or being towed by a'fiotor Vetiicle".
       the same household as the Named Insured
       whether: or not terrlpora(ly residing else-               4. "accupying" means:in: or :upon, entering: into
       wiier>s:                                                      or alighting from.
    2. "Insured motlsr vehicie" means a"motor vehi-              5. "Ridesharing: atrangerneni" meana the trans-
       cfe" with respect to which:                                   portation of persons,, for a fee or otherwise, in
                                                                     a"motor vehicle" when the transportation: is:
        a. The "bodiiy injury" liability insurance of                incid.entai to another purpose of the driver.
             the Coverage Forn~. or policy: applies and              The terrti includes the forms of shared trans-
             fohich
               rw a speciflc premium is charged;                     portatiori known as carpool,s; commuter:van-
            and                                                      pools and buspools;whetheroe not .f.urnished
       la. The "nanied insured" is reqoired to main-                 by an emp. ioyer. It does not lriclude transpoi-
            tain securlty unrler the provisions of the               tation 4f '"employees" by an employer frorn
            Minnesota No-Fault Automoti9le Insur-                    one place to arwther.
            ance Act.




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                                               210, ""l
                                                           1A L~l i
For a =vered. "auto" licensed or prinolpally garageo in,, or"garage operations!' conducted in North - Dakota,--ttdt
endorseineht mWifies insurance provided under the following:
        BUSINESS AUTO COVERAGE FORM
        GARAGE COVERAGE FORM
        MOTOR CARRIER COVERAGE FORM
        TRUCKERS COVERAGE FORM
With respect to coverage provided by this endorsenip-nt, the provisions of the Czverage Form:appty uniess:modi-
fled by the endortermnt.
We agfee:with the "Named Insured", subject to all of1he provisions of this:enclorsement tind to all of the provi-
slons df the policy exoept as modifiiad. herein,: as foHows::
A. Coverage                                                        procedtire, treatment or training is reasoriable:
    ~Wemilf. pay personal injury protecfion benefits in            4nd  appropdate for the parboular casp-i its:
   .accordai)ce with the Nortti Dakota Auto Accident               oost is reasonable in relation to As probable
     Reparations Act to or for an 'Insured" who sus-               rehabilitative effects, and it is, likely to.contrib-
    tains:'!bodlly inj ury" caused by ah "acoldent"  arls-         ute subilintially to niedic al. or Occupational
                                                I                  rehabilitati0h;
    ingoUt Of the operabon, maintenance Or use of an
    "~auto" as a vohicle. These persohaf injury protec-       4. Replacempht services loss. Expenses: in-
    tion: 6666rifs consist of the following:                       curred In obtainingordinNy drid 6ecessarv:
     I.: Funeral.expprises. Reasonable-expenses in.                semees from othdrs not members. of         ............
                                                                                                                    the1n- ...
         curred fbr; ei prolessionalf6heral, dremation,         :slqW.s" household in Ile.u:bf those that.the       .
         and.burial;                                             'Insurod"::wduld have performed had..he oi.
                                                                   she hbt: been ihjured, not fior iricome but: for:
    2. Medical expenses. Usual and customary                       the.bendfit:cf hrihseif or herself dt H.&W.fibr:
         charges incurred for, reasonable and neoes-               household, but "T(ipld  .cemefit seNices lbse`
         sary medical, surgical, diagnostic, Xray, den-            does, not4nolude any loss:after
         tal, prosthetic, arnbulancei hospital.or profes.-                                    ...      . the... death.of.
                                                                                                                ...
                                                                   the'Insured";
         sioml nursing services or services fdr re'me-
         dial treatmeht and care, but: usual:and dus-         A SurvivoW inebme losi. Loss sustained.aft   ",                e
         tomary charges do not inolude-,                           an "insur-eds" doath by h i s, or her sU. r virvioW
                                                                   during their dependency and oanslsting.of the.
         a. The portion of the charge for a room in                loss, of the contributibns. they would have re-.
             any hospftal clinic, convalescent or nurs-            ceived fo r thdir support from that 1nsured":out
             ing home, .'extended care, facility or any            of income from work he: or: she          would h*'6r-
             similarfaidlity in excess.of the reasonable                                              -
                                                                   mally have performed had he or she not died;
             arid. customary charge for semiprivate ac-
             commodations unless iritensive care is           6. Survivors' replacement services loss, Ebx_
              medically needed;                                    pensesinourred after the."insured's dbifh:by
                                                                   his "survivort" in obtainihg ordihary and:nec-
         b.
          . Charges for drugs sold wfthoLt a prescrip-           :essary services from others notmembers.of.
             ilon;                                               i that 'Insured'g' household in lieu, bUthe ser-
         c. Charges for expedmental treatments, or,                vicesbe .-or sh,e would have perforniednot fbr
         d. Charges for medically unproven treat-                  income   bLt for the benefit of his or her
             ments-,                                               household;
                                                                                             . .
    3. Rehabilitation expenses. The cost of a'pmoe-           T. Workloss. Eighty-five percent o. f los so. f, in-
         dure or trOatment for rehabilitationzir a:course          come frorrivork an "iftured.'. who: WoUld ricir-
         of: rehabAitative occupational training if the          :n14Ily    be emplqyed in -: g*nfuI:.actiVity.dunnq:.
                                                                   the pefiod of hisor her: ditabflity, wbUld I have.


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 COMMERCAL AUTC7

         performed had he or she not been injured,                     "auto" uniess the injury occurs while "oocupy-
         reduced by any income from subsbtute work                     ing" that"auto";
         actuaily performed by the "insured" or by in-              6. Sustained by any person whiie "oceiipylrid'
         come the "insured" wouid have eamed in                        any "auto" without the express or impliecl
         avaiiabie, appropriate substitute work which                  consent:of the owner or whiie not in lawFui
         he or she'was capable of:pErfortning but uri-                possession of any "auto";
         reasonably faiied to undertake, txjt work ioss :
         does not inciude any loss after death of an               7. Sustained by any person as the result dU en-
         "i nsiJreci".                                                  tering or aiighting from a stopped "auto".:if the
                                                                      inJury is not caused by another "auto' ;
 B. 1Nho.ls An:llnsured
                                                                   S. Intentianaily caused by: any person wfio
     4. :The "narned insui'ed" br any reiative who sus-               wouid.otherwise be entitied:to reoeive bene-:
         tams "bodiiy injuryy" whiie "occupying" any                   fits hereunder for 'bodily ;injury" arising::out :of
         "auto" or whiie a"pedestrian" through being                    his or her intentionaiiy attempting to cause:
         struck by any "auto" or motorcycle;                           "bodilyinjury" to liim or tier setF or to;anotfi:er
     2. Any other person who sustains "bodily injury":                 person; and, if any person dies as a resciit of
         a. While "occupying", or whiie. a"pedestrian"                 intentional.ly causing ior .attempting :to caia&e
                through being struck by, the' covered                  "bodiiy; lnjury" ao 'him.:or her, seif, . his or hier
                "auto";                                                "surviti+ors" are not entitled to any "survivore°"
                                                                       inCome (osa^ or suNivors' repiacernent sQT-
         b. While "oocupying" an 'auto" not owned                      vices foss beneiits;
            by, but operated by a"named insured" or
                "famiiy member", if the "bodiiy injury" re-        S. Sustained by any, person whiie in :the:,eounse;
                sults from the operation .of the "auto" by             of a. racing or speed contes# or in practice rir
                the "named insured" or "famiiy member".               preparation thereto;
C. Exclusions                                                     10. Sustained. by any ''peiestrian "., other than the;
                                                                      "named insured" or any "famiiy metnt36r 1, : if
   We will not pay Personai Injury Protection bene-                   the accident occurs outside the State of NorCh
    fits for "bodiiy'injury":                                           i]akota;
    9. Sustained by the °named insured" whiie "oo-                11. ' Sustained by any person aiising out of ,thei
          cypying" arry "auto" owned.bythe „named:in-                  oparation, maintenanoe or use. of ariy "auto"
          sutecP`which ls not a'carve.red, "auto";                     whiie:located for. use as a resitienoe or prem=
    2.. Sustairied by. any 'garriily member" while "oo-                ises;
         ci3pying" an "auto" owned by that "famiiy                12. Arising directiy or indirectly out of:
         member" with respect to which the security
         required bji the North Dakota Auto Accident                  a. IJUar, irici.udmg undedared or civii ;wa:.r,i
        F2eparration Act is not in effect;                            b. Wariike action by a military force, inciud-
    3. Sustained by: the "named ' insured" or any                         ing action .in hindering or defending:
        'Yamiiy meriiber", whiie "occupyi►ig", or whiie                   against an actuai or expected .attack, tay:
        a:: "Pedestriarr" through being struck by; any                    any. govemment, . soverelgn or other au-
        "auto", ; oth8r than the covered "auto", of an                    thority using miiitary personnel oF other
        "auto° being used in a '`ridesharing .arraiige-                   agents; or
        ment", with respect to which the security re-                  c. Irisurrection, "rebeilioii,   revglu#ion,.
        quired under the North Dakota Autri Accident                      usurped power, or: aation tafcen by gov-
        Reparation Act is in effect; .                                        emmental authority fn hindering or de-
    4. Sustained by any person if the injury arises                           fending against any of:these; or
        out of conduct within the course of a business            13: Resuking from the radioactive~ toxic, expio-
        of repairing,.servicing or othenvise maintain-                 sive or other::hazardiius: properties:of :nuoiear:
        ing an "auto" unless that conduct invoives the                 material.
        actual operation af an "auto" as a vahicle ori         D. Ciefrnitions
        the business premises or uniess that conduet
        occurs off the buslness premises;                          As used in this endorsement:
    5. Sustained by any p$rson arising out o,f con-                9:. "Auto" means. a: vehicie having more ::than:
        duct in the course of ioadirig or unioading any                 three ioad bearing wheels, of, a kind requi red:
                                                                       to tie registered under th$ laws of North Qa-


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                                                                                                  COMMERCIAL AUTO


       kota relefing to motor vehicles, designed pri-         E. Policy Period; Territory
       madly, for operation upon the ppblid streets,.            This coverage appries 6nly to accidents Whibh
       roads and highways, and driven by p6wer                                                                     .: I
                                                                 6cour duririg the policy period aihd Wit NO
      .other than muscular power,, artd includes a                United States of Amedcai itslerritories or.possesm
       trailer designed for use wfth suohvehicle.                sions, or Canad&
   2. Covered '~uto" means an "auto" wfth respect             F. LIMItOf Insurance
       tb which:
                                                                  Regardless of ttie number of persons insured,.
       a. 8ecutity is required to be maintained un-               policies or approved plansof self-insurance applim
            Oer the provisions of the North Dakota.              cable, premiums paid, daims made or covered
            Auto Accident ReperaUons Act; and                    "eitAos" to which this oovettgb applies, oUr liabjiily.
       bi The "bodily injury", liabilfty boverage of the:        f6i persorml in'jury protectiah:benefits.with. respect
           'Policy applies and for which a speciric              to "bodily injury' sustained by any one"insured.!.In
            premium is charged.                                  any one "auto" "accident' shall niDt exceed
   & "Famity, :rrierriber" means a: spouse or any                UP,= in the aggregate, and subject to suoh
       atirier indiv'idual relited. to the "named. in-           aggregate liinft:
       sureci" by Wood, marriage or adopbpn, includ-             1.The me)(imLim ambUnt vaVable for Work loias
      ,ing p ward wfostee chlld, Who Is a resld.6ni Of'               or survivors! ihcbrne loss shali. not ek
       the.sar'ne household as the, "named insdred",                  V50 perweek proraited for any lesser perlbd,'
       orwho'usually niakes his or her home in.the                                              . ..
                                                                 2. The maximum amount payable for. replac6-.      . .
      senle household bLit :temporarily lives else-                   menf services loss or survivors' replace
       Where,                                                                                                   . m .Lm......
                                                                                                                         nt
                                                                     :services lossi shall notexceed $15per day-,
   4. "Named                                                                        I         .
         .     . Insured' means the person or on.                3. The maxim um amount: payable for fundW
       ganization. named in the. Declarations.                        expenses shall not exceed $3,500.
   S. 'nooLipying" means in or upon.                             Any ekrnoUht payable:by:us: urKJ.er the1erms.:of-this
   S. "Pedbstriaq' means ariy individual  I riot "cccu-          coveracie: shall be redLibOd -by the arhbUiit of
       pyingr' a "motor vehicle" or any: other vehicle           beriefds an.'!ftured" has: recovered: or is entitled
       designed to be dfiven or drawn, by power         .        to r6coverfor.the:same ellerrients oUloss.uridbe
       other than muscular power.                                any:: workwV: oompensitionact
   7. "Ridesharing arrangemenf' meansthe trahs-               G. Chinges: In Ochditions
       portation of persons in a "rnotot veliiciell              For Personal Injury Protection the conditions:are:
       where the. transportabon is incidental to an-             amended:as follows:
       other purpose of the driver or owner and is
       not: provided . for pecuniary gain. The terTn             1. Dutiles:ln The Evant:017 Accident, Claim,:
      shall include ddesharing aerarig6trients known                  GuitorLoss
       as carpools and van pools as defined in North                  Wehave no duty to provide coverage: under
       Dakota Laws.                                                   this polioy unless there has been: full coMpli-
   S. "SurVivoe' means a dependetit surovor of a                      ance with the following dLities:
      deceased "Insured'and includes the following                    a. In the everyt crf an accident, written ricitce
      suMVors only:                                                        containing piarticularssuffident4oldontffy.
       a. Thel surviving 5OLise ff: rrasiding ih the                      .the "insurecr', and also. reasonably ob-:
           deceased's household: at ttiO time ofhis                        tainable infcirma'fion respecting the,,time,.
           or. her death: providing that the. depend-                      placeand circumstances of the accident
           ency of that spouse shall terminate. upon                       shall be given by br on behal of eadh "in-w
           remarriage; and                                                 sured" to the ConVany or any of iis au-m
                                                                           thorized agerds a sa oo. as Dracti cable.
       b: Other persons receiving. support.from the                        an "insured", his or her 1601 representa-
           deoeased at.the time.of
                               .. . ...his.or. her
                                                - . death                  iive or Ms or her "suivivm" 6MI.institute.
           Wh-ph
              I would:qualify them as de      . pen&ents                   legal acton tb rtidoVer d6mi§ops f6r.."b0d_':
           of the deceased for federal income tax                          iiy irjury"agalns.t a:person.or organization
           purposes under the Federal Irytemal                             who.is or maty be;liable in toit therefor, a
            Revenue Code.                                                  copy of the summons and comolaint 6e
                                                                           ottier process served: in:oonnectiori
                                                                                                        . ... . . . with
                                                                                                                     .....
                                                                           aLich legal actlon shall W.forwarded as.


CA 22 34 03 06                             C) ISO Propefbes, I no,,:2005                                      Page4of-5



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COM MERCIAL AUTO


            won as practicable to us by such 'in-                    dorsement shall be voidable or subf0of to
            Sured", his or her legal representative or               amendment at our oofidn.
            filis or her "survivors!'.                            .2.Cooirdihation
        b.. As spon as practicable., tW "insured' or                   Any amount payable under.uninsured: motor-
            sonieone on his: or her beha!f shall giye                 istscoverageshall be reduced- by4h6amount:
            us written ptbof Of daim,:under Oiath if re-              of arry pprsonal injury, protection behefits paid:
            Ouired, lncludlng. full: particulars of ihe na-           or payable under1his or any other allto: m6bil 6
            ture and extent of the "bodly. injury"                    insurance policy because of "bodilk injuty"
            treatment and rehabilitaton received and                  sustained by an"insured'.
            contemplated and.such other Information
            as may assist us in 'determining the                       Arly automobile medical payments:06rded
            amount due and payable, The "insured"                      urider this po.liby shall- be ekbeess. Ind6rance
            shall submit to physical and mertal ex-                   over any: p.ersonal ipjury protection benefrts
            aminabon by physicians selected by us                    :paid or payable under this or-anV other: auto-
            when and as often as we may reasonably                     mobile irisuranoo polloy because bf"bodly1ri-
            require. If an 'Insured" refuses to submit                jpry" suistained byan "iheUrect'.
            to a physical or mental examination, we               .3.:Non43uplication Of Benefits
            may request a court to enter an order re-
            quiring the 'Insurecr'to submft to the ex-
                                                                      No "Insured' shall recover duplicate      . ... Wndft
                                                                                                                         . .... .
                                                                      for the same elements 6f loss und6r.this dir
            aminaton.                                                 any sirrilar . insurance including approved
   2. Legal Action Against Us                                        .Plans of self-4nsurance.
        No action shall lie against us unless as a                4. Priority Of Payments
        pondition precedent thereto, there shall have                                             .
                                                                      this coverage.applies on Ei, primary Wd8 ib
        beenfull coinpllance.wfth all the te(Ma of tNs                "bodily irlj.ury" sustained bY:an'!ihsured`if: the
       coveroge.                                                      "accident" afrises but of thei use or Ioperah'_ . __on
   3. transfer Of PJghts: Of Otecovery Against                        of the:covered "auto" except, ff the:"kcldent"
        bihiers To Us                                                involves1hebiperation ot the ",insured motor
       Subjpgt to any applicable limitation set forth in              vehicle" in..q "ridesharing. arrangement', any
        North.DakotaAuto, Acdlderd: Reparations~Aoti                  personal injury, protection coverage required
                                              I                       by ths:: North.. Dakota Auto Appideni.:cyRepa
       in the:event of any payment und erthiscoverm                                                                    - w
       age, we. are subTogated to the rights oF the                  tioni: Adt, afford6d by anothibt: poli uride'r
        person io whom or for whose benefit the                       which such "Insured" is a "named
                                                                                                    I . .. Irvsured'.':or
                                                                                                            . .. . .......... .-
        payments were made to the:extent:of those                    'family mem. ber"I shall  . be primary .aridlhi.s
        payments.. That person shall. execute and de-                .coverage. shall beexcess.
                                                                                      .
       liver the instroments, and papem wd db                     S. Otherinsurance
       whatever else is necessaryAc, sec.u.re those                   In the event an "iftsured" has;othet similarift-
       righti. That person sha R do: riothing after loss              surance, including approved Oans of:selfw
       to prejudice those rights.                                    :insurance, available dnd:applicable to the. ae-
M. Additional Conditions                                              oldent, the. rnaximum rePovorv.under all.subb
   The following condtions are added for Personal                     ifisurame shall not exceed the, amountwhibl'i
   Injury Protection:                                                 would :have.been payable:under tlha provl-
                                                                      sjons 6f . the insurancO providing the:highest
   1. ConsMuUonality Clause                                           dollar limit and we shall not be liable.W.-A
       The premium for and the coverages of the                       greater proportion oF any: loss tc) w0ich. this
        porioy have been established In reliance upon                 coVerage- applies than the liryiit of Ilability
       the provisions of the:North Dakota: Auto; Accl-                hersunder:bears,to
                                                                               .           I the: sum of the: applicable
                                                                                                                 .
       dentReparations Act. In the everd a, cou rt of                limit of liability.of this coverage and th I 6:other
       competent jurisdicton declares,. or entert a                  :Insurance.
       jWgrnent the effectof which Is to render the               S. Reirribuysernent And Trust AgreeMent'
       prbvitiohs of such statute invalid or unen-                                                                         I
       fdtcdable :in whole & In part, we shall have                  .In the event of the piayrnent to any..per son
       the dght,to:.recompute the premium; payable                    under this coverage:
       forthe policy and the provisions of this en-                   a. We.shall be entitled.to. the..extent of the
                                                                           paytent to the proceeds of apy


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                                                                                            CUM M ERcIAG:  ~4Jf4
                                                                                                      _. . _.........

           ment or judgment that may resuit from the                 she shall have against that other person
           exercise of any rights of :recovery of that               or organization because:of the "bodify. in-
          person against any person or organiza-                          .
                                                                     jury">
          tion legally responsible for the "bodily in-            c. That.peEson shall do whateyer is:propEr
          jury" because of which that ;p.a.yment is                  to secure and shali do nothing aftet loss
          made,.end we shall have a lien to the ex-                  to preludice those rights; and
          #ant of that payment, nottce of which may
          be given to the person or organization                  d. That.personshali execute and deliver ta
           causing the "bodily irtjury" Ns or her                      us instruments ard papers as rnay be:
           agent, his or her insurer or a court having                 appropriate.to secure those rights and ob.;
           jurisdiition in the matter;                                 ligatibi~ of that ,person and; is astab-
                                                                       lished b}y this prouision.
       b. That ;person shal hoitl in trust fdr our
           benefit all rights of recorYery which he or




CA 22.34 03 06                           0(SQ Propetties; Inc., 2005                                   Page ,5 af 5



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                                                                                                           CUM MERCiAL Ai;JTO




                                       : ~, ~    i   -,• ^l:;                         ~           • Le -
                                           `.3




This endorsernent modifles insurance provided under the.fiollowing:
        BUSIIVESS AUTO COVERAGE FORM
        GARAGE C,OVERAGE FORNi
        MOTOR CARRIER COVERAGE FORNI
        TRUCKERS COVERAGE FORM
Wiih respect to coverage provided by this endorse-                         domestic "empfoyees" if not entitled to. work-:
ment, the provisions of the Coverage Form appiy                            ers' compensation benefits: For the purpo.s.es:
uniess modified by the endorsement.                                        of this endorsement, a dornestic "empioyee"
A. Coverage                                                                is a person engaged in household or domes
                                                                           tic work performed principaity in connection
   We' wili pay reasonabie expenses incurred for                           with a res'idenoe premises.
   necessary, medical and funeral services to or for
   an "insured" who sustains "bodi,iy injury'' causeri                S. "Bodly irjury" to an "insured" vtiwhiie wcuicing in`
    by "accident". We will pay ody those expenses                        a business of selling, servicing, repairingi or
    incurred,.far services rendered withln three years                     pariang "autos" unless that business'!s yours.
   fram the date of the "accident".                                  S. "l3odiiy injury" arising directiy
                                                                                                 _        or irndirectiy out
B. :Who as An Inswred                                                      of:
    1. You::whiie "occupying" or, while a pedestrian,                     a. War, Including.undeolared or civil war.
       when struck by:any "auto".                                          b. Wariike action by:a miiifary.force, includ-
   2. if you are an individual~ any "Family member"                           ing; action 1n hindering;, or :deferiding:
       whiie "f/ccupying° or, whFie a pedestrlan,                                agairrst an actual or eicpected attaek; by:
      vvlien struck by any "'auto°                                               any governmer~, , sovereign or other au-
                                                                                 tliority using milittry personnel or other'
   3. Any6ne else "accupyfrig". a"covered "auto" or                              agents; or
      a temporary substftute for a cxivered "auto":
       The covered "auto" must be out of service                          c. Insurrection,  rebelliqn,     rei+oiution,
        because of its breakdown, repair, servicing,                         usurpec3 pawer, or action taken by gov-
        Ioss or destruction.                                                     errimental authority in hindering or de-
                                                                                 fending against any oa• those.
C: Irxclusiazns
                                                                     7. "Bodily injury," t.o anyone using a vehicle with-
   This Insurance does not apply to any of the fol-                       out a reasonabie belief ttiat the person: is enti-
   lowing:                                                                tled to do so.
   1. "Bodily injury' sustained by an "insured" whiie                8. "Bodily Injury" suStained byy an "Insured" while
      "occupying" a vehirde located for use as a                          "bccupying":any covered"auto" whiie: used.:in:
       premises.                                                          any professional racing or demolition .contest
   2. "Bodily injury" sustained by you or any "family                     or stunting activity, or wtiiie practicing . for
      merntier" while "oecupying" or struck by any                        such contest or activity. T'his insurance :aiso
      vehicle (other than a oovered "auto') owned                         does not apply to any"bodily injury" siistained
      by:you:.or furnished or avaitabie for your regu-                    by an "insured" whiie.the _ "auto" is:being:pre-
      lar use.                                                            parecf.foe such a sontest tir activity.
   3"Boddy injury" sustained by any "family mem-                 D. :: L.imit Qf :insarranr.e :
       ber" whiie "occupying" or struck by any vehi-                 Regardiess aF:the number:iif covered "autos", "ICi-
       cie (other than a aovered "auto") owned by or                 sureds", premiums paid, ciaims made or vehicles
       furnished : cr auailabie for the regu(ar use of               irnrolved in the "arxldent", themost we will pay.for
      any:"farnily member"                                           "bodiiy injury" for each "insured' inured In any::
   4. "Bodily,: injury" to your "empioyee" arising out               one "accitient" is the Limit Qf insurance `for Auto .
       of and in tiZe course of empioyment by you.                   Medical Payrner~ts Coverage showrh in tiie Decia-
       However, we will cover "bodily injury" to your                rations.


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CQM MERCIAL AUTO

    No one will be entitled to receive dup3icate pay-                   anoe F'rovisions in the Truckers and Motor
    m.ents for.:the same elements ;of, "foss" under this .              Carrier, Coverage Forms to "other coliectibie
    couerage:and any LiaGiiity Coverage Form, Unin-                     insurance" applies only to other colleotible
    sured::lUiotorists Coverage Endorsenient or Un-                     auto medical payments insurarice.
    derinsure.d Motorists Coverage' Endorsement at-            P~: ~ldditi®nai E?eflnitions
    tachEd to thls'Coverage Part.
                                                                   As used ln ttiis endorsement:
E. changes:an,Cona9itions
                                                                   I. "Farniiy member" means a person rela ted to,
    The .Conditions are changed for Auto Medical.                       you by I Waod, marriage or adoption who :is a
    Payments Coverage as follows:                                       resident ©f your household, Including a iyard
    1. The Transfer Of Rights Of Redovery. Against                      orfoster chiid.
        Others To Us Condition does not apply.                     2. '"Ocoupying" means ir~; upon,, getting {n, on;:,
    2. The reference in C7ther Insurance in the Busi-                   out or off.
        ness Auto and Garage Cov.erage: Forms and
        Other lnsurance — Primary And Excess Insur-




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                                                                                                      COfutMERCIAL AUTO




This endorsement modifies insurance provided under the foEiowing:
        BUSIhiESS AUTO COVERAGE FC7RM
        GARAGE COVERAGE FORM
        MO`t'OR GARRiER COVERAGE FORM
        TRUGKERS COL'ERAGE FC7RM
With respect to coverage provided by this endorsement;: the;provisions of the caverage form appiy:uniess madi-
fied by the endorsement.
A. Coverage                                                          cie (other than a covered "auto") owned by or
   We, wi([ pay. reasonable expenses in.curred: for                  furnisher! or avaiiatrie for the regular use of
   necessary medical, chiropractic and funeral se[-                  ar►y "femiiy member".
   vic.es to oi° for an "insured" who', sustains "bodiiy          4. "Bodiiy injury" to your "erripfoyee" arising out
   injury" caused by "accident". We wilf pay only                    of and in the course_ofi empl,oyrnent try yau.
    those ;eicpenses incurred fnr services rendered                    However, we will cover. "todiiy injury" to your
   within three years from the date of the'°accident"':                domestic "employees" if. Rot entitled to work:
B. Who is An latsured                                                  ers': campensation beneffiks. For the purposes
                                                                       of tfiis endorVement, 'a domestic "employee"
   1. You while "occupying" or, while a pedestrian,                    is a person ertgaged ira household or.:domes-
       when struck by any "auto".                                      tic work 'performed principai!y in connection
   2. If you are an individuai, any "famiiy:mem.bet"                 writh a residence prernises.
       whife "occupying" or, while a pedestrian,                  S. "godily.injury" to an "insured"whiie w.o..rking; i.n..
        when struck ~ an yauto.
                          ""                                           a, business of seiling, serviaing, repairing or
    3. Anyoneielse "occupying" a covered "auto" or                   parkirig "autos" uniess:that business is:yours,
       a temprirary substitute for a covered "auto".              S. "Bodily ;injury" arising directiy or indirectfy: out
        The covered "auto" must be oufi of service                     of.
        because of Its breakdown, .repair, serviding
        loss or destruction,                                           a, War, including undeclared or civil war;
   4. Rnydne else "occupying" an"auto"you.do:not                       b• Wariike actlon by a miiitary force; inctud=
       ourn who is an "Insured" for liablfit+lr under tfie                ing; a+ction in hindering or defendirig
       aoverage forrn, but only at tirnes when that                       against, an actuai or expected attack, t~i
       person is an "insured" for iiability urder the                     any ggvernmen..t, sovereign or other .au-
       coverage form.                                                     thonty tusing miiitary personnef or ottier
                                                                          agents; or
C. Exctusir►trs                                                                                                    .
                                                                       c. Insurreotion,    rebellion;     revalution;
   This insurance does not:appiy to any of:.the fol-                      usurped power :or .action :taken by gov-
   lowing:                                                                   ernmental authority in hindering or de~
   1, "Bodiiy injury" sustained by an "insuted" while                  fe.nding against any of these.
       "occupying" a vehicie located for use as a                 7. Bodily injury'~ to anyone using:a vehicie with-
                                                                     „
       premses.                                                        out, a rea,sianabie: beiief thattiie.person:is enti-,
    2. "Bodiiy injury" sustained.byyou or any"famiiy                   tled:#ii do so.
        member" while "occupying" or struck trj atiy              S. "Bodiiy inju[y'" sustained by;an "insured" while
        vehicle (other thari a covered "auto") owned                 'bcc in " a covered "auto`` whiie: used:in
        by you or furnished oravailabie for your regu-               a.rry~      g ~ racing or demohtion. corttesf
                                                                             professionel
       lar use.                                                      o.r stunting activity or while practicing fflr such
    3. "Bodily injury" sustained by any "family mem-                 c6ritest or aetivity, This insurance also does
       ber" whiie "occupying" or strucic ty any vehl-                 ri4t. appiy to any "bociify injury`' sustai.ried
                                                                                                              . ...........tiy~:
                                                                                                                             ......


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G:C3MMERGIAL AUTO


        an ''ins.ured" whiie the '"auto" is being pre-         E. Ghanges !n Conditions
                                                                                                   ;.         _. ..
         pared for such a contest or activ'tty.                    The refererice in Other insurance in the:Busitiees:
D. Lienif C# Insrneanr.e                                           Aufo and Garage
                                                                                 _.. Goverage Forms and Other In-
   Regardless:of the number of covered "autos",. "in-              surance — Primary And',Excess Insurance'Provi=
                                                                   sions in the Truckers and Motcis: Carrier Coverage
   sureds",.premiums paid, claims made orvehicies
                                                                   Forms to "ather Gallectibie insurance" appiies;oniy
   invoived_:in the "accident", the rro
                                      . st we wili pay for         tb other coliectibie auto rriedicall:payn*nts irisur-
   "bodiiy injury" for each '9nsured' injured' in any              aarice.
   one "accident" is the Limit C3f Insurancs Por Auto:
   Medicai Payments Coverage shown in the Decia-               F.; Additional:befinitions
   ratio ns.                                                       As used in this etidorsement:
    hlo one wiii be entitied to receive dupiicate pay-             1: "Famiiy mernber" means a person related':to
    ments for the same elements of "loss" under this                    you by biood, marriage or adoption wf7o is a
    coverage and any Liability Coverage Fbrm, Unin-                     residerrt of your househoid; inciuding a ward
    sured Motarists Coverage endorsement ar Urider-                     orfidster child.
    insured Motorists , Coverage endorsement at=                   2: "Oceupying" means in; upon, gettin,q in, on,
    tached to this Coverage Part.                                       out or off.




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CONiNlERCIAL AUTO


     2: .The foiiowing replaces Paragraph b. in B.S:,                           within sudi country.or jurisdietion,.for Lrabdity
           Other l!atsrtrance of SECTIf3N 11l —B63SE=                            Coverage for any covered "auto° : tf?at yuiu
           PdES$AtJTra. GON®fiTIOI*9S.                                           lease; hfre, rerit or borrow, without    _ a drlver for
           b. For Hired Auto Physicai Qamage Cover-                             a:perio.d of'30'days or iess anti:that is:not air?
               age, the foilowing are deemed to be cov-                         "auta" yau lease, .hire, rent or borruw fr.om
                ered "autos" ytsu own:                                          any pf your "empioyees", partners;(ifi:you are;
                                                                                a partnership); members (if you are a limited
               (1) Any. crivered "auto" you iease, hire,                         IiaEiiil#y oompany) or members of tlieir house_
                    rent'or bcrrrow; and                                         hoids:
               (2) Any:covered "auto" hired or rented by                        (a) With respeat to any, claim'made or "suit?`
                    your "empioyee" under a contract in                               breiught outside the~ Uriited States of
                    that indiiriduai °erriployee's" name,                            America;:; the.territories.and possessions
                    with your permissian, whiie perforrM                             of the U.n.ited States ,of America; Ruerto:
                    irig duties reiated:to tlie c,crnduct af                         Rico and:Cana<~:
                    your business:
                                                                                              You must arrange to defend: the "in-
                However, any "auto" that is leased, hired,                                    surecY' agaitist;.andiinvestigate.orset-
                rented: or borrowed:with a driver is not a                                    tie any such claim or "suir" arid: keep
               couered "auto".                                                                tts aolvised of all proceedirigs.and ac-
D. EMPl.O`t'EESAS.lfd'S1,3RED .                                                               tions:
     The foliowing is added to'Paragraphr A.9., Wh.o. ts                             (ii).` Nelt.her y,au npr a.ny other. inyo(ved:
     An :insured, o# SEC'11ON it"- LIABiiLITY COV=                                            "insurest" will make any settlement:
      ERAGfE:                                                                                 v~ithout our conserat.
     Any "employee" of yaura is an "insuned" whiie.:us-                              (tio):Vtle may, at our discretion, participate;
     ing a covered "auto you don'town; hire or borri;itii                                     in defiend'ing the "insured" against, or
     in your: business or your personal affairs.                                              in ,ihe settlement: of, any clai[n or
                                                                                              "sulf:'.
E. StIPPLPMEMITARY E'4►YmikNi`g.:-: iNcR1=PisED      _. ...
     ILIM'i'S                                                                         iv    .VVe
                                                                                     {. ...}.       'v+~ifl reimburse the "irisuteci" f4r
     1. The foliowring replaces.; i'aragraph,A.2.a:(2);                                       sums.th.a..t tfie "insurecl' legaliy must
          of sEdT1ON 91— L9A13ILiTY CO'1dERA,ta'E:                                            pay as. cfalriages because af "bodily
                                                                                              injuWl or "propert;r damage" to which:
          (2) Up to $3;000 for cost of :baii bonds (n-                                        this insurance applies, that the "iri-
               ciuding bonds for reiated traffio law viola-                                   sured" pays vrith: our consent; but
               tioris) required tiecause of: an "acciiient"                                   aniy up:to the Iimit.d..escribed in Wara-
               we cover. We do nbt' 'habre ta furnish                                         graph C:, L(mit.Or Insuranr,e; of SEG-
               ttiese kionds.                                                                 TIOf`! 11-. UABILITY C:OtilERi4GE.
     2. The ftiAaubing repiaoes :Paragraph A.2:a.(4),;                               (v) We will: reimburse the "insured" for
          of SEC'C{tah111.— L:IABI.il.l'7'Y CO'R/ERAC,E:                                      the : reasonabie expenses incurred
          (4) Ali reasonable exxpenses. incurred:.by; ;the                                    witfi .our:: consent for yoiar . investiga-
               "insured" at our request, including actual                                     rton df such daims.and your:defense
               ioss of eamings up to '$500 a day. be-                                         of the 'yrisured" against any such
               cause of tirrie off from work.                                                 :'suit", bui only up to.and included
                                                                                              within the (imit describeii in Para-
R. 1'IIRi:C}. itu'TC9 - LlMIITEB7 ltyORL.D41V1DE COV-                                         graph O., Limit Of: Insurance, cafi
     Ei3AtaE — (NDEMNITY eAsiIS                                                               SEGTIC)fV 11 — . LIABILITY COVEI~-
     The:folicwing repiaces Subparagrapn            in Para-                                  AGE, and nrit tn addfion to such limit.
     graph B 7,..Pvllcy.: ftrimd, Goverage ~°errFtury;:                                       fJur duty+: to rrtake such ;payments
     of SEC1'6fJiY I~l — BlOS6~_ ~ AIJT+~ CONt9P-                                             ends. when we.have used up.tile ap-
     TtOli7>:                                                                                 pli>rable limit of insurarice .in:. i~y-
     (6): Aiiywhere in the world;: except any;:country::or:                                   ments for damages, settlem:e..nts; or
          jurisdiction while any trade sar3ction.;: ern-                                      daferise eiepenses::
          bargo, or sirrmlar regula.tion imposed by: tae                        (b) Ttiis insur•ance::is excess aver any valid
          i.Jnited: States of Anierica ,appiies ta and :pro-                         and coiiectibie citlier iitsurance available
                                                                                                                                _
          hi6its :the transaction.:of business with or


Page 2 of 4                                  ®20:10:TheTraveters:Indemnity Gotnpany. ...                            CA TS 53:03 9+0
                          Indudescopyrighted.mabsri,al;oflnsurance:5enfie@sf3ifice, Inc. WJth its pennission.



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                                                                                                               CUM NIERCIAL AUTo

             to the "insured" whether primaty, excess                 J. PERSONAL EFaFECTS
             contingent or on any other basis:                            The following is added to Paragraph ..A.4., Cover-
        (c) This Insurance is not a substitute for re-                    age E~ctettsicns, of SECTION ill — PHYSIC/tL
             quired. or compuisory insurance in any                       DAMAGE GSa4fENAGE:
             country outside the United States, its ter-
                                                                           Personal Efifects
             ritories and possessions, Puerto Rico and
             Ca nada.                                                      We will pay up to $400 fbr "ioss" to weaiing ap-
                                                                           parel and other personal effects which are:
             You agree to maintain ali required or
             oompulsory insurance in any such coun-                        (i) t?wned by an "insured"; and
             try up to the minimum limits required by                      (2) In oron your covered "auto".
             local law. Your failure to comply with
             compulsory insurance rec{uirements wiil                       This coveragt appl'ies ohly in the eVer3t o€ a total
                                                                           theft of your:cove►t:d "auto".
            not invafiriata the coverage atfiorded by
            this policy, but we will only be liable to the                 No deductibies apply to this Persanai Effedts
            same extent we would have been liable                          coverage.
            had you complied with ths compulsory in-                  K. AII'tRAGS
            surrance requiremertts,
                                                                         The following is added to Paragraph Be3., Dcdu-
        (d) It is understood that we are not an admit-                     sions, of SECTiON ill — PHYSICAL 1D,4A1AGE
            ted or authorized insurer outside the                          CC!!lERAat:
            United States of America, its territQries
            and posaessions, Puerto Rieo and Can-                          Exclusion 3.a. does not apply to. "loss" to one or
            ada: We assume no responsibiiity for the                       more airbags in a covered "auta"..you:own that in-
            fumisiiing of certificates af insurance, or                   fiate:,due. to.a cause other than a cause::of '9oss"
            for compifance iti any way wifh the iaws                      set forth in Par.agraphs A.9.b. and A.'9.c., but
            of other countries relating to insurant;e;                    only:
C.~ WAIl71ER C1F DEDIJCTtBLE — GLASS
                                                                          a. if that "auto" is a covered "auto" for Compre-
                                                                             hensive CEiverage under this policy;
    The following is added to Paragraph D., Deducti-
    ble; of 8ECT10N 111 — PHYSICAL 13AtUtA13E                             b. The airbags are not covered .under_ any:war=
    GOVERAGE:                                                                ranty; anct
    No deductible for a covered "auto" wiU app.ly to                      c. The airbags were not intentionaliy infiatw.
    glass damage if the glass is repaired r-ather than                    V1fe vuill pay up to a maximum of $1;000 fo..r any
    repaced.                                                              orle Woss":
EU tNRirt3 /it.1Td PHYS1CAL DAIUTAGE — LOu r OF                      L. NOT10E ANi3:JpCN0WLEDGE OF AGCIDENT OR
   li!SE - IHtRiEA: ED LIMIT                                              LOss
   The following replaces the last sentence of Para-                      The following is adcied to Paragraph A:2.a., of
    graph A:4.b., Loss Of 6Jse Expenses, of ;aEC=                         SECTION: 11!— BIISINESS AUTO .CONDITiClNS;
    T'ION 111— PHYSICAL DAMAGE.G4)VERAGE:                                 Your duty to giti!e us or our authorized representa..-
    However, the most we will pay for any expenses                        tive prompt noti,oe of the "acoident" or "loss" ap-
    for loss of use is $65 per day, to a maximum of                       piies only when the "accident" or '7oss" is imown
    $750 forany one "accident".                                           to:
1. PHYSICAL DAIiAGE — TRANSPORTATION                                      (a) You (if you are an individual);
    EXPENSES — INCREASED LIPVIT                                           (b): A partner (if you are a partnership);
    The following replaces the fiirst.sentence:in Para-                   (c) A rnember (if you are a limited liability com-
    graph &.d.a., Transportation Expenses., of                                 pany);
    SEOTIt3PI 111 — PHYSICAL L1AiUiAGE COVER-
    AGE;                                                                  (d) An executive officer, director or insurance
                                                                               manager (if you are acorporation
                                                                                                              ottieror-
                                                                                                                 or.
    Vl/e will pay up to $50 per day to a maximum of                           ganizatiori); or
    $1,500 for temporary transportation expense in-
    curred :by you because of the total t.heft of a cov-                  (e) Any "employee" authorized by you to give ncr-
    ered "auto" of the private passenger type:                                 tice of the "accident"' or "ioss".



CA T$ 53 03 °I0                             6 201p The Travelers Iridemofty Campeny.                                  i'age 3 of 4
                        Includes copyrighted msterial of insurance 5en)ices olGce, lnc. with its p®rmission.


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 COMMERCIAL AUT0


 M. SI.ANI{i;T VII'AI6fER OF SUI$FtO0ATI0Al                                     such con#r®ct 7he waivecappiies oniy to the
    The foiiovring repiaces Paragraph 15.S., Transfer                          person or organization designated in :such
    Of.RigEhts: Of Recevery Against ®tlters To. Us,                            contract.
    of 5Eidt10N IV — i3USINESS AU'TO CAPlDi-                           N. UNINTSNTIONAL ERROFtS OR OMISSlONS
    TiOPiS:
                                                                           The foiiowing.is added to Paragraph 13.7.,;::Con-
    5, Transfer Of Rights Of Recovery Against                              .cealrttent, . fUiiscepre5entation, Or i'r;rtud; ::of
         4)thers:T,o Us                                                     SECTION i1l:- SUSIRIESS AUTO CONt3IT(ANS:
        'We waive any right of recovery we may have                         The uninterrticrnaf omission. of, or unintentiona!
         against:any.;person or.organization to the ex-                     errpr in; .any information given isy you shali riot
         terrk :required of you by .6. writteh cantract                     prejudlce :your rights. uiider'this insurance. How-
         signed and:executed prior to.any'`accident"                        ever this provision dues rtot afieet ourriglitto col-
         or "ioss", prcivided. that the "accidettt" or "loss"               lect additional preinium or exarcise our right::of
         arises but of operations corrternpiated. by                        oancellation or non-renewal.




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                         Indudes copyrighted materiai of insurancg Se!uices Otfice, inc. wjlh its permission.



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                                                                                        CCIMMERCIAL AUTO

                                                                                                     ; .,..
                                                                                       T 9 7 1 33      .         :


                                         ~     if     A0; Z44 ki I~


This endorsement mocfies insurance provided underthe.following:
        BUSINESS AUTO COVERAGE FORM
        $t.JSINESS AUTO PNYSICAL DAMAGE CCiVERAGE FORM
        GARAGE COUERAGE FC3RM
        MOTOR CARRIER CCIVERAGE FC7ftM
        TRUCKERS: COVERAGE FORM
With respect to coverage'provided by this endorsement; the provisions of the Coverage Form apply unless rnodl-
fied bythe:endorsement.

A. If yciu are an individual and thls policy covers                           icy; . we:: rnay cancel only for one or::more:
    fewer than fn+e "autos" of the private passenger                         of the following reasons:
    type not rated:on a fleEt basis;;or this policy is a                     (R) No.npayment of premium;
     pian of:reparation security insuring fewer than fiye                    (2) This policy was obtained through a
    "autos" rated on a commercial:or: fleet'basis, the                              rrutiterial misrspresentatfori;
    Cancetilation Common Poiicy Condition does not                                     y:"insurecf  . .. ... . .
    apply. The following Conditions apply insteaet:                          (3)_;An               ' made a ialse:or fraudu-
                                                                                    lent:ciaim or knowingly,aided:or abet-
    1. Gancetlation                                                                 ted anottier in the presentation        of
                                                                                                                      _
         a. The first Named Insured may cancel the                                 such a clalm;
              policy by mailirg or delivering.to us :ad-                     {+t} You faiied,to disclose fully;your"tiuto"
             vance written notice of cancellation.                                  accldents a.nd' niovirig traffie v~ola-:
         b. Po9icies in Effect Less'Fhan 90 Days                                   tions for the. precedirig 36 rrioiAhs:;if
             When this pr   olicy is in efFeet (ess than 60                         called for in the written applicatlonfor
             days and is not a renewai or continuation                              this poiicy;
              policy, we may cancel for any reason by                        (5) You failed to disclose in the written
             mailing or delivering written notice'of can=                          appfication any requested information
             cellation to'the first Narimed.li3sured: .                             necessary for „ the aceeptance or
             (1) So as to be received at'least 10 days                              proper rating of the risk;
                  before the effecHve date: of cancelia-                     (6) You knowingly faiied to give :arry+::re-
                  tion iF we cancel forr nonpayrnent of                            quired notioe of loss or: notice of law-
                  premium; or                                                      suit commericed'against you; .or:when:
             (2) At least 30 days before the effective                              requested, refused ta coopeiate :in
                  date of cancel)ation if we cancel: for                           the investigation of a ciaim or defense
                  any other reason.                                                of a lawsuit;
             The notice 'of cancellation will s#ate tlie                     (7) You or any driver wfio :eikher lities
             reasons for cancellatiorn: Information re-                            with ysiu or customarily      _ uses a cov-
             ga:rding„moving traffic viai.ations or mot.or                         ered "auto":
             vehic.le:iaccidents must be specifically fe-                          (6) Hes had his or her driweYs 'li-
             q~aested on the appliogtlon iri_order for ias                            cense suspended or reyoked
             to cancel within the first 59 days of cover                              witfiirt the 36 rronths pnof'to tfie:
             age.:for those.incidents.                                                notice of:cancellatfon::kiecause::ef
                                                                                                        , ..... .... .
         c. Poticies In Eff'ect 60 Qays ©r Mare                                       a moving; traffc violation.:or a, re-
                                                                                      fusal ta tie fested for bei:rig untler
             When this policy is in efifect 60 days or                                the influertce of alcohol;
             rnore or is a renewal or:66ntinuation pol-



CA t►218 0~ ~                                 ~ ISa Properties, Inc., 1999                                     Page~l:~Qf 4



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GomMERCiAL_ AUTc,~

                  (b) Is or becomes subject to epilepsy                           :(e) Subject to an inspection law and
                       or heart attacks and does rtot                                  has :not:been inspected or if in=:
                       protluce:a physician's oertificete                              spected has. fafled tio. qualrfy
                       stating that he .or she oan operate                             within the period speciti:ed under
                      an "auto" safely;                                                such inspection law; or
                  (c): Has an "accitlent" or conviction                           (f} Substaritially changed in iiype or
                       record, 'physical or rnentai condi=                             tondition duririg.the policy period,;
                       tion, any one or ali of whieh are                               increasing the risk substantlally,
                                                                                                                    _
                       sueh thaY;his or her operation ;of                              or so as to give: c.lear evidence: af
                       an "auto" might endanger the                                    a use ©ther'than:the original use:
                       public safety;                                          ~ 1Ne re;place' this p.'cl!
                                                                                                        ol~ vi+ith`: ai7other
                                                                              4.}
                  {~!} Has been cc~nvicted; or forfeited                          one:.prirviding similar coveragss and
                       bail, during the 24 rnonths imine-                         the.same rates ancl:limits:for:the:cov-
                       diately preceding . the . notice of                         ered :"auto": The, repSaoernent: policy;
                       cancellation for crirninal neglh                           will take effect :when this : policy is
                       gence in the use or aperatior~ ofi                         caricplied, and will er~i a year :after:
                      an "auto", or assault arising out'af                        this policy begins, or on this ipolic9j's
                      the use of an "auto" or, operating                           expiration date, whichever is::eallier.
                      an "auto" whiie in an mtoxiceted::                      If ive cancel for any reasorn described in
                      ci3ndition or whii.e under the ihfiu-                   Paragraphs c:(1) throuSh (9) above, we
                      ence of drugs; or; ieaving the                          will give wr►tten.: notice : of cancellation fo:
                      scene of an "accident" withouY<                         tFie first Named lnsured at ieaet:
                      stcipping to report; or rnaking::
                     false statettienta in: an application                    (9) 10 days before .the effective date of
                     for a driver's Iicense, or theft or                           cancetlation.if we cancel for nonpay-
                     unlatii+ful
                         _       takihg:of'arr "auto";                             mer►t of prernlurri; oc
                 {e} Has: teen conviete.d of, or for-                         (2) '30 days before.:the.efPective da#e:€sf:
                     felted bail.for, one or more viola=                           cancellation if ve—;cancel forany:iither;
                     tions v~+~ithiri the 18 mQnths before                         reasorr described::in Para     ra . s c 2}
                                                                                                               g~~f
                      the notice. of canoirllation, of :any                       throu,qti c;(S):
                      law, ordinance, or regulation                           The:effective::date of:cancella#ion:stated:
                      whlch justiiy a revocation of :a                        in.. the notice..shall. ¢ecome the effective_
                      drlvei"s licerise;                                      date:of cancellation.
                  Hawever, Subparagraphs :(a),through '                d: If.this. policy is cancelled, we.:will: send the
                  (e) above do notapply vrith respQct to                  first riiamed ; lnsured; any: premium refunct
                  any driver wlio eitherlives.with you:or                 due. Cancelfation will be .on a pro rata
                  customarily uses a covered "auto'" if                   basis if the unearned preiiiiu►i'i le for a pe-
                  that driver is identified as a rarned irF               riod of more thari an2: miinth. If you re-
                  sured in another coverage form or                       quest canceliation and.. the. unearned
                  poiicy as an:insured.                                   premium :is:for a period of one month :or
              (a) A covered "auto" is:                                    less,, the refund may tae less than pro
                                                                              rata,
                  (a) So rriechanically defiactive that iEs
                       operation might erdanger public                        If we cancei, canCeliation will not beconie:
                       safety; or                                             e.ffedtive uriless the premium refund due
                                                                              is returned to you with the not~:e of can-
                  (b) Used in carrying ~ssengers for                          cellat3on::or is delivered or mailed..to yrau:
                       hire csr cont~. nsatian. This does                     so as to .be received by :you not later khan;
                      not irzclude.carlpools; or:                             the:effective date of cancelletion,
                  (c), Used in the bi:tsiness oP transport-                   if you cancel;: arry Ptemium cefund due
                       ing tlammables or explcssives; os                      will be:refunded::within 30,days foliowing:
                  (d) Pin authorized emergency uetii-                         our; receipt:of the requestfor cancelEation.
                      cl.e;, ctr                                       e. Proof ofi mailing af an",r notice shall te suf-
                                                                          ficient proof of'riotice.



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                                                                                              COMMERCIALAUTO


    2. Nonrenevol                                                         d. Policies. in Efilect:00'Daysorhfte
       a. If we decide not to renew or continue this                          If this polfey har, been : in, effect. for 9.0
             pdlicy we will give the first Named Insured:                     days or:more, orif it isafenewal-of apoI4
             Written riotice of our irtorft riot to renew. Ot:                iw: We issued, we may 6arrel :only fot
             least.60 days before the end of the policyi                      one or more of the1oll6wirg  .              reasoh.i.:
             period. Such notice will be mailed or de-                       (1), Nonpayment:of prerr~iurn;
             livered to the first Named Insured at.. the.
            Jast mailing address known to us. If we of-                      (2): MisrepTesentation cir freiud made by
             fer to::renew orr conti nUe. and you do not                            you or wdh: your. knowlecige.in. obtairin
             accept, this policy will terMinate at1he.                              Ing,thq policy or in,pursUirtgA:oIalm
             end of the current policy period. Failure to::                         unda the policy;
             pay the. required renewal or cortinuaUon                        (3).An. act or omission by youthat.sL6,
            ~premiurn whdn due shalf mean ftt you                                   stantially increases orr changew1hel
             have not accepted our offer.                                           risk insureci;
       ki If we fail tomaiVor
                        -         ddliver propei notice- 6t.                 (4): Refusal by. you: tci eliminate . known
             nonrenew al and YOU obtain other. lnsur~                               conditions: that increase.the.Pot on
             anceAhis.pblloy will end on the. effectiw                             for loss ifter hbrificatioh
                                                                                                             .              .bv::W theit.
             date 6fthat insurance.                                                 the condition must be remo ved,
                                                                                  .
       c. Proof bf mailing df any riofiGe sball be: suf-                     (SY Substantial chan ge.in the ftk :as!.
            ficierd proof of notice.                                                surned,exceptJo1he extent.thatw.e.:
B. Pbr. oil 6ther policies not described in Patagiiaph                              shoLild eeasoneibly have foreseon.ths.    . ... ...
   A-above, the Cancellation Common           Policy Conm                           cha.nge:or contemplated the riisk ih"
                                        I .
   dition ddes', not ipply. The fol lowing Conditions                               writi rig the contradti:
   apply4nstead:                                                             (6) Loss of reinturphoe by us Which ptd-
                                                                                    vided coverage to, u.s.4br asiglnificant.
                                                                                   arnount; 6f th.e underlylng: risk insured.
        a. The first Named Insured shown in the                                     Any notice of cancellation ipursuant to:
            Decliarations rhey cancel th.is pollc.y b.y                            this item shall . advise
            ippilirig ot delivehng to us advance.. ft!.                                                  ... .. the polipyhblder
                                                                                    that he or she ha. tten            days. from    . ..the.
           tiah noficebf cancellation.                                             date:6f receipt of the. notice toa ppeal.
        b. We, may cahbel thit pplicy, subject to the                               the. cancellaitan to1he commissJoh er.
            provisions of c. below, by first: class mail-                           of commerce and ftt the commis-
           ing, pr by delivery, of a wrifton notice of                             sibner will render a decision          .           as to:
           cancellation to.the fi rst Named.Insured                                 whetheir the cancellation is Justifi0d*
           atid any agent,, to: the[r last mailino                                  because of thelos's Of: tihsurande.
           dresses known to us.. Notice of canodlia-                                within thiity it3usiness. days after::re-
           tion Will state the effective date : of                                  pelpt of the a0pe6l;
           cahcollation. The policy periiod will end, on                     M A. determination by the. pomrrfissioner
           thdt date.                                                              that t]he oontinuah        .on 6f the poWy
        66 Policies: In EffectLess Than 90 Days                                                        .. .... ..... . . of the. M in-
                                                                                    dould place us.. inyiolation
           If this policyJs a new.pollc :and.has been                               nesote Insuranoe laws; or
           in effect: for fewOr than -90 days, we, niay                      (a) Nonpayment of dues to an associa-
           canoel1or any reason by gi A.ng noboe, at                               tion or.organization, other ftn a n:In-
           least:                                                                  suranpe associatipri d.r-org4ftza6on,
           (1) 10 diys before t6e,effebtive date 6f                                 where: payrnent of dues Is.a          . prerequi-
                                                                                                                                ...........
                cancellatbri,
                          I    :1 we canQ*eI for non-                              site to obtall,ning:or continuing  .                 such
                paynien t of prtmiurn or                                           ihsurahoe. This provislon: for caricellaa-
                                                                                   tion for f6l&6 to,p        ',ay.due.s shal.l not
           (2 30 d*s before the effective dateof                                             icable  to      persons
                                                                                    be appl
                                                                                         r     .     .                  . who..ate
                                                                                                                               .            r&-
                cancellation, if we camel ibr any
                                                                                       I at 62. yeiirt bf agei: dr:older or
                                                                                   tired
                other reason.                                                       wh b are disabled acc6rding1c.social
                                                                                    wunty standards.




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CSJMMERGlAt. AUTO


             If we cancel for :any reason desoribed in                    cancetlation will tye. effective .even if we
             Paragraphs d.(1): through (8) above; we                       have not tttade orrofiered a refund::
            will gPve notice at least:                                f. Proof of maNing'of any notice shall be suf=
            (9) 10 days before the effective date of.                     ficientproof:of notice:
                  cancellabon, Ef we cancel for non-              Z t>:onrenevMl
                  payment of premium. The cancelia-
                  tion notice shall contain the                       lf we decide: notto renew.or continue:this:pol-
                  irfiormation regarding the amount of                icy, rve will give the:first Nained lnsuted arid
                  premium riue and the due date, and                  any agent notice:of our intent not to renev,r, at
                  shaN state the effect of nonpayment                 least 60 days before the expiratlon ctate: Such
                  by the due date. Canceilation shaii                 notice will.be mailed or delivered to;#he first
                  not be effective if payment of the                  PJamed ':Insured. and any; agent at :their last
                  amount due is made prior to the ef-                 mailing addresses icnown'to us.
                  fective date of cancellation; or                    We need not mail or deliver this notice if you
            (2) 60 days before the effective date, if                 have:
                  we :cencel for any other reason de-                 a. lnsured elsewhere;
                  scribed in Paragraphs d.(2) thro.ugh .              b. Accepted replaceme.nt coyerage;.or
                  (8) above. The notice of aancellation,
                  will. state the reason for cancellation.            c. Agreed.notto renewthis policy,
       e. :If ttils policy is cancelled, we wilf send the             Prooi of :mailing of any notice shall be stAfi=
            first Narned Insured any premium:refund::                 cient proof of riotiae.
            due. If we cancel, the rerund wiil be pro
             rata. If the first Na~med Insured cancels,
            the refund may be less i thari pro rata. The




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                                                                                                COMMERCIALAUrO


       THM ENDORSEMENTCHANGES.THE: POLM..
                                        ..'PLEASE- READ MCAREFULLY-v,


              VIONTANA CE4ANGES. - CkkN;ELLA110N AND
                                            NONRENEWAL
This endorsenient mocrifies insurance provided under the following:
        BUSINESS AUTO COVERAGE FORM
        BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
        GARAGE COVERAGE FORM
        MOTOR CARRIER ibOVERAGE FORM
        TRUCKERS COVERAGE FORM
                                                                                         I           II
.With re -pect to coverage provided by this endorsement, theprovisions of the Coverage Fo rm apply ur I es . 8 (no. d-
 fic-d by the eridorsemeht
The Cancellation Common Policy Condition does not                       tice, stating the reatdn fdr cancellation,. to
apply. The following Condition applies instead:                         theTirst Named Insured.. If we cancel for
E NOING THIS POLICY                                                     any other reason, we will mail atleast 45
                                                                        days written notice:to:,the first Named In-
FQ_
11~_=_1                                                                 sured.
    1.The first Named Insured shown in the Deola-                       In ths case, our notice will state thatupon
       rations may cancel the poqcy by mailing or                       writtOn request of the first Named ln-
      delivering to us adv anoe wdtten notice of                        sur6d,: mailed br deliv4dd to us hbt less
      caridellation.                                                    thah 15 days Odor io the effective date of
    2. Midterm CancelWon                                                cancellation, we will specify the mosw
                                                                        fortancellation.
       a. When this policy is in effect less than: 60
          clays arid is not a ronoWtil: Or continuation              3. Annlvemary Cancellation
           policy, we may cancel for any reason. If                     If this poligy has, been wrftten for a pedod
           we Gancel for nonpavment of premium,                         of more then a y6r or withotA a fixed ex-
           we will mall at least 10 days written notioe                  pirabon date_we maV candel st1heArink
          to the first Nanie. d Insured. ff we canciel                  versary d iit, 6riginial effective d.ate. for
          for: any.other reason, we will mail: at least                 any reason. If we caricel, we will thail you
          45 days. wdtten notice: to: the first Named                   at. .astA5
                                                                            le        days wrMen noUce.
          Insured,                                                   4. Nofice of cancel lation:YMII:state the effec-
       b. When this policy Is in effect 60 days or                      tive date of cancelisUon. The pdicy.. pe-
           more: or is a renewal or oonfinuation polr                   riod will. end.on that date:
          icy, we may cancel only for one or rriore                 :6. If thisi:polioy ig cancelled, we will.seind.the.
          of the following reasons:                                     first Nan-ed :Insured. any premium:refund:
          (1) Nonpayment of premium.                                    due. It we: cancel, the refund will be::Pro
                                                                        raita. If you cancel, the refund may be less
               If you are ein ihdividual and, your
                                                                        than pro rata. The cancellation Will bd bf-
               drivees license or motorvdhicle:re I
                                                                        fective even K we have not made or of-
               tration or that of a driver who lives                    fered a refund.
               with you and oustamadly uses the
               covered "auto" has been suspended                        However, when a finanloed insurance pol-
               or revoked during the policy pedod,                      icy is cancelleA wewill send any refund.
               or if the policV is a renewali dudng its                 due to the premium finance company on
               policy pedod or the 180 days irnme-                      a prp rada, basis.
               diately preceding fit effective date.          B. Nonrenewal
          if we canGel for. nonpayment of premium,                1. If we dedde not to renew or coritinue this pal-
          we wilf mail at least 10 days written no-                   icy, wewill niail to ft first Named InsUted


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Gt)M MERCIAL: AIJT4


        and agent, ifi any, notice at teast 45 days be-                premlum when due shall mean that;you have
        fore the end of the policy period. C)ur notice;                not accepted our offer.
        wilf state that upon written request of the flrst         2. If we fail to mail or deiver proper no>yce of
        Named Insured, mailed or delivered to us not                   nonrenewal and you obtain other irisurance
        later than 1 month foliowing the terrnination                  this policy will end on the effective date
        date of the policy, we will noGfy the first                                                           . . . of ........
                                                                                                                        ttiat
                                                                       insurance:
        rUamed Insured !n writing, within 15 days of
        tfie: request off the reason or reasons for non-      C. Nlail9ng of Notices
        rene+,ual.                                               We will mail or deliver our notice of canceltation
        If we offer to renew or continue and you do               or nonrenewal to the tirst Named Insured'so.tast
        not: accept, this policy wAl tenninate at thd             mailing address known to us: If notice is rnailed;
        end of the current policy period. Failure to              proof of malling will be suffieient proof of notice:
        apply fhe required renewal or continuation




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                                                                                   COMMERCIAL AUTO
      THIS ENDORSEMENTCHANGE&THE                  ... .. .. ... pLEASE
                     .. . ... . ..... .. ..,. POLICY...~          ... ....... READ ITICAREFULL...
                                                                                              Y.'




This ehdorsement modifies all endorsernents In thispolicy.

VVnenever the term "COMNIERCIAL AUTO COVERAGE PART' is used to indicate a typq of insuranoe, an
endorsement modWiet, it is chahgod to:
   COMMERCIAL AUTO—ALL COVERAGE PARTS




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                                                      COtIM&RCIAL AIITO POLICY
                                               MTDORSEa1ENT - CA T8 Ol 10 13
                                     POLICY Iv`ME?2   Y-810-3D984292.-TIL-13

   ** T919 M]'DORgEKMNT CkIAN6E9 THE POLICY. PLEASB READ IT CAREFtJLL,Y. #*

                 MOBILE HOB4ES
                             LIABILITY PR&MIDFf:          199
      IT IS AORBED TW.T:
      MOBILE fiOMBS CONTE%'PS NOT COVERBD
      3EE CA 20 17 12 93,
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      DESC OF °ADTO°                                  FIRB
      1984 I'ORD CQTAT®AY VIDi: lYDKE30LXEHA51581     $1, 000, 000
      1999 TIOGA 233VIN: TBD                          $1,000,000




     EFFBCTIVB DATB 10-01-13 EliPIRATIOP] DATB 10-01-14
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                                                            COPdhISRCIAL At7T0 POLICY

                                                     EM0PSEEIMT - CA T8 02 10 13

                                         POLICY NTABIK2 Y-810-3D984291-TIL-13


  ** THIS MTD4RSEMM CELMGgB T$E POLICY. nLEASR REiAD IT CARLdEtT,LY. **


                 AUTO IAAN/LgASE GAP (COI2PRSHF#NBIVE)

                            PEYSICAL DAFIAGI°s PEt"~*.,~'ilIIM: INCL
     IT rS AGREiED T'HAT:


     AUR'0 LOdaN f LLfl SE GAP COVERAGE
     SEE E't'SDORSffi~MT CA 20 71 10 01.




     EF&fiCPIVE DATE 10-01-13  EXPIRATI0P8 DAI'E 10-01-14
     PAQE 0001   D€TE OF ISSQ£ 10-25-13




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                      fiT-TO-OT SLVQ HOIS'd8IdX3 ET-TO-OT BlYQ BAIMS9d3
                                             'TO OT TL 0E K'J JFIMS?I0aM $HS
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                              r'%d •AOI`IOd ?H6L sT0ffgn, Sl"mtPis2i0CtD1.€t SIYii
     EV'IA-~'CM86tIE-OTB-A a3Sm xOI'IOd
    fit Q'•L EO 8at eD - zmmstioam
     ,Wmod: Otav zvio-dmqxa:)
    9Zl Io £06 a6ed        OZOZ-SV60 p91iJ         t, juawnaoa     £bt,0001100Z0Z aseo
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                                                                                            COMMERCIAL AUTO


       tH'18:: M00ASEME
                      INTCHANOES: .THE: POLIIGY.~ PLEASE:.READ ITZAREFULL-X.
                                                                  ...  . .... .......
                                            "I   El
                                                   W12111
                                                   ,j ! ~ ~ mpi ;




This endorsement modifies Insurance prDvided under.the following::
        BUSINESS:AUTO COVERAGE FORM
        QARAGE COVERAGE IFORM
        MOTOR CARRIBR COVERAGE FORM
        TRUCKERS. COVERAGE FORM
        BUSINESS AUTO PHYSICAL DAMAGE.COVERAGEFORM
Wdh respect t.o. coverag.e. provided.- bv thi.s. endorsement, the:provisions:01' the: Coverage.:176r.m apply.:unlm
rnodified:by the.endorsement.
PHYSICAL:DAMAGE COVERAGE for a covered "auto" that:ls:a mobile home Is changed by iidding the following
                                                                                                           .
exclusions:
This insurance does not apply to:
1."Loss°: to the. covered Oauto's!' contents, except equipment: usuallo trucks or:private passenger `autos.'
2."Loss"tdWibntennas, awnings or cabanas,
3i. "Loss" to,equipment designed to create added living facilkles.




CA,2.0 1.71.219.3               Copyright, Insuranoo SaMce%.Offide, Inc., 1.99.3                      Page:l: of 1:


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                                                        1NTERLINE
                                                    ENDORSEMENTS




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INTERLINE




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                                         plilligiliql I! MOVIE IMI Jill                I




                                                                          IIIIIIII   III lill !I Jill




                                          ENDORSEMENT
                                                  (Broad: Fdrm)

This:endorsernent modifies insurance: provided under the following:
        COMMERCIAL ALJTOMOBILE COVFRAGE PART
        COMMERCIAL GENERAL LIABILITY CbVPRAdE PART
        FARM COVERAGE PART
        LIQUOR LIABIUTY COYERAGE PART
         MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
        POLLUTION LIABIUTY COVERAGE PART
        PRODUCTSICOMPLETED OPERATIONS LIABILITY COVERAGE: PART
        RAILROAD PROTECTIVE LIABILITY COVERAGE PART
         UNDERGROUND STORAGE TANK POLICY

1. The Insurance does not apply:                                       "hazardous:pru'verties!" of "huclibar material",
   A. Under any Uiabilfty Coverage, to "bodty in-                       If
       jury" or "property damage":                                     (1) The "nuclear matPi (a) is at any "i
      (1)   With respect to which an "insured' under                        clearfacility" "    ned by, orope rated by or
                                                                            on behalf of, an 1nsured`or:(b):,hai:been.
           the po(icy is also an insured under. a hu;.
            clear energy liability policy issued: by Nu-                    dischar9ed dt dl"rsed therefrom ;
            clear Energy Liabilky Insurance Associa-                 .(2) The "hill material" is contained  . ............:in
            tion, Mutual Atomic Energy Liablitty Vn-                          ,pent:f6el" or "wastil at, ahy time, po
            derwriters, Nuclear Insurance Association                       sessed, handed, used, processed,
            of Canada or any of their successor*, or                        -storecL transported or disposed Of, by_:or
            would be an insured under any such:pol-                         on behaff of an "Insured"; or
            i ey but for its tenninafion uport exhautbon                43) The .:"bodlIV.Injury" or "property damagd'.
            of its limit of liability: or                                   ariies- oui of the furnishing by:.an::1n-
      (2)   Resulbng from the "hazardous proWiee'                           sured' of services, materials, Partsor
                                                                            equipmot in conhectioh wfth the
            of "nuclear material" and with respect to                                                               . 0lan-
            which
               .    (a) any person or orqanizaffon Is                        ning, construction.    .1     . . ; opera-
                                                                                            . , " rhaintenance
            Tequired: to maintbin financbl protection                       ti.on or use 6f anV "nUGloar.::fa
                                                                                                       .      cil ity',..but::if:
            pursuant to the, Atomio Energy Act of                           such,facilfty is, located within..the I United.
            1954;:or any law amendatory thered, or                          States of Amedca, fts torrtories: or, pog-
           (b). the 'rinsured' is, or had ths policy not                    sessions or. Canada.. this exclusich::P)
            been issued woLdd bo, entdled to:indenl                         Eiopl[6tdrily'to- ~'propei.tydariiia
                                                                                                              gp "t0 sucFi
            nity from the United Stat.es of Amefloa, or                     "nuclear facility" and any property.thereat.
            any agency thereof, undk any agree'meht          2. As used inthis endorsement:
            ehtered Into by. the , United , States I of
            Amerioa, or any agency thereof.: With alfiv         "Haz.ardous properfies!" iritfudes radioactive, toxic:
             person or organization.                             or explosive prbperties.
   B.Under:any Medical Nymeints coveragei to                    "NOolear rnateti6r' .     means, ~?iaobrce mateday', "spe-
       expe -mes incurred wlh respect to 'bodily in-             cia. I nuclear material". Or 'by7,pr6&*t:: material".
       Jury"I eesulting from thiD "hazarddus properties!         "Source.material",%pepial nuclear matertaC.", and:
       of "nuclear material" and. arising out of the            "by-product material" have I the meanings given
       operation of a "nuclear facil Ky" -by arry person         them in the Atbthic EneMV. A ct..of 1.954or in any
       or organization.                                          law:arriendatorythereof.
   C. Under arry Uability Coverage, to !bodily, in-             "Spent fuell'i means anv:fuel element or fuel com-
       jury" or "property damage" resulting frqrn                pahent, solid or liquid, whJoh::I)aa been used:or;
                                                                 exposed to: radiation in a "n: ucIeJar reactoe'.

IL 00 21 VS 08.                            0 ISO Prope0Je§,,!99,, 2007                                               Page T of 2



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   "Waste" means any waste materia( (a) containing                       the total amount of such rnateriai in the
   "by-product; material" .other than the tailings or                    custody o.f„the "insurad" :at the;;premises:.
   wastes:produced-by the: eetractton or concentra-                      vyhere sucti equiprnerifi or device. is lo-
   tion. of uranium or thorium . from. any:: ore proc-                   cated consists of or. . contains::more:
                                                                                                    ........ .... . ........... than
   essetl:primariiy for its "sdurce material" content,                   25 grams:of plutoriium oruraniuin 233.or
   and: (ib) resultirg frorn the operation by any psr-                   any combination tfiereof;::or ii'iore than:
   son or organization of any "nuciear facility" in-                     250 grams ot uranium 235;
   ciuded under the first two paragraphs of the defi-               (r!) Any struoture; basin, excavation, prePri-
   nition of "nuciearfacliity".                                          ises: or;place. :prepare.d...o..r::used:far the
   "iVuclear facitity" means:                                            storage or d.tsptysai :of.':tivaste";:
        (a) Arry "nuclear remctor";                            and iracludes the site: on which any of the forego-
                                                               iizg is located; all 6perafions contlucted rin suefi
        (b) Any squiisment or device cJ~igned ar               sits and all.bierrilses used forsuch ocerations.
            cised for (1) separating.the isotopes of
            ur-anium or piutoriium; (2) processing or          "Nuclear reac#cr"' means any ap~ratus ilesigned
            utilizing "spertt fuel", or (3) . hancling,        or .used to sustain nuclear tissien :in a self-
            prcicessing or packaging'Waste";                   supporting chain reaction or to cantairi a criticai
                                                               riiass of f~ssionable material.
        (c) Any equipment or device used for the
            processing; fabricatirig or alioying of            "F'ropetty damage'.` includes all forrns :of radioacs-
            "special nuclear material" if at any tirrie        tiyre.contarinination of property;




                                                      ...... ... . ..
Page 2 of 2                               q ISrJ RroperiiM InC.,'2007                                          It. 09 ~9 ~ t~



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       THI&ENDORSEMEMT :CHANGES THE LICY.'RLEAW READ. IT C14.REFULI:~F~ .


                                   ` •*-"   ~ a1




This endor$ement modifies tnsurance provided under'the fiQllowing;
         CAPITAL AS.SETS PRtaGRAiUi (tQUTPUT POLICY) CCVERAGE PART
         CC3MMI=FEGiAL
                   _.     AUTQMG8ILE CaVERAGE  _ PART
         CGMMERCiALGENERAL:LIABILITYCt3VERAGE PART
         C(?MiUIERCIAL iNLAND MARIhtE Ct7VERAGE PART
         CG3MMERCIAL LIABILITY UMBRELLA     _ Ct'JVERAGE PART
         CQMNfERCIAL PRC  _ ► PERTY CO'JERAGE'PART
         CRIME AND FIDELIT'Y COVERAGE PART
         EmPLb1'mEhtT-RELATED PRACTICES:LIABILITY  _ . .. Ct~VERAGE PART
         EQUIPMENT BREAKDOVVN C:UVERA;GE PART
         FARM Ct)VERAGE PART
         F~tR'Ni UI~BRELLA LiABII.ITY PLULICY
         LIQUdR LIABILITY COVERAGE PART
         h9EDiCAL PROFESSIONAL LIABILITY CQVERAGE PART
         PULLUTIC7N LIABILITY COVERAGE PART
         PROQUCTSJCCJMPLETED bPERATIONS LIABILITYCOUERAG.E PART

The Eacamirtation Of lfour Bo4ks Arast. Records                     2: Any audit cxonducted to deters`rime:tfie: pre-
Common:PolicyCondition ib re p. laced by the fqlicsi++~                 mium. dus or :#a t~e: refun.d.e. d muet be com
ing:                                                                    plefed ~vithiri'18t7 days aiter
     E7tAM1NATIO3d Ctatr YOttR Bt3OKS AFdC9 RE-                         a. TFie expiration dete of the Poiicy,: or
     toRD8
                                                                       :b. Tfie anniversary: date, if, this is a:corrinu-
    't. Except as provi~led in :~.. f3elow, wte.m.ay ex-                    ous policy. ar a pol%cy ~ritten for::a::term
        arrnrie and audit your bcroks and records: as                       longer than one.year;
        t ey re ate to this. policy at any tlme during:ttie             unless:you agree:in w.riting to e~end:the audit:
        policy .period and up to three years afterward:                 ~rlod




                                                                                                                 ;.
IL.0d 8'S'00+:08:                             0 ISi3'Proparties, Inc., 2t]C}7                               Page 1. af 1



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                                           WITH STATUT ES
This endoreeniert modifies Insurance pmvided under this fcilloWihg:
         CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
        .COM MERCIAL AuromoBiLE COVERAGE PART
         COM MERCIAL GENERAL uAF31LITY COVERAGE . : PART
        COMMERCIAL INLAND MARINE COVERAGE.PART
        .COMMERCIAL LIABiLiTy: UMBRELLA COVERAGE.PART
        cbrq,ki r-RCIAL PROPt:RTY COVERAGE PART
        .CRIME AND FibELrry COVERAGEPART
         E~1PLOYMENT.-RELATED:PRAC~rICE8.LiAgiLill: bbVtkAGit PART
         EQUIPMENT BREAKDCWN COVERAGE PAKT
        FARM COVERAGE PART
         FARM UMBRELLA LIABILITY POLICY
         LIQUOR LIABILITY COVERAGE PART
         MEDICAL PROFESSIONAL :LIA8iLITY COVERAGE: PART
        OWNERS AND CONTRACTORS PROTECTIVE LIABILITY:COVERAGEPART
        POLLUTION: LiAk LiTY. dbVEiRAdt PART
        PRODUCTS/COMPLETED CRERATIONS LIABILITY COVERAGE.PA, RT
        RAII ROAD PROTECTIVE LtABILITY C-OVERAGE PART

A. The followingCondifion is ddded:                                     the limft or iimits specified.by: ary lEiw: govem-
  ;Qphfpr ty With Montana stottAes. The~ provisions                             ....c. arriers. . ....           . .. pe
  :of. this policy or C6v6rage Part conforrn to the                2- :We 41.1 pirovide the.minimurn amounts and.
    miniMum requirements of Montana law and con-                        types' of other co.verages, puph as no-faUlt,
    trol over any oorilicting statutes oF any state In                  required of out-of-state: vehicles:by thejuris-
    which you reside on or after the effective date of                  diction where the covered "auto" is being.,
   .this poficy or. Coverage Part.                                      used.
    Ho.wever, wdh riespect to inswarce provided,.un-                S. No onewill be erdilled to duplicate paymentSL:
    der the Commercial ALitomobile Coverage Part,                       f6rtheLsa me eI6me(A-S:of'Id6S'
    while a covered 'butu".Is away from Montana,               B.        provisiomof this.policy:orCoyLirage:.Part.Cih-
   1. We will increase: the: Umit of.:Insuranoe fcr.tj-                                                      thei polloy.or
        ability Coverage l:9 meet thelirp                         : Coverap; Part)L that..does not conform to the:-
                                           l its spediFted
        by:a compulsory .or fi nancial responsibility law           minimum, requireMnts of a.Montana::statute-::D4':,
        of the jurisdicton where.the. cmvered."autoll is            gmended1o. 66nform to sLich statute.
        being used. This extension does. n6t apply tci




IL 0167 0.9 (0                               ib ISO Propertiesi: I ppii ~P07                                Page:1. of 1



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         THIS:ENDORSEMENT-CHANGES -THE:POL.IC.Y.:PLEASEREAD ff CAREFULLY




This endonsementmodifies insuranoe providied underthe following:
        CAPITAL ASSETS:PROGRAM (OUTPUT POLICY).CqVERAGE PART
        cbmME . RciAL AUTOMOBILE OOVERAGE PART
        COMMERCIAL INLAND mARINE.COVERAGE.PART
        CCOMidIERCIAL PROPERTY OOVERAGE: PART
       .CRIME AND: FIDELITY COVEFZAGE PART
        EQUIPMENT BREAKOMN COVERAGE PART
        FARM COVERAGE PART — FARM: PROPERTY—"OTHER FARM.PROVISIONS FORM:— ADDITIONAL
        COVERAGES, CONDITIONS, DEFINITIONS ...... ..... ...
       FARM COVERAGE.PART — LIVESTOCK.COVERAGEMR4
       FARM COVERAGEPART — MOBILE AGRICULTURAL.MACHINERY AND
        EQUIPMENT COVERAGE FORM

The CONCEALMENT, MISREPRESENTATION OR                           loomnitted by you or:any other insured ("ihsuredl),
FRAUD Condlion is replaoed by the fbilowing:                    whether befote or affetthe 1oss1,("1qss1 andmiating:to
CONGF-AkM             fASREPRESENTATION OW       ..... ..       coverage of the loss ('Ioss') und 'erthis Policy,
FkAl.!Ei                                                        Y.Vewill not pay for any loss ("loss',!) ordamane in:: arly
We will not pay for loss ('JosV) or damage in a case
Of                                                              1.Concealment or misrepresentation.of a-matedai
1.6 :CbhoeAl.~.ft or misrepresentation 6f a materilif:               f~;or
    fact;.or                                                    2.Ffaud,
2. Fraud;                                                       is. coibmitted. by:.y0q.
                                                                                   .     OT any: pther insuredfinsured-)
                                                                Jn:the, application for this policy.




                                                   ............
                                           . WR..........
                                              . .
IL 6.11WO-      07..
   . . . ... ......                        :04,
                                             —.           .. . j ,1 no.,2006
                                               . rpp..etbft             .......                               page



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        `rHI8 ENDORSEMENT CHANGS&THE POUCKPLEASIS MEAD IT
                                                        -:CAREF.U4LY--,..
                                                              . . . .......... .:



This endorsemert modifies insurance provided under the:following:
        CAPITAL ASSETS PROGRAM (O1.JTPUT POLI.CY): COVERAGE PART
        COMMERCIAL AUTOMOBILE COVERAGE PART:-
        COMMERCIAL INLAND MARINE COVERAGE PART
        cbmMERCIAL PROPERTY COVERAGEPART
        EQUIPMENT BREAKDOWN:COVERAGE PART

F3 Except as pro~Adecl In. Paragraph S. of ths eri-                        Paragraph A.7.: Business Income And Extra:Ex-
    clorsement, the.: Appraisal Loss Condition Is re-                      pense is.replaced bylthefolloI
    placedby1he following:                                                 APPRAISAL
    APPRAISAL                                                              if We.:and. ypu.OsAgrpe on...the...a mount of. ne.t. Jnr
                                                 .
    lfwe.a6avoudisaaree:o.h theviiluebf t he p .rpp-                       come. and.operaft . . .expense
                                                                                                       .     . or.the
                                                                                                                 ..     amount:
                                                                                                                           . ...... . &.the.
                                                                                                                                       .. ...
    erty or .the amount of the loss both parties , may                     loss, both parH es may agree to an appraisoI . of.
    ag res to :an appralsal of the loss. If both parties                   the loss. If both.parfies so:agree then,each:part.
    so ..agree,. theneach party:will select a competent                    will seleot a competent and impartial:40praiiser
   land impartial appraiser. The two appraisers will                       The two. appraisers.will select:an umpire, ifthey.
   select . an. unloire. If thev cannot agree, either n"Oy                 cannotagrbe,:
                                                                            . ... .. . ....  elther
                                                                                                 ... mav     rO unt that: iWIde
                                                                                                         . ....q
    request that selection be.made lbq a judge ol'a                        be mad.e. by a. judge of a.court. .. . having
                                                                                                                    . . . jurisdiction.
                                                                                                                           . .. .. ........
    court:having jurisdiction. The zippraiseTswIll state                   The appraisers will state separaWy the: amount of
   separately the value of-the. property..: and the                        net irimme. and:: operating-expense and the
    amount of loss. If they fall to agree, they will sub-                  amount of the lbts..If they fail.tc. agree, thI
    mit1heir differenc" to -the umpire. Any.Putcomp                        submit-thOr dfferences to the::umijire. Any dilt-
    of the appraisal wi.11 not be binding o-n 61-ther party,               ppmLi.. ofthe
                                                                                    . . . appraisalmill
                                                                                                 .... ..    notbe: bindirigon.eithee
    Eaoh party mil:                                                        Ort—y. Each: party will:.
                                                                                                         I
    1.Pay:o phosbn appraiser; and                                          1. Pay its.chosen appmi pler; alhd
   2. Bearthe other expenses of the appraisal.and                          2.:.Bear the other expenses of the: appraisal: and.
          umpire equaily.                                                     ,: umpire: equally.
    If:we subrnit #o an appTaisal, we will retain our                      If.we submit10 an:appralsal, we will retairrour
    right to deryy the claim.                                              right to derythe claim.
11 The Appraisal Condition .      in Capital Assets P r0-
  :gram Coverage: Form I (Output: Policy), 1W 00:61




.ILIM114,6007
  ..... : .... - 1                            0ItO Properties,
                                                            11.11 Inc.,
                                                                  ~ - . 2'0'(")0  '::
                                                                          ............                                     :Pa e:101



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       THWENDORSEM
                 ,ENTCH              ~ ...... 0.E1POLICY
                   ........ ...... ANGEST          1. ..' PLEA8E REAWT:0AREF
                                                                           U Ut

                                              1 1111 R—W '
                                                         ~Z   WT51           W
                                                                             11lq~1    INWIM-W        Kq
                                                                                                       ik,



'this en
      . dorsernert modifies insurance provided under the follow.ing:
        COMMERCIAL AUTOMOBILE OOVERAGE PART
        COMMERCIALGENERAL UABILITY COVERAGE PART
        COMMERCIAL LIABILITY UMBRELLA COVERAGE: PART
        EMPLOYMENT-RELATEC) PRACTICES LIABiLrry COVERAGE PART
        FARM UMBRELLA LIABILITY POLICY
        LIQUOR LIABILITY COVERAGE: PART
        m EbicAL PROFESSIONAL LIABILITY COVERAGE. PART
        POLLUTioNLIABILITYCOVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE: PART
                                     I
A. Paragraph I of Cancellabon Common Policy                                 stantially inereasles any hazard insured
   Condltfonis rqplaced by the following:                                   eigainst;
   2. We may cancel this policy by mailing or deliv-                  (f)A.determination by the dlrector of irvwr-
      .e.ringto, the firs.t Named Insured written notice                   anoe that the,conflnuabon of the: pohey
       of cancellatibn at Ileast 20 days before the ef-                    would.jpcpardize our:9olvency orwould:
      fective date of can oellation.                                       p(ace usinylolationciftheinsurance.] aws
       After:60 days from the effepbve date:of policy                      ofSouth Da.k-ota;
       issuarce a notice:of cancellation may not be                   (g).Your violation or breach of any policy
       issued unless it is based uoon at least oneof                       te.Oins.or o0nditions-.or
       the i6tio Ing reasons as s'tated in South Da-                 .(h). Such other reasons as are 4pproved by
       kotalaw:                                                           the direibtor of insurarice.
      (a)   Nonpayment of premium;                             B. The fbilovting conditon is added and:supersecles
        (b)
          Discovery of fraud or material rrm'srepre-              ariy provisions to the contrary:
          sontation made by or Nvith the knowledge                :NONRENEWAL
          of the Named Insured in bbtaining the
          policy, continuing the policy or in:pre-                 1. If we. decide
                                                                                 . riot to renew
                                                                                             I      this pojicy; Nw Will
          Behfing a claim under the pol4;                              mall 6r deliver to the first 'med
                                                                                                    Na    Insured wdt-
                                                                       ten: notice of nonrenewal not less than: 60
        (c)
          Discovery of acts or omissions on the part                   days. before-
          ofthe Named Insured which increase any
          hazard insured against;                                      a. The expiration ckite; or
        (d)
          The occuirrenoe of a change In the dsk:                      b.The anniversary dtite if thts is a cbnt!nU-
          which substantfaRy increases any hazard                          ousPolicy.
          lhsured against after insurenoe coverage                 2, Any notioe of nonrenewal will be mailed or
          has: been issued;                                           delivered to tho firtt Nar'ned: Insumcfs last
        (e)
          A violaflon of any local fire,. health, safety:              mailing address known to ua V notice lis
          Wilding or constructi.on regultlbon pr or-                   mailed, proof bf mailing will be sufficientproof
          dinance wRh respect to any insu d prDp-                     of notice.
          erty or the Occupancy thtreof which sub-




IL 02 32 0.9 08                             0 iSO Properfies,.Ino., 20.07                                  Page 1 dr.-A



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            THI,S:ENDORSEMENT':CHANGES-THE':.  .I.Y,.':PLEASE:READ.I.-T-....
                                            'POLC.. . ....... .                      . . .....
                                                                           'CAREFULL;..Y'6

                    1211101113-trNMIJOITY    .11.   .   011.111'11R[51111  [121:~ mi' __
                                                                    ; . , :;'




                                                   .   .
 This endorsement rhbdifies Insurance ptOVided uriderthefollowing-
          CAPITAL ASSETS PROGRAM:(OUTPUT POLiCY) COVERAGE PART
           COM MERCIAL, ALJTOMOBILE COVERAGE PART
         ICOM    MERCIAL GENERAL LiAiBILITY COVERAGE PART
          COMMERCIAL -PROPERTY COVERAGE:PART
         0  - RIME AND FIDELItY COVERAGE OART
           EMPILOYMENT-RELATEb PRACTICES LIABILITY COVF-RAGE PART
           EQUIPMENT BREAKDOWN COVERAGE PART
          FARM COVERAGE PART:
          LIQUOR LIABILITY COVIERAGEPART ... . .... ...         ...
           MEDICAL PROFESSIONAL LIABILITY dbVOkAGE PART
          POLLUTION LIAbILITY COVFRAGE PART
         PRODUCTSICOMPLETED OPERATIONS LIA81UTY'COVERAGE. PART

 A. Paragraphs 2. and 3. of the Cancellation Com-                   (4) ThLa 'InsUreds": refusal to elimln6t6
    mon Policy Condition are replaced by Paragmphz                        :known conditions'that increase1hei:
    2. and:3. below, exoept to.the exterifthat Itern: Bi                   Patentlatfor loss, after our notifica-
    Of this endorsement applies.                                            fion that.4he-condiflon must:be:xe-
    Z: Policies In Effect.                                                   r.ndv.ed;:
         a. For Less:Than 90 Days                                   (6):.SUbstantial::change: in:the dsk as-
                                                                            surned, except tolthe extentl.hatwe.:
             If this policy,hasbeen In effect for less                      shduld reasondbly haveforeseen              ttie
             than 90 days, we, may cancel the policy                                                               -
                                                                          :change,.     or contemplated
                                                                                                1              the riskin
             for any reason by mailing to the first                         writing . ft oontm 4-
             Named-Insured, and agent, if dny, written                                                                .. .....
             notice ofoancellation.at least:                        (6) Loss of reinsurance: which provided
                                                                        : us Wkh coverage for a significant
            (1) 10 dpys before the effective dEite of                     .6inourit. d ithe ijnderlylng: Nsk .in-
                  cancellation, or                                          sured;
                  Five clays befdre the effective date .of.         (7 ) A determinalli on by, the . insurance
                  cancellation fbr any conditiofi statiid                   commissioner     that. the continuation
                  in Paragraph B.of thisi enclarsernent,                       ..
                                                                            of the. ppli I cy:coul& place: Lsiiin viola-
        b. For 90 Days Or More Or Policies With                            tion-of North Dak 4. ihsutthoe: laws!,
             Terms Longer Then One Year OT Con.                     (8) :.Nonpayment of dues:10 anass6cia-
            tinuous Poilties                                              Alqn or.,organizatidn; otherAhaman
             It this policy has been in effect: for 90                      insura nce associailo'n or or nika-
            days or more, I a reriewal of apolicy we                .a     lion, where payment: of dues ls:
            issued, is a policy
                             is      issued'fbr: a1emn                      prerequisite to obtalning
                                                                                                . ......... or continu-
            longer than one year or is a continuous                        Ang: such insurance. Cancellation for
             polidy, wp- may canqel the: POlity onty for                   ifits reeson cloes - not. apply.: to. pe.r-
            one or rnoreof.th.e following reasons:                          sont. who cite retited - at 62: y airs 6f
            (1) Nonpayment o premiums;                                      pge or older or. to.any: person who Is
                                                                         :dis.a.bled accordinglo social:s.eadqty
                                                                                                           .... ..
            (2). Misrepresentation or fraud I made by                       standards;•
                  the 'InsLxed". or with the-Pth
                                             .   sured's!.
                  knowledge 4h,obta ining the pok,y. or             (9)A Violaton of ehy local fire,::heOlffi,             ..
                  in pursuing a claim under thepollby;                      safety; bbilding :o r construcfion: u
                                                                         .1ation or:ordinance with respect to
            (3) The "insuredis!' actions that have                       :covered Property'or the.. occupancy    ....
                  substaritiallY.Ancreased or substiiri-w.                 thereof whibh substanti0y. Inveases
                  tially changed the risk Insured;                      :;:! mny hiii id insured: agalnst;. 6r

iL oiit
   11 . .......... :68:
                   : .....                   C) 180 Properfies, Inc., 2007                                     Pagerj:of 2


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      TH.18 ENDORSEMENT:CHAt4GE8:THE:POUCY.,PLEASE READ IT-CAREFULLY.
                                                     0       1;
                                                                  ANC E !Ii


This andcyrsement: modifies insurance provided under the following:
        CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
        COMMERCIAL AUTOMOBILE COVERAGE PART.
        COtAMERCIAL GENERAL LIA131LITY COVERAGE. PART
        COMMERCIAL INLAND MARINE COVERAGE P.
        COM M[tRCIAL:PROPERTY, COVERAGE PART
        CRIME AND FIDELITY COVERAGE PART
        EMPLOYMENT-RELATED PRACTIC178 LIABILITY COVERAGE PART
        EQUIPMENT BREAKDCWN COVERAGE PART
        FARM COVERAGE PART
        MEDICAL PROFESSIONAL LIABIUTY COVERAGE PART
        POI I UTION UABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIAOi LiTy COVERAGP PART

A. The Cancellation Comawn Policy Conditon                                       :or in presenfing a claim underithe
   replaced by the following:                                                     ~policy;
   CANCELLATION                                                               (3)  Acts or omitWhs by you ftt sUb-
                                                                                 :stantially change or increase theirisk
   1. The:first Named Insured shown fn the Decla-                                  Insured,,
       rations may cancel this policy by mailing or
       delivedng tc) us advance written notice of                             (4): Determination by the Commtssioner
       camellation.                                                              :that tho conbhuiatibh of:tl* policy
                                                                                   would jeopardize our saivency :or
   2:* Cancellation Requirements                                                   Would
                                                                                    .      place tit in violation of thLi, In-
       a. We may canoel this pqlicy, by. mailing or                                sutiihde iaws of this or arW other
                                                                                   state.
            dolivehrig to the first Named Insured and
           .any loss payee written notice of oanc6lla-                        (15). You have acted in a manner which
            tion e least:                                                           you knew or should have known      was
                                                                                                                  h.
           (1)   30 days before the effecrive date of                              :in violation or breach of a po cy:term:
                 cancellation ff we canceldue to loss                               or condition; or
                  of reinsurance coverage;                                    (6) Loss of reinsurance, subI ect to d. be-
           (2)   10 days before the effective date of
                 cancellation V we cancel for arTy other              d. We may cancel: dueto loss of reinsuranoe:
                  reason.                                                 which provides coverage to us for asig-
      ~b. If this policy is a new policy iand has been                    nificant:port.lon of the underlying
                                                                                                      I . .   ft ih-
            in effect for less than 60 days, we may                       surod, btA onlyif the C omm1 . 991omr de-
            canoel for:                                                   tenTOnes that such cEincellationis jtjsti-
                                                                          fied.
           (1)    Loss of reinsuranoe, subject to.d. be-
                  low; or                                          3. We Will mail or deliver our notce to the first
           (2)    Any.Dther reason.                                   Named Insured's. and any loss payeds last
                                                                      mailingladdress known to us.
       C. -if this polloy has been [n effect for 60
            days or more, or is a reriewal of a policy             4. Notice of.cancellatiDn vvill state:
                t                                                     a. The reason for cancellation; artd
                  ssued, we may cancel only for one o r
           'More
            we 1 of tfte following reasons'.                          b.The effeofive date of cannellation. The
           (1) Nonpayment of pt ilum;                                       pplir-Y pefiod will end on that date.
           :(2) Misrepresentation.or fraud made by                 S. If this policy is cancelledI we will; send the first
                 or wkh your knowiedge in obtaining                   NamiBd Insured any premium r6fun d due. If
                 the policy, when renewing the policy,                we cancel, the refund will be: pro;rata. i    Ifthe.
                                                                      first Nanied Insured: cancels, the refund may

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        be less than pro r-ata. The cancellation wfif be                 the first Named.-insu"ed and. any loss-payse.
        effedive even if we have not made or offered:                    at I least 45 days before the:expilration i date::df-
        3: refund.                                                       th is policy, 6xc* if,
   S. If hotic-6 Is mailed, si post ofrice departmeht:                   a. We havia dffered to issue a reriewal.:pok
        certificatem of rnailing. is proof of rewipt of no-                     icy; or
         tice. However, if cancellation is. for nonpay-                                                         .     .
                                                                         b. You have.failedto pay a prertfium du. wo
         ment::of premiLTn, a certificate: of:mailing is                        a . riy actvance promiUm requiredby us fdf
        :not required.                                                        renewal.
B. Th. e follow.ing'is added and supbrsedes any other                2. If notce js:mailed, a post office d"r"ent.
   provision.to the 6ontrary'                                            certificate of:rnAiting is proof of receipt.,of. ftn
    NONRIENEWAL                                                          tioe.
    1. . lf:we. decide not to renew this poligy, we: YVill:
       :mail or4eliverwritten, notice of nonrbnewal to




Page 2 of 2                                   0 ISO Properfl. 'em Inc., 2. 007                               IL 02 76 09.08



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                        a
      THIS 7-ENDORSEMENTCHANGE&THE:                              .... ......
                                    POLICY.:apLEASE READ: MCAREPULLY.


                  WISCONSIN CHANGES -:C-.-..~`: -
                                                7'_LLAT10N
                           AND WONREMP139
                                        -
This endorsement modifies Insurance provided under the following:
         CAPITAL ASSE76 PROGRAM (OUTPUT POLICY) COVERAGE PART
         CbMMERCIAL AUTOMOBILE COVERAGE PART
         COMMERCIAL GENERAL UABILITY COVERAGE PART
         COM MERCIAL INLAND MARINE COVERAGE PART
         COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
         COMMERCIAL PROPERTY COVERAGE PART
       . CRIME AND FIDELITY COVERAGE PART
         EMPLOYMEN,T.-RELATED.PRACTICES. LIA(31LITY:OOVERAGE:PART
         EQUIPMENT BREAKDOWN COVERAGE PART
         FARM COVERAGE PART
         FARM UMBRELLA LIABILITY POLICY
         LIQUOR LIABILITY COVERAGE PART
         POLLUTIONLIABILITYCOVERAGE PART
         PRobucTsicomPLETED OPERATIONS LIABILITY:COVERAGE. PART
A. Paragraph lofthe Cancellation Conimon Poficy               S. TheJollowing:
                                                                  .                 is. added to the Cancellatlon.Cam-
   Condition. Js replaced by the. fbilowing:                     tnon Pofiby Condition:
   2. We May carcel this. pplicy by mailing or deliv-            7. : Annivemary Cancellation:
       erlwto the first. Named Imuredwritten
                                                                                                    .... . . ... . .... .. -
                                                . notice                    M:
                                                                             . po 11cy iswritten: fat a: term df.tnofe ttiiin
                                                                      If thlis
       of.bancellabon . at, ledst 10 days tOore the ef-               p .ne yearor htis nq.:fIxed Laxpirattan date, we'
       fective date.of caricelidtion.                                 may.cancel. this:policy for ahy reason bysmail-
       ffAhis policy, has be-en ineffect for less than                ing or deliverina to the:flrst Named.: Insured:
       60.days and is not a renewal policy, w6,:may                   written notice..of..oancellation:at least.6   00.days.
       canWi for any reason.                                         6.6tore the anniversary Ote of the policy.
       If this policy: has been in effect. for 60,days or             Such cancellation Will be effecttve qinthjq.pq)-
        more- or, is a renewal of a policy :we issued'
       L-xcepi as.provided:in Paragraph 7. below: we                  We may cancel this vollay: because 6 the:
       may cancel ths policy: brdy for orie o,r more 6f              1erhiihation bUan inau'rance marketng ihter-*   *t
       the follovAng reasors:                                                    tontract with us orly if the. nouGe of.
       a.The policy was obtained by material ifihi~.                  cancellation:,oDritains:an offerto.continue the.
            representation;                                           pplicy. Vth us.if -we recelve: a writteri.. requ
                                        .                           : from thei: first Narried lnsUrdd priorto the:date:
       b. There has been a substantial change in                      of cancellato:6.
            the risk we originally. assumed, except td
            the extent that we shopid have foreseen           C. Thef6flowing.applies tothe:
            the change or considered the r isk in wei tr         Capital: Assets Program: (Output: Policy): Coverage
            ihg th e:policy;                                     Part
       c.There have been substantial breactm of                  Commercial Inland:Marine Coverage Part:
            contractual duties, oondkions or warmn-              Commercial Property Coverage, Part
            ties; or
                                                                 Crime Arid Fidelity Coverage Part
       d. Nonpayment of premium.
                                                                 EoijforTibrit Br6aJdown.Co4erage:P6rt
       If this policy:has been lneffe6tfor 60.days or
       more or ig a renewal of a pblity we i"ueq                 FarmcoveragePart
       th4botice:bf cancellation Vill statethe reason            1,7 We  —may respind this pojioy:Wqpq.9.e oTtoI-  :he:f
       f6iloandedlation.                                               owing:
                                                                      A... M.Isrepreseritation made by you or on
                                                                           your behalf ih the begoliation fQr. 6r
                                                                           ClAremert of this Coverage   . :. Part, if the
I L:01 M.06:&.:                             a ISO Properties,loc., 2006.                                   Page l d 3



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           p.erson. knew or should have known that                               only: if the :notice of nonrenewal:contains
           therepresentationwasfaise.;                                           an offer:to:renew the:policy with: us if.we:
        b: Breach of afftrmative warranty made by                                receive ; a:writteii .request from the first:
           you::or on your behalf in the negotiation                             klemed:lnsured prior to:the renewal.date:
           far:or:procurement of tiiis Goverage Rart;                         C. ifi:you fail .to pay the renewal or. continua-
        c: Failure of a condition t3efore a loss if such                         tton prernium by the premium due date;:
              failure:exlsts at tt•re time of loss; or                             this poGcy wil!'terrninate an the polioy ex-
                                                                                   piratlorr or annivetsary date, if we have:
        0. Breach of a: promissory wartanty iP such
              br~:ach exists at the tlme of 1oss.                                   1 : Given . yt7u wr(tten . nOtice of;; th.e..; re-
                                                                                   (~
                                                                                        nev~ial .or continuation premium not:
    2 1~1e may not resand this policy:                                                      more tilan 75 days nor less than ~fa
      a~. For the reasons in Paragraphs G:1.a. and                                          days ptior to the due date of the pre-
              C.9.b: uness:                                                                 mium; aind
              (9) We rely on the misrepresentation or                              (2) Stated:ciearly in ttie notice tfie effeiot
                  afftrnative warranty and the misrep-                                 of nonpayyrrtient of premium: by the:
                  resentation or affirtnative. warranty::is                                 clue date;
                  either material.or made
                                        _ with:irytent to             2: 'Anniversa►y;Atteratiorr
                  decelve; or
                                                                          If;this; poGcy is written.for a;#erm:of;rrrore:than;
              (2) The facts misrepresented or falsely                         one year.:or'has no fixed eupiration:date, we:
                warrantecf contribute to thie (oss.                           may al~erthe:terms or: premiums of tliis::policy
        b. For the reasons in Paragrrxphs C.9.c: arid                         01 rnailing or defiveririg written notice of less::
              C.9.d, unEess such failure or breacfi:                          favorahle terms or . premiums .to:::the.: first:
              (1) Increases the risk at the time of loss;                     Named :insured's .last .iYtailing address:;kriown:
                  or                                                          to us.. We will mail; by flrst class rriail, or de-
                                                                              liver this: notice at lesst 60: dayys prior to the
           (2) C,ontributes.to the ltass:                                     anniversary date.
                                                                          .    .   .   ..                .   .   ...        .       .
    3. If we elect to rescind this poiicya we will notify                     if we: notify #he first Named: lnsured within:OD
        the first Narned lnsi•ired of our interition Withiri                  days prior ta the ariniversary date, the: neti+
        60 days after ac,quiring knowiedge of suffi-                          terms`or premiums will not take:effect. until.6D .
        cient facts to constitute grounds far rescis-                     days after the notioe was mailed or:geiivered.
        si6n.                                                             The:notice will irtolude a:statement
                                                                                                          _.   of the:first
D: The foliowirrg :are added' and supersede any: other                    Narrieti lnsured's right to cancel:_ The f'irst
    provisions to the contrary:                                           Named lnsured rnay elect.to cancelthe policy
    1. Nonferiewal                                                        at any time during the 6b-ciay petiad,. in. ac-
                                                                          cordance . with Paragrapt~ I. the Gahcella-
        a: If we elect not to rerew this poiicy we wili                   Ition Common Palioy Condition. If tfie fiist
           mail:: or deeliver. written notice of nonre-                    N~rrreri :tnsured elects ta_. cancel tite pcilicy
              nevval to thee first ;IVamed. Insureo's l.ast               during the:6D-day period, return premiums or
              mailing address knovrn to u'a.. 1Ne may                     additional. premium Gharges,wiil be calculatad
              elect not to ;renew for any reason; the no-                 proportionately: on the basis of:the old:premi-
              tice will state the reason for nonrenewal.                 ums:
            1Ne will mail or deliver the. notice at least             3< Renevol V4titt¢ Altereci 'r®rrres
            60 days before the. expiratian date of.:this
            pol icy.                                                     If we:elect ta renew this poltcy but on less fa-
              1Ne need not mail .or deliver the notice if:               vorable terrr~ or i~t tiig her premtums;; w+e will
                                                                          mail:'os• deliver:writtien notice:of:ttie new terms
              (1) You have insureii elsewitre;                            or premiums to:the frst Named lnsured's:.iast
              (2): You have: accepted replacement:cow-                    mailing address known to us.,.i1Ve tn+tll . mail, by
                   erage;                                                 first. ciass rnail; ar• deliver this notice st...t.e.a..st
                                                                                                                              ..... ..
              (3). YYou have requested. or agreed .to                     60 days prior tq the renewal date.
                   nonrenewal of this policy; or                          'if We noti.fy the first Nar.red lnsured +nithin 60
              (4) ThIss policy js expressly designated as                 days prior to ttie renewal: date, the new:tern~
                   nonrenewable.                                          or.premiums.wlll not take effect unti( 60 ~ys
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        b: 1Ne niay refuse to renew this policy `be.                       notioe .wi9 iriclude a statenierd aP :the first
           cause of the terminatifJn of an insiNancG                          Narned :Insured's right to cancel: Tfie firat
           marketing interrnediary's contract with: us                    iVameii Insured nYay elect to cancel .the re-
Page 2 of 3                                     v IS.O Properties, lnc., 2t1D6                                         JL 4~ 8~ ~:t7


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        newal policy ai any tline::during:the 60-day                    i$. ;Results:frorri a change:based on:your:ac=
        period, in accrirdance with Paragraph 1. cif                         tion ti'tat alters the:nature: or exterit of:the
        the Cencellatiori Comrnon Poifcy Condition: 'If                      risk insured against, inoludihg:but not lim-
        the first Named intured efects to cancei the                         ited to ta change in tYie: ciaesification:or
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        turn prerriiums or additionai;:prerriium charges;:                   coverage.
        vviil be caiculated proparfionately tan the basis       E. $peciel Provisi®n — Canc+ellntion
        of #he old premiurrs.                                                                         _.. _. ~1nd Rlt~nrfe-
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            this:poiicy belongs; or                                 try; mardal status or occupatifln of anyane;;who::is:  _.
                                                                    art insured.




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         POLICYHOL®ER iVOT10ES




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           'IMPORTANT NOTICE — INDEPENDENT AGENT ANDBROKER
                                         COMPENSATION

NO COVERAGE. IS PROVIDED BY THIS NOT-ICE. THI-S NOTICEZOESAOTAMENDANY
PROVISION OF YOUR POLICY. You sHouLD REVIEW YOUR ENTIRE POLICY
CAREFuLLY FOR COMPLETE INFORMATION.,,O.NIT.HE.C.OV.ERAGES.-PROVIDED:AND.TO.
DETERMINE: YOUR RIGHTS AND DUTIES UNDER: YOUR POLICY. PLEASE::CONfACT
YOUFt AGEN: T OR BROKER IF YOU HAVE ANY QUESTIONS. ABOUT THIS NOTIM.OR
ITS CONTENTS. IF THERE 18 ANY CONFLICT:BETWEEN YOUR ':POLICY AND...THIS::
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NOTICE, THE PROVISIONS OF YOUR POLICY PREVAIL.


For inforniPtion about how Travelets oompenW6,i IndependBrit ager," and : brokdrsi - please v*roft
,~.travelers.com, call our toll-freetiolephiihenU,m,bbel=8.6.&904-8348j orreqjeOa wrhteh o*frorri Marketiho
at: One Tower8quare, 2GSA, Hartford, CT 06183.




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ON T4 6.4 011:08                                                                               Page:10 .1


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Dear Policyholder:
Enclosed Js ypur Minnesota Insurance Identification: Card(s): This card indicates your policy provides ...
                                                                                                       dt leak
                                                                                                           ...
the minim.Um coverape required by Minnesota's Insuranoe Law.
We are required by law to provide you with the follawing.information.
    Minhesota law requires that every driver shall, have in, possession at:all times when operating a rhbtbt
    vehide.,dr notorcycle and shall, produce on demand,of..a peace officer, proof of insurtince covedng the
    vehicle being operated, Any person: wbo fails: tci have pr falsely claims to have the requited : insurance is
    guilty:of scrime and shall have their license and orregistration revoked for notmore than:12 months.
    Further, it shall. be. -Unlawful for any person
         To.issue, d isiplayI br cause or permit to be: displayo, ot have :in. possession.: an ID card knowing: or
       ..having reason t o know that the insurance is hot In force or is not in force: as to the rhotor vefiVo: or
         mototoyole in question.
         Taefter or make a fictitious ID card; and
         To, display an altered or fictitious ID card dr having:reason to know: that the P'robf has] been altered—ot 1.9
        fictitious.
    Any person who violates any of the above provisions.is guilty,of a misdemeanor.
One card is enclosed for each vehicle onyour policy. Keop thit digtd in the.416,Ve compartm6rit of your car. This
caid must be:shown when requested by any law enforcement: otclal.
If you are ever involved in an accideht, you should roport k to ypur age.nt or a Travelers ciah oftice as.5QQn as
possible. Each card contains the information you will need, includ.Ing the,t6lephaie nuinbers-for reaching the
nearest Travelers claim offioe when reporting an ac-cidentwor cla.1m. But ohly use these numbers to repbrt
accident claims. Call your Travelers agent for all other thsUrance matters.
We will send ybu a new card each year. Should you lose the cardor need a now one, your Travelers agent will
be haopy to provide a replacement.
Thank you for insuring with The Travelers,




PN Ti 49 12 91                                                                                             Pagel: OU.1::


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                  !MP{9RTANi' NOTICE ® Ct7MPLAINTS - WiSCONSIN

                KEEP THlS NOTICE WI7'H 'YOUR IfVSURANCE PAPE'RS

PROBLEIUtS UYITH YOfJR INSIlNANCEB if you are having:probiems with your insurance company.or agent,: do
not hesitate to contact the insurarx;e company or agenk to iesohce. your probie.m.
                                        The "travelem:Ccrrspetaies, inc.
                                             385 Washington Sttreet
                                        St. Paul, PMrtrs®sota 6510213M
                                                  (800):322-2189
                                               Wmarauelers:corn
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You:ean also ccyntact the OFFICE OF'1'FIE C0141Ml~'~IONER OF:IN: URANCIE, a state: agencji which; eitforces
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6RIWRANC]k tsy writing to.
                                     Office of the GommWoner of lnsurance
                                       Information and Coi-hplaints Sect(on
                                                  P.O. Bw7673:.
                                         Madison; ,Wisconein:.537q7-7873:.

or yoo can caii 1-800-236-8517tiutsice of Madison or (1508) 2E6=0103 in Madison and requ®st a complaintfotrr►.
You can also:uisit the Web site www:oci_wi.aov to obtain a compiaint form e(ectronicaily.




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                                                                       FILED
                                                                       09-18-2020
                                                                       Clerk of Circuit Court
                                                                       Washington County, Wi
                                                                       2020CV000443
                                                                       Honorable Todd K.
                                                                       Martens
                                                                       Branch 3




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                                             Case 2:20-cv-01600-LA Filed 10/21/20
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fFV CASE t?F AN ACC1DENT
* CaD Travelers immediately,
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  24 HOUR CLAIN aBPORTIM sRRVICE

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" Request medical assistance ttreguired.                                                                    " Rerjuest:nredicet assislQnce; if required.                                                            N
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DARDTA SUPPLY G1R4t3P INC                                                                             DAIfOYPA SUPI>IiY GROUP IttC                                                                         P
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P.O. sox 2086                                                                                         P:4., BOX 2866
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  Be sure to get name artd address:bf each: driwr, passengei•; aniJ witriess;:and:irisurence                   * t3e sure: to get name. and:address of esdr.driver, passenger; and vritness, and Insurahce               m
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  comp8ny snd potio          ior each vzhicle invoived.                                                          company aetd. po6cy riuth baf for ~dt vehicis: dnvotved.,                                               N
' Do not assume respnnsibiGty fnr.aixtdent                                                                       t3o not assusne responsibitity for acctdent                                                             0
" Catl pofiac. .                                                                                               • Cell pofirx:                                                                                            tv
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' Protect agcinst fur2her damage.                                                                              s Prctect against furth®r damage.
* Reques{ medicat assistance t?requtred:                                                                       * Request medical assistance; if required<                                                                C
° Oniy discuss the acx€dent with pol4oB ofCcers orTravelers representatives.                                   ° Only:dissuss the accident sdith poGce uiriners orTravelers representatives.                             0
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ilability inslirance poliay:oT evidence:nf self;insuraiice. No person shaili op0rat2 g vehide in the           rahHr~y insurence.poi€cj or evidence ot seft €nsur®nce. No person shsA opa'ate a vehiide in ttie
state who knows or has reksoii to 1¢iuiv tfiat this:requlred secvrlty is not in eifiect forthat vehide.        state evho:knows or has reason to knotv that this requtred secudty is nnt In efTect for that vrehicle.
This Identifiaeifan Card is euidenoe that a poicy meefing {he requirements:of the taw Ps in etfect             This:itleniticcaf'ton Gafd is avidence thot a policy meeting the reguirements. of the law is in.effect    C)
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for the vetade described on the Garti: This card mus} be produced aY the operatcrr of the vehide               fcx ttte.vEhide desctiaed an the Card, This card must be produced by the operator ofthe vehide
upori iieniarfiif <if a lavi enforcement officer:                                                              upoti tlemand of a iaw ettfnroement officer.                                                              c
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9Pd CASE OF AN ft,CCICBEN'T                                                                                    !N CASE rDF A6±! ACCBDENT
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w Cail Traveters immediately.                                                                                  * CatlTnavelers. immetlisteiy.
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             _... .                                                                                              1.-000-238-622S
  24 Houa ci,axid moKmrG SBxpzcB
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  company:.a.nd poqcy numberioF:eacA vehicle invoiued.                                                           compan
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° Do not assume responsibiBty Waccideat.                                                                       * Denot.assumeresponsihi€€fyforacciiierii.                                                                00
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* Protect ageinst fltrther damage:                                                                             *. P;cjYact sgainst further damage.
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" Request rpeiii~ assfnstaitCe,:If [ettuired..                                                                  ":Requen metlicai assistarice; if required.                                                              N
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MIR9NESOTE4 t.AW:(REQiD9RES ..                                                                                 MNNESO'TA LAW.REt$IJIRE s
That rio vrrtte.r. of a motor:vehtde r~jtnred to; be ticenscd_ shad:operafe or permk the operation of          That no owner.of a inotor vehicle requ€red tci be licensed shait r>sierate or pamit the cperatian of
the vehicle upon the hlgtitiays: m:the stsfe aqlfiavt having, in fuil farce and efleet an automobAe:           the vehide upon ttte highvaays in ihe sfiate without havmg in full force emi effett.an:sutomotlile
lidiitiiy msi€rance pat€cy or kdenci of seff-insurariie. No: person shafl apefa#e a vehide: in th®             iieti~1O insurarice paky or eNdence flf setkinsurence. No. person shatt operete a vet8de in the
stete who krir,tvs oe has reason _fo kiiaw ttart this required securifyy is not in effect ior fhat. vetafde.   state who knovas or has resson to knrnu that this raquired, s$curity is nut in aftect for that vehicle.
Th3s ldeartTicatlost Gard.is :evidence that: s pancy ine.etItg :the requlrefients.oi the law is: En effect__   Ttits tdeiitllacatian Card:is evidence ttiat a po€fcy meeting the requhements of the lew is In etTect
fnr €he vehir9e. described an the Card. Tliismrd  c must be produced Liy the aperatw otthe vetHcle             for:the vehicle descstbed aii the Card. This.card musi be produced by th,e operator {f.tlievehide
upon:deniatrd of a iaw aMurcetner>Y nificer.                                                                   upon demand r,€ a iavi est{orcement offtcer:
CAIDNIN (8®cicj                                                                                                CAiDMfy (Back)




                                               Case 2:20-cv-01600-LA Filed 10/21/20
                                                                            Exhibit A Page 151 of 201 Document 1-1
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'rhe vehide desolibed betar+v is crnrered by a eommorctat ttabiiity policy that:meeis MinnesQta's   The vehicle described beltnw is co<,+ered by a commsrciai Kab3itq paticy.that meets RdPnnesWs
 iiisar$ncE requlrements:                                                                            tnsilrertce requirements.
 N4tC #: Company: TBAVELSRS. PROP$RTY CASUAI.TY C06TPARY OF AtMRICA                                 NAIC#: C4mpatiY: TRAVSL&RS PROPTRTY CASUALTY CO3iPANY OF A1ia$IOA
  25674                 OA1S TOftBR SQUARS, BARTFORD CT 05193                                        25674             CM TOhn SguARs; SaATFORD cr 06183
Pdicy Number                         Efiective Date          I7Gpiratton Date                       PoGcy Number                        Eifectfva paie         Expirabon Date
7t41a» 3l3904291-RZL-13                 10-01-13               10-01-14                             Y-810-30994291-TIL-13                 10-01-13               5.b-01-14
Yeer           t1Aa&e#iladel         1letacfe tdeniipcatfon Nulqbar                                 Year           hflalce/Mode!        Vetucte tdentiflcatim Number
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insured                                                                                             Insured
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AND AS PSR IL 19. OQ                                                                                AND AS PSR IL T8 00
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CP:iDMN Rev. 07-09 S€e Iioportent Notice oit Re+~erse Sid®         TRA~/ELF~`S J                    CAIdMN Rev: 67-o9 9ee Impainnt Nat(ce on Reverse Side             TRAVELERS:J                      ~~
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insuren .ce. requirem®n#s.                                                                          insurance requiremenLs.
NAIC.#. Campany: TRAVI;T.$8S PROPSRTY CASUALTY COtiPANF OF At+SERICA                                NAiG#: Gdinpanp: TRAVSLRRS PROPRRTY CA&UALTY COMPANY aF AMBRICA
 25674             0195 TOSYSR SQVARB, HARTFORD CT 06183                                             25674              m TOS4SR SQIJARB, HARTFORD G°[ 05183
Policy Number                                 Efteotive Date            Expira6on Date               Poicy Number                                 t_fiedive Date         Ezptradon Date                ~
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insured                                                                                              tnsured                                                                                           --+.
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DAKOTA SQPPLY GROi1P ZNC                                                                             A,AKOTA SII6PI,Y fiROt1P It1C                                                                     ~
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     FCEEP:TH9S CAR[B pWTHE1/EFiICLEAT"ALLfiliU9ES                                                       KEEP THlS CAFti7 IN'TNE llEHiCLE AT ALL TINf95

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                                          Case 2:20-cv-01600-LA Filed 10/21/20
                                                                       Exhibit A Page 152 of 201 Document 1-1
i(d CASB ®F AF9 ACCIDENT                                                                                   IP1 CA►SE OF AN ACCIDENT
• CaA Traveiers immed9ateiy.                                                                               • CaJI Traveleru itpmediately.
 1-900-238-6225                                                                                             1-800-2384225:           _
  29 HOIIR CLAIY RbPORTM SMMIOS                                                                              24 HOUR Q;AIN &SPt?RTING SBRYICS


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* Be sure to get name and address of each driw, passenger, and witness, and Insurance                      * Be sure to get naroe and address of each driver, passenger, and wi#ness, and Insurance
  companyand patic3r numbcrfor:aech vshicae:irrioKid                                                         odmpany and poilcy numt►er tor, "ch ye}itcte tnvotved:
'" Do: not:assume responsibitity for accident.                                                             • 00notassum6resposrsibiiityf6raccidertt.
• Ca~ poiice.                                                                                              " Gmil pqiice,
` Frptect egainsE Purther damage.                                                                          ' Protect against farttier. damage.
k Request medicai asstsienee, if requk ed.                                                                 * Requesfinedlcai $ssistance; if required.
° Oniy discussthe acadentwith police offioers orTravedersrepresentatives,                                  * Osdp discuss the occident tirrith poiice ofticers or Trauelersrepresentatixes.
(U81NNF-S3T'A i.tAVtt REQUIF2ES                                                                            MNNES€ETA LA4N FtEQUtRES
That no qwner efi a mcior vehicte r~uired to t>E Noensed.shall operete or: permit Ihe opemfion of          That no owner of a motdr vdiicie required to be licensed shab aparate or permit the operaticn of
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t(abiiity insurrance policy or evidence of setF insurartce. No person shaN epernte a vehide in the         fiabtlsly insurance poficy i+r evjdence of seit=insurance, hCo person shati opetate a vohtde In the
stete ►oho.knows ra has reason to. know tt>&t.thls reduired seccurity is not iri e9Pect for #iatveNc3e.    state ivho knows or has reason to know that this roquired seCtirdy Is not in effect forthetvehlcie.
This Identification Card is eviderrsae that8 pqlicy meeting the requirements oflhe lew is in efFect        This IdentKication.Cartl is evidence that a poticy meeting ttie requimments of.the t«tv is Jn effect    0
for ths velisc{e described on the Card. This card mus# be produced by the aperator of the v~ide            farth..e. v2hl.cle: descn'bed_ esn the Card: This r.ard must be produced by the openftr of the vehide   0
upon detnand of a taw enforceinent offlcer.                                                                upcxi demand of a les enforitoment otfcer:                                                              C
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CAitlA+thl (Back)                                                                                          CAI[1MN (Back)                                                                                          CD
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Ih3 CASE CF A+td ACCI®ENT                                                                                  IN CASE OF AN:PiCIG9DENT                                                                                a
* Cati Travelers immediatety.                                                                              " Eail Travefers imrnediately.
  1-800-2394225                                                                                              1-900-238-8225
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+ Be scre: to get name and address of each driver, pass.enger; and rwitness; ®nd tnsqrance                 ° t3e Stire to get name and addr®ss of eadr driver; passenger; and vftess; and Insvrance                0
 company and peiicy. number:fai' each vehide invoIved:                                                       company:end poiiwf nuniber for each vehide invotved.                                                  ~
'" Do nQt assstme responsttiiilyfor aci3dent.                                                              •:Do notessunte hespo§itdiityfor acciderd.                                                              3
` Caf1 poiice.                                                                                             •:Calf,poltcei                                                                                          00
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• Proted:against further damage.                                                                           • Protect againstfurther damsge.                                                                        N
• Reque~ m.edicai ass'+stance; fi reguaed.                                                                 *: Request medicai asslistarice; if required.                                                           0
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' pnty discu®s the aaadedt witii palioei otficers W Traveies representatives:                              * Only disauss the accident witn potice afficers orTraveiers representatives.                           0
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M1NNESOTA LAW 6;gQU1RES'                                                                                   i1,~Fdid6=St3TAi E_AtAt F?EQUtRES
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rtabifity isisv3ance poticy or evidence of setf-insuranae. No pecson shali openate.a vehiete t7 thE        Habdity:insurance p.olicy or etidenoe of setf-insurance. No. perscn. sheli operate a veh<de in the
state vfici knotars or has reason fii tamaa that this requrred secuay is not in eifact for that vehicte:   stete'who knws or has: reason to know that thts reqtdred security is not in eti'ecE tor that vehieie.
This Identtticallon Card is evidence that a poitcy meefing the requirements esfthe i®w is in effect        This Identtficatian Gard:ls evtdence tha! d poiicy. meeting f9se requirements of the (aw is in etTect
for, the vehicie desciibed on the Cai:d. Thts card musi:be:produced by the operatnr of the vAfde           fm the vrrhtcle descfibed on liie Card. 7'his:carti must be produoed by the operatar of the vehdcte
upon demend of a iaw enfarcenront aHicer.                                                                  upon dernand ofa t&Af enfarmnerit officer.

CAIDiViPI (Back)                                                                                           GAIDMN (Back)




                                            Case 2:20-cv-01600-LA Filed 10/21/20
                                                                         Exhibit A Page 153 of 201 Document 1-1
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                                                                                                      25674                  oNi; TOTVSR sQ1AR8; BARTFORD CT 06193                                     ~
  25674                 ONE 74WBR SpUARB, BARTFORD CT 06183                                                                                                                                            .F.
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Poticy iVu.mber .                              6ttecttw oate           Eaqalrsiion Oste              PaGcy Number                                    Etfective Date       Bptraf#on Oate
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       Yr~D VSHICL&S                                                                                 RLG 0WED YBSICLES                                                                                 O
Insurett                                                                                             trtsured                                                                                          G
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FAzr,u                                                                                               FAAGO                                  rat 5910a


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CAIDMN Rev:07-09 SeetmportantNe#ioeonReverseSide TRAVELERSJ                                          CAIDMN Rev. 07-OS See 4tnpatsnt Notice on Reverse slde TRAVELERSJ                                 cs>
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      M(NNESOYA. flNSURANCE 1DER9TiFICATION CARD.                                                           MINNES®TA INSURANCE 1DEA9't'iFlCATkJN CARC                                                 N
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 256.74                 oaTs Town sQuARs,'a»gORa CT 09193                                             25674              ONS. TCtWBH 8¢LTARSy HARTFakA CT 06193
Pdcy Number                                     Elieetive Date         Erxptra#ion Date              Pakcy Number                                    Effective t)ate      Expiration Date
Y-810-3D964291-TIL-13                             70-01-13               10-01-14                    Y=910-3094291-TIT,=13                                10-01-13          10-01-14
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      KEE6a THIS CARD EN :7'WE 1tE#1CLE AT ALL TIMEE                                                        KEEP MS CARD'IN'1`HE VEH6CLE AT ALL TDMES
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C.A[OMhI Rev. 07-179 See #mportant:ldatioe. on Reverse Side TRAVELERS-J                              CA(0l~AM ttey; t77'09::See (mportan# #Votice, an, fteverse:5de: TRAY~I.i~R~:.



                                           Case 2:20-cv-01600-LA Filed 10/21/20
                                                                        Exhibit A Page 154 of 201 Document 1-1
IN CASE ®F AP! AOCBDENT                                                                                    [N CASE t3F AN ACGlDENlT
' Ca1:Travelers immediateiy.                                                                               " Csll Travelers immediately.
 1-900-2384225                                                                                              1-800-238-6225
  24 Ht}tJR GLATA REHORTIA;Y; SRRVZCR                                                                        24 HL11JR GLRIN RSFORT3114 SR&ttTtM

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* Be sure tb get name a;id address cf each:driver, pessenger, and tivihiess; and Insurance                  ' Be sure to.get name and address ofeadt driver; psssenger; and witness; and:insurance                       ~
  corppany,and pdicy numbecirif each vehicts invdved.                                                         company, ant9 policy nuinber fflr eady veh'i;le tnvolvkd:
y Do not assume responsbifity f6rziecident                                                                 ' Do not assume respoasibilityfor acc7deid:                                                                   a
° Catr police:                                                                                                t,altpolide.,                                                                                              N
' Protect against further damage.                                                                          " Protectegainstfurtherdatnage:                                                                               ~
* Request medical assistance, if required.                                                                  ` Request medieai assist®nce; if required.
° bn.ly disouss the ao¢ident with police oftcers or Traveters representa6ves..                             " C1niy discarss the accident vrith polics 6fficers nrTravelers representatives.                              o
ME6dNESOTA LAW REQtttRES                                                                                   MNNESOTA LAW REQU1RES                                                                                         ~
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 25674                 OEE TOfiBR SQUARS, HAATPORD CT 06183                                        25674              023R 1'OBtBR SQMRR, HARTBORD CT 061$3                                           ~
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                                          Case 2:20-cv-01600-LA Filed 10/21/20
                                                                       Exhibit A Page 160 of 201 Document 1-1
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                                             Case 2:20-cv-01600-LA Filed 10/21/20
                                                                          Exhibit A Page 161 of 201 Document 1-1
       MINNESO'fA INSURANCE 1DEPdi'6FIDATiON CARD                                                        isA1NNES(aTA IPbStlRA(dGE a®ENTiPIDA'iTit3N CAitt#
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insurance requirements.                                                                            insurancs requjrements.
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Pdicy Nurriber                                    Etfective Date             Exqiireion Date      Pc6cy. Number                                  Effectiue Date          Expiratian Dete
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Poifoy Number                            Efiective Date        E:apirat}m Dete                    Policy PJumber                                  Effectivve Date        Expiration Date
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GA.I.OMN Rev. 01 D9 See imp ntNotice.on Re+rot59 Side TRAVEL:ER§T                                 CAI~M: Rev. 47-~ Sss Important Rlotic~.ctn Reverse Side ~iA~~r~~..~a~i



                                              Case 2:20-cv-01600-LA Filed 10/21/20
                                                                           Exhibit A Page 162 of 201 Document 1-1
IN CASE QF RN ACCIDRI<i'P'                                                                                  IN CASE OF Aflt ACCIDRNT
" Caf Travelers finmediately.                                                                               ' Cali Traveiers immediateiy.
 1-600-238-6225                                                                                              1-908 239-6225
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* cau poiice.                                                                                               • Gail_polica.
" Protect ageir►stiurther dsmage.                                                                           * Protect against further damage.
" ftequest medirhdl assistance, if requEred.                                                                * Reguest medicel assistance, if required.
° Oniy discuss the aacident urth poTice offisers or Traveiers representatives.                              * Onip >3iscuss the accident %ith pufiee ofiicers rre Travelers representatives.
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                                               Case 2:20-cv-01600-LA Filed 10/21/20
                                                                            Exhibit A Page 163 of 201 Document 1-1
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CAIDMT Rev,04-10                                                        TRAV;€LERS~



                                             Case 2:20-cv-01600-LA Filed 10/21/20
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* I?o not assume responsibility for accident.                                                                                                                                                                 0
                                                                                                                                                                                                              N
* Cal1 police.                                                                                                                                                                                                0
                                                                                                                                                                                                              n
4 Protect against futther darretge.                                                                                                                                                                           <
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° Rec{uest mediaal assistance, if required.                                                                                                                                                                   0
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*©n1y discuss the accident with police officers or Travelers representat(ves.
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t,Rontana Law Requires: The Atiio tO i;erd shali be csisied in the ansured Vehicle at all times as
evidenoe of.insun3nca and shafi fie exhfoitsd on demand of a justice of the peace., a peace of6cer, a
ttighway patroi bfficer or a fieid deputy ar inspector of the department.

CAiUMT {8aek}


IA! CASE OIP AiV ACCIDEtdT                                                                              1N CASE OF dlN_ACC9t?EN't'                                                                            m
* Cail Ttie Tr"avelers immediately,                                                                     * Cali The Travelexs imtnecliately.
 1-600-239-6225                                                                                          i-soo~2~s-s~2s
 24 HOitR Ct;AIs9 &EPoRRING &BIfVICB.                                                                    :24:__.
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* 8e sure to get name and address of ead'i driver, passenger, and witness,                              * 8e sure to get name and address of each driver, passenger, and witt'tess,
  and insurance comparry and policynumber for each vehicle invoived::                                    and insurance eoiiipart}i:and policy number for'each vehicle invalved:
; Do n©t:assume responsibi€ity for accident.                                                            ~ Llo not assume respons'ibitity for acciderrt.
° Call: police.                                                                                         ~:Ca1l.police.
~ Protect against furft7er. darnagta.                                                                   * Protect against:further:damage.
* f2equest medical assistance, if required.                                                             * Request medioal :assistance, if required.
* Only dscuss the accidertt_with poiice affloers or Traveiers.representatives:                          ~ Only diseuss the accident with police.officers or Traveiers representatives,
Montana Law Reqtiires: The Auto:ID Card shali be cqnied 9n the insured vehide at aU times as            Montma.law Requires: The Auto ID Card shall be carried in thek insured veflide at aA Umes as
evldence of insurance and shaH be *hdsited oi demand of a justfce of the pesse, a peaoe officer,-4      eVidence oi ihsurHnce ar~ shall 6e exhibiteit on demand of e justice of the peace, a peas~ oMcer, a
hfghvrap pmtro! offieei ix s fietd deputy ar inspectar:rFt the depertment.                              hlghway patro) oidcei or.a:held deputy or irispector of the department.

GAIOMT (Sack)                                                                                           CAIDlNT taackl




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           MONTANA CNSURANCE IDENTIFIGA71®Pd GARD                                                          P> ~N1'At~ I1V s93~At~~~ t~~i~T&~~~AT`[ON, dARD                                       N
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requiremertts.                                                                                 requiremWs.                                                                                      ~C
NAIC#:         Company: TRAVBLSRS PAOPSR3`Y CABtMLTY Lt?Ddf?M'S[ OP AMERZCA                    NAtC #_     Campany: TRAVgLBRS PROP$RTY GABItFiL.iY COAT+ANY OF AgRItICA                         ~
 24694                     ONE TOFdsR S4DBR8, HARS'FORt1, eT 06193                              24674                 02IR TOidFR SgMli.B, Hi1RTFaRD, 4'T 06193                                 ~
Pofley 14iamber                                   Effecttve Etate           Expiraticat Date   Paticy Number                         Ettective Date      E'xpirat.fan Date                      ~
Y-910-3A994291-TIL-13                              10-01-13                  10-01-14          Y-810-3094291-TLT,-13                                10-01-13               10-01-14
Year         ARatieflhodei               Vehiole ldentiftcation Number                         Year         Makeltlfndei                  Vehicie Ident;Gcation Number                          CD
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FLft&7'                                                                                        PL88T                                                                                            ~
Insured DA&OTA SIIPPLY GRbtTP: IP7C                                                            insured DAKOTA SUPPLY GROIIP INC                                                                 CD
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         2601 3RD AV$}lU& YdQRTH                                                                          2601 3R3 AVEWUB NO&TH                                                                   "
          P.O. Hox 29E6                                                                                   P.O. HiOx 2896
          Fnaao                              i~ 59109                                                     FARGO                               km 59108
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                                    _ .. .. . ... .  Sl7Fi
                                                      INE13,~                                                               "COEU€MERCIALLY .ILdSt!#$E®".
                                                                 _. .
                       KEEP THIS CARD IN TflE 1/EHiCLE AT ALL TIbAES.                                                  KEEP THIS CARD.IN THE VEHICLE AT ALL TIMES.                              -n


CAIDMT ftev.Od-10                                                  TRAVE~-~~~                  CAIDAAT stev.04-90                                                 TRAVELERSJ                    Q
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           MONTANA INSeJIRAVVCE 113ENT1FtCATlO1<I CAfPD                                                   MON'TANA (NSURANCE IDENT9FiCA'TI®N GARD                                               o
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The vehUe described belqw is.rovered by a liahiitty:pdicy tttat m.e¢ts IWsNikdrte~S(i~ffance
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rcqutrarneft                                                                                   requireafertts:
NAICAt       Cempany; 4&AVRLRRS PROPER'PY _C,ISDALTY COt;PX+3Y tiF AMRICA                      NAiC              Comp6{ty; TRAV&LBRS PR4PS&TY CASIIAbTY COktPA'N7t OF AgSRTC,A
 24674                    03€is :ROWNBR SQLi1►RB, FIttRTFORD, CT 06193                          24674                      +Dm ^,MR 54mm, HARTFORD; CT 06193
Pdicy Pfumber                                    EffecNve pate             E7cpiretian Date    Pdicy Nuinber                                        Eftedive Dete            Exptraticn Date    ~
Y.-910-3D,994291-TSL-13                            10-01613                  10-01-14          Y-610-3D904291-71L-13                                 10=01-13                  10-01-14         ~
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             .. . . . :.                 Vehicie Identfficattion Number                        Year          MakedModei                   Vehicla lderitlfiqatian Number                        N
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FLSST                                                                                          PL$iyT                                                                                           o
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Insurest DAROTA SUPPLY GR4'ESP INC                                                             )nsured    DAROfiA SttPPLY tf&+3UP INC                                                           J4.
          A2ID A8 PHR IL T9 00                                                                            A.2ID AS pE$:IL TB 00                                                                 po
           2601 3&D AVBNtiB NOR'FS                                                                        2601 3Rp::8VF;Nti$ ISORTH
          P.C. Hox a$a6                                                                                   P:.O..: . Bt►Y:28B6                  ..    . ........
           FARGt?                             iVD 5e1a9:                                                  ;FAR00                              2~ fi8108:
                             "GONIMERC1ALf:Y INSIJREO"                                                                          pCOMllERC.t.ALLY tNsrilREt!"
                       KEER. THIS :CARD :IN:T1-tE VEH ICLE ftT ALL TIMES,                                              KEEP THIS CARt3 iN THE VEHICLE Afi ALL TftJ1E5

                ..                                                 'PR~l~'E L~~iS
CA~4A~r:Rov:o4-~p                                                                              CAIDMT: ReV::04~90                                                   TRAVE1ERSAIIII,



                                         Case 2:20-cv-01600-LA Filed 10/21/20
                                                                      Exhibit A Page 168 of 201 Document 1-1
IN GASE OF AN AC+CtDENT     _ ...                                                                       iN CASE OF AN AGCIDMT
* Cail The Travelers iertmetiiately.
                              _ . ...
                                                                                                        - Cap Ttie Travelers irrtmediateiy.
 1-648-2384225             _.                                                                             1-000=2384325:
 24 HOiJR t`LAIN RSPORT72dL~:413E1(ICB
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                                                                                                          24 HOUR CGATM RSPoBTINC SERVics

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* Be. sure to. get narne. and: address of each driver, passenqer, ;and witness;                         *;Se:sure to get: name and address af each driver; passenger, and uritness;                              m
                                                                                                          atxi insurance cbrnparty and po#icy number for each vehicla irivoived.                                 (n
 and insttrance company and poiicy num~r for each veh#"ele Invaived:                                                                                                                                             N
                                                                                                        R Do npt assurme responsib.ility fcr accident.                                                           a
* po.not assume: responsibiiity for.accident.                                                                                                                                                                    N
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• Ca#i police:                                                                                          *;Cai) poiice.                                                                                           ~

° Prfltect against.further damage.                                                                      i Protect against further damage.                                                                        0
                                                                                                        * Request med#cal assistance, if required.                                                               0
• Request inedicai assistance, if required.                                                                                                                                                                      ~
* oniy discuss the accident with poiice officers or Travelers representatives.                          * C7niy discuss the aecident with poiice of<icers or Travelers represerrtatives.                         4-
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Montgna Law Reqtiires: Ttn: Autn iD :Card shRU be carried in the insured vehicte at alt tlmes as        tvFordana 1-aw Requires: The Auto ID Card shali be cerried in tha insured vehicie at aU times as
evidence of Ntsurance. and shan be exhibited an demand of a justice of the peece, a peace afficer, a    evidersce of insurance and shali be exhibited on demand of g justice of the peace, a peace otricer, a
htghway patroi tiificer ara fleid deputp ar inspectar orthe depariment.                                 highwap petrol otficer or a teld depufy or inspecor oi the departneeryi.

CAiDMT (13adc)                                                                                          CAIDMT (Back)


                                                                                                         iN +CASE OF At<! ACGfDENT                                                                               'r
IAf CASIE 43F AN ACCtE?ENT
• Ca11 The Travelers immediate#y.                                                                       * Cali The Travelers immediate#y.
 1-9t10-238-632s                                                                                         1-804-238-622.5
  24 HOUR CL9lI64 RSPORTING sBRKrTCR                                                                     2.4:11OUR +'LAnI RRP4RTIN0 SBRPIC6
                                                                                                                                                                                                                 :r


a Be sure to:get name and:address:of ear,h driver; passenger; and witness,                              a Se sure to get name and address ofi eac`t dr'rver, passer~er, and ~uitr~tess,
 and insurarce c©mpany:and policy'nutnber for each vehic#e:involved:                                      and insurance c ornpany and po#icy number for each vehi~cie invoived.
                         _ for accident.
• E?o nctt assume responsit~llty                                                                        ~ Do not assume responsib#iity for accident.
* Cal# poiice.                                                                                          ow CoII porae.
*: Protect:against further. darriage.                                                                   * Protect aga#nst further damage.
• Request metiioai.assistance, if. required.                                                             * Request medicai assistance, if required.
~ Qnty_discuss the ascident.with poiice officars or Traveler$:representatives:                           * On#y discuss the accident with poiice offiicers or Traveiers.representatives.
Mantan® t.aw Requires: The ,4uqo I.D. Cerd sraii be cetried In the insurad.vehk:ls at all.times as      .Montana.Law Requires: 'The Auto lD Card shali be carried in the insured vehicle at aSl limes as
ev9derc-e of insurahce and shail be eihibitad cn demand of a jus#ice of the peaee, a peace otfieer, a    evidence or Insurance ®nd shall be exhibiteei on demand oto just#ce uf Uie paace, a peace oif'icer, a
idght~y petroi:officer oY a ftetti :d~uty:~ inspector:c#ihm department.                                  hlghway patraf officer or a fie(d deputy or inspector o9the departmerit.

CAIDMT (Back)                                                                                           CAiDMT (8ac.k)




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                 N iAiVA 6NSURANCE IClC:NT1FtCAT!®[d CAFtD                                                                                                                                          O
                                                                                                            MON'FAPfA 9NSURANCE 6DENT9F0CA`ttON CAFdD                                               N
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The vehEcte descriW be4ove.ls cm.wed by a tlabitity pdicy,that meets Mcsntana's insurence        The vehicte desrxibed betw is covered by a Iiatitiily policy that meets Montane's insurence
reguiremetts.                                                                                    requirements.                                                                                      C
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NAtC?€:         Company: 1'RAY6LRRS PROPSRTY COsbUAL4Y COMPAA+-Y OF AC9RRICA                     NAEC#:        Cornpeny: TRAVSLRRt3 PROPSRTTY CASUZLTY COMPARY OF A?SFRICA                          O
                                                                                                                                                                                                    0
 24674                      CsPtE TCri48R BQIIARB, HBtRTPARD, CP 061$3                             24$74                   CM TOd1ER $Q21ARSr HARTFO&D r CT 0$7.83                                  ~
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Pdicy Number                                      Efta(tive Daoe             Expiretion D&te     Policy Number                                  Etieot'rve Date          Exp(raflon Date            t.a
Y-8104D904291-TIL-13                                10-01-13                   10-01-14          Y-810-3D904291-TIL-13                                10-01-13                   10-01-14
Year         Maked3U4adei                 Vehude Identi6cation Number                            YeBr         AltakelfVllsdel                  Vehicle Ideritification IJumber                      a
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FLBET                                                                                            FL'6ST                                                                                             n
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lnsured DkR,4TA SUPPLY LiROtfP 3NC                                                               Insured DAR;YfA S6PPLY GROiA3 IPiC                                                                 ~
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         A3b 3Ss P&R IL Te 00                                                                             ,t12iD AS: P%3& TL T8 00                                                                  :3
          2.601 3RD AtP~T[I^n NORFH                                                                        2601 3R17 AvBtus n*nRTs                                                                  m
          P.O. B8R 2886                                                                                     F:O. BOx 2096:
          FARGO                               8aD 69168                                                     FARt30                                 RD 59108
                              "Cf?MNflERCOALLY iNSUREC}"                                                                            "C®BVtMERCi#ALL'tr' INStlRED®
                       tCEEF THIS CARb GV Tti15VEHICLE AT ALL THiES.                                                      tCt=EP THIS.CARD IN THE VEHICLE AT ALL TIMEB.                             0
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CAIDtdIT Rev:04-10                                              TRAVE¢^ERS                       CAtDW Rev. 04-10                                                    TRAVELERSJ


          MQN1`AFdA INSURANCE IDENTIF1CATtt2N CARD
Th:e jehicle descrlbbd tretoxris
                            :....- cawprad by g IiabflitSrPdiey Hiat me~s Nitmtana's insuranca
                                                                                                 iSie vi,+liicie described bdoav is covered by a t"rabi3ty potEcy that mdets Mdntana's inssinuice
requi~efiieitts:                                  _...        _._.                               *uirements..
NAIC#:           Campany: TRAV&LBRS PROP$RTY t~BIIRI,fiY COPdP~iT+3Y OF AHSRICIa                 NAiG#            Campany: 2RA?7&LSRS .PROPBRTY CAStTAyTY eptdPAtrk OF AIAFRSCi1
 2467$                       OlY& YO'ASR S¢AARs, . HMFORD; [9P 06183                               24614                       OtD3 TciWT&R sQnRs, t3ARTi+O&D, CT 06183
                                                                                                                                                 .
Poficg_ Number                                    Effectiv.e Aate            Expiretion Date     Pdicy Number                                          Eftective Date           Expiratitn Date
Y-810-3D994291-TIL=13                               10-01-13                   10-01-14          Y=8104D984291=TIL43                                     10-01-13                   10-07.-14
Year         iUfaKetMotiei                Vehicle:tdent+ficatian.Number                          .11aa:       NlakethAadei                     Vehicie tderdiflcation Plumber
FLItK'P                                                                                          .PL'SE4
lnsured DARCNi'A &UPPLY C&OLTP INC                                                               Ifisilred DAg6TA: SUESPLY (iR0;1P IhFC
           AND::AS.P$R
            _... ...   IL T8 _...._.
                             00                                                                  ---        AM:gS-PSR IL T$ 00
           2601 :3RD A48NOR P74RTB                                                                          2601 3RD AY6HItJ8 NaRTH
          P.o. EOR 2,896                                                                                    P:.4, :8OX 2886
           FARGo                               AID: 5910.8                                                  FARG>                                  SID 5etoe
                              "C4MMERClALLY tNSlllRED"                                                                              04ONtMErRCMA1:L'(; ...
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                       KEEP THtS:CARD: IN THE:VEHlCLE:A. T AlL TllNES:                                                    tCEEP THIS CARD IN THE VEHICLE AT ALL TIMI:$


CAl[]A9T F2ev.0414                                                 7'RAVEd:~'6~: ..:             CAiDtutT Reti.:Q4~ifl                                                 ~~
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                                          Case 2:20-cv-01600-LA Filed 10/21/20
                                                                       Exhibit A Page 170 of 201 Document 1-1
IN GASE QF AK AGCIDENT                                                                                     IAt {:ASE OF AN dtCclaENl'
~ Gaii The Traveierr immediateiy.                                                                          «Gaii i'he Travelers imniediately.
 1-900Y238-6225                                                                                              1-800-238-6225
  ZS! Hc3[ttt CLAIM RBPDaTING SBRYICS                                                                        24 HOUR C1A1W 8&P4R4ING SER1r2>:B~..

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                                                                                                                                                                                                                      n)
* i3e sure:to get name ard.address of.each:driver, passenger, andwitness,                                  ~ Be sure to get name and address of each driver, passenger; and wi6iess,                                  cn
 and insurance company and policy number for each veiiicie involved.                                                                                                                                                  m
                                                                                                            and insurance compary,and policy number for:each:vehicie irivoived:                                       N
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* Do not assurre responsibiiity.for accident.                                                              ~ t3o not assume responsibifity foracciderrL                                                               N
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* Gaii poNce.                                                                                              ; Gaii poiice.
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• Protect against further damage.                                                                          * Protect against further:damage.                                                                          0
                                                                                                                                                                                                                      0
° Request medicai assistance, if requiredd.                                                                ° Request medicai assistance, if required_                                                                 ~
« Qniy discuss the accident with police offcers or Travelers representatives.                                                                                                                                         4_
                                                                                                           « Oniy discuss the accident with poiice officers or Traveiers :representatives.                            co
Moritana Law Requires: The Auto !p Card sh®1f oe ceried in the insured whfcle at aA ttmes as               PRertEtiana Law ReQuires; The Auto ID Ca.rd shatl bE carried in the insured vehicle et afy dmes as
es+idence oP insurence and shal be othlbited. en demand of a jusUce oF the peace; a peaoe:Ufflcer, a       etiidence of insurance and: sha(t #re exhibited on demand af a justice of the peaoe, a peace o~icer, a     i~
hlgrruay patrel officef ar a fietd doputy or inspector of the depattinent.                                 hPghiaay patrol officer or s Setd deputy ar inspector of the department.                                   0
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CW![3R11T (8ack)                                                                                           CAtETiV1T (Back)                                                                                           ~
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tN CFtSE ®F AN AC!GIDENT                                                                                   IN C,ASE d)F AN AGClDtEtdT
k tUaii The Trave{arrs iritmediataiy.                                                                      # Caii The `i'raveiersimmediateiy.
 1-900-2J12-622S                                                                                            1-900-239-6225
  24 HOUB GGATi9' RSP08TSHG s&RUICB                                                                          2$ SbUB CLg..tbf RSPoitTSbi6 88RYIGS
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                                                                                                                                                                                                                      CDcL
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* Be sure to get natre and address of each driver; passenqer; and witness,                                                                                                                                            ~
                          .                                                                                * i~e sure to get name and address of each driver, passenger, and witness,
 and insurance companyand:poiicy      nurriberforeach'vehrcie invoived:                                      and in.suranoe company and poiicy number for each vehicie invoived.                                      co
= Do not assume responsilyility for accident,                                                              * Do not.assume:respnnsibiiity far accident.                                                               i~
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* Gait. poUce.                                                                                             * t;aii poiice.                                                                                            C~
*:Protect againstfurther:damage.                                                                           ° Pratect against fufthtsr: damage.
* Request medical assistance, if required.                                                                 •Request medical: assistance, if requlred.
_Oniy discuss the acoident with poiioe afficers or Traveiers representatives:                              * Ortiy discuss the accident with pofice ofticers or Traveiers representatives:
 Montana.Law Requires:; The Auuto ID Cerd.:shall be canied in ftinsured veh6de at aa dmes as               Rfiontana. Law Requiras: 'Ihe AufiQ ID Gard shaU be..carrted in tha insured vehicle at all,times as
 evidersce of 8nsurance anet shall tie exhkbited.on:demand of a iusfice of the peace. a peace ofhcer.: a   eyid.e:sce of insttranoe and_sha6 be eXhibted o.n demend of a justice of 9he peace; a peace.rifficer, tt
. tugtaraay:pafroi ra~cer a a:field:d~uty or inspector of the departmfslt.                                 highway Patrot afftcer orakfd deputy or Inspector bithe depadment.
CAlaMT (Back)                                                                                              Clllt)MP ($eclij




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The vetiiete descrlbed:beIow is couered by a tEabitiiy palicy, that meets MattaneV insurepce     Ttie:vehlcle de5rtibed Aetowls ccvered by a iiabiifty pot;cy thai; meets mWnfeiia~ insurance     t)
                                                                                                 requirements.                                                                                    ~
requirements.                                                                                                                                         _                                           Cs
               Company: 3'RAvtiLBR9 PAbPFRTY CASUALTY C4MPAI4Y OF AMSRICA                        NAIC #         Company: TRAVSLBRS PROPBRTY CA9ttALTY COMPAAiY OF At+iBRICA                       0
NAfC #8:                                                                                                                                                                                          0
 24674:                    t)idS TOWER SQU1',RR, HARrF4RD, Cfi 06183                               24674                    D2iR TCifisR sQt6ARR, ffieRfiFdRri, CT 06183                          ~
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                                                   Effedive C1Rte             £itpisation Date   Palicy Number                                  E8'ecthte pate               Expirabon Csate      w
PcriGy Ptutitber
7-910-3I1994291-TIL-7.3                              70-01-19                    141-01-14       Y-93.0-31)984291-TIL-13                         20=05-13                      10=01=14

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Year         EvlakelA9cdai.               V®hicle_itlentfic~ion
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FLEET                                                                                            FLRBF                                                                                            C
tnsyred riAKOTA SUPPLY GROUP IttC                                                                insured   AASdTA BUPPLY. C3R4T3P INC                                                             a
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           AxD As PSR IL me ao                                                                             7INM AS PSR Iy T8 00                                                                   ~
           2601 3Rn AasrRM xoRTx                                                                            2601 3RD Avmm xoRTa                                                                   Ci
           P.O. BbR 2996                                                                                   P.O. bOX 2886
           PkRGa                               tan ~~168                                                   FAf3Go                              T3D 58108
                              e,COMMERCIALa:Y iNSURED"                                                                         "GOMPAERCiALLY 1NSURED"
                       KEEP TH I8 CARD }N TFiE VEHIGLE AT A1:f. T1ME8_                                                  KEEP THI3 CARD {td THE VEHIGLE AT ALL TEMES.                              -n
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                                                                        Alw                                                                                                                       Cz
CAIDMT Rev.04-10                                                TRAVELERS                        CAfDMT Rev.04-i6                                                     TRAVELERV                   O
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           MONTAltlA 9NSURANCE 6DEPITIFIGATlON GARD                                                                                                                                               0
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Ttie veYiicle descn3sed b81ow is covered by a Gablity pcticy that meets GAortana's insurance     The iefricie described bi;lvar is covered by a fiabi6typolicy that meets Montwm's Insuranse
requirements.                                                                                    requirements.
NAIC#:      Company: TRAVELERS PROPRRTY CASIIALTY COIdPe1NY OF ACARRICA                          NAIC #f:       Cnmpany: TRAVTLSRS BROPERTY CASUALTY C(WANY oF .AKSRICA
 2467.4                OxB TO SR :$QIIARB, RARTFORD, GT 06193:                                     24674                      WE T4WSR SQttA7tS, BARTFOFD, CT 06283
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Pefley Number                           EfreGive Date      ExplreNon Date                        Policy ltilumber                                    Etfectfve Date           ExpiraHon Date      ~
Y410=30$$291-TIL-13                      10-01-13.           10-01;:14.                          Y-810-3064291-R'TL-13                                 10-01-13                        10-01-14   ~
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                                          Veh;de tdentifisatlon:Mutttber                         Year         MakelModel                   Vehicl® tdentifieatiarn Number                         ~
Year         MakeiMadei                                                                                                                                                                           rn
PL'~?                                                                                            FUNP                                                                                             0
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                                                                                                 Insuresi DAKC'TA St7PPLY GROIIP INC
                                                                                                                                                                                                  ~
3iisured DAROT.A SUPPLY 6ROUP INC                                                                                                                                                                 44
          AtR7 .AS P5R Ifr TB 00                                                                           dNR AS PER.~7a:T8':QU.'                                                                co
          2601 3RD AVBtUB NORTO                                                                             260i 3RD':IAv8= rroxTs
          P:,o, AOR 2806:                                                                                   P.O. 80X 2986                           ....
          PAaGsi                  taD 5.8108                                                                Pi_.►BC~ti
                                                                                                                   ...                         HD 583:08

                               ":GOMMER.GtALLY;1N:3URE1]"                                                                      "CO M6UlERCiALLY .1NSUREW'
                                     _. IN THE VEHICLE AT ALt. T~lE8.
                        10EEP THIS CARR                                                                                 !{EEPTHtS CARD IN THE VEti1Cl:E AT ALL TIMES


CAIDNlT Rev: D4-90                                               7'R;AVELRRS
                                                                           .'r                    CAID~' Rex:04-1n                                                     TRA4~ELERS.I~
                                                                                                                                                                                ~



                                           Case 2:20-cv-01600-LA Filed 10/21/20
                                                                        Exhibit A Page 172 of 201 Document 1-1
IN CASE :4F AN AC.CID>bNT                                                                                 IN CASE t?F ART ACCIEfEh17'
* Cail The Trave}ets imrtSeciiateiy.                                                                      • Call The Traveiers immediatety.
 1-E00-2304225                                                                                              1.-940-239- 6225
 24 Ji0UZ2 CI:AIM RB8QRT332G: S7MVIC$                                                                       24 HOUR C4AItd SBPbR'T= 9ER9ICk3
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y13e,sure to get name:.and:address.of e.ach driver, passeri r and ~vitnes$,                               xBe: sure to get name and addresa of ieach. cdr(ver, passenger, at~Y witness,                                a
 and insurance companyancf polidy nuJnberforeach vehi~cele involvecl:                                       artd i m+;trance cdrnpany and. poltcy numberf.or:+each vehtcle itrrvived:                                  p
* Cio not assume responsttitity for accitlent.                                                            ~ C3n not assume respahsitsyi'ity for ar,cident.                                                             ~
* Call Pxatice.                                                                                           * Cail police.                                                                                               o
* Prntect against.further damge.                                                                          * Protect against further damage.                                                                            ~A
* Request rrtedicai:assistaricJe, if required. .                                                                                                                                                                       4-
                                                                                                          * Request medicah assistatzce, if required.                                                                  z,,
* Oniy discuss the acciderit w'ith police officers or Travelers representatives:                          * t7nly.:discuss the aocident with prstice qffiioers.or Travelers representatives.
Moniwna::t rw :Requires: The Auto 10 Card sha4t be ca4~l: in. fhe Jnssred vetiicte at ari rsmes as        tdtuidena Jaw iteGutres: The Auta 1r1 Card sheli be cefsied in the insurec4 vehicSe at aD tones as            D
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evidence oP insurancs and sta1l be exhAsiEetf ai deineiid nf a Iusticz of the peace, a peace afJicer, a   elAilence or Jttsurence atitl: shafJ be exhibired: on denisnd ofi a justice or the peaoe, e peace oMcer, a    ~
highv+ay paraf oificer or a fietd deputy or lnspector af the department,                                  hlghway patrol oi6cer or a Aefd iJepiify or irispectnr of the department.                                     ~
CAIDMT (8ack)                                                                                                                                                                                                           (D
                                                                                                          CAiDN(T (Back)
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IP3 CA sE t3F AN ACCtC2EN?'                                                                               IN CASE AF AW ACCIDENT
•:Call The Travelers. imrnediately.                                                                       * C4''atl 7'he Travelers immedlatety
 14ao-238.=6225                                                                                             ~.-Bi}.0>?38=6225 . .                                                                                       ~n
 24 HOtJR QeASbi R8P0&T3Z+TG 8BRV3CS                                                                        24 SoITlt c~AT~ RSPaHTI~iG :S8RV3cIK                                                                        q
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$ Be sure 16.g6t riariie and address of each ciriver, passeRger; and witness;                             * Be sure to get nariie; and address of each driver; 0 ienger; anrt witness,                                      N
  artd inst,Jrance corrtpany arc!_ poiicy nurnber:for each.vehtcle involved:                                anci.:{nsurance compariy and policy number fcir each vehtcte inv;3lved.                                         Q
~ t3o not assfs.m respansibi4ity fr•sr:accident.                                                          * [30. not assume.respoitsibility: for:accidertt.                                                                 ~
4 Call,police,:                                                                                           t Cal! pot'tce.
•'Protect ag~iitst.further darriaj~e;                                                                     ~_ Protect against further daJrra~.
• F2eqUest medica) assistance;'ti requited:                                                               Y Reqi tesl' i7iedica! assistance, -if required.                                                                  .o
* CJJity.disGuss the accidentwiih pol'ice offcers or 7raveters'reraJesentat'sves.                         *dniy disouss the.accident with policE aflrcers or 7ravefers represetitatives.                                    ~
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Mantana lawr RequJres: The Auto JD -Gard sfiatJ be cartied.ln the Insured vehicte at aii times es         Massiana t.aetir: Requires: The Auto :ILI.:CarcJ ShaA be cprried in th@ insured veh{rle at aU. tJates as           p~
evi0ence of insurance aod shal! tre Wtiislted on,demand nfa jtrstice of the peaw,P peece officer,: s      evideice or insutantq end shait tse exhibitetf wi .dama,d of e justice orthe pear,e a pe9ce otfics:r,; e           ~
hi,gJnvay patrol otfceror e:fielal depiityir tns~ectoT of the:d~parkRietit.                               higtrweY: patreJ officer or e field deputY or Jn~sector arthe departoierk:                                         O
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CA1Dt+AT. (Back)                                                                                          GAiDMT (Badd                                                                                                        .41
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                                                Case 2:20-cv-01600-LA Filed 10/21/20
                                                                             Exhibit A Page 173 of 201 Document 1-1
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                            _. . ..   ![fEN411~~GAT1OaN ~~AEiCO                                                    fVONTANA 6h1SURANGE iCSENTiFiCAT6ON CARLt
The vehic[2 descr[bed belcrw-is covefed by a liabUity policy that mz++ts Mordana's tnsurance            The vehide described beio+uis covered by a liabifity paficy that meets Mantana's insurance
requinenerits                                                                                           requiremen's.
NAtC#:        Compeny: TRAVELRRS PROPRR`PY CASUALTY GaMPANY OF AalERICFi                                NAtC tt:        Gompany: TRAYRLHRS PROP&RTY CAStiALTY COMPAN3' OF A@SBRICt►
  24674                    OWE 70•r7SR SQuAM, IMaTP08D, CT 06183                                         2+3674                    cM TOtiSR SpID1&B, 13A&TFOHD, C'P 06163
t?aiIcy Number                                     Effective Date           E'xpiratlon Dafe            Poticy Number                                 EfTective Date         Expiratiai Date
Y-610-3D994291-TIL-13                                  1.0-01-13                        1D-01-14        Y'-810-3D984291-TIL-13                          10-01-13                 10-01-14
Year         Makettkdei                      Vehicte Identffic,gtion Mumtaer                            Year         MakeAUcxiei                 Vehicle tdentffica6on Number
80S7                                                                                                    PLSET
tnsured DAKOTA SUPPLY GROUP 12+iC                                                                       insured DA.ROTA StTPPLY 4ROtJP IYtC
          AM AS PRR TS, T8 00                                                                                    AND AS PSR IL T8 00
          2601 3BD .AYffi7iJFs NORTS                                                                              2601 3RD AVffiiQS FtORTS                                                             a
          P.                                                                                                       P.O. HOa 2986
          8ARl3o aX 2885             ND 59109                                                                      FRRGO                             YD 58109
                                                                                                                                                                   4A
                                `tCL}MMERC6ALLY INSUREKY'                                                                           fIICOMMERClALLY iPdSl1RED
                       KEEP TFiIS:CARD 1N THE•VEHICLE AT AlL TiNiES.                                                          KEEP TH{8 CAl2D tN THE VEHlCLE AT ALL TIMES.                             -n
                                                                            AAk                                                                                                                        ro
                                                                                                                                                                                                       a
CAIDAAT Rev.Od-10                                                    TRAVELERSJ                         CAinMT Rev. aa-io                                                TRAVELLERSJ                   0
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The vehicte. described bekrx is crnrered by a tiability popcy that meols A9mAana's tnsurance            The. vptiide described bdrnvis covenel by a liability poiicy that meets N3ontana's insurance
requirements.                                                                                           requirements.
NAiC #.         Company: TRAVELSRS PROP&RT3C CASUALTY COI3fPAA1Y. t7F AblSRICA                          NAtC #:        Company: TRAi►RLERS PROPMx1'Y CASt1ALTY COR.PAtdY OZ+ AtdERICA
 34674                        OIaR acWR& sQuABz, aARTFORD;.:cP 0.6.183.                                  2074
                                                                                                            .                       oNE TOS4ER SQUARE, HARTBORD, CT 06153
Pdicl Number                                         EPfective Date                   Expiratlon Date   Paliay Number                                     Eftective Date           Erpiration Date
Y-810=3084291-71L-9.3                                  10-01-7.3                        10-01-14        Y=93.0-3D9S4241-TIL=13:                             1041-13                  10-01-14

Year         Make/Niodd                      VehicEe Idenbfiaatipn.tdamher                              Year         NlafkelModel                Vehicle tdentiftcatton Number
FI,SRT                                                                                                  FLERT
fnsureci DAHOTA SIIPPL'Z GROUP INC                                                                      insured DAi{OTA SIIPPLY BROIIP INC
          b41D AS PSR IL TO 00                                                                                   ANb hS::PE&:IC,: TS.
                                                                                                                              _ _ .. .....00
          2601 3RD AVtIEf]8 NORTB                                                                                2601 3RD AVR2iClS:PrORTJa
          P.O. Box 2m                                                                                              P:O. : Eo3- 2886                  .. . ..... . ..
           FARGO                                 POa 58108                                                         Fl1863                             t~` Sg'1Q8
                                                                                                                                                             _.. .. .-

                                "COMMER+GII~LLY          (R15UFtED"
                                      .. ::: . . . . . .....::. .:. :::... .. . . .
                                                                                                                                      "G+DMMERCI`ILLY fNSUi2ED"
                       KEEP THIS CARD tiU THE VEHICLE AT ALL TttvlES.                                                         KEEP
                                                                                                                               ... THC5
                                                                                                                                     ... CAt2D
                                                                                                                                         .... . IN TNE
                                                                                                                                                    ... VEHICLE AT PiLL TtAfIF5


cAtDMT Rev:Da4O:                                                      TR,A1d'ELER53                     catDMT Rev. 0a,10                                                  TRAVELERS


                                              Case 2:20-cv-01600-LA Filed 10/21/20
                                                                           Exhibit A Page 174 of 201 Document 1-1
1N CA;gE OF AE! ACCID>Eff                                                                              IN CASE CyF AIV ACCYfiPEdT
* Cail The Traveters immediateiy.                                                                      9 Cafl The Travefers immediateiy.
 1-901a-238-6225                                                                                         7.=800-239-6225
 24 g0i1R cGAIM RSFORT3@T(3 sBRY2CR                                                                      24 HOUR IMAIK R$PORfiINg SISRttICB


                                                                                                                                                                                                               ~.
~ Be sure t.o:. :get n.a.m2.and:address.of each driver,.passerrger,.and!~itness,                       * Be:sure to get name and addressof each driver, passenger, a.nd:witrress,
 antl insurance comgany end oolicy number foreach vehicte rnvoived.                                     and insurance contpany and policy number for each veh. icie involved:
= Do rtot:assume f.esponslbili(y:for accident.                                                         * Do not assume responsibiiity for eccident.
° GaN potice.                                                                                          * cali poiice.
* Protect against further damage.                                                                      •. Protect against further damage,
• Request medicai assistance, if required.                                                             j* Request medical assistance, if required.
R t7niy disouss the accictent with police ofPicers or Traveiers representatives.                       * t7nly discuss the acadent with poiice officers or Travelers represErttatives.
Montana Law Requires: The Auto ID Card sh®il be catried in the insdred vehicle at eli :times as        1V9cntena Laxr RequPres: The Auto ID Card shall be oartied in the insured vetticfe at eQ timr:s as
evidence df insurance and sha6 be exhtited on demand of a justice of the pesce, u peace offreer, a     evidence of insurance and shall be exhlbtled cn demand of a justioe of the peaee, a peace officer, a
taghway pairof offlcer ora field deputy or inspettor of tfie department.                               tsigharay patrol o4ficer or e field deputy or imector of the department.

CAl0M1' (Back}.                                                                                        GAIDIHT (6ack)


IP! CAaB OF AN ACCIDE+!!T                                                                              IN GASS OF AAt ACCIDENT                                                                                 Ai
* Cali The Traaveiers imrnediately.                                                                    ^ GaN The Traveiers immediateiy.
 1-600-239-6225                                                                                          7.-940-239-6225
 24 HOUR C6AIR RBFORTIfIG SERYICa.                                                                       24 BOUfl CbAIPd RSPQRTItdQ SER1iICE



* Be sure to get name ard address of each driver, passenger, and witrm,                                * Be sure to get name and address oi each driver, passenge, r, ard witness,
 and fnsurance company and paiicy number far eac6:vehtcie invcilv.edd:                                  and insurance company ant! poliay number for each vetilcie invoiveci.
* Do not assune respansibiiity #or accident.                                                           * Do not assume responsibiiity foi accident.
* Gall poli~e.                                                                                         * Caii palice.
* Protect: again.st f'urther damage.                                                                   °:Protect against fiurtherdarvuage.
° Request med. ica( assistance, if required.                                                           *:Request medicai assistance, if required.
* Ortly discuss the acciderd with poiice officers or Traveiers: representatives.                       s Qnly discuss the aocident wittt'poiice offieers ar Travelers representatives.
Montana Law Requines: 1`he Auto tD Card shall be catried. in the insured vehide at all times. as       ttdcsrstena. Law Requires: The Auto IQ.Card shaH be carried in the insured vehicie at all times as
Wdence of insurance aiid shali 6e exhitrited on demand of a justiiae of the peace a peace officsr, a   e+3dence of insurance and shall tie exhlbiled on demand of e jusfice of the peace; a peaee otficer, a
hiptnvay patml ofncer or a teld deputy or inspector of the depaitment.                                 hlgtnvqq patinl ofdcer or a field deputy or lnspectrir of the tlepattment
GAIDMT (8ack)                                                                                          CAfQPo9T (E3ack)




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                                                                       Exhibit A Page 175 of 201 Document 1-1
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                                                                                                                 maNTANA rNsarRA                           ioENTncAnON'ci"iftb
The.vehPcle dascdbed betaw is ca✓ered by.a Hablity poliey that meets iSrtantana's insurance          The vehicie descr~ed betmx is covered
                                                                                                                                        _ tiy a(tmbijlty:poliGy
                                                                                                                                                     .. . ..    tfiat meets Mcxttana s tneurance
reGuiretnents:                                                                                       reQuii~emeiats; .
NAIC#:       Company: TRAVSGBRS PR4PERTY aASUALTY COBPAh1Y OF 3tMBRICA                               NAiC #:     Company: TRAVSLERS PROPERTY CE~6UALTY COf,SPRNY OP AMRZeA
 24674                  02aE Ttsm SgUM, 9ARTFORD, 4z- 06103                                           24674                 obiE Ti~R SgTJARss, HAR+PFOPD, CT 06163
Policy. Number                          EtPeclive Dabe   e=xpiratlon Aate                            Pcticy Number                         EfiPective Deke  6eptraticct Date
Y-810-3D964291-TIL-13                                  10-01-13                    10-t1i-14         Y-910-3D984291-TIL-13                                   10-01-13                    10-e1-14
Year         MakefMode{
                   _                        Vetiicleldentific~ioritJuitiber
                                                                    _                                Year          MaketModell                      Vahiole identiftcation Number
FL88T                                                                                                FLSE2
insured DAROTA StfRPLY ORU'IIP JktC                                                                  lnsured DAR4TA SiTPPLX GROUP %kC
         A2ID A.S..PIiF2.3L 'P8 00                                                                            ANb AS PSt3 TL.TO 08
         2601 3RD AYBNtJ]3 Ht?RTH                                                                             2601 3RD AV8NC[6 DTOBTB                                                                           +i
           P:O:.BO% 2886                                                                                        P,O. sbx 26e6.
           FARC30                                ND 5$108                                                       FARtxA                                   PD 6910$
                               ®C£9MMERCiALLY INSCBRIED"                                                                           "COMMERC9ALLY 9NSURM"
                        I{EEP THIS GARD:fN THE VEHICLE AT ALL TtMES.                                                          KEEP:THIS CAt3D tN THE VEHICLE AT ALL TIMES.                                      -n
                                                                                                                                                                                                                m
                                                                                                                                                                                                                Q
CAIDA4T Rev.04-10                                                    TRAVELERSJ                      CAtDr~T Re,: 04-10                                                            T'l~hELE~~~                  0
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Ttie vetiede: describeit below is ciriered by a liab6ity policy thai meets tJloii3ana!s iiisurance   Ttie ve#tide ifesaibed 6eirrtF Is ¢arisred 6ya tiatiititypniicy thet meets Montatiu's insil[i1nCa
requireiiieiits,
           _                                                                                         requirerner~s.
PJAiG#:          Comp®ny. TRhVELBRB PROPERTY CASUIiLTY IXYNPANY aP Ati@RICA                          TdA1C          Company: TRAYBLffiiS PkOPSRTY CtSSt5lsZfl,'Y GC)1`iH11N3i. OF ~ICA
  24674                      O]ti?E TOWBR. SQUARS. HARTFOfiD, CP 06193                                 24674                      02S.E TOkSR 9QMRB, HARTFORQ.. CT 06193
                                                     E1Terflve Date              t=atpiratton Date   Policy Number                                            Effectiva Date                 Eicplraticn Date   ~
PnticyNumber                                                                                                                                                                                                    n3
Y-910-3084291-TIL-13                                   10-01-13                    10-61-14          Y=810-3084291-wTIL-o1.3                                       10-01-13                     10-01-14        ~
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                                                                                                                   MakefiRodei                      Yehicle tdenti8ca0on Number
                                                                                                                                                                                                                w
Year         Make/fUlodd                    Ve.hicle:identificetton..N..umtter                       Year
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FLEBT                                                                                                FLSET                                                                                                      O
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tnsuted DAxOTA.SIIPPLY GRODP 1NC                                                                     insured DAKOTA : SIIPPLY: GROi3P INC                                                                       J~
        AND AS PSR.IL T$ 00                                                                                    AIID    A9: Pg&:IL:
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           2601 3RD: 34ir8EitT& NORTE                                                                          2607:: 3RD: AYWNUB :2d08TH
           P:.O. BOR 2$96                                                                                       p:0.::eOX'288b
           FAxao                                 rm 5e109                                                       FAR~D;                                    im 5$148
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                              °'COMMCIALLYINSURM"                                                                                     "CO.Pd#MERClis4LLY' iNS: UREW"
                        KEt=P THtS CARD IN THE VEHICLE:AT ALL TIMES.                                                          KEEP TH1S: CARD IN THE VEHICLE AT ALL T:IMES


CAIDMT Rev: ~+L-10.                                                  FRAVEi'E~~~                     CAIDMT Rex:taa-htr:                                                           TRAVELER5
                                                                                                                                                                                           4P



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                                                                         Exhibit A Page 176 of 201 Document 1-1
1N OAS6 OF AN AOGfDENT                                                                                      IN_OASE AF.AiU piOGt[9@NT
* Call The Travelers iinmediately.                                                                          = GaEi Ttie Travelers
                                                                                                                           ,          immediateiy:
 1440-'2394225                ......                                                                         i~$oa aae~~z2>z .
 24 zioUUR CLAiiS REPORTitQC Ss&PZCS
                             _.                                                                              24 HOUR
                                                                                                                 _ . .. E5,7tIt3
                                                                                                                             _ REP.CI~~N
                                                                                                                                  ........... G SSRVICB

                                                                                                                                                                                                                     n
                                                                                                                                                                                                                     m
* Be sure tn get name and address .of:each.driver, passenger,: and witness;                                 * Be:sur+e:to:get name:and address.of each driver, passenger, and witness;                               CD
 and insurance conipany:and pbiicy nuintierfor each vehicle invoived.                                         and insurance company and policy number for each vehicle irnroived.                                    ~
* C}o notassume responsibilityforaccident.                                                                  * ao not assume responsibifity.forsccidertt:
                                                                                                                                                                                                                     C)
k Call poiice:                                                                                              * Gall police.                                                                                           t~
* Protect against further damage.                                                                           * Protect against further: damage:                                                                       o
II Request medicai ass'isfance, if requ"ired.                                                               * F2eq,test medicai assistance, if required.                                                             o
* Qrily discuss the acciderrt with:pulice officers.ar Travelers representatives.                            * Ghiiy d'iscuss the accident with police officers or l"ravelers representatives.                        W
Mlontane Law Requires: The AiAo }© Cand siall be eanieti in the insttred vehaGe at aN Ylmes as              hdRrttdtis Law Requires: Ttie t4uta 7D Card shetl be.cerried irt the insiciad.iiehide at ait tirnes es
eAdenoe of tnsuranee and shali iae exhibited.on:demand ot a justice ot'the peaae; a peace.crfficer, a       evidence of:insurance and:shatt be.exhibiked.an de-mand of a justice ss€the peace, a peace afficer, a
high>Rray patrot ofticer ar a ifeid deputy arinspebtar cr the depadinent.                                   hig9iw+ay patrot tSfGcer ara fleid depucy or inspeetor of the depaitment.                                o
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CAt DnitT (Back)                                                                                            cA1DN(P (8ack)
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* Frotect against further damage.                                                                           ^ Protect against further.:damag~e.
* Request medical assistance, if required.                                                                  * Request medical assistance, if required.
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 and insurance com~ny atxl poiicy numberfor each vehic►e involv+ed.                                                                                                                                                       N
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* Only discuss the aecident witt-i poliee officers or Travelers representatives.                             * Only ciiscuss the acciclent with poiice officers or Travelers representatives.                             w
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         KEEP TH(S CAtiQS EN 4'HE VE3°9lCLg AT ALL 7'IPl9Ea,


CAIOND Rev. 7-96 8ee importent Notice On Reverse 8ide       TRaVELERS




                                    Case 2:20-cv-01600-LA Filed 10/21/20
                                                                 Exhibit A Page 180 of 201 Document 1-1
IN CASE ®F AN ACCIDENT
' Call The Travelers imme3ately.
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' He sure to get name and address of each driver, passenAer, and witness;
  and insurance comparr/ and policy number for each veMde imrolved.
` Do not assume responsiblity Tor acddent.
" Call pdice.
' Protect agelnst further damage.
' Requesl medlcal assistance, if requTed.
• Only discuss the accident wlth poUoe officers cr Trevelets representatives.
fd®RT'H DA4C®TA LAIFU REQUiRES
That any persoti who oper•ates a rnotor vehide hsve in their possesslon an tnsurance
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CAIDND (Bedc)

IN GASE ®F AN ACCIDENT                                                                                         ~U'
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Policy Number                               Effectiv® Dete          Expitalion Date   P,XicyNumber                                                     Effective DOte            Expiration Date
Y-8104D904291-TSL-13                         10-01-13                10-01-14         Y-010-3D994291-TIL-13.                                            10-01-13                    10-01-14
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                                        Case 2:20-cv-01600-LA Filed 10/21/20
                                                                     Exhibit A Page 184 of 201 Document 1-1
IN CASE dF AN ACCIDEi;DT                                                                            Ih1 CASE ®F:AN ACCEDENT
' Cag The Traveiers €mmediate€y.                                                                    * CaiiThe Traveiers immedistdy.
  1-960-239-5225                                                                                      3.-000-238-6225
  24 HOtIB t'.GAY6S RSPOR'P= SSRVIG'S                                                                 24 HIaU& CLAIM RBPORTSNG ABRVIG'R

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" Be sure to get name.and address.of each driver, passonger, and wibs~;                             ¢ Be sure to get.nanie and address of eaeh drivar; passenger, and witness;
  arid insurartce ccfnpany and poiicy iiuniber foreaoh vetdtle involued:                              and tnstiraiiae cdmpany antl poi€sy neimberfor each vch€dC invoNed.
* Do notassume resRonsit}€aty frsr acddent.                                                         * Do not ®ssume responsdbii€ty:foraccident.
" CaU police.                                                                                       ' C&11 pd'p:e.
" Proiect against further damage.                                                                   ° Protect against further damage..
* Request medicai ass€stance. if regu€red.                                                          g ltequest medipml assistance, ifrecuired.
" Ortiy discuss the accident with pa#ice affiaers. or Travelers representatives.                    " tNtiy discuss the acoident witii po6ce otficers or Traveiers representa8ves
NdRTH DAKOTA IAW REQUIRES                                                                           NO@3T1°I DAKOTA Ir411U_ REQPJIRE a:
That any person who operates a niotor vehide have In their possessiari an insurence                 That. arty person who operates a motor vettide have in their possession an lnsusance
ident'r'ncation card. Th1s card Indlcatds ycu haVe an insuranoe poUcy tor the motcr vohlde          identtfication card. This card indicates you have an insurance potiay for the m4tor vehic3e
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you keep the card in your car at tiio iimes, sinoe it milst tie dispiayed upon demand to a law      gou kee P the card m your car af afl flmes, since h must bo disp€ayed upan demattd ta a law.       0
enforcement ofticer,                                                                                enforcement ott€cer:                                                                               C
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                                                  Case 2:20-cv-01600-LA Filed 10/21/20
                                                                               Exhibit A Page 185 of 201 Document 1-1
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          NORTH DAKOTA INSURANCE IDENTIFICATION CARD                                                  NORTH DAKOTA INSURANCE IDENTIFICATION CARD
The auto dewfbed below Is emVed by a Ratility pollcy that meets North bawa's                The auto descd.bed below is cmwed by a nabllgy pblicy that teets Modh
compulsory Insurance 16w.                                                                   compuMry insurance law.
Campany: TRAVZLNRS PROPERTY CASUALTY COMPANY OF ANBRICk                                     Company: TRAVIMERS PEtOPMTY CASUALTY COMPAVY OF AMnICA
Pdicy Number                                  Effective Date           Expiration Date      Policyl%lumber                               Effoctive Date        Expiration Date
Y-910-3D994291-TIL-13                           10-01-13                16-01-14            Y-910-3D984291-TIL-13                         10-01-13               1.0-01-14
Year         MakelModel,              Vehlde ldenfificaffon Nmbar                           Year               WaketModel       Vehide Identificaflon Number
FLEET                                                                                       FLEET
Insured    DAKOTA SUPPLY ORMP INC                                                           insured DAKOTA SMPLY GROUP INC
           AND AS PER IL TR 00                                                                     AND AS PElt IL TO 00
           2601.3RD.AvEinis Nom                                                                    2601,3RD Avimm NoRxR
           8.01 BOX 2996                                                                              .P.O. Box 2906
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           FARGO                                                                                       FARdi)                       ND    58109


           KEEPTHIS      ... ... IN THE VENICLEAT ALL TIMES,
                . .... . CARD                                                                          KEEP THIS. CARD, IN THE VEHICLE, AT ALL TIME&
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CAIDMD Rev.7-96 S"Important NoUco On Reverse Side              TRAVELERSJ                   CAIDND Rev.7-98 See Important Nofice On Romrse Side           TRAVELERSJ



          NOFZTH DAKOTA:INSURANCE IDENTIFICATION CARD                                                 NORTH DAKOTA INSURANCE IDENTIFICATION CARO
The sulo.~dmribed:,belqw is Covered by a lieb,i.U!y:. poFiqy : that.mei~4.:N.00 Dakota's.   The auto desedbed below is cowred by: a HoWildy policy thet meets North Dakota's
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Compapy: TRAVHLERS PROPEM .C. ASUALTY COMPANY OF AMMCA                                      Compny: TRAVELERS PROPERTY CkSUALTY C07APANY OF AMERICA
Policy.Number                                 Effedve Date             Expiration.Date      PolicyNwnber.                                Effective Date        ExpirEttion Date
                                                                          0-01-14           Y-410-3D99,4291-TIL-i3                        10-01-13               10-61-14.
Year         MakeiModel               Vehide Identification Number                          Year           WkWodel              VehWe lderdiflaglon Number
FLEET                                                                                       PLEET
Insured    DAKOTA SUPPLY GROtIP 3NC                                                         Insured   DAROTA SUPPLY CROUP ZITC
           AgD AS PEfR IL TO 00                                                                       ZIO AS PER 31 TO 00
           2601 3TW AVENUE NORTH                                                                      2661 1RD AVMM. NORTH
           P.O. tbi 2886                                                                              P.O.- JiOX 2906
           PAR.GO                          ND 540.0                                                   PARGO                         ND 5911.0&


           KEEP THIS CARD IN THEVEHICLE AT ALL TIMES.                                                  KEEPtHI&CARD IN THE VEHICLE AT ALL:TIMES.

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                                                                                            CAIDND Rev               ...... . ntr4ofm On Remrw
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                                          Case 2:20-cv-01600-LA Filed 10/21/20
                                                                       Exhibit A Page 186 of 201 Document 1-1
IN CA,SE 6JF AF,B IACCtDENT                                                                      iN CASE OF AN ACCii3ENT
' Cag The "fravelers immediatety-                                                                ~ CallTheTravatersimmediatdy.
 2-800-23H=6225                                                                                    7-900-2394225
  24 HODR CLAiffi REPOR9'If~.7 S&RVIC&                                                             2.4 BotTR CLAIRS BBPOwII+IQ sERYTCE

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"' Be sure to get hame and address of each drlvor, passenger, .a.nd witness;                     • Be sure to get name and address of each:driver; passenger; and witness;                        cn
   and insvrance cattpany end poiicy numberior each:vehlde involved.                                                                                                                              cit
                                                                                                   arid msuranee company and peliay nurnber for each vehicle invofved.                            N
' Do not assume respons9Ri6ty_far ac+ydent:                                                      • t3o riot assume responsibility for accideiit:                                                  0
' Call pollce.                                                                                                                                                                                    N
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' Prolect agalnstYurther damage.                                                                 * Protect against further dam ape.                                                               ~
' Request medicat assfstence. if required.                                                       " Request medicai asslstance, i€requ4red:                                                        0
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' Only discuss the accident vft pdice oFficers or Travelers representaUves.                      *(lnly disctass the aecidertt with poice oificers ar Travelers representabves.                   0
Pi<dR'TH DAf(OTE9 Q.AW REQiJIRES                                                                                                                                                                  ~
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That any person who cperates a motcr vmhide have in the9r, possession, an insurence              That any person wflo operates a motor vetude have in their possession an insurance
Identification card. Thts ceird indicates you tiave an insurance poiE,Cy for tha motor vehicte   id$ntification card. This oard Indicates you have an insurance poiicy for the motor iretilcle
desciibed satisrping the financial responsibdity, requirements of the latv. We remmmend that     described satisfying the financiat,respnnsibittly requirements of the law.lfite recommend that   0
ycxi keep the card in your car at al9 times, s3nce it must be diepiayed upon demarid to a law    yru keep ihe card in your car at atl tlmes, sinco it must be displAyed upan demand to a.iqw      O
enforcentent otficer.                                                                            ert€oreea`yent officer.                                                                          0
C711DND (Back)                                                                                                                                                                                    ~
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ttd CASE C}F AFf rACC[L9ENT                                                                      iN CASE t7iF AiV,4CCIDENT
` Call Ttie Travelers:tnimetfiafdy.                                                              ' CatiThe Traveters immeiliately.
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  24 HOia't CLAIM R&PORTIM 8BRY3C8                                                                 24. HOL1R CLAIBf REPORT]NQ SS&VICS
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' Be sure to,get name and:address o€ eadi dilver, pasaenger,. and vii;ness;                      * Be: sure to get name and address o€each dr"rver, passsenger, and wftness;
  . and inaurance campany:erid pollcy riumberfor each vehide invoNad.                              and tnsuronce cornpariy and poticY itumheF for each vehide im+olved.
* Do not assume responsWi6ty for acddent.                                                        * Do not assume responsibfiitir for accident.
` Gaii palice.                                                                                    `.Caii poEice.
* Protect affainst further damage.                                                               '.Protect against futther.damage.
' RequesQ
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                  ...... es5istcince;
                                  . . tf iequked:                                                ` Requ®st medical assistance,. ii required:
* Orily discuss the accideitt with police oTrcers or Treveles represahtetivas.             _     ' anty discuss the aciadant with pol:ce officsm or?rovders represeniatiues.
NORTH DAKOTi$ 6:Aw ~`$soU1REs                                                                    NORTH DAKOTA. LAWREQUIFtES                                                               —
That any person who operates a: motor vehide have in thdr posssssiesn an. insurance              That asiy person tvho operates a mtiier vabide'have in thelr passession an (nsurance
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descrihed satisfping the 5nandeJ responsibility requirements of.the taw. We recomniiierid that   described satislt'ing the finenelal responsi6ility requlrements of the law. We recommend that
you keep the card:in your car a4 aA iimes, since it must be disptayed upoh demand to a taw       you Yesp the: card in your car at alt ttmes;_siirce itmust be displayed upon demand to a lari
en€orcement:officer.                                                                             enfercement offioer.
CAIDND (Batk)                                                                                    CfiIDND (eack)




                                            Case 2:20-cv-01600-LA Filed 10/21/20
                                                                         Exhibit A Page 187 of 201 Document 1-1
         NORTH DAK®'TA:IHStt}iApBCE iDENT1FICATli39D CARC                                                     NOR1'Fl DAKO'LA:i1VSiJRANCE IDE$atTlFiCl4T1ON CARD
'Phe auto desabed below is covered by a uahility polmy that mects Noith Dakata"s                     The atito ctesctlbed below Is cxowred by a ttabtttty pollcy that meels idorth Dekata's
compulsory insurance lew.                                                                            camputsary insurance law.
Company: TRAV&LSRS PROPSRTY CASIIALTY COWANY OP At3SRICA                                             Conipany: TRA.t+HI.$RS PROPSRTY CASiIALTY CAPYPAA]Y OF ANSRIC7+i
Poticy Number                                      Effective Date              Expkation Date        RaticyP3dmbor                                          Eftective Date         ExptrattQn Date
Y-810-3D994291-T2L-13                                10-01-13                   10-01-14             Y-810-3D984391-TIL-13                                    10-01-13               10-01-14
Year          MakelModel                  Vehide tdentificeGon Numberr                               Year        Makwodei                           Vehide identificsUon Nuniber
FLR13T                                                                                               FLSE3'
Insured DAROTA SLtPPLY GROI:IP INC                                                                   Inlnired DAttO+i'A SIIPPLY aROUP INC
          AND AS PBR IL .Ta 00                                                                                 Ei2L7. A8 PE& IL . TB 00
           2601: 31D AVMM rTOftTH                                                                              2601 3HiD_AUSNUX NOHTH
          ~;o. HOx 2$OG                                                                                        P:fl..HOR 2886
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           I+r'1Ra0                            I+fD $81D8                                                      Faa,c'0                                  ND 59109


           f4EEP THIS GARU IN Tt1E VEHICLE AT ALfl. TiMES:                                                     KEEP THIS GARMIN 'THE 1JEH1CLE AT ALL TRUtES:
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CAIDNiD Rev. 7-96 See tmpcltwt Notfice On Reverse Side                "~''RA~'~'LE~S~~               CAIt~JD Rev: 7-9ti See Important Natice Qn Reverse 53de                           ~~
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         PIC'aR"PH DAKOTA 1NS1;1F8APICE 1DENTIFICAYlC#N CARD                                                  NK3RTH ®AICt3TJA 1NS1l13AHCE IDENf'IFIGATtC3N CAR[)
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coreiputsorp InsiStance tevr:.                                                                       carnpuisory: insuranee taw:
Company: TRAVBLSRS 1ROPRI3`PY: CA£tSTcT,TY COt9PA14Y OF AMICA                                        Cnlsipanq: RRAVSLBRS PROPSRa'Y C1+51TALTY CORPAtdY OF A4f&RICA
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Pclicy Mumber                                      Effective Date              EVitation t}ate       PdlcyNumber                                             Effectiva Dat9        l:xpttafian Date
Y--210-3D994291-TIL-13                               10=01-13                   50=01-14             1-810-3D984291-TIL-13                                     10-01-13              10-01-14
Year          MakelModel                  Vehide Idenflficxitton Number                              Year
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FLSET                                                                                                PLFFT
Insured DA80TA SIIPPLY::CtRADP IZiC                                                                  lnsutet : :DAltOTA SUPPLY GROUP INC
         ,AIiD hs FSR IL T$ 00                                                                                   Attm AS:PtiR..IL.T9,_00
         9691 3RD &HSl7II8 NORTH                                                                                 2601 31p1D. AYRh'tIR No&3Tt
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CAi©N!7 Rev. 7-96 See impoiti}nt Na['ica {}n Reverse Side              '~~~'g~ER'                    CAIbtVC) Rev. T-96 See                             On f2ev2rse Side




                                              Case 2:20-cv-01600-LA Filed 10/21/20
                                                                           Exhibit A Page 188 of 201 Document 1-1
IN CASE O!^ AN ACCIDEN1'                                                                         IN. CASl= +DF AN ACCClCiENT
* Caii The Travelers 3mmedistety.                                                                ' CallTheTravelersimmediately.
  1-84Q-238-6225                                                                                  1-800-236=6225
  24:8OtY1X CLAIM RBPO&MIC ,S8&VSCE                                                               24 MR CLAZM ASPpRTItiG r,ERVIC&

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* Be sure to get. name artd address of each driver, passenger, and witness;                      ¢ Be sure to get name and address of each driver, passenger, and wt'~.ness;                        cn
  and insurance canpetiy and policynumber for eech vehideinvaPimd.                                 and inwrance company aini pol'iay number for each vehtde invofted.                               (D
                                                                                                                                                                                                    Iv
' Daaotassuin® resporisibi6tjr'foracddent.                                                       * Do noYassume responsibility foraccident.                                                          0
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* Ca11 pafice:                                                                                   • Cail police.                                                                                     C)
° Rrote# agai.nst further damage.                                                                ' Frotect agains# further damage.                                                                  C7
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* Request medEcai assistanee, if required.                                                       * Request medicai assisiance, if required.                                                         a
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° Oniy discuss the accident wifh paEice otficers or Tmvelers representstives                     * Only discuss tha aceident mridt poifce officers or Travelers represeMatives                      ~
NORTe•! DAKOTA LAW FtEOU6NES                                                                     NORTH DAlEOTA I.A1N REQ@JIRES                                                                      ~
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That any person vrflp operatzs a motor vehid+a have in the6r passession en insurance             That any . person who operetes a motor vehide ha,re in their possession an insurance
IdentPfirntxon card. This cnrd Indicates you hava sn insurance policy for the:motor vehicle      identificatton eard. This cartl indicates you have an insursnoo. policy for the meRor vehide
desamed satisfying the fini4ndai responsibility requa'ements af the.l;aw. 6Ade set:Qmmend that   desetiked satisfying the finnticia9 r+espottsibility requirements of the larv. We recanmand that   4
you keep the cerd in yaur car at eil times, since it mtst he displayed upon demand to a iavr     you . keep the rard In your c®r at gU times, sinee tt must be dispiayed upon demand to a law       0
enforrement offcer.                                                                              enfamcement officer,                                                                               c
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CRIDPtD (Badc)                                                                                   CAIDPlD (Back)                                                                                     ta
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tN CASEOF ABN ACCiDENT                                                                           (N CASE OF AN ACClCEPdT                                                                            ji;

* Cali The Travelers fmmed3ately.                                                                ' C,NI The Trevelers immediaWy.
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  1-800-Z3B-6225                                                                                  1=800-238-8225
  2+1 HOU$ CLAI'6T
                _... RLrPO~&TIN3    SHRVICT3
                       ._.... _.. . ...._.. ..                                                    :24 BCsUR CLAIM RBPORTItiG
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* t3e sure to getname and address of each driver, passenger; and wdhtess;                        *Be sure to get name and addtess cf each driver, passenger, and wftness;                           0
   and [nsurance company and polPcy numberfor eatdl vehide involved.                              atid irisuraiice cainpany eiiii pdiii:y number fiir oach vehicle irivnlved,                       1p
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*:Calt:potice.                                                                                   • Catl police:                                                                                     N
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* ProtedaBainstfurtherdamaSe.                                                                    x:Protect agafnst fu►lher damage.                                                                  tV
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* Request medical assistanca, if required.                                                       *:Requestmedics! assidance.:ifreguired.
t Oniy discwss the, aoeldent rvith:pdice officers or Travelers representetives.                  * Oniy:disouss the accident wfth pa6ce officers or Travelers representefives.
 NORTH DAlCOTA E:AW ItEQUlRES: -                                                                 NON'TH DAKOTA LAW REQ4JERES
Thst any: perrson wio 4psratas a motor vehtCle have In their possession an insurance             `fhatt any person who.opertes.a mator vehirJe have in their possession an insurance
EdenfiAcation csrd. This cmrd inditates you have.an:insurance:policy for the motor vehide        ideiit`d'icatkin wd. This card indicates you tia+re en.instrettce policy tor the motor vehide
 described satisfyirngthefinenciat re9ponsibbityidqu6'ements of:thelevr. We recommendihat        dekfibd saUsfying tha fiiianciai responsitiilify requlrements:ofthe lav+. Utite recornmend that
- y:ou kaep the card in your car ai ail times;since it must be d'ispl~yed upon demand to a law   you keep the card in your car Eit alI iimes, sinee R mtast be di&ptayed upon demand to a i9vd
 enforcemeift riftfcer.                                                                          enforeement officer.

CAIDND (Baric)                                                                                   CAIDtdd ($ack)




                                             Case 2:20-cv-01600-LA Filed 10/21/20
                                                                          Exhibit A Page 189 of 201 Document 1-1
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          bs      imt-.           M RT%N_711 A — ►                  MT—i ,.c_~:.                          NCRTEI E3AKOTA tN: URANCE IDENTfPECdITiON CARD                                           N
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                                                 _ poiicy that meets Nbrth Dakcta's             The auta.described.belouv.:is cavered by a::4011dy policy that meets North Dakota's
compuisnry insurance iaw:                                                                       compuisory tnsurannce lavr.                                                                        C
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CompBny: TRAYPLFRS PROPBRTY CAfiUALTY CO1dP7,NY OF' AMERSCA
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                                                                                                Coiqpany: TRAVt32,8RS: P120PSRTY CASUAL37 COMPAN's OF AtaSRIC3i
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Pdicy Number                                       EffecUve Date              Expirstion Date   PaSicyMumber                                      Eftect'nre Daete            Expiratfcn Date      ~
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7-810-31984291-T31-13                               10-01-13                   10-01-14         Y-810-31)984291-111L-13                             10-.01-13                   10-01-14
Year        flAakelModei               Vehide ldentification Number                             Year         Pfci3seModei                Vehicle iden66Cation AJumber
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FLBST                                                                                           FLLSS'T                                                                                            O
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insured DAYCOTA 90PLY CROFTP INC                                                                tnsured D&KOTA St1PPLY` i;ROtIP INC                                                                C
         ARO AS PSR.SL T8 00                                                                             AIb AS PRR iL: TE 00                                                                      ~
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CAlLtND Reu 7-98 See tmpoftrt Notice On Reverse 55de                '~AVEL~~S               `   CAIDND Rev.7-98 See tmpostantNoBce On Rwerse Side TMVELERS'r
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        NORTBi DAKO~°A O~~CE10EPd'~iFiCAT1Ai~ CARC                                                        WC~Tk~ CFAKCTA tP~S.U9~RR~CE lDENTIFiCAT'ICN ~KC                                         fl
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The eufo desciibed belwv: is covered:by:a Betiii#y poUcy th®t:;meefs Morth Dakates              The:: auta : described : hei.oar is . swv-xed . by a: liabiipy policy that meets hlarth Dakata°s   0
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Polisy Number                                      EFFeclrve Date             Expi~iian.taate   Po&cyNumber                                       EffeetiVe Date             Exp3ra4on Date
Y-81Q-3D984291.TII.-13                              ao-oi-7.3                  zo-oi-14         Y-818-3Gt964291-TIL-3.9                             10-01-13                    1A-01-1~4
Year        MakeiModel                 Vohlde identi0cation Numtrer                             Year         Niakeltbiotlel              Vehicle identtrrcatlon Number
FLSST                                                                                           FLEST
tnsured DAROTA SUPPLY GROUP INC                                                                 IttSiired DAxOTA SUPPLY. GROUP IDiC
         AND AS PS& IL TB 00                                                                               AND AS PRR IL TB 00
                     , raoaTg
         2601 3RD AvMus                                                                                    asoa. 30 AV;$NUE'rroRT$
         P.O. Hox se"                                                                                      P.0.: 80% 2$66
         FAItGO                              mID 5.9..109                                                  FARGO.                             ND 581+J8


          KEEP THlS_CARO !N TME VEHiCLE AT ALL 11MES:                                                      KS9P TWiS CJ4RD iN TNE VENiC6»E d1T/ttl:i.1'IMES:
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CAIDND Rev 7.-86 SeelmportpntNattce4n.Revetse&sQe:.                 'l'RAYEL&S :                cAingad aev. T4s Sgo i.mporlentiVotice.Qn Rcvess Side                TRAYE4ERSJ



                                           Case 2:20-cv-01600-LA Filed 10/21/20
                                                                        Exhibit A Page 190 of 201 Document 1-1
IPl CASE OF APd ACCIDENT                                                                      IN CASC OF AEf ACCIDEIVT
• Catl The Travelers immeriately.                                                             ` Call The Travelers fmmedietdy.
 1-900-239-6225                                                                                1-800-239-6225
  24 HOi3R CGAIM RiiPORTIAG BBRYICB                                                            24 BOUR CLAIBI RBPORTING SERVIC3

                                                                                                                                                                                             ul
                                                                                                                                                                                             w
' Be sure to get name and eddress of each ddver, passen0er, and witness;                      • Be sure to get na.me and address of each driver, passenger, and wtness;                      cn
 and insurance campany and poticy numberfor each veNde fnwlved.                                 and lnsurance company and pollcy numbertar each vehtcte Irtvdved.                            m
                                                                                                                                                                                             N
• Do not assume responstbifty for accident,                                                   ' Do not assume nesponsibi6ty for accident.                                                    O
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• Cail paEice.                                                                                ' Celt pernx.                                                                                  O
` Protect against further damage.                                                             ` Protect againstfurther damage.                                                               C~
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 Request medicai assistance, ifrequired.                                                      • Request medical assistance, if required.                                                     0
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• Only discuss the acoident vrith potice ofticers or Travelers representatives.               ' ONy discuasthe aocident Mriffi potice cfficers orTravelers representatives.                  O
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NORTFI DAKOTA LAW REQl91RES                                                                   fdORTH DAKOTA LAW REQt1tRES                                                                    ~
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That nny person who operates a motcr vehide have fn their possession an insurance             That any person who operates a motor vehide have in their possession an insurance
identification card. This card indicates Sou have att Ineutenee policy for the motor vehide   ldentlfication card. This c®rd indicates you have an irsurence poticy for the motor vehide
described satisfying the finandal respons+biity requ;rements of the iaw. We recornmend thot   described sotisfying the 8nancial responsibility requirements of the law. We reoommend thet
you keep the card In your car at a9 times, since it rnust be tAsplayed upon demand to a taw   you keep the card in your cor at ali times, since it must be dtsptayed upon demend to a law    0
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enforcement otficer.                                                                          enforcement offiozr.                                                                           ~
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                                                                                              CAIDND (Back)                                                                                  ~
CAIDND (Bau<)                                                                                                                                                                                (D
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It5 CASE OF AFI ACCIDEidT                                                                     IN CA9E OF,9,N ACC@DENT                                                                        m
" Catl The Travelers immediatEiy.                                                             ' Call The Trav^elers immedtatey.
  1-900-239-6225                                                                               1-900-239-6225
  24 HOUR CI,AItd R&P412TING &ER1ICB                                                            24 H01Ri CLAIES REPORTItfG SERVICE
                                                                                                                                                                                             Tt


' Be sure to get name a*rd address of each driver, passenger, and witness:                    * Be sure to get name and address of eadr ddver, pasaenger, and wtness;
  and in:urance company and policy number for each vetdcte tnvutved.                            and insurance company and poiicy number for eeCh vehk9e htvo)ved.
' Do not assume responsibiflty tor acddent.                                                   • Do not assume responsibility for accident.
• CaA police.                                                                                 " Cail poifoc.
• Protect against further damage.                                                             * Protect again; t furlher damage.
` Request medical assistance, if required_                                                    • Request medical aseistance, if requirad.
• Oniy discuss the acddent with police otrcers or Travelers representatives.                  " Onty discuss the accident wiUi po6ce olficers or TretWeFs r~tlires
                                                                                                                                                      ..... ...                    --
NORTH DAKOTA LAW REQUIRES                                                                     PJORThI pAKOTA I.AW REQl11RES
Thet any person who operates e motor vehlde have In their possessfon an insurance             That any person who operates a fnotor +udlide have in their possession an ttsurance
fdentifieabon card. This card indlcates you have an insurance poilcy for the motor vehlcie    (dentittcation card. Thle card Indicates lrou heve an insuranve policy for the motor vehicie
deseribed satisfying the flnanaai responsib@ity requtements of the iaw. We r000mmend that     described satisfying the financial reBpOfrtybit~t:requlrements of the tew. We reccmmend that
you keep the card in your car at aii times, since it must be displayed upon demand to a law   you keep the rzrd h your cer at al dirles,'sblce it must be disptayed upon demand to a law
enfOrcement officer.                                                                          enforcement ot6cer.

CAIDND (Back)                                                                                 CAIDND (t3ack)




                                              Case 2:20-cv-01600-LA Filed 10/21/20
                                                                           Exhibit A Page 191 of 201 Document 1-1
        iYORTH DAKOTA iNSURAPJCE iCDENT(FICATIOEY CARD                                        NORTH DAI{OT/4 INSURANdCE IDENTIFICATION CARD
The auto described below Is covared by a linbility policy that meets North Dakota's   The auto described below Is Covered by a fiat>iltFy policy that meets Norfh Dakota's
computsory insurence law.                                                             computsory Insurenee law.
Company. TRAVSLffitS PROP3R4Y CASUALTY COFlPA13Y OF A[GRRICA                          Compeny: TRAVEL&RS PROPERTY CASCALTY COHPANY OF ANSRICA                                 k~
Policy Number                               Effedive Date           Expiration Date   Poltcy Number                               Effective Date           FxpiratEon Date
Y-010-3D994291-TIL-13                         10-01-13               10-01-14         Y-9I.0-3D984291-TI1-13                       10-01-13                  10-01-14
Yeer        MakeiTutodel            Vehlde ldentificetion Plumber                     Year        tdfakrR+Rcdel           VehtoleldentifiretionNumber
PLRET                                                                                 FLEET
Insured DAKOTA SIIPPLY OROIiP INC                                                     Insured DARf/l'A 6tTPPLY GROIIP IHC
         AI4D AS PSR IL TB 00                                                                  a2ID AS PB& IL T9 00
         2601 3RD AVENtTE NORTS                                                                2601 3RD AVENUS MORTH
         P.O. BO% 2006                                                                         P.O. BOB 2986
         PARGO                           ND 59109                                              FAROo                          Dm 59109


          KEEP TH3S CARD Ifd '1•HE VEHICLE d'~T ALL TIFVIES.                                    KEEP THES CAR® tBd THE VEHlCLE AT baLL TIME~.
                                                                                                                                                                              -n
CAIDND Rev. 7-46 See Important NoOee On Revetse 8ido          THAVELERS               CAIDN ❑ Rev.7-96 SeelmportantNoticeOnRe~erseSide              'r~nr,~~/~a~,~;~~




        R7ORTH DAKOTA BNSdJRANCE IDENIT9FICATiON CARD                                         NORTH f3A9COTA fiVSURANCE lDEPfTIFiCAT6ON C.se,RD
The auto described below is cavered by a liebifity poricy that meets North Dakota's   The auto described below is covared by a Gebility poficy thet meets North Dakots's
compulsory insurance lew.                                                             compulsory insur©nce lew.
Compeny: TRAVELiiRS PROPERTY CASIIALTY C033BA23Y OF A2dERICA                          Company: TRAVIIL3RS PROPSR7Y CASWLTY COMPANY OF A!O;RICA
PdicyNumber                                 EflecttveDate           ExpirationDate    Poficy tJumber                              Eftedive Date            Er,piration Date
Y-010-3D964291-711,-13                        10-01-13               10-01-14         Y-010-31)98:291-7I15-13                      10-01-13                  10-01-14
Year         Makei1-0adel           Vehide Identiflcellon Number                      Yeer        MakelP,40del            Vetucle Identifieaticn Numbcr
FLSET                                                                                 FLEBT
Insured DAROTA BUPPLY OROIIP INC                                                      Insured DA&OTA SUPPLY GROAP INC
        AND As PER IL T8 00                                                                   AND AS PER IL T9 00
        2601 3RD AVffiiUE NORTH                                                              2601 39D AVRN[IE NORTH
        P.O. Box 2696                                                                        P.O. 30x 2996
        FARGO                    ND 59109                                                      t?ARGO                          !d] 59109



          KEEP THBS CAR1516V THE VEHlCLE AT ALL TiMl= S.                                        KEEP THIS CARD IPJ THE VEHICLE AT ALL TEMES.

                                                                       Agk                                                                                  AIRUN
CAIDND Rev. 7-96 Sce Importont Notice Qn Reverse Side         'rRAVELERS              CAIDND Rev. 7-86 See Importard Notice 4n Reverse Slde         TRAVELERV




                                       Case 2:20-cv-01600-LA Filed 10/21/20
                                                                    Exhibit A Page 192 of 201 Document 1-1
IFd CASE OF AN ACCIDENT                                                                       IN CASE OF AN ACCIDENT
' Cail The Treveiers immediately.                                                             ' CallTheTravetersimmedlateiy.
 1-900-239-6225                                                                                1-900-839-6225
  24 HoLiA CIdtIL REPORTING SBRVICB                                                            24 HOIIR CLAIlS REPORTIPIG SI3RPICE


                                                                                                                                                                                             n
• Be sure to get name and address of each driver, passenger, and wilness;                     • Be sure to get namo and address of each driver, passenger, and wftness;                      n>
                                                                                                                                                                                             m
  and insurance company and policy numberfor each vefdcle irrrotved.                             and insurance cornpany and pdicy nurnber fa each vehicle invdved                            (p
• Do not assume responsibtiity for aecident.                                                    Do not assume responsibility for accldent.                                                   N
                                                                                                                                                                                             0
• Cafl police.                                                                                ' Ca1t pollCe.                                                                                 N
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• Prolect against further d;amege.                                                            * Protect agatnst further damage,                                                              C~
                                                                                              ' Request medicai assistance, if reqLqred.
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' Request medical assistBnce, if required.                                                                                                                                                   0
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• Onty discuss the aocident wfth pdice ofiioers or Traveters repres-entatiws.                 ' Onty discuss the accldent vnb poUce othoars cr Travalers representadves.                     0
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                          tQlJERES
NOFtTFt t]rAKOTA i.A1fU RI-                                                                   NORTH DAKOTA LANN REQUIRES                                                                     ~
                                                                                                                                                                                             co
That eny person wtxi oparates a motor vehide hava in their possession en insurance            That any person who operates a motor vehide have In thelr possession an insurance
identi5caaon card. This card indicates you hav2 en Insurance pollcy for the moior vehiae      identtficatton card. This cerct indicates ;*ou have an insurance poticy for the md:or vehide
described satisfyfng the finendel responsibaity requvemenls of the taw. We recommend that     described satisfying the financial respons:biiity nsquirementa of the law. We recommend that
yau keep the card in your cer at ail 6mes, since it must be displayed upon demand to a taw    you keep the cerd in your car at aD times, since tl must be disptayed upon demand to a law
entbrcement otficer.                                                                          enforcement officer.

CAIDND (Back)                                                                                 CAIDND (Back)

IPd CASE OF AN ACCIDENT                                                                       IM CASE OF AR! ACCfDENT                                                                        ~u
' Ca4 The Ttavelers immer5etcly.                                                              ' Calt The Travblers immediateiy.
  1-900-239-6225                                                                               1-900-239-6225
  24 HOUR CLAItd REPORTING 68RVICE                                                              24 HOUR CI,AS6f RSPORTING SBRVICS
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                                                                                                                                                                                             o.
' Be sure to get n2me and address of each drn+er, passonger, and witness;                     • Be sure to get name and address of each dr;ver, passenger, and wttness;                      0
   and insurance company and poilcy number for each vehfde fmolved.                              and ins•Jrattce company and poricy numberfor each vehicfe invdved                           m
* Do not assume responsibl0ty for accldent.                                                   ° Do not assume responslbt9ty for accident.                                                    00
" Cail potice.                                                                                ' Catl potice.                                                                                 N
                                                                                                                                                                                             0
' Protect agairrst further damage.                                                            ' Pro2ect aqafnst further damage.                                                              N
                                                                                                                                                                                             0
 • Request medao3l assistance, if required.                                                   ' Request medical assistance, itrequired.
` Oniy diseuss the accident witlt poltoe offioers orTmvelets representativas.                 ' Only discuss the aecident with po5ce officcrs cr Travelers represerttatives.
MORTH DAKOTA LAIiV R6Qt3IRE5                                                                  idORTH DAKOTA LJAW aEQUIRES
That any person who operetes a motor vehide have in ttreir possessian en insorance            That any person who operates a motor vehide have in the;r possesston an ineurance
IdentificaGon card. This card indicates you have an insurence po0cy for the motor vehide      tdentlfcallon card. Thfs card Indicates you have an insurence policy for the motor vehlde
desaibed sattsfying the Ilnanc+af responsibiiity requirements of the taw. We recommend that   descrtbed satisfying the financial responsibility requirements of the law. We rearmmend that
you keep the card in your mr ffi 911 times, since it must be dispfayed upon demand to a law   you keep the card in your ear at ati hmes, slnoe A must be disptayed tpon demand lo a law
enforcement officer_                                                                          erdorcement officer.

CAiDND (Bacic)                                                                                CAIDND (Rack)




                                             Case 2:20-cv-01600-LA Filed 10/21/20
                                                                          Exhibit A Page 193 of 201 Document 1-1
         NORTH DAItOTA INSURANCE IDffVT6FICATi®Pd CARD                                         (dORTH DAItOTA INSl3RANCE IDENTIFICdiTION CAARD
The auta descnbed betow is cowered by a fiabtlky policy that meets Norih Dakota`s      The auto described beiaw is covered by a!fabiilty policy that meets North Dakota's
ccmpuisary hsurance law.                                                               compuisory insutanca iaw.
Company: TRABEL6RS PROPxRTY CASIIALTY COt4PA13Y OF At9SRICA                            Company: TRAVBLERS PROP>;RTY CAsuALTY COb2PANY OF AblbRICA
Poiicy Number                                   Etfective Date       Exp!ratton Date   Po'!cy Number                               Etfecth!e Date           Expiration Date
Y-910-3D984291-TIL-13                              10-01-13           10-01-14         Y-910-3D984291-TIL-13                         10-01-13                 10-01-14
Year        MakelMtodel             Vehide Iderdification Number                       Year       hYakeRdlodel             Vehicie Itlentiflcation Number
FLFiET                                                                                 PLSET
Insured DAROTA SUPPLY GROW I1TC                                                        Insured DAKOTA OPPLY GROt7P INC
         r.NII AS PsR IL T8 Ob                                                                  ?+aiD AS PBR IL TS 00
         2601 3RD AVh2dDS IOORTH                                                                2601 3RD AVEt!iIIS A'QRTH
          P.O. Box 2996                                                                         P.O. Box 2886                                                                 m
          FARtlO                           PID 5010Q                                            FARGO                           M? $9109

                                    ................. ...
          FGEEI~ THIS CAI~D IP! T.HE~VEHICLEATALL TIPVIES.                                      KEEP TI'BIS CARD IRI TFtE VEHICL,E AT ALL TiNIES.
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                                                                                                                                                                              cU
                                                                                                                                                                              o.
CAIDND Rev. 7-9t3 See Impartant Nobce On Reverse Slde                                  CAIDND Rev. 7-96 5ee Important Notice On Reverse Side          TRA VELERS
                                                                 TRAVEL-'RS                                                                                                   0
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         NORTIi DAKOTA tR:Sl9RAIdCE 1DENTIF1r✓ATION CAFtt?                                     IVoJRTH DAKOTA INSItRAtdCE IDENTiFlCATION CRRD                                 0
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The auto described below is covereeti by a iiabilty poticy that meets North Dakota's   The auto descnbed beinN Is covered by a Gabillty policy that rneets North Dalocita's   O
cempuisory inauranoe law.                                                              computsory insurence law.
Company TRAYELERa PROPERTY CASIIALTY CO24pANY OF At?ERICA                              Compeny: TRAVELIiRS PROPBRTY CAfiUALTY COd1PANY OF PMfiICA
Pdicy Number                                     Efiedive Date       Expirafion Date   Policy Number                               Effedive Date            Expifniion Date
Y-810-3D984291-TIL-13                              10-01-13           10-01-14         Y-810-3U904291-TIL-13                         10-01-13                 10-01-14
Year        i41ake1Model            Vehide Identiflcetion Number                       Year        hAakefAtlodei           Vehicie identlfication Number
FLEET                                                                                  PL3ET
insured DA.T(OTA SUPPLY GROUP INC                                                      lnsured DAROTA SUPPLY r3R0UP IHC
         APID AS P&R IL T8 DO                                                                   AfII> A.S P6R IL T9 00
          2601 3RD AVSNUB t70RTH                                                                2601 3RD AVEATQB :dORTH
          P.O. BOX 2986                                                                         P.O. BOE 2886
          FARGo                            IJD 58109                                            FAP.G4                          2dD 5S10R


          Y.gEF THIS CARD IPI TNlE VEHI>vLE AT ALL TIMES.                                       KEgP THIS CAFtD IN THE VEHICLE AT IlLL TIPdIES.


CAIDND Rev. 7-96 Sec Import©nt Noiice On Reverse Side            TRAVELERS    Ar       CAIDND Rev. 7-98 Sce Important Notice On Reverse Si de         '~"RAV[L~'~~~




                                        Case 2:20-cv-01600-LA Filed 10/21/20
                                                                     Exhibit A Page 194 of 201 Document 1-1
IN CASEOFAtd ACCICEtdT                                                                          IN CASE ®it API ACCIDEfVT
° Call The Travelers immediately.                                                                Call The Travelersimmediateiy.
 1-500-23g-6225                                                                                  1-800-239-6225
 24 fiOUR CAIlf RSPORTlNG S$RYTCB                                                                24 EOLII2 CGAIFT RBPORTIN(3 SSRVICS

                                                                                                                                                                                                !.
                                                                                                                                                                                                N
' Be sure to get nemo and address of each driver, passenger, and wkness:                        ' Be sure to got name and address of each drtver, passenger, and witness;                       m
  and 47surance company and poliey number for each vehide invvlved.                              and insurance company and policy number for each vehlde invohr`d,                              ro
                                                                                                                                                                                                N
° Do not assurne responsibiilty for acddent.                                                    * Do not assume responsibiltty for accident.                                                    0
                                                                                                * Celi police.
                                                                                                                                                                                                N
' Cap police.                                                                                                                                                                                   0
* Protect agalnst further damage.                                                               * Protect against further damage.
                                                                                                                                                                                                <
' Request m::dicai asdstance, if required.                                                      * Request medical assistance, if required.                                                      O
                                                                                                                                                                                                O
' Only discuss the ao.ident vith pdioe offrcers or Travelers represerrta6vzs.                   • Only discuss the accldeM with po8ce ofticers or Trawlers representetives.                     N
NOftTF1 CfR,ICCITA LAW REQ9,IIRES                                                               {YOFYTW ®AKOTA LJ4WREQiJIRES                                                        ---         ~
That any persan wtxo operates a motor vehicie have in their possession art Insurance            That any person who operates a niotor vehicle have In thelr possesslon an Insurance
identfficuGon card. This card in.dicetas yau have an insurance polic'y for the molor vehlcle    idenqftcation card. Thls card Indicates you have an insurance policy for the tnotor vehide
described satisf;ting the financial responsibility requlrements of the Iaw. We recommend that   descrttred satlstying the financial responsibNity requ'u+ements of the lew. We recommend that
you keep the card in your car at a9 tlmes, since it must be displayed upon demand to a iaw      you keep the card er your car at atttimes, since d rnust be displayed upen demand to a Iavl
ertforcement othcer-                                                                            enforeement officer.

CAIDND (Bad)                                                                                    CAIDND (Bac'R)


Ih7 CASE OF Ah1 ACCiDENT                                                                        Ifd GASE ®F AN ACClDENT                                                                         a
* Ca8 The Trave!ers immediateiy.                                                                ' C9I► The Travetersimmediatety.
  1-500-239-6225                                                                                 1-80D-238-6225
  24 EOUR CLAI15 R23POR7IR'G SSAVICi;                                                            24 tiOUA CLAItd REPO&RING SSRVICB
                                                                                                                                                                                                -n
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                                                                                                                                                                                                C.
' Be sure to get narne and address of each drtver, pessenger, and vritness                      ' Be sure to get name and address of each driver, passenger, and vritneis;                      O
                                                                                                  and Insurgnce company and policy number for each vehicle Invotn;d.                            ~
  and insvrance company and poiicy number far each vetude Invohred.                                                                                                                             ~
' Do not assume responsibiGty for accident.                                                     ' Do not assume responstblllty for acddem.                                                      co
" Call pn9ce.                                                                                   " Call potw:e.                                                                                  N
                                                                                                                                                                                                O
^ Protect agalnst further damage.                                                               • Protect against further damage.                                                               N
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" Request medicat assistance, if required.                                                      • Request medica! assistance. if required.
* Ontv discuss the aoddent with pdice ofttcers or Treveters representlafives.                   • Only discuss the acdderit wiBt poGce officera or Travelers representatives.
NORTH ®AKOTA #aAVY REQUIRES                                                                     IdORTFI CAKOTA LR1W REQBJIRES
That any person wtm operates a moter vehide have in their possession an Insurance               Thaf eny persort: who operates a rnotor vehtde have in theLr poss®ssion an Insurence
identficatlon cerd. Thls card indicates you havz an insurance pollcy for the motor vehide       tdenti4cation card. This card indicats~ you huve an inaurancc poiicy for the mdor vehide
desaibed satisfying the financiat responsibility requirements of the law. We recommend that     descdbed sattsfytng the flnancial responaihty requirements of the tarv. tNa recommend that
you keep the card in yaur car at a!I times. since 9t must be disptayed upon demand to a law     yau keep the card in your car at all 8me5, since it must, be disptayed vpon demand to a iaw
enfarcement oNieer.                                                                             enfcrcement officer.

CAIDND (Bauic)                                                                                  CAIDND (f3ack)




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                                                                            Exhibit A Page 195 of 201 Document 1-1
                                                            Exhibit A Page 196 of 201 Document 1-1
                               Case 2:20-cv-01600-LA Filed 10/21/20
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(IY CASE OF Atd ACCIDEWT                                                                        IN CASE OF Aid ACCIDENT
• Ca0 The Traveters immediately.                                                                ` Call The Traveiers immediateiy.
 1-900-238-6225                                                                                  1-000-239-6225
 24 HOUR CbAIM R3p+1flTING SERVICE                                                               24 HOUR CLAItd REPORTINO SS&VICR


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' Be sure to get name and eddress of each driver, passenger, and witness;                       • Be sure to get name and eddre~-
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                                                                                                                                 - df each drtver, passenger, and wkness;                       07
  and insurarwe company and poiicynumber for epch veNde immived.                                 artd insurance company and poiicy number for each vehide invoi,ed.                             CD
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* Do not assume responsibi6ty for anddent.                                                      ' Do net assume responsibaity for accident.                                                     0
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° Call pofice.                                                                                  * Cau potice.                                                                                   0
                                                                                                ° Protect against further damage.                                                               n
' Protect against funher damage.                                                                                                                                                                <
' Request medical 'nssigtance, if requ;red.                                                     ° Request medical assistance,.lf required.                                                      O
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• Only discuss the socident with pdice ofGcers or Treveters representeHves.                     • Onty discusa the aceident wih pofice officers or Treveters representetives.                    0
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ADORTii d'1,AFCOTA I..AVN RECtIiREa                                                             NORTH DAKOTA l.AlR/ REQlS11tES                                                                  w
That any person r✓rw operates a motcr vehide have In their possession an insurance              That eny person who operates a motor vehide have i7 their possession an insurance
Identiflcatlon card. Thts card indicates yrou hsiva an insurance policy for the motor vehlcie   identiflcation ceid. Ttds. card indicates you have an insurance policy 4or the m@or vehlde
described setisfying the finandel respansibinty reQutrements of the law. We recommend thI       described sattsi~ the financial resporis~lifly requ}rements of the tew. We recommend tiutt
you keep the cani in ycur car at an times, since it must be dispiayed upon demand to ® iaw      you keep tfre t~'d~it your car at eii times, since it must be dispiayed upon demand to a iaw
enforcement ofticer.                                                                            enforcement ofber.

CAIDND (Bacfc)                                                                                  CAIDND (Badc).

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• Cad The Traveiers immedisteiy.                                                                ~ CailTheTtaVekisimmediatety.
  i-000-238-6225                                                                                  1-900-239-6225
  24 HOIIR CLAIK RBPORTING SERYICE                                                                24 HOIJR C,LiLIti REPORTING 5$RVIC$
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* ae sure to get name end address of each driver, passenger, and wifiess:                       " Be sure to get name and address of each driver, passenger, and wdness;                        O
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  and insurance company and policy number for eadh veMde Invrolved.                               and insurence corrrpany and poticy number for each vehicie invotved.                          ~
* Qo not assume responsibiity for acddent.                                                      * Oo not essume responsibllity for accident.                                                    m
• Cal po6ce.                                                                                    * Catl poiice.                                                                                  tV
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° Protect againstfurther dama©e.                                                                • Proted against further domage.                                                                N
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* Request medical assistance, If required.                                                      * Request medical asststance, tf required.
* Only discuss the arxident with po8ce officers or Traveiers repnesentatives.                   ' Oniy discuss the acddent with po6ce oficers or Ttaveiers repnowntatives.

 RICJRTH ®AKOTA LAW t3EQUIFdES                                                                  PlORTh! C►AKOTA LALW i3EQUIRES                                              y
That any person who operetes a motar vehide hmta in their possession an insurance               That any person who operates a motor vehide have in thetr possessfon an atsurance               ~
ident~ication card. This card indicates yau have ay insuronce po'icy for the motor vehide       itlentiflcation card. This card 'ndicates you have an Insurance poltcy for the mctor vehide      w
desaibed satisfying the finandal responsiblity requkements of the lew. We recemmend that        described satisfying the flnancfai responsibility requirements of the taw. We recommend that    ct]
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you keep the card in your car at all times, snce it must be cfisplayed upon demand to a law     you keep the card in your car at a?I fimes, since it must be dtsplayed .upon demand to a ievr   Lri
enforcement officer.                                                                            enforcattent offioer.                                                                           ~
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CAIOND (Back)                                                                                   CAIDMD (Back)                                                                                   ~
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        NORTH DAKOTA IP9SURAIdCE IDg111TIFiCATlO{d CARD                                        fVOFtTH DAIGOTA INSttRAtdCE 1DEPlTIFiCAT10A4 CAI2D                                N
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The auto deaamed below is covered by a IiabilRy paticy that meets North Dakota's       The auto described belrrrr is ca+eretl by a iiabiltty policy that rneets North Dakota's   t7
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camPulsory insurance lg,v.                                                             compuisoty lngirance law.                                                                 0
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Company: TRAVELfiR6 PdOPERTY CASOOU,TY COMPP.2iY ot' ADfERICA                          Company: 7RAVELERS PRAPERTY CASUALTY COMPANY OF AMERIc11
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                                            EtTectivo Date          Expiration Date    Policy Number                                 Eftective bete          E-xpiration Data    A
Pdioy hiurttber                                                                                                                                                                  W
Y-910-3D984291-TIL-13                        10-01-13                10-01-14          Y-810-3094291-TIL-13                           10-01-13                 10-01-14
Year         MuketModel             Vehide Identi6cation Number                        Year         MakeJModet              Vehicle Identification Number
FLEST                                                                                  PLEET
Insured DAROTA t3UPPLY (IROUP IZTC                                                     Insured DAxOTA SUPPLY GRODP LYC
         AND AS PSR IL T9 00                                                                    Atm AS PSR IL T9 00
         2501 3RD AvsrnM NORTs                                                                  2601 3RD AVENms rroRTa
         P.O. BOR 2896                                                                          P.O. BOA 2906
         FARGO                     PID 59108                                                    FARGO                  ?~T 59108


           €CEEP TH13 CARD II`9 THE VEHICLE AT Al.l. TIPJdM.                                     ICEEP TH[S CARD IN' `i"HE VEHIC! E AT ALL 11MES.
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CAIDND Rev. 7-96 See Important Notice On Reverse Side         TRAVgLE~'y~              CAIDPJD Rev.7-95 SeelmportantDJaLceOnRever9eSide                TRAVELERSJ                0
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        EVORTH DAICOTA Ih1SlJRAP10E IDENI'i1FICATlON' CAR®                                     NlOFiTH DAISOTA IPlSURAAti"CE tDENTIFICATIOiN CARD                                0
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The euto described below is covered by a liebiliiy poricy that tneets North Dakoto`s   The auto described helawy is covered by a liribii3y policy that meets North Datmta's      CD
compulsory insurance law.                                                              computsory insurer+.ce lew.
Company: TRAVELERS PROPERTY CASIIALTY COtPANY OH AHSRICA                               Company: TRAtJSLSRB PROPSRTY CASUAL^sY COtdPANY OF AMERICA
Pdicy Number                                Eftective Date          Expir3lion Date    Policy Number                                 Efrective Date          Expiration Date
Y-810-3D994291-TIL-11                         10-01-13               10-C1-14          Y-810-3D994291-TIL-13                           10-01-13                 10-01-14
Year          MaRelModel            Vehide Identifioation tdumber                      Year         MekedtAodel              Vehtcie ldentiflcetion Number
FLS$T                                                                                  PLEET
Insured DAROTA S9PPLY GROUP INC                                                        insurgd DhZOTA BUPPLY GROUP INC
        AND A8 PER IL T8 DO                                                                    AND AS PSR IL T8 00
           2601 31D AV&ttrs xoRT$                                                              2601 30 AVEN[JE NORTH
           P.O. BOX 2896                                                                       P.O. BOB 2886
           FARGO                         &'D 59109                                             FARGO                   tD 59108


           KEEP THIS Cd>,RD ih! THE VEHECLE AT ALL TIMES.                                        FCEEP TFGIS CARD Ild TI•IE VEHICLE AT ALL TIMES.

                                                                     AW                                                                                        A*Itk
CAIDND Rev. 7-98 See Importent Notice On Reverse Side         ~1j(
                                                               A~~,ERS                 CAIDND Rev. 7-96 See Importartt Notlee On Revorse Side          TRAYELERS J



                                       Case 2:20-cv-01600-LA Filed 10/21/20
                                                                    Exhibit A Page 198 of 201 Document 1-1
IN CASE OF AN ACCiDENT                                                                          IN CASE OF AN ACCIDEN'T
* Caii The Trnveiars immediately.                                                                Cali The Travalars immediately.
 1-800-238-6225                                                                                  1-800-238-6223
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  and insuronce ompany ertd poiicy numberfor each vehicte invalved.                               and Insurance ccmpany and poiicy tntrnber for eech vehide involred.                             cD
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  and Irisuranee carnpany and polley numberfor each vehlde lavolved.                              and insurance company and policy number for each vehicle involved.                              ~
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